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                              No. 20-1758

                                  IN THE
United States Court of Appeals for the Federal Circuit
            JUNO THERAPEUTICS, INC., SLOAN KETTERING
                INSTITUTE FOR CANCER RESEARCH,
                                      Plaintiffs-Appellees,
                               v.
                       KITE PHARMA, INC.,
                                    Defendant-Appellant.

         On Appeal from the United States District Court
              for the Central District of California
                   No. 2:17-cv-07639-PSG-KS
                    Hon. Philip S. Gutierrez

            NONCONFIDENTIAL OPENING BRIEF
                 AND ADDENDUM FOR
                  KITE PHARMA, INC.

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     U.S. PATENT NO. 7,446,190: CLAIMS 1-3, 5, 7-9, AND 11
             (CLAIMS 3, 5, 9, AND 11 ASSERTED)

1. A nucleic acid polymer encoding a chimeric T cell receptor, said
chimeric T cell receptor comprising

   (a) a zeta chain portion comprising the intracellular domain of
   human CD3 ζ chain,

   (b) a costimulatory signaling region, and

   (c) a binding element that specifically interacts with a selected
   target, wherein the costimulatory signaling region comprises the
   amino acid sequence encoded by SEQ ID NO:6.

2. The nucleic acid polymer of claim 1, wherein the binding element is
an antibody.

3. The nucleic acid polymer of claim 2, wherein the antibody is a single
chain antibody.

5. The nucleic acid polymer of claim 3, wherein the single chain
antibody binds to CD19.

7. The nucleic acid polymer of claim 1, wherein the zeta chain portion
comprises the sequence obtained by amplification of human zeta chain
DNA with the primers of SEQ ID Nos 1 and 2.

8. The nucleic acid polymer of claim 7, wherein the binding element is
an antibody.

9. The nucleic acid polymer of claim 8, wherein the antibody is a single
chain antibody.

11. The nucleic acid polymer of claim 9, wherein the single chain
antibody binds to CD19.
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FORM 9. Certificate of Interest                                                      Form 9 (p. 1)
                                                                                        July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 20-1758
   Short Case Caption Juno Therapeutics, Inc. v. Kite Pharma, Inc.
   Filing Party/Entity Kite Pharma, Inc., Appellant



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/31/2020
  Date: _________________                      Signature:    S/ E. Joshua Rosenkranz

                                               Name:         E. Joshua Rosenkranz




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FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented         all real parties in interest    all parent corporations
 by undersigned counsel in        for the entities. Do not        for the entities and all
 this case.                       list the real parties if        publicly held companies
                                  they are the same as the        that own 10% or more
                                  entities.                       stock in the entities.

                                  X None/Not Applicable
                                  ☐                               ☐ None/Not Applicable

       Kite Pharma, Inc.                                            Gilead Sciences, Inc.




                                     Additional pages attached



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FORM 9. Certificate of Interest                                                                                                                         Form 9 (p. 3)
                                                                                                                                                           July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
              None/Not Applicable                                                            Additional pages attached
              Munger Tolles and Olson LLP:                     Fish and Richardson PC: W. Chad Shear, Gregory     Gibson Dunn and Crutcher LLP: Omar Amin, Michael Sitzman,
Blanca Young, Graham Cole, Markus Brazill and Vincent Ling   Booker, John Farrell, Lance Wyatt and Megan Chacon    Jane Love, Jaysen Chung, Jeffrey Thomas and Timothy Best




Orrick, Herrington & Sutcliffe LLP: Eric Shumsky




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
  ✔
              None/Not Applicable                                                            Additional pages attached




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔           None/Not Applicable                                                            Additional pages attached




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Material has been redacted from page 67 of the Nonconfidential
Opening Brief and pages Appx47, Appx48, Appx54, Appx95, Appx98 of
the addendum attached to the Nonconfidential Opening Brief. This
material has been designated pursuant to the Protective Order entered
in Juno Therapeutics, Inc., et al. v. Kite Pharma, Inc., No., 2:17-cv-
07639-SJO-KS (C.D. Cal.). The material omitted from page 67 indicates
a confidential license valuation. The material omitted from the
addendum at Appx47, Appx48, Appx54, Appx95, Appx98 indicates
confidential business information containing non-public valuations.




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                 STATEMENT OF RELATED CASES

     No appeal in or from the same civil action was previously before

this or any other appellate court.

     Counsel is not aware of any case pending in this or any other court

or agency that will directly affect or be directly affected by this Court’s

decision in the pending appeal.




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                           INTRODUCTION

     Kite Pharma, Inc. co-developed YESCARTA®, a revolutionary

immunotherapy that cures many patients afflicted with an especially

fatal blood cancer. Kite’s work has saved thousands of lives. Equipped

with a generic patent, Juno Therapeutics, Inc. attempted to develop a

similar treatment, but failed. Juno’s “cure” killed so many patients that

the FDA shut down clinical testing.

     Now Juno’s positions threaten to kill innovation. It won a

$1.2 billion judgment that, if upheld, would deter wide swaths of

lifesaving invention, stifle investment, and reward Juno for Kite’s

success in solving the very problems Juno could not.

     Overclaiming. The patent preempts an entire field of inquiry.

Each claim has structural elements that embrace millions of billions of

species, constrained only by function. The patent mentions two

functioning species (only one for the narrowest claims), providing no

chemical structure of either. And the field has all the predictability of a

lottery ticket. Fifteen years after the 2002 priority date, Juno tested a

billion candidates to identify a tiny subset that might perform the

narrowest claims’ function, through pure trial and error. In short, the


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patent claims a research plan. This Court has repeatedly struck claims

like these for lack of written description and enablement.

     Expanding the claims. Even the overbroad claims that issued

did not cover YESCARTA®. Four-and-a-half years after issuance, the

patentee filed a Certificate of Correction that stretched the patent’s

scope just enough to capture YESCARTA®. By then, Kite’s

YESCARTA® development was under way and highly public. Such a

scope-broadening amendment is forbidden unless it represents a clearly

evident correction to a clearly evident error. But if there was an error,

it was not evident to the public. As issued, the claim made perfect

sense, worked in practice, and was consistent with the specification. So

the correction was impermissible, and Kite does not infringe.

     Exaggerating the damage. Juno secured an astronomical $1.2

billion judgment and a 27.6% running royalty. The award exceeds

YESCARTA®’s revenue through trial, and is multiples of the highest

reference license that Juno’s expert considered. Juno’s expert flouted

every basic requirement of damages calculations, including the

prohibition against relying on reference licenses that cover more than

just the value of a patent and the obligation to apportion.


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     Affirming this judgment would invite all patentees to follow

Juno’s example—and stifle innovation.

                              JURISDICTION

     The district court had jurisdiction under 28 U.S.C. §§ 1331 and

1338. The court entered a final judgment on April 8, 2020. Appx30-32.

Kite timely appealed on April 23, 2020. Appx32630-32631. This Court

has jurisdiction under 28 U.S.C. § 1295(a)(1).

                   STATEMENT OF THE ISSUES

     1. The asserted patent claims genuses defined in functional

terms. For the narrowest claims, (1) the structural limitations

encompass millions of billions of candidates; (2) only an indeterminate

subset of those species function as claimed, with the patent discussing

only one such species; and (3) the field is wildly unpredictable. Are the

claims invalid for lack of written description?

     2. Are those same claims invalid for lack of enablement, where

Juno itself—with the benefit of more-developed art 15 years after the

priority date—engaged in months of trial-and-error testing and hit

nearly a billion dead ends?




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     3. The patent as issued did not encompass Kite’s therapy. The

inventors broadened their claims by filing a Certificate of Correction

four-and-a-half years after issuance. Such a correction is invalid unless

it represents a clearly evident correction to a clearly evident error. But

the relevant limitation, as issued, made perfect sense, was consistent

with the specification, and functioned. Is the broadening correction

invalid?

     4. Juno’s expert presented a damages opinion that relied on

agreements far beyond a patent license and did not apportion. Did the

court err in permitting his testimony and finding the award supported

by substantial evidence?

     5. Must the jury’s willfulness finding and the court’s

enhancement be vacated where Kite had strong defenses to both

validity and infringement and abandoning its therapy after clinical

success would have cost lives?

                      STATEMENT OF THE CASE

CAR-T Therapy Is In Its Infancy

     Chimeric antigen receptor T-cell (“CAR-T”) therapy, long a dream,

only recently became reality. The FDA did not approve the first CAR-T


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therapy until 2017. Appx33161. By trial, YESCARTA® was one of only

two FDA-approved CAR-T therapies. Appx33143; Appx33161. The art

was even more immature at the asserted patent’s 2002 priority date.

The lead inventor described that as the “birth of the CAR-T field,” when

“most people [were] incredulous about [its] potential.” Appx32935;

Appx32976.

     CAR-T therapy fights diseases by reprogramming our T-cells—a

type of white blood cell. A T-cell attacks an enemy cell (such as a cancer

cell) by recognizing and binding to an antigen—a distinctive structure

on the enemy cell’s surface. Appx32907-32908. The reprogramming

entails inserting genetic instructions to grow a new receptor that binds

to a specific antigen. Appx32913-32914. The new receptor is called a

chimeric antigen receptor (“CAR”) or chimeric T-cell receptor (“chimeric

TCR”). Appx32905; Appx103.

     CAR-T technology has developed slowly and unpredictably. The

first generation, circa 1993, was a CAR with two parts, both still

components of modern CARs. Appx33926-33927; Appx32910. Part one,

the “binder,” protrudes from the cell’s surface. It recognizes and binds

to a target antigen. It typically consists of a single-chain variable


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fragment (scFv) derived from an antibody. Appx37437; see Appx2641-

2642. Part two is a “signaling region,” inside the T-cell, which sends an

“activation signal.” The signal directs the T-cell to (1) destroy the

enemy cell that the binder has gripped and (2) multiply to attack

similar enemy cells. Appx37437. The signaling region consists of a

portion of a protein found naturally in a typical human T-cell.

Scientists long ago fixed upon a portion of the protein called CD3-zeta

(often rendered “CD3 ζ”). Appx35876-35880. Unfortunately, these two-

part CARs failed to mount a sustained attack on enemy cells.

Appx2640; Appx32909-32912; Appx37400.

     Researchers addressed this deficiency in the second generation,

circa 1998, by adding a third part. Appx36283-36290; Appx2645-2646.




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Appx37438 (annotations clarified). Part three—a “costimulatory

signaling domain” inside the cell—generates a signal that directs T-cells

to multiply. Appx36284; Appx2645-2646; Appx32912. One that worked

was “CD28,” a naturally occurring T-cell protein. Appx32962-32963;

Appx36283-36290; Appx37107; Appx2645-2646. Juno calls these two

signaling regions the CAR’s “backbone.” Appx32906.

     Even with this knowledge of three-part CARs, scientists labored

for two decades before producing a viable therapy. Appx37443 (citing

Appx35881-35884). They had to overcome two challenges relevant here.

     First, even where researchers had identified the right target, they

still had to design the right scFv binder. Appx37435-37445. A CAR

without the right binder is no better than a backbone without a head:

The binder alone recognizes and binds to a target (triggering CAR

stimulation and T-cell response). scFvs are created by rearranging

pieces of antibodies. As illustrated below, antibodies are Y-shaped

proteins with “variable regions” at the top, contoured to bind to a

specific antigen. Appx2643; Appx33675-33676; Appx33936-33937.

Think of the variable regions as three-dimensional puzzle pieces finely

crafted to fit to the corresponding contours of a specific antigen.


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Appx33675-33676; Appx33936-33937. To make an scFv, researchers

take two pieces of an antibody’s variable regions—one from the “heavy

chain” and one from the “light chain.” They select an order for the

pieces and link them together with a new “linker sequence”:




Appx2644; see Appx2643-2644.

     The specific sequence of amino acids that make up the variable

region and linker gives the puzzle pieces their unique three-dimensional

shape and binding ability. Appx33675-33676; Appx2643; see

Appx33937-33938. Even now, there is no known “a priori method for

determining the ability of a particular antibody to function when”

rearranged and “produced as an scFv” with a new linker. Appx35643;

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see Appx33687-33688; Appx33701; Appx33955. Consequently, scFv

design is rife with uncertainty. Infra 27-40, 42-46.

     The second high hurdle was the need to solve manufacturing and

clinical challenges—which the asserted patent does not address. If you

just inject the claimed CAR into a patient’s bloodstream, it will not

work. Appx32918. Scientists have to design a vector—essentially a

virus—that can enter patients’ T-cells and deliver the genetic material

that encodes the CAR. Appx32918; Appx32995; Appx33160. Then,

scientists have to figure out how to make a CAR-T therapy unique to

each patient. The patient’s T-cells must be harvested, preserved,

shipped, re-engineered using the vector, multiplied, and then sent

back—alive—for reinfusion, as shown:




Appx36411 (color added); Appx36494. Even now, efforts to do all that

for each patient at a commercial scale are rife with failures. See infra

12, 69. Compounding the challenge is that time is of the essence. Many

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patients will live only weeks without treatment; each additional day in

turnaround could spell death. Appx33616-33617; see Appx33423-33424.

Kite’s YESCARTA® Realizes The Promise Of CAR-T Therapy

     Kite, now a Gilead subsidiary, solved these problems to make

CAR-T therapy a reality. Kite was founded in 2009 to engineer cancer-

fighting therapies. Appx33243-33244; see Appx33309-33310. In 2012,

it began collaborating with the National Cancer Institute (“NCI”) to

develop a CAR-T treatment for diffuse large B-Cell lymphoma

(“DLBCL”), “one of the most aggressive forms of lymphoma.”

Appx33592; see Appx33314-33325; Appx35820-35871. Before

YESCARTA®, DLBCL was often fatal in patients who did not respond to

conventional therapies like chemotherapy. Appx33592-33594; see

Appx33319.

     With its FDA approval in 2017, YESCARTA® dramatically

changed the odds. Appx33161; Appx33132-33133. It cures over 50% of

patients who have unsuccessfully endured at least two lines of

treatment, saving thousands of lives. Appx33592-33595; Appx33603-

33604; see Appx33618.




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     YESCARTA® uses a three-part CAR illustrated below.

Appx36494. The binder (in blue) is an scFv made from a mouse-based

(“murine”) antibody called FMC63. Appx33700; Appx32974. It targets

CD19, an antigen on the surface of DLBCL cells. Appx36494-36495;

Appx35936. YESCARTA® also includes portions of the CD3-zeta and

CD28 proteins, as primary and costimulatory domains, respectively.

Appx36494-36495; Appx35936.




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Appx36495 (color added; annotations clarified).

      Kite’s NCI partners created and disclosed this CAR and its clinical

results in seminal papers dating back to 2009. See, e.g., Appx37572-

37597; Appx36319-36331; Appx36332-36342; Appx33310-33316. That

includes the “first report[]” of an “[e]ffective clinical treatment” of a

human patient “with anti-CD19 CAR T cells.” Appx37443 (citing

Appx36319-36331); see Appx32936; Appx33312.

      Using that CAR, Kite designed the right vector, addressed clinical

challenges, and overcame the logistical challenges in manufacturing

numerous individualized treatments. Appx33799. YESCARTA® has

the fastest manufacturing of any CAR-T therapy, at 16-17 days’ median

turnaround. Appx33596-33597; Appx33618; see Appx33423;

Appx33799. YESCARTA®’s rate of manufacturing success (how often

the patient’s cells are successfully modified) is also the highest, at 99%.

Appx33597; Appx33618. The only other FDA-approved CAR-T therapy

for DLBCL (Novartis’s KYMRIAH®) has faced “manufacturing and

capacity problems” and cannot be made “consistently and timely.”

Appx11669-11670; see Appx33623-33624. The difference can mean life

or death. Appx33616-33617.


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Juno Licenses The ’190 Patent, Which Generically Claims A CAR-
T Research Plan

     Juno, now a Bristol-Myers Squibb subsidiary, was founded in

2013. Appx33401. Juno is the exclusive licensee of technology,

including U.S. Patent No. 7,446,190, owned by Sloan Kettering.

Appx260-283 (patent); Appx37509-37553 (license agreement). The

patent claims nucleic acid polymers encoding a CAR with at least three

parts. Claim 1, the only independent claim, recites:

          1. A nucleic acid polymer encoding a chimeric T cell
     receptor, said chimeric T cell receptor comprising

         (a) a zeta chain portion comprising the intracellular
     domain of human CD3 ζ chain,

           (b) a costimulatory signaling region, and

           (c) a binding element that specifically interacts with a
     selected target,

          wherein the costimulatory signaling region comprises
     the amino acid sequence encoded by SEQ ID NO:6.

Appx282 (25:30-38).

     This three-part structure, with a binder and two signaling

domains, mirrors the second-generation approach described above. The

claimed binder is nearly limitless. It can have any form, be directed to

any target antigen (known or unknown), and be derived from any

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source—provided it satisfies the functional condition of “specifically”

binding to the selected target (i.e., binding to that target and not

others). Thus, the patent claims binding elements for any disease, even

though, nearly two decades after the priority date, scientists still have

not even identified targets for most cancers, let alone elements that

specifically bind to them. Appx32991-32993; Appx26411; Appx37442.

The first signaling domain (or “primary” domain) comprises the portion

of CD3-zeta commonly used back in first-generation CARs. The second

(“costimulatory”) signaling domain is made from CD28, the protein used

in previous second-generation CARs. The patent distinguishes the

invention from prior art by identifying a precise portion of CD28,

comprising amino acids encoded by nucleotides listed in SEQ ID NO:6.

Appx277; see Appx33533-33534; Appx104-105.

     At issue are dependent claims 3, 5, 9, and 11. The broadest,

claims 3 and 9, add to claim 1 only that the “binding element” must be

“a single chain antibody”—i.e., an scFv. Appx282 (25:41-42, 26:35-36).

Claims 5 and 11 add a functional requirement that the scFv “bind[] to

CD19,” a DLBCL antigen. Appx282 (25:45-46, 26:40-41). That means

(per claim 1) that the scFv must bind “specifically” to CD19.


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     The structural limitations of even the CD19-specific claims cover

an undisputedly vast range of scFv candidates. Kite’s expert, Dr.

Christopher Garcia, testified—and Juno did not dispute—that all

claims, including the CD19 claims, structurally encompass “millions of

billions” of different scFvs. Appx33687-33688. The only way to

determine which and how many would bind to CD19 is “to do an

experiment where you [made and] tested a very large number of scFvs.”

Appx33687-33688.

     Against the staggering scope of scFvs encompassed by the claimed

structure, the patent discloses very little. The specification mentions

only two scFvs, from mice, without providing the amino-acid sequence

of either. Appx273 (7:43-8:17); Appx275 (11:12-17). Only one, derived

from the SJ25C1 antibody, binds to CD19, and YESCARTA® does not

use it. Infra 29-30, 34-36. The patent says nothing about why or where

its CD19 scFv binds or which of its amino acids are key for binding.

     By the 2002 priority date, the literature had documented

numerous failed attempts to create CD19-specific scFvs. Infra 27-28,

30. Even 15 years later, using modern-day technology, Juno itself

screened and tested a billion scFvs for binding to CD19—identifying


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only 60 that did, of which only three were worth further investigation

for inclusion in a CAR. Appx33705-33707 (citing Appx37426-37434); see

Appx37427-37428; Appx37433; Appx26414-26415; Appx37120-37131.

A Belated Certificate Of Correction Extends The ’190 Patent Even
Further, Capturing YESCARTA®

     Broad as it was, the ’190 patent as issued did not cover

YESCARTA®. SEQ ID NO:6, the nucleotide sequence that encodes the

claimed costimulatory region, differed from YESCARTA®’’s. That

changed in 2013—years after the ’190 patent issued and soon after NCI

and Kite publicized their collaborative arrangement—when the

patentee filed a Certificate of Correction (“CoC”). Appx35269;

Appx33245-33247. The “correction” changed SEQ ID NO:6, broadening

the claim’s scope such that it covered YESCARTA®. Infra 27-40, 42-46.

Juno Fails To Bring A Product To Market And Instead Sues Kite,
Winning Over $1.2 Billion

     Juno has yet to commercialize a CAR-T therapy. Juno tried to

develop one, JCAR15, with the benefit of the ’190 patent and its lone

CD19-specific scFv (different from YESCARTA®’s). Appx33095;

Appx36685. It failed catastrophically. The FDA twice halted Juno’s

clinical trial because multiple patients died. Appx33152-33155. Juno’s


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failure to adequately solve the manufacturing challenges described

above (at 9-10) contributed to those deaths. Appx36765-36766; see

Appx33150; Appx33157.

     Juno ditched JCAR15 in favor of a different CAR-T therapy,

JCAR17, that does not practice the ’190 patent. Appx33104;

Appx33137-33139; Appx33141-33142. For the costimulatory region,

JCAR17 does not use CD28. Appx33137; Appx33417-33418.

     Juno filed this case on October 18, 2017, the day the FDA

approved YESCARTA®. Appx383-396. The district court construed “the

amino acid sequence encoded by SEQ ID NO:6” to have different

meanings before and after the CoC:




Appx117. The court held that the patent as issued requires the initial

lysine because it “explicitly defined the claim term ‘the amino acid

encoded by SEQ ID NO:6’ by way of the sequence listing and … nothing




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in the intrinsic record is sufficient to overcome this express definition.”

Appx117.

     Kite invoked that holding to argue that the CoC must be invalid

(and therefore there is no infringement), because it did not satisfy the

requirement that a correction be the clearly evident solution to a clearly

evident mistake. The court disagreed. Appx8407-8419.

     At trial, the court granted Kite less than 12 hours to defend

against this billion-dollar case. Kite pressed its CoC defense, along

with the defenses that the claims are invalid for lack of written

description and enablement. The district court refused to instruct the

jury on the governing Ariad test for written description, leaving the jury

without that critical guidance. And Juno urged the jury to reject Kite’s

§ 112 and CoC defenses with the non sequitur that, in an IPR asserting

obviousness, “three trained patent judges look[ed] at issues relative to

the validity of the patent.” Appx34209-34212.

     In the end, the jury rejected Kite’s defenses and found Kite’s

infringement willful. It awarded Juno $778 million in damages: a $585

million upfront payment plus a 27.6% running royalty on net revenues

from YESCARTA®. Appx156-160. The court enhanced damages by


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50%. Appx56. All told, the final judgment awards Juno over $1.2

billion, plus post-judgment interest and a 27.6% running royalty.

Appx30-32.

                     SUMMARY OF ARGUMENT

     I. Juno’s patent claims are insufficiently described. The

undisputed evidence established all three hallmarks of impermissible

functional genus claims. First, structurally, the claims cover a vast and

varied set of candidates, numbering in the millions of billions. Second,

functionally, only an uncertain fraction of the universe of possible scFv

candidates meet the functional limitation of specifically binding to any

specified target (the requirement of the broadest claims)—or to CD19 in

particular (the requirement of the narrowest claims). Fifteen years

after the priority date, using modern-day technology, Juno tested a

billion scFvs to identify only 60 that bound to CD19. Third,

technologically, the claims occupy a highly unpredictable, failure-ridden

field that was in its infancy in 2002—and still is. There is no way to

predict in advance whether a particular structure will perform the

claimed function—making and testing is required.




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     These claims cannot meet Ariad’s requirements for written

description, as a matter of undisputed fact. The patent provides no

guidance whatsoever as to which sequences will work. Juno’s own

expert conceded that the patent does not “teach[] any correlation

between the amino acid sequence of an scFv and its ability to bind to a

target antigen.” Appx33955. The patent discusses exactly one scFv

that binds to CD19, without disclosing its chemical structure.

     At a minimum, the district court’s refusal to instruct the jury on

Ariad’s requirements mandates a new trial.

     II. The claims are not enabled. The same undisputed facts—plus

two more—show lack of enablement. First, undue time and effort was

required at the priority date to make and test structural candidates for

functionality. Second, with the benefit of 15 years of knowledge and

technology beyond the priority date, Juno investigated nearly a billion

dead ends.

     III. YESCARTA® does not infringe because the CoC is invalid.

The CoC is the only reason the claimed costimulatory region reaches

YESCARTA®, as it broadened the claims four-and-half years after the

patent issued. That blow to the public-notice function cannot be


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sustained because the CoC is not a clearly evident solution to a clearly

evident error. No error was evident because the originally claimed

sequence was functional and made sense in context. A published CAR

using the original sequence worked. And the CoC’s sequence was not

the only evident solution, because it is in tension with parts of the

patent’s disclosure. The CoC must be invalidated.

     IV. Juno’s expert presented a damages opinion so untethered

from the ’190 patent’s value and inconsistent with this Court’s

precedents that it never should have been admitted and leaves the

verdict unsupported by substantial evidence.

     First, he included a $150 million equity-based success fee from an

agreement establishing a broad collaborative partnership that, all

agreed, contained far more value than the bare license to the ’190

patent at issue here. But he made no adjustment for that conceded

additional value. Second, he ignored the requirement to apportion

Kite’s contributions to YESCARTA® that Juno itself recognized were

valuable and contributed to Kite’s success. Worse, he awarded the

value of those non-patent-related contributions to Juno by increasing

nearly threefold the royalty terms from reference licenses in view of the


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greater market share Juno expected Kite to garner. Third, he inflated

the award even higher by applying multipliers with no factual support.

     A verdict based on these flaws must be vacated.

     V. Lastly, given the strength of Kite’s defenses, Juno presented

insufficient evidence of egregious infringement to support a willfulness

finding. And the court erred in enhancing damages by failing to

independently assess the closeness of the case.

                         STANDARD OF REVIEW

     This Court reviews the district court’s legal determinations and

jury instructions de novo. Eko Brands, LLC v. Adrian Rivera Maynez

Enters., Inc., 946 F.3d 1367, 1372 (Fed. Cir. 2020). The jury’s factual

findings are reviewed for substantial evidence. Id. “Substantial

evidence requires more than a mere scintilla,” and this Court “must

review the record as a whole, taking into consideration evidence that

both justifies and detracts from the jury’s decision.” Cordis Corp. v.

Bos. Sci. Corp., 658 F.3d 1347, 1357 (Fed. Cir. 2011).

     Written description is “a question of fact.” Ariad Pharms., Inc. v.

Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc).

“Enablement is a question of law based on underlying factual findings.”


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Enzo Life Scis., Inc. v. Roche Molecular Sys., Inc., 928 F.3d 1340, 1345

(Fed. Cir. 2019) (quotation marks omitted). Whether the broadening

CoC here is valid turns on “a factual question.” Cent. Admixture

Pharmacy Servs., Inc. v. Advanced Cardiac Sols., P.C., 482 F.3d 1347,

1354 (Fed. Cir. 2007). Willful infringement is also a question of fact.

Polara Eng’g Inc. v. Campbell Co., 894 F.3d 1339, 1353 (Fed. Cir. 2018).

     Expert testimony’s admissibility is reviewed for abuse of

discretion, see Primiano v. Cook, 598 F.3d 558, 563 (9th Cir. 2010), as

are the district court’s decisions to enhance damages, Polara Eng’g, 894

F.3d at 1353, and deny a new trial on damages due to insufficient

evidence, Experience Hendrix L.L.C. v. Hendrixlicensing.com Ltd, 762

F.3d 829, 845-46 (9th Cir. 2014).

                              ARGUMENT

I.   The Claims Are Invalid For Insufficient Written
     Description.

     This case starkly illustrates the dangers that arise when an

inventor writes a “generic claim” to “a vast genus” that “use[s]

functional language to define the [genus’s] boundaries.” Ariad, 598

F.3d at 1349. Here, “the functional [limitations] … simply claim a

desired result, … without describing species that achieve that result.”

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Id. The “overreach” is particularly flagrant for the broadest claims—

which purport to cover CAR-Ts for any type of disease, even though the

inventors had made CAR-Ts targeting only two antigens. Appx271

(4:36-45); Appx32967; see; Appx26411; Appx32987-32993; Appx36636;

Appx37442. But it is also fatal to the narrowest claims, “limited” to a

vast genus of CARs incorporating all scFvs specifically binding to CD19.

      For all claims, undisputed facts establish classic features that have

led this Court to invalidate patents for insufficient written description:

structural claim elements encompassing millions of billions of highly

varied candidates, of which only an unknown fraction actually satisfy the

recited binding function, with researchers having no way to predict which

structures will bind as claimed. § I.A. Given those undisputed facts, the

patent’s sparse disclosure fails to satisfy either of Ariad’s criteria for

“sufficient description of a genus”: “[1] a representative number of

species falling within the scope of the genus or [2] structural features

common to the members of the genus.” 598 F.3d at 1350-51. This

patent impermissibly claims a research plan. § I.B. At a minimum,

this Court must order a new trial, because the district court refused to

instruct the jury on the governing Ariad test. § I.C.


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     A.    The patent functionally claims extremely broad,
           varied genuses in an unpredictable field.

     In evaluating the disclosure of “generic claims” that deploy

functional limitations, this Court routinely assesses whether a skilled

artisan could have “visualize[d] or recognize[d] the members of the

genus,” considering (1) the number and variety of candidates described

by the structural limitations; (2) the proportion and variety of that

universe that satisfies the functional limitations; and (3) the

“complexity and predictability of the relevant technology,” including

“the extent and content of the prior art” and “the maturity of the science

or technology.” Ariad, 598 F.3d at 1349-51 (quotation marks omitted);

see Idenix Pharms. LLC v. Gilead Scis. Inc., 941 F.3d 1149, 1163-65

(Fed. Cir. 2019); Bos. Sci. Corp. v. Johnson & Johnson, 647 F.3d 1353,

1364-67 (Fed. Cir. 2011); Carnegie Mellon Univ. v. Hoffmann-La Roche

Inc., 541 F.3d 1115, 1123-26 (Fed. Cir. 2008). The district court ignored

the first two factors entirely and misapprehended the third. The

undisputed evidence resolved each factor as a matter of law.

     Vast structural scope. Because the court did not address the

first critical element, Appx63-64, it missed the undisputed fact that the



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structural features of the claims encompass a vast and varied universe

of scFv candidates. See supra 13-16.

     The only quantification came from Kite’s expert Dr. Garcia. He

testified that even the narrowest, CD19-specific claims encompass

“millions of billions” of different candidate scFv structures. Appx33687-

33688. Juno’s expert, Dr. Thomas Brocker, did not counter with his

own number. He did not dispute that the candidate population was

vast—or even say that Dr. Garcia’s “millions of billions” was off-target.

He merely pointed to a different number in Dr. Garcia’s report

estimating “10 to the 130 [i.e., 10130] different unique sequences” for a

generic sequence of 100 amino acids. Appx33939-33940. Dr. Brocker

testified that number was high for the claimed invention, because a

skilled artisan “would probably not generate … all those combinations.”

Appx33939-33940 (emphasis added). How many fewer that person

would generate he did not say. A million billion times fewer? That

would still be 10115. And Juno’s much later work confirms that the

candidate pool for a subset of CD19 scFvs is over a billion. Appx33705-

33707; Appx32993-32996. It is thus undisputed that the relevant

universe includes an enormous number of candidates.


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     A fraction of candidates are functional. The court also failed

to address the second key inquiry. Undisputed testimony established

that only a fraction of the universe of scFv candidates would meet the

functional limitation of binding to any specified target—or to CD19 in

particular. Any one of the following undisputed facts proves the point

as a matter of law:

         Again, Juno tested a billion scFvs to identify only 60 that
          bound to CD19—a proportion of 0.00000006—and that was
          with the benefit of the patent’s teaching and years of
          accumulated learning. Appx33705-33707.

         A paper Juno’s expert cited, predating the priority date,
          reported that only one of the three scFvs the authors made
          had any measurable “ability to bind” to CD19. Appx35643;
          see Appx33682; Appx33942.

         Another pre-priority-date paper recounted that “analysis of
          scFvs … demonstrated that only one scFv [of three] … was
          able to bind [to] the CD19 surface antigen.” Appx36182
          (emphasis added).

         A named inventor testified that changing a functioning scFv
          by just three amino acids yielded a CD19 CAR that was “not
          functional as a receptor.” Appx26410; see infra 29.

     Juno’s expert dodged all this evidence: “I can[’t] give you a

number” of “how many potential CAR constructs fall within the scope of

the claims.” Appx33957. He admitted it would be “pure speculation” to




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estimate what proportion of scFvs bind even just to CD19. Appx33956-

33957; see supra 15, 26.

     Unpredictability. Why did Juno’s expert consider it “pure

speculation”? Because the pre-2002 literature confirms there was no

way to predict ex ante which scFvs would bind to CD19. Even over a

decade later, scientists still described “the identification of an optimal

scFv [a]s probably the most challenging task in CAR design,”

Appx37442 (2016 article), so that “design” has “largely been empiric,”

Appx36636-36638; see Appx26415; Appx33682-33683.

     Undisputed testimony explained why scFvs were so unpredictable.

An scFv’s binding ability depends on its “very intricate, complicated

spaghetti-like fold.” Appx33675; see Appx33936-33937 (Dr. Brocker:

“three-dimensional orientation” critical “to bind[ing]”). That folding, in

turn, is “exquisitely determine[d]” by the scFv’s amino-acid sequence.

Appx33675. But no one knows how the sequence will affect the shape.

Appx33695-33702; Appx35643; see Appx33937-33938; Appx26415.

Changing a lone amino acid “can result in shape changes to the scFv.”

Appx33675; see Appx26410. And when the shape changes, “it can




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prevent the scFv from folding and binding to the target.” Appx33676.

Again, Dr. Brocker did not disagree.

     The inventors understood this. When they filed their patent, only

a single publication disclosed an SJ25C1-derived scFv (the type the

inventors used for CD19), but it was “not functional as a receptor.”

Appx26410. The inventors tweaked the variable region by three amino

acids and ended up with a functional CD19-specific scFv. The precise

sequence was critical, but the inventors did not disclose it in their

patent.

     Unpredictability is further confirmed by undisputed evidence

showing that scFvs that bind to the same target can be “highly diverse.”

Appx33695-33702; Appx35643. Compare YESCARTA® to the sole

CD19-specific scFv discussed in the patent. The two are made from

different antibodies that exhibit a “low degree of similarity.”

Appx33695-33697. The heavy-chain variable sequence of SJ25C1 has

only a 39% overlap with FMC63, and the light-chain variable sequences

overlap by only 53%. Appx33695-33697. Other CD19-specific scFvs

display more structural diversity:




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Appx38340; compare Appx38344; Appx38347.

     On the flip side, scFvs with similar sequences may bind to

different targets. For example, scFvs more similar to SJ25C1 than

FMC63 do not bind to CD19, but instead to antigens on a viral protein

that affects shrimp and a bacterial protein that causes Lyme disease.

Compare Appx38340, with Appx38344. And one paper Dr. Brocker

cited compared two scFvs “from the same family” and found that only

one bound to CD19. Appx35643; Appx35641; see Appx33682. In sum,

“knowledge of the target tells you nothing about the structure or the

sequence of the antibody that will bind to that target.” Appx33687 (Dr.

Garcia).

     Moreover, even with an isolated scFv that binds to CD19, a

researcher cannot know if it will still bind when fused to other

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sequences to make a CAR. “[W]hen you make an scFv by itself, it folds

in a different way than when you make it when it’s connected to the

CAR.” Appx33683-33685 (Dr. Garcia). As a 2016 article confirms,

“scFvs behave differently in membrane-bound format, … suggesting

that … antigen-binding affinity, and specificity of scFvs should be

carefully reassessed and examined in the CAR context.” Appx37437.

The inventors and a Juno employee confirmed the same. Appx37086

(2013 article by lead inventor and co-inventor: “the structure of the

‘spacer region’ between an scFv and the transmembrane region … can

affect CAR specificity, but no definitive principles have yet emerged”);

Appx26415 (Juno employee: “the rules exactly by … which [a] particular

CAR is going to work or not have not entirely been worked out”); see

Appx32987-32988.

     The district court ignored all this undisputed evidence of

unpredictability in favor of an irrelevancy: general evidence “that scFvs

were well-known in the art” and that “CARs used scFvs as binding

agents beginning in the early 1990s.” Appx63. The court noted that the

patent disclosed a “cookbook” method to make “any desired scFv” and

one scFv that bound to CD19. Appx63. But knowing how to construct


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scFvs does not mean their function is predictable—any more than

knowing how to make keys tells you which out of millions of billions of

keys will open a bank vault. What matters for the present inquiry is

being able to predict which scFvs (in a CAR) will bind to a specified

antigen. See, e.g., Idenix, 941 F.3d at 1164-65 (knowing how to make

nucleosides irrelevant without knowing “what makes them effective”);

AbbVie Deutschland GmbH & Co., KG v. Janssen Biotech, Inc., 759 F.3d

1285, 1301 (Fed. Cir. 2014) (known modification approach irrelevant

where one could not “make predictable changes” to achieve claimed

functionality); Bos. Sci., 647 F.3d at 1364 (inadequate written

description where “even … minor structural changes to the molecular

structure … may have significant and unpredictable effects on

functionality,” notwithstanding possibility of making and testing).

     From that perspective, scFv design, both on its own and

particularly within the CAR context, was unpredictable in 2002, as the

lead inventor confirmed. See supra 5.




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        B.    The patent does not disclose representative species or
              common structural features showing which of the
              millions of billions of structural candidates would
              function as claimed.

        1. The inventors were required to disclose enough information to

distinguish functional from non-functional scFvs. They did not. The

patent fails to satisfy Ariad’s criteria for written description of a genus:

representative species or common structural features. 598 F.3d at

1350.

        Taking the latter first, the patent does not disclose common

structural features distinguishing which of the millions of billions of

possible species will achieve the claimed function from those that will

not. It provides no guidance about which sequences will work. Dr.

Brocker’s concession is dispositive: The patent does not “teach[] any

correlation between the amino acid sequence of an scFv and its ability

to bind to a target antigen.” Appx33955; see AbbVie, 759 F.3d at 1300-

01. Layer on top the unrebutted testimony that the patent provides no

guidance on (1) other design choices that affect binding, such as linkers

and the order of heavy and light chains, or (2) the structure of the

target antigen, including the specific portion of the antigen the scFv



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binds to (the epitope). Appx33679-33680; Appx33691-33693;

Appx33698-33701; see Appx32968-32969; Appx37086.

     The district court ignored all of this in favor of Dr. Brocker’s

testimony that the patent identified certain “common structural

features.” Appx63. But Dr. Brocker conceded those structural features

are common to “all scFvs,” whether or not they bind to CD19 or any

other target. Appx33959. That will not do. Written description

demands structural features “of species falling within the genus

sufficient to distinguish the genus from other materials.” Ariad, 598

F.3d at 1350 (emphasis added); see Regents of the Univ. of Cal. v. Eli

Lilly & Co., 119 F.3d 1559, 1568 (Fed. Cir. 1997) (inadequate written

description where patent “d[id] not define any structural features

commonly possessed by members of the genus that distinguish them

from others” (emphasis added)). Features common to both members

and non-members do not distinguish one from the other. That disposes

of Ariad’s structural criterion.

     The patent fares no better in providing representative species. It

devotes just six lines to exactly one scFv that binds to CD19, without

disclosing its (confidential) amino-acid sequence. Appx275 (11:12-17)


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(Example 7); see Appx32965-32966; Appx33689-33691. Beyond that,

the patent references one other scFv that binds to a different antigen,

PSMA, on prostate-cancer cells, again not disclosing the sequence.

Appx273 (7:43-8:17) (Example 1); see Appx33702.

     Focusing on the narrowest claims, a lone data point—or even the

four or five CD19-specfic scFvs arguably known in the art—cannot be

representative of the diverse genus here. “[S]ufficient representative

species” must “encompass[] the breadth of the genus.” AbbVie, 759 F.3d

at 1300 (analogizing genus to plot of land, if “the disclosed species only

abide in a corner of the genus,” written description unsatisfied); see

Carnegie Mellon, 541 F.3d at 1124. Even when a patent disclosed the

amino-acid sequences of 300 claimed antibodies, this Court found

written description lacking because the disclosure did not account for

the full claim scope’s sequence variation—the disclosed antibodies

shared 90% or more sequence similarity with each other, but the genus

encompassed species, such as the accused product, with 50% or less

similarity. AbbVie, 759 F.3d at 1291, 1298-1302 (disclosure amounted

to “no evidence … [that] any described antibody” was “structurally




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similar to,” or could be “predictabl[y] change[d]” “to arrive at,” “other

types of antibodies” claimed); see Bos. Sci., 647 F.3d at 1364.

     Written description is all the more lacking here, since (1) the

patent provides no amino-acid sequence of any functioning scFv, or any

basic structural information influencing binding specificity and affinity,

Appx33693; and (2) the genus includes scFvs, such as YESCARTA®’s,

that are very different from, are stronger binders than, and bind to

different epitopes than the patent’s scFv. Supra 15, 33-35; Appx33675;

Appx33693; Appx33698. That is not disclosure of representative

species. See In re Alonso, 545 F.3d 1015, 1021-22 (Fed. Cir. 2008)

(genus of antibodies binding to particular target insufficiently described

where “[t]he specification [taught] nothing about the structure, epitope

characterization, binding affinity, specificity, or pharmacological

properties common to the large family of antibodies implicated by the

method”); Idenix, 941 F.3d at 1164 (written description lacking without

“meaningful guidance into what [species] beyond the examples … , if

any, would provide the same result”).

     The sparsity is particularly egregious given that every one of the

handful of CD19-specific scFvs arguably known was derived from one


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source—mice. Appx35630; Appx35639; Appx35641; Appx35643-35644;

Appx35874; Appx36178; see Appx32974; Appx33693-33694; Appx36640;

Appx37426. Yet the patent seeks to monopolize scFvs from any

antibody source, including other non-human species, humans, and

combinations of the two (“humanized scFvs”). Appx33954-33955.

Human and humanized scFvs are particularly valuable because the

body is less likely to reject them. Appx33344; Appx36640; Appx37437-

37438. But they are notoriously hard to achieve. Lead inventor Dr.

Michel Sadelain admitted his lab did not make any such scFvs until at

least seven years after the priority date. Appx32974-32976. Even

today, making a fully human scFv “is extremely difficult.” Appx33955

(Juno’s expert); see Appx37433.

     That, alone, is a fatal mismatch between what the inventors

possessed and what they claimed. This Court has found written

description inadequate where “nothing in the specification … convey[ed]

to one of skill in the art that [the patentee] possessed fully-human

antibodies or human variable regions that fall within the boundaries of

the asserted claims.” Centocor Ortho Biotech, Inc. v. Abbott Labs., 636

F.3d 1341, 1350-51 (Fed. Cir. 2011); see Eli Lilly, 119 F.3d at 1568


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(“[D]escription of rat insulin cDNA is not a description of the broad

classes of [claimed] vertebrate or mammalian insulin cDNA.”).

     2. This Court has routinely found more detailed teaching

insufficient as a matter of law, even where the universe of candidates

was smaller and the art more predictable. The table below captures

how this case measures up along the key dimensions.




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                                                               Narrowest
                              Boston          Carnegie
                 Idenix                                           claims
                             Scientific        Mellon
                                                                   here
Structural    “[A]t least    “[T]ens of “[T]housands.          “[M]illions
claim scope   ‘many,         thousands. ” (541 F.3d at         of billions.”
              many           ” (647     1125)                  Appx33687-
              thousands.’”   F.3d at                           33688.
              (941 F.3d at   1364)
              1157)
Functional    “[F]our        39 analogs     “[T]hree           Five mouse-
species       examples       “known in      bacterial … ge     based scFvs
arguably      on a single    the art.”      nes … had          reported in
disclosed     sugar.”        (1364; see     been cloned.”      literature.
              (1161)         1357-58)       (1125)             Supra 36-
                                                               37.
Predictable   No.            No.            No.                No.
to make
functional    Testing for    Art was        “[R]ecombina       Highly
species?      effectivenes   “highly        nt plasmids        unpredictab
              s was          unpredicta     [had to] be        le; Juno
              “routine,”     ble.”          carefully          itself,
              but            (1364-67)      constructed”       testing a
              “quantity of                  to avoid           billion
              experiment                    lethality, but     candidates
              ation                         patents gave       15 years
              required”                     guidance only      after the
              was “very                     for one            priority
              high.”                        bacterial          date,
              (1156,                        species.           identifying
              1159-64)                      (1125-26)          only 60.
                                                               Supra 15-
                                                               16.




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     In short, this patent left a skilled artisan with no way to recognize

the claimed species beyond “a trial and error approach to modify”

various parameters to “achieve [the] desired result” of binding

specifically to CD19, let alone to any antigen (per the broader claims).

AbbVie, 759 F.3d at 1301. That is not written description. It is merely

“an indication of a result that one might achieve if one made that

invention” and discovered which species “fall within the claim[ed]

functional boundaries.” Ariad, 598 F.3d at 1350, 1353 (quotation marks

omitted). The inventors were not entitled to monopolize the entire field

based on how little they invented and how much less they disclosed.

     C.    At a minimum, a new trial is warranted because the
           court failed to adequately instruct the jury.

     At a minimum, a new trial is required because the district court

failed to instruct the jury, per Ariad, that genus claims “require[]” a

representative number of species or common structural elements

uniquely identifying the genus. 598 F.3d at 1350-51; see D Three

Enters., LLC v. SunModo Corp., 890 F.3d 1042, 1047 (Fed. Cir. 2018);

Amgen Inc. v. Sanofi, 872 F.3d 1367, 1373 (Fed. Cir. 2017); AbbVie, 759

F.3d at 1299. The court refused to instruct the jury that written


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description depended on those requirements, Appx139; Appx34035-

34036, making the instruction fatally “incomplete as given,” Verizon

Servs. Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1307 n.7 (Fed.

Cir. 2007) (quotation marks omitted).

     The district court was wrong that it was enough merely to

“mirror[] the statutory requirements for written description,” Appx79,

and to follow the Northern District of California’s model, Appx79-80. A

juror could not have divined Ariad’s standard based on the statutory

language alone. And model patent-law instructions have no “special

status” when they “have not been endorsed or approved” by this Court.

Eko Brands, 946 F.3d at 1378. Nor could the court excuse the legal

error by asserting that Kite’s proposed “instruction was confusing”

because of one word (“genus”). Appx80. It wasn’t; this Court uses the

same word. Besides, disagreement with one word cannot justify gutting

the legal standard.

     Given the strength of Kite’s evidence on written description, “a

correctly instructed jury could have concluded” the claims lacked

written description. Wordtech Sys., Inc v. Integrated Networks Sols.,



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Inc., 609 F.3d 1308, 1315 (Fed. Cir. 2010) (emphasis added). The error

was therefore not harmless.

II.     The Claims Are Invalid For Non-Enablement.

        Juno’s “[c]laims are not enabled” because “at the effective filing

date of the patent, one of ordinary skill in the art could not practice

their full scope without undue experimentation.” Wyeth & Cordis Corp.

v. Abbott Labs., 720 F.3d 1380, 1384 (Fed. Cir. 2013). The undisputed

facts requiring JMOL of insufficient written description doom

enablement too: the vast structural claim scope, only a fraction of

structurally sufficient species satisfying the functional requirement of

specifically binding to a given target, and rampant unpredictability.

See In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).

        Particularly relevant to enablement is one set of undisputed facts

reflecting the time and effort required to make and determine the

functionality of scFvs and CARs encompassed by the full claim scope:

       At the priority date, making one new scFv and testing it for
        binding would have taken six months to a year. Appx33677-
        33681.

       At that date, making a CAR incorporating that scFv and testing it
        for binding would have taken months to well over a year more.
        Appx33683-33685.

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   Even with present-day knowledge, Juno needed months if not
    years to test a billion CD19-specific scFvs. Appx33705-33707;
    supra 15-16.

That is the very definition of “undue experimentation.” Even if it were

routine to make and test CARs with each of the millions of billions of

possible scFvs, “routine experimentation is not without bounds.” Wyeth,

720 F.3d at 1386 (quotation marks omitted). The mere invitation here

“to engage in an iterative, trial-and-error process to practice the claimed

invention” is not enabling as a matter of law, whether or not it is

“routine.” Id. (quotation marks omitted).

     Based on these undisputed facts, this patent is invalid as a matter

of law, because it provides no guidance on how to make the claimed

genus of CARs with scFvs that perform the claimed function beyond

synthesizing millions of billions of species and testing each. See Idenix,

941 F.3d at 1163 (jury verdict unsustainable where “there were at least

many, many thousands of candidate compounds, many of which would

require synthesis and each of which would require screening”); Wyeth,

720 F.3d at 1384-86 (“synthesiz[ing] and screen[ing] each of at least




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tens of thousands of candidate compounds constitutes undue

experimentation,” even assuming only “routine” processes involved).

     The district court’s rationale for nevertheless upholding

enablement was limited to two related points in a single sentence. The

first is the same fallacy the court applied to written description: “[T]he

steps to create an scFv were straightforward.” Appx65. And it is wrong

for the same reason: Knowing how to make an scFv is not enough. The

inquiry must “focus on the functionality required by the claims,” Enzo,

928 F.3d at 1346, and “the specification must enable the full scope of

the claimed invention,” Trs. of Bos. Univ. v. Everlight Elecs. Co., 896

F.3d 1357, 1364 (Fed. Cir. 2018) (reversing denial of JMOL of non-

enablement). That means the narrowest claims cannot be enabled

unless the patent teaches how to make the range of scFvs that would,

as part of the claimed CAR, specifically bind to CD19 (or any antigen,

for the broader claims), without undue experimentation. See Enzo, 928

F.3d at 1346. The patent does not.

     The district court’s second rationale was that the two signaling

domains claimed “ha[ve] been successfully used with a number of scFvs

[and] Plaintiffs’ expert did not know a single scFv that would not work
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with the[m].” Appx65. The expert never said, or implied, that a skilled

artisan could simply pick any scFv, put it on the claimed signaling

regions, and achieve a construct that would bind to a selected target.

That would have been absurd given the undisputed evidence of

experimentation required to even find a binding scFv in isolation, such

as Juno’s need to test a billion scFvs to identify only 60 that bound to

CD19. Supra 15-16.

     The testimony the court referenced was about whether an scFv

already known to bind to an antigen on its own would maintain that

function once paired with the claimed signaling regions. Appx33943-

33944; Appx33966. All Dr. Brocker said was that he could not name a

single functioning scFv that had lost that functionality upon pairing.

Appx33943-33944; Appx33966. That did not negate the undisputed

testimony that scFvs often did lose functionality when incorporated into

a CAR. Supra 30-31; see Appx32987-32988 (lead inventor conceding, if

“you wanted to create a fusion protein,” “you couldn’t predict … with

certainty” whether it “would function”). More importantly, it gets Juno

nowhere, because it does not diminish the massive experimentation

required to identify which of the millions of billions of scFvs in isolation
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would specifically bind to CD19 (or any other antigen) in the first place.

That alone disposes of enablement.

III. Kite Does Not Infringe As A Matter Of Law Because The
     Certificate Of Correction Is Invalid.

     The CoC is invalid as a matter of law. Without it, there can be no

infringement, because the claims as issued do not cover YESCARTA®.

Appx4881.1

     The inventors told the public that their invention was limited to

CARs with a “costimulatory signaling region compris[ing] the amino

acid sequence encoded by SEQ ID NO:6.” SEQ ID NO:6 was a specific

list of nucleotides (numbered 336-663) that encoded an equally specific

amino-acid sequence: amino acids 113-220 of CD28, starting with

lysine. Appx282. The reason the claim as issued did not cover

YESCARTA® is that YESCARTA®’s costimulatory region consists of

amino acids 114-220, omitting 113 and starting with isoleucine.

Appx4881.




1 The district court held on summary judgment that prosecution-history

estoppel blocked Juno from asserting the doctrine of equivalents.
Appx8407-8419; Appx8414-8415; see Appx4874-4880.
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     The CoC stretched the claim to cover YESCARTA® by removing

the first four nucleotides (336-339)—including the trio (or “codon”)

encoding amino acid 113. Appx33629-33631; see Appx2633-2635.

Consequently, the “correction” requires nucleotides encoding only amino

acids 114-220, starting with isoleucine. Appx283; Appx35265-35273;

see Appx33629-33631. The difference looks like this:




     Juno’s attempt to broaden its claims four-and-a-half years after

the patent issued strikes at the heart of the public-notice function. To

see why, consider this chronology from the perspective of a business

deciding where to invest its time and resources:

     Pre-Nov. 2008: NCI creates a CAR with amino acids 114-220.
                    Appx35469-35482.

     Nov. 2008:          ’190 patent issues claiming a CAR with amino
                         acids 113-220 (not covering NCI’s CAR).
                         Appx261.

     Sept. 2009:         NCI publishes its CAR with amino acids 114-220.
                         Appx35469-35482.

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     July 2010:          NCI publishes promising pre-clinical results with
                         its CAR. Appx36278-36282.

     Dec. 2011:          NCI publishes promising Phase I clinical results
                         with its CAR. Appx36319-36331.

     Aug. 2012:          Kite/NCI initiate and soon publicize
                         collaboration. Appx35820-35871; Appx33246-
                         33248; see Appx36386; Appx33316-33325.

     June 2013:          Patentee files the CoC covering NCI’s CAR.
                         Appx35269.

     The public was entitled to take the inventors at their word as to

what sequence they were claiming in 2008. Expanding the claims four-

and-a-half years down the line (after substantial competitive

investment) was neither legal nor fair. A broadening CoC like this “is

only valid if it corrects a ‘clerical or typographical’ error that would have

been clearly evident to one of skill in the art reading the intrinsic

evidence.” Cent. Admixture, 482 F.3d at 1353 (quoting Superior

Fireplace Co. v. Majestic Prods. Co., 270 F.3d 1358, 1373 (Fed. Cir.

2001)). That means the CoC is invalid unless a skilled artisan reading

the original patent and its file history would think that: (A) it was

“clearly evident” that the nucleotide sequence in the original SEQ ID

NO:6 was a “clerical or typographical error”; and (B) it was “clearly

evident” that the way “to correct that error” was to change the

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nucleotide sequence to the CoC’s sequence. Id. No reasonable juror

could have reached either conclusion.

     A.    The intrinsic evidence did not make it “clearly
           evident” that the original sequence was erroneous.

     1. For two independent reasons, the original sequence listing was

not a “clearly evident” error.

     First, as a matter of law, there is no “clearly evident” error when

the claim language the patentee seeks to modify (1) is “‘spelled correctly

and reads logically in the context of the sentence’”; and (2) results in

claims “generally effective for the[ir] stated purpose.” Cent. Admixture,

482 F.3d at 1354-55 (quoting Superior Fireplace, 270 F.3d at 1370).

That is the case here. It is undisputed that the original listing yielded a

costimulatory signaling region that was part of the known CD28

protein, worked in a CAR, and read logically in view of the claims. A

working CAR using the original sequence was published. Appx33646-

33648. If the original listing functions, then it is not “clearly evident” to

a skilled artisan that it is erroneous.

     Second, multiple aspects of the written description support the

original version of SEQ ID NO:6:


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      The specification explains that one embodiment contains
       “nucleotides 336-660 of CD28,” which encode amino acids 113-
       220, starting with lysine—exactly what original SEQ ID NO:6
       encodes. Appx273 (7:52-53); see Appx33640.

      The patent cites multiple articles by lead inventor Dr. Sadelain,
       spanning five years, describing nucleotide sequences beginning
       with nucleotide 336, thus encoding amino acids starting with
       113. Appx270 (1:66-67) (citing Appx38193); Appx276 (13:13-16)
       (citing Appx37502); see Appx35496 (provisional including 2002
       article describing “nucleotides 336-660 of CD28”).

      Another sequence in the patent, SEQ ID NO:11, lists amino
       acids 113-220 of CD28, starting with lysine. Appx278-279.

In contrast, no sequence—anywhere in the patent—lists just amino

acids 114-120. Appx33634-33635. That omission is notable given the

regulation requiring that “[e]ach sequence disclosed must appear

separately in the ‘Sequence Listing.’” 37 C.F.R. § 1.821(c).

     Real-world evidence shows that nothing in patent would have

alerted the public of a “clearly evident” error in the claim. In 2013, a

Ph.D. venture capitalist, Dr. Thomas Schuetz, was conducting due

diligence for a licensing deal with Sloan Kettering. Appx33519-33523.

From the specification, he knew that the claimed amino-acid sequence

started with lysine and saw nothing askew. Appx33526-33528. His

suspicions were aroused only once he secured the “confidential”

material Dr. Sadelain used in the lab and noticed a discrepancy
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between the patent’s claims (including lysine) and Dr. Sadelain’s

construct (not including lysine). Appx33524; Appx33527-33528;

Appx36272-36273; Appx36274-36275; Appx36276-36277; Appx37292-

37371. He “[di]dn’t understand why” “the two sequences [would be]

different.” Appx33530. It was not clear to him the patent was wrong.

Appx33556. He spoke to the prosecuting attorney and read the

prosecution history. Appx33530-33531. None of that helped “clarify

things”; he was left “incredibly confused.” Appx33530-33531; see

Appx33556.

     2. The district court noted that Juno’s expert testified to

“inconsistencies” between the original listing and the specification.

Appx66. But the court did not conclude that any showed a “clearly

evident” error.

     Juno invoked column 4, which describes “one embodiment” in

which “the CD28 portion suitably includes … the portion of CD28 cDNA

spanning nucleotides 340 to 663, including the stop codon (amino acids

114-220 …). … The full sequence of this region is set forth in Seq. ID




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No: 6.” Appx271 (4:21-28) (emphasis added).2 There is no

inconsistency: The “full sequence” of nucleotides 336 to 663 “includes”

the subset of nucleotides 340 to 663. If anything, column 4 disproves

Juno’s position by confirming that the truncated sequence (340-663) is

shorter than “[t]he full sequence … set forth in Seq. ID No: 6”:




     Even further afield was Juno’s citation to certain primers listed in

SEQ ID NO:4 and SEQ ID NO:5. Appx277; see Appx271 (4:26-28);

Appx271 (7:52-56). The asserted claims invoke SEQ ID NO:6, not NO:4

or NO:5. So, as the district court recognized at claim construction, any

difference between NO:6 and the other two cannot show that NO:6 was

wrong. Appx110. Regardless, there is no inconsistency here either.

Primers are sections of DNA that amplify a particular portion of a DNA

sequence. Appx115. The patent states that these primers are intended

to amplify the “portion of CD28” described in column 4, Appx271


2 The stop codon “tells the cellular machinery that it has reached the

end of the coding region.” Appx2635.
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(4:26)—not the full NO:6. Amplifying a “portion” of NO:6 does not

contradict NO:6.

     Even if either of these purported inconsistencies could prove that

the original patent contained some mistake, that still would not suffice.

A CoC is not validated by “inconsisten[cies]” that “leave unclear which”

are “in error.” Superior Fireplace, 270 F.3d at 1370. Nobody who sees

an inconsistency here would know that the original SEQ ID NO:6 was a

“clearly evident” mistake. It is just as likely that any mistake was in

column 4 or the primers.

     3. Instead of embracing Juno’s arguments about inconsistencies,

the court sustained the jury’s verdict based on a Request for Continued

Examination (RCE) seeking—but failing—to amend the original listing

to the CoC version. Appx67-68 (referring to Appx35147-35150). This

does not show that original SEQ ID NO:6 is a “clearly evident” error

either, because, by all outward appearances, the applicants abandoned

the RCE amendment.

     After some back and forth with the PTO to address deficiencies in

the attempted amendment, the applicants ultimately resubmitted the

original listing. Appx35208-35232 (final RCE submission); see
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Appx115. This resubmission asked the PTO to “insert the paper copy in

the application [the original NO:6] in place of the previously filed

sequence listing [the one consistent with the CoC].” Appx35208. That

express instruction is why the original listing, not the CoC version,

appears in the issued patent.

     Is it possible that a reasonable juror could have thought both the

original sequence and its resubmission were mistakes? Perhaps. But

no juror could have thought that conclusion would have been “clearly

evident” at the time of issuance. It certainly was not evident to Dr.

Schuetz, even with the benefit of additional inside information. Juno

had to resort to extrinsic testimony blaming a prosecuting attorney who

supposedly (1) first listed the wrong nucleotide sequence in original

SEQ ID NO:6; (2) caught and planned to correct this initial error; only

to (3) reinstate the same error yet again by “grabb[ing] the wrong file,

the old file, and submitt[ing] it.” Appx33831-33832. Juno does not

explain how the public would have clearly divined that comedy of

errors—which is all that matters.

     The district court itself made this point at claim construction in

rejecting Juno’s “conten[tion] that ‘any reasonable reader of the
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prosecution history would understand that the applicants inadvertently

submitted the original, incorrect sequence listing.’” Appx115. It

concluded, “[w]hile it is true that this is one possible interpretation of

the events, it is also possible for a POSITA to conclude that the

applicants intentionally submitted the original sequence listing.

Ultimately, the ambiguity of the prosecution history would require a

POSITA to guess at the applicants’ intent.” Appx115 (footnote omitted).

Any clue that “require[s] a POSITA to guess” cannot qualify as a

“clearly evident” error. As with the purported inconsistencies discussed

above, the law “does not allow the mere possibility that one of skill in

the art might perceive an error to support a broadening correction.”

Cent. Admixture, 482 F.3d at 1355 n.6 (emphasis added); see Japanese

Found. for Cancer Rsch. v. Lee, 773 F.3d 1300, 1306 (Fed. Cir. 2014)

(CoC cannot correct a terminal disclaimer inadvertently “filed due to

the mistake of [a] paralegal,” where such a filing error is not a “simple

mistake[] such as [an] obvious misspelling[] that [is] immediately

apparent … on the face of the document” (quotation marks omitted)).




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     B.    The intrinsic evidence did not make it “clearly
           evident” that the CoC was the solution to any
           supposed error.

     Even assuming a “clearly evident” error, the CoC does not supply

the only “clearly evident” solution. As discussed, each purported

inconsistency can be solved by “correcting” column 4 or SEQ ID NO:4

and NO:5 to match SEQ ID NO: 6. Worse, there are three additional

independent reasons that a skilled artisan would not have necessarily

chosen the CoC’s “solution.”

     First, column 4 teaches that the CoC’s nucleotide sequence is

wrong because it provides a different sequence. It states that its

sequence (nucleotides 340-663) “includ[es] the stop codon” (the trio of

nucleotides marking the sequence’s end). Appx271 (4:21-28) (emphasis

added). Original SEQ ID NO:6 complies with this direction, but the

CoC’s sequence omits the stop codon:




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Thus, even if the CoC sequence—removing the stop codon—could be a

conceivable solution to any perceived error, it cannot be the only

“clearly evident” solution. See Cent. Admixture, 482 F.3d at 1355.

      Second, same for the primers Juno relies on. The primers amplify

322 nucleotides. Appx33644; see Appx2661-2663. That is one more

than the 321 nucleotides listed in the CoC. Appx33857. So, again, the

CoC is not the “clearly evident” solution.

      Third, same, too, for the RCE. The applicants first sought to

change the original sequence and then reverted back. That forecloses

the CoC sequence as the “clearly evident” solution to any error. It is, at

best, a muddle of mixed signals. Appx33530-33531; Appx33556.

IV.   The Damages Award, Multiples Of Any Reference License,
      Must Be Vacated.

      Rarely has this Court encountered a damages award that so

fundamentally flouts the admonition that a “reasonable royalty” must

be “carefully tie[d] … to the claimed invention’s footprint in the market

place.” ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir.

2010). Juno’s expert, Dr. Ryan Sullivan, violated this edict in three

ways to yield an award many multiples of all the licenses he considered


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comparable. First, his royalty rests on agreements that conveyed far

more value than the ’190 patent. § III.A. Second, he granted Juno the

value of Kite’s highly valuable noninfringing contributions to

YESCARTA®, and, worse, used Kite’s contribution, paradoxically, as a

reason to inflate the award. § III.B. Third, he applied “multipliers”

with no logic or factual support. § III.C.

     Dr. Sullivan invoked four real-world agreements:

        1. Sloan Kettering (MSKCC)-Juno IP License: Granted
           Juno an exclusive license to the ’190 patent and other
           patents and applications and provided Juno “extremely
           valuable” know-how (discussed below) for commercializing
           CAR-T therapy. Appx37544; Appx37509-37553 (Agreement);
           Appx38307-38308 (Amendment); Appx32999.

        2. MSKCC-Juno Side Letter: Established a broad
           partnership between Juno and MSKCC by giving MSKCC
           Juno equity and board seats as consideration for clinical trial
           and research collaboration and IP license. Appx35733-35765
           (Agreement).

        3. St. Jude-Juno: Granted Juno an exclusive naked license to
           an analogous patent, U.S. Patent No. 8,399,645, which
           covers Juno’s JCAR17 construct. Appx35783-35819
           (Agreement).

        4. Juno-Novartis: Settlement agreement in which Juno
           sublicensed that same ’645 patent to Novartis for use in
           KYMRIAH®. Appx36074-36149 (Agreement).




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Appx33455-33458. The table below summarizes the terms of these

agreements.

                    Scope          Rate  Upfront   Contingent
                                         Payment Compensation3
 MSKCC-        Exclusive ’190      7.25%  $6.9M  $3.35M for first
 Juno IP      patent, know-how                   FDA approval
 License

 MSKCC-           License and                $2M in     Up to $150M
  Juno         clinical/research             equity     contingent on
   Side          collaboration                          30x Juno stock
  Letter                                                increase

 St. Jude-      Exclusive ’645     2.5%      $25M       $17.5M for first
   Juno             patent,                             FDA approval
                continuations
  Juno-         Non-exclusive      4.75%    $12.25M     $39.25M for first
 Novartis        ’645 patent,                           FDA approval
                continuations                            (50% refund if
                                                        Juno enters
                                                        market)
   Dr.          Non-exclusive      27.6%     $585M
Sullivan’s       ’190 patent
 Opinion

     Dr. Sullivan’s proposed royalty dwarfed these real-world

valuations: a $585 million upfront payment and a 27.6% running

royalty on all YESCARTA® sales. Appx33473; Appx33476. The royalty



3 The agreements contemplated other contingent payments as well.

This table references only those Dr. Sullivan considered applicable.
Appx11879.
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rate is almost six times the average (4.8%) of the reference licenses. It’s

also more than five times the only license between two competitors

(Juno-Novartis). The upfront payment is more than 11 times the

combined upfront and milestone payments contemplated by that

license.

      Dr. Sullivan got there by cherry-picking the highest component of

various agreements, regardless of scope, and inflating them even

further through a series of machinations divorced from any semblance

of rationality. He began with the MSKCC-Juno Exclusive License

Agreement’s 7.25% base royalty and $3.35 million milestone payments,

which covered far more than just patent rights. Appx33460-33461;

Appx33512 (Sullivan). Then, instead of including that agreement’s $6.9

million upfront payment, he added the $150 million potential stock-

appreciation payment from the separate Side Letter Agreement that

launched the broad collaboration between Juno and MSKCC.

Appx33462-33463. That $150 million was not an upfront payment, but

a highly contingent bonus to reward MSKCC if the prospective

collaboration with Juno was so successful that Juno’s stock skyrocketed

30-fold, which Juno never expected to happen and which never did.
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Appx33796-33797; Appx33484. Illogically, Dr. Sullivan assumed Kite

would have granted Juno the massive $150 million payment to reward

Juno for the fact that Kite’s stock had already appreciated 30-fold

before the hypothetical negotiation. Appx33462-33463. Thus, he

transformed the $6.9 million actual upfront fee in the MSKCC-Juno

license into a $153.35 million “starting point.” Appx33463-33464.

     Dr. Sullivan made no downward adjustments to account for the

additional value MSKCC conveyed to Juno, the broad research

collaboration, the longer license terms, or the fact that those licenses

were exclusive. Appx33464-33467; Appx33513-33514. Instead, he

applied two adjustments to increase both the royalty and the upfront

payment nearly fourfold. Appx33464-33467; Appx33473; Appx33475-

33476. Essentially, he nearly doubled the already-inflated base

amounts because Kite was expected to be a competitor (once Juno

entered the market) and then added nearly double the base amount

because Kite was expected to be an especially good competitor.

     He derived the first near doubling—a 90% increase from his base

royalty—by comparing the rate Juno paid St. Jude to license the

analogous ’645 patent (2.5%) to the rate Juno’s competitor Novartis paid
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Juno to sublicense the same patent (4.75%). Appx33464-33466. Rather

than conclude that a competitor sublicensee would pay 2.25% more in

royalty, Dr. Sullivan concluded that competitors pay 90% more, or

nearly double, any rate paid by a non-competitor. Appx33465-33466;

Appx33473. Next, he applied that same 90% rule of thumb to the

already-inflated $153.3 million upfront payment, even though the non-

sales-based compensation in the two ’645 patent agreements was

roughly equivalent, regardless of the licensee’s competitor status. Thus,

Dr. Sullivan transformed the already-high royalty and upfront payment

to a 13.78% royalty rate and an upfront payment of $291 million.

Appx33465-33466; Appx33473; see Appx33476.

     Dr. Sullivan did not stop there. He added another 192% increase

over the starting license terms—i.e., almost double the base amount.

Appx33471-33472. He did so on the theory that Kite was a stronger

competitor in 2017 than Novartis had been in 2015, even though Kite’s

strength resulted in large part from Kite’s own innovations.

Appx33458; Appx33467-33472; infra 68-70. He “quantif[ied]” Kite’s

competitive strength by comparing Juno’s own market-share projections

among Novartis and Kite in those two years. Appx33468-33472;
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Appx36198. He found that Juno in 2017 would have expected Kite to

receive almost three times the revenue Juno projected Novartis to

receive in 2015. Appx33469; Appx33471. And Dr. Sullivan concluded

that Juno would have demanded a proportional 192% increase to the

royalty rate and upfront payment rather than being satisfied to collect

the vastly higher royalties for those increased sales.

     The end result of these gymnastics, a 27.6% royalty and $585

million upfront payment, bears no resemblance to any license in

evidence. Compare Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301,

1329, 1332 (Fed. Cir. 2009) (vacating jury award that was “roughly

three to four times the average amount” of any license); see Wordtech,

609 F.3d at 1320 (“[A] past royalty range of 3-12% fails to explain a

26.3% hypothetically negotiated rate.”). It is also $150 million more

than all of YESCARTA®’s revenue through trial. Appx33756. Because

this Court’s cases have analyzed similar defects as both abuses of

discretion in admitting evidence and failures of proof, Kite challenges

each error under both frameworks. See Bio-Rad Labs., Inc. v. 10X

Genomics Inc., 967 F.3d 1353, 1373-74 (Fed. Cir. 2020).



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     A.    The $585 million upfront payment is based on an
           agreement that vastly overvalues the ’190 patent.

     The $585 million upfront payment depends almost entirely on Dr.

Sullivan’s testimony that the reasonable royalty would include the $150

million stock-appreciation payment in the Side Letter. Appx33462-

33463. But the Side Letter is not comparable to the hypothetical

negotiation and it vastly overstates the value of the ’190 patent as a

matter of law.

     The Side Letter did not license the ’190 patent to Juno. The

agreement explicitly defined the payment as “consideration” for

launching a broad collaborative partnership between Juno and MSKCC

that included a “Clinical Studies Agreement” and a “Sponsored

Research Agreement” in addition to the MSKCC-Juno “License

Agreement.” Appx35733; Appx33404-33405 (former Juno CEO);

Appx33794-33795. Reflecting that partnership, the Side Letter also

granted MSKCC seats on Juno’s board and equity in the company.

Appx35735-35737. That sort of collaborative agreement bears no

resemblance to a hypothetical negotiation to license one patent.




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     But even if, contrary to the agreement’s terms, the Side Letter

could be considered consideration for only the IP Licensing Agreement,

the $150 million stock-appreciation payment would still necessarily

overvalue the patent because the licensing agreement itself granted

Juno value far beyond the ’190 patent. The agreement included

manufacturing and clinical “know how” for creating CAR-T therapies,

Appx38309-38311, a benefit to which the agreement assigned

significant value, Appx37521, and that Juno’s witnesses agreed was

“extremely valuable,” Appx32999 (Sadelain).

     Dr. Sullivan and Juno witnesses conceded that the collaboration

and know-how were “valuable.” Appx33513; Appx32993-32996; see

Appx33764 (Kite’s expert). So, Dr. Sullivan was required to “account

for” and remove that value from the hypothetical negotiation. Ericsson,

Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1227 (Fed. Cir. 2014); see

ResQNet, 594 F.3d at 872-73. Instead, he admitted he “didn’t” “make

any adjustment for the licensed technology in the MSKCC Juno

agreement compared to the licensed technology at [issue in] the

hypothetical negotiation.” Appx33513-33514; see Appx11722-11723

(Sullivan’s Report). That failure “served no purpose other than … ‘to
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increase the reasonable royalty rate above rates more clearly linked to

the economic demand for the claimed technology.” LaserDynamics, Inc.

v. Quanta Comput., Inc., 694 F.3d 51, 80 (Fed. Cir. 2012).

     The district court accordingly abused its discretion in permitting

Dr. Sullivan to present an opinion that defied the legal requirements for

damages—an error that plainly prejudiced Kite, as the jury adopted Dr.

Sullivan’s improper opinion wholesale. Commonwealth Sci. and Indus.

Rsch. Organisation v. Cisco Sys., Inc. (“CSIRO”), 809 F.3d 1295, 1303

n.2 (Fed. Cir. 2015) (“[T]his court has often excluded proffered licenses

as insufficiently comparable.”). And, even if his opinion could clear the

admissibility threshold, it cannot constitute substantial evidence to

support the damages award because it is not “commensurate with that

which the defendant has appropriated.” Bandag, Inc. v. Gerrard Tire

Co., Inc., 704 F.2d 1578, 1582 (Fed. Cir. 1983); see Trell v. Marlee Elecs.

Corp., 912 F.2d 1443, 1447 (Fed. Cir. 1990) (royalty amount from

license “involving additional inventions” not substantial evidence);

ResQNet, 594 F.3d at 873 (same).

     The district court was required to act as a gatekeeper precisely

because a jury can be easily misled by an expert attesting to a damages
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                                                         CONFIDENTIAL MATERIAL
                                                         OMITTED

methodology unmoored from reality or economic theory. Here, the

mischief is even worse because Juno offered the jury another

justification for the upfront payment that was so wrong that even

Juno’s expert did not embrace it. On summation, it falsely asserted

that Celgene, a company that eventually acquired Juno, made “an

upfront royalty payment” of a “billion dollars” to Juno for CAR-T

therapies. Appx34184-34185 (emphasis added); Appx34086. In fact,

Celgene paid $850 million to purchase 9% of Juno and another $150

million as part of a complex business partnership well beyond the ’190

patent. Appx33392; Appx37220-37221; Appx33742-33744. Worse, the

court prevented Kite from countering the false assertion with evidence
confidential license valuation

that                             valued a Kite license to the ’190 patent at only

                     and a                         Appx97-98; Appx33792-33793;

Appx12376-12377. If ever there were real world evidence of what these

patent rights were worth, it is that valuation, which the jury never

heard.




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     B.    Dr. Sullivan failed to apportion the royalty rate and
           upfront payment to account for Kite’s undisputed
           contributions to YESCARTA®.

     Dr. Sullivan also flouted the rule that a “patentee … must in every

case give evidence tending to separate or apportion … between the

patented feature and the unpatented features.” CSIRO, 809 F.3d at

1301 (quoting Garretson v. Clark, 111 U.S. 120, 121 (1884)).

     1. There is no dispute that Kite made valuable contributions to

create the lifesaving therapy, YESCARTA®. If the ’190 patent were all

that mattered, Juno would long ago have released its own FDA-

approved therapy. As Dr. Sullivan acknowledged, “there are other

contributors to YESCARTA beyond just the [receptor] construct itself.”

Appx33447. Specifically, he acknowledged the value of Kite’s

“manufacturing processes, and administration, and lymphodepletion,”

catalogued above (at 9-10, 12). Appx33447; see Appx33496-33497; see

Appx32935 (Sadelain). Chief among them is YESCARTA®’s “completely

differentiated manufacturing system.” Appx33738; Appx36364-36366

(advantages of Kite’s process); Appx33341-33342. As discussed (at 9-

10), “manufacturing” here is not about how to mass produce an ordinary

infusion. It is about the intricate manner in which T-cells are collected,

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reprogrammed and multiplied, and then infused back into the patient to

deliver a personalized treatment.

     Kite’s proprietary process is responsible for YESCARTA®’s vastly

greater success rate in making functioning CAR-T cells (99% success,

compared to Novartis’s KYMRIAH®’s 85%), and for Kite’s ability to

deliver treatment in half the time (an average of 16 days, compared to

30). Appx37184. That means 15% of KYMRIAH® patients will not

receive their lifesaving therapy at all; the rest have to wait an average

of two additional weeks they may not have left. Appx33616 (“time is of

the essence”). It is no understatement to say that the difference is a

matter of life and death. Juno’s experience proves it: Juno’s

manufacturing problems led to patient deaths and the FDA shutdown of

its JCAR15 trial. Supra 16-17.

     Unsurprisingly, the market values these features of YESCARTA®.

Juno received “consistent customer feedback” about the “importance of

manufacturing success rate and turn around time on product

preference.” Appx37160-37161; see Appx33596-33597(“[C]ritical factors

… are the speed and the success rate of manufacturing … .”);

Appx33616-33619; Appx33737-33738. Juno worried that its own
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“manufacturing issues may not enable a competitive commercial

profile.” Appx37159. By Juno’s own estimation, Kite’s turnaround time

would add 7.8% to Kite’s market share compared to Juno’s 21-day

projected turnaround time. Appx37184. While Dr. Sullivan vaguely

asserted that manufacturing is not a “demand driver,” Appx33497; see

Appx33447, his more specific testimony conceded the undeniable point

that these manufacturing improvements “go towards the sales of the

product,” Appx33497.

     Given this undisputed evidence, Dr. Sullivan was required to

“separate the value” of all these noninfringing features. CSIRO, 809

F.3d at 1301. Instead, he did the opposite in multiple ways.

     First, he afforded Juno the full $150 million stock-appreciation fee

based on Kite’s stock appreciation from before the hypothetical

negotiation without accounting for the appreciation attributable to

Kite’s unique contributions to YESCARTA®, business decisions, and

future outlook. There was no legitimate basis to assume that the ’190

patent drove a 30-fold increase in Kite’s valuation where Juno

attempted to commercialize the same patent and never appreciated 30-

fold. Appx33797-33798.
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     Worse, he then tripled that payment and his base royalty rate to

account for how much better YESCARTA® was expected to perform in

the market than Novartis—thereby granting Juno the value of Kite’s

contributions. In this way, Dr. Sullivan not only violated, but

downright perverted, the rule that a royalty must be limited to “value

attributable to the infringing features of the product.” Finjan, Inc. v.

Blue Coat Sys., Inc., 879 F.3d 1299, 1309 (Fed. Cir. 2018) (quotation

marks omitted); see Ericsson, 773 F.3d at 1226 (royalty “must be based

on the incremental value that the patented invention adds to the end

product”). That made this plainly prejudicial testimony both

inadmissible, Appx10823-10825 (Kite’s Daubert motion); CSIRO, 809

F.3d at 1301, and insufficient to support the verdict, VirnetX, Inc. v.

Cisco Sys., Inc., 767 F.3d 1308, 1326-28 (Fed. Cir. 2014); see Power

Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 904 F.3d 965,

978-80 (Fed. Cir. 2018) (vacating unapportioned damages award;

ordering new trial).

     2. Before trial, the district court did not explain its failure to

exercise “its gatekeeping authority to ensure that only theories

comporting with settled principles of apportionment were allowed to
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reach the jury.” VirnetX, 767 F.3d at 1328; see generally Appx87-100.

After trial, the court embraced two invalid reasons.

     First, the court credited Dr. Sullivan’s “understanding” that

apportionment was already “built into” his analysis merely because he

relied on “comparable agreements to evaluate reasonable royalties.”

Appx11711-11712 (Sullivan Report); see Appx72 (“apportionment is

built into the comparable license framework”). But as the table above

shows, Dr. Sullivan identified no reference license that comes within

even a third of his 27.6% rate, or a tenth of his $585 million upfront

payment.

     Where, unlike here, a hypothesized royalty reflects the “market’s

actual valuation of the patent,” this Court has held apportionment may

be built in because that valuation excludes any non-patented

innovations. CSIRO, 809 F.3d at 1303 (expert relied on parties’

proposed licensing terms to same patent). But this Court has never

held apportionment satisfied where the expert does not even try to

establish that the starting license contained the same “proportion of

licensed/unlicensed features.” Bio-Rad, 967 F.3d at 1377; compare

supra § IV.A. Nor has this Court held apportionment satisfied where,
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as here, an expert uses a real-world license as a putative reference point

but then multiplies its terms beyond recognition based on factors

outside the patent. See VirnetX, 767 F.3d at 1326.

     Second, the court held that apportionment was not required

because Juno presented evidence that the ’190 patent was essential and

“importan[t]” to YESCARTA®. Appx72. This Court has flatly rejected

that reasoning. To avoid apportionment, “[i]t is not enough to merely

show that [the invention] … is viewed as valuable, important, or even

essential.” LaserDynamics, 694 F.3d at 68. This is not a case where

“the value of the entire [product] can be attributed to the patent[].” Id.

at 69.

     C.    The royalty rate and upfront payment are based on
           grossly excessive and legally impermissible
           multipliers.

     Dr. Sullivan’s multipliers were also both inadmissible and

insufficient because they were divorced from “sound economic and

factual predicates.” Riles v. Shell Expl. & Prod. Co., 298 F.3d 1302,

1311 (Fed. Cir. 2002); see Oiness v. Walgreen Co., 88 F.3d 1025, 1032

(Fed. Cir. 1996).



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     Dr. Sullivan had no factual or economic basis to apply his initial

90% competition adjustment to the upfront payment. As explained, he

derived that multiplier from a comparison of royalty rates in the St.

Jude-Juno and Juno-Novartis agreements. Supra 61-62. But unlike

the royalty rates, the non-sales-based compensation did not increase by

90% in the Novartis-Juno agreement. Exactly the opposite: Novartis’s

upfront payment was half of what Juno paid St. Jude, and if Juno

enters the market, the milestone payments will be almost exactly the

same ($17.5 million versus $19.6 million). Supra 59. As applied to the

upfront payment, the 90% increase had no factual basis.

     Dr. Sullivan’s other adjustment is similarly divorced from

economic reality because it grants Juno value already accounted for in

the $150 million stock-appreciation payment. Again, Dr. Sullivan

justified awarding Juno the full $150 million stock-appreciation

payment from the Side Letter based on Kite’s appreciation from 2015 to

2017. Appx33463-33464; Appx33483-33485; Appx11722. That

appreciation necessarily reflected and accounted for Kite’s expected

success selling CAR-T therapies—the same basis Dr. Sullivan used for

his second multiplier to account for Juno’s expectation that Kite would
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be a formidable competitor. Further tripling (adding 192%) the base

royalty and the $150 million stock-appreciation payment based on the

same underlying economic factors that purportedly justified the $150

million payment egregiously overcompensates Juno. Juno “can not

have it both ways.” Whitserve, LLC v. Comput. Packages, Inc., 694 F.3d

10, 30 (Fed. Cir. 2012).

     For these additional reasons, the jury’s verdict must be vacated.

V.   Kite Did Not Willfully Infringe, And The Court Erred In
     Enhancing Damages.

     A.    As a matter of law, Kite did not willfully infringe.

     To prove willfulness, Juno was required to show that Kite engaged

in “egregious, sanctionable behavior”; even “‘intentional or knowing’

infringement” is not enough. SRI Int’l, Inc. v. Cisco Sys., Inc., 930 F.3d

1295, 1308-09 (Fed. Cir. 2019) (quoting Halo Elecs., Inc. v. Pulse Elecs.,

Inc., 136 S. Ct. 1923, 1936 (2016) (Breyer, J., concurring)). Juno failed

to carry its burden as a matter of law.

     Throughout YESCARTA®’s development and through its release,

Kite had more than credible defenses to any patent-infringement action.

From NCI’s development of the CAR through 2013, the patent did not


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even purportedly cover YESCARTA®. Only later, after the PTO issued

the CoC, did YESCARTA® arguably fall within the patent’s scope. See

supra § III; Appx8413. From 2013 to October 2017, Kite’s clinical

development of what eventually became YESCARTA® was protected by

the Hatch-Waxman Act’s safe-harbor provisions. Kite also had concrete

backing for its view that the ’190 patent was invalid: By February

2016, the PTO had determined there was a “reasonable likelihood” that

the asserted claims were obvious when it granted Kite’s IPR petition.

Appx35280-35281. In 2017, just ten months before YESCARTA®

launched, the PTO declined to invalidate the challenged claims, but

Kite had an active appeal when Juno sued. See Kite Pharma, Inc. v.

Sloan-Kettering Inst. for Cancer Research, No. 17-1647 (decided June 6,

2018). Kite also had objectively strong arguments of invalidity under

§ 112, supra §§ I-II, and that the CoC on which infringement depends

was invalid, supra § III.

     There is nothing “egregious” about a pharmaceutical company

bringing a lifesaving treatment to market, in reliance on such strong

defenses to infringement. To sustain that finding would send a chilling



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message to pharmaceutical companies on the verge of releasing

lifesaving therapies in contested infringement cases.

     The district court concluded a jury could have found Kite willful

merely because: (1) there was (disputed) evidence Kite attempted to

license the ’190 patent; (2) Kite challenged the ’190 patent in an IPR;

and (3) no witness testified that Kite believed YESCARTA® did not

infringe. Appx69-70. None provides substantial evidence of willfulness.

     At most, evidence of Kite’s purported attempt to license the patent

and its IPR showed that Kite knew of the patent and recognized that

Juno might assert it against Kite. Because even “intentional or

knowing infringement” is insufficient to establish willfulness, SRI Int’l,

930 F.3d at 1308, attempting to mitigate a mere potential risk of

infringement must be too.

     It was also legally impermissible to base willfulness on the

absence of trial testimony concerning Kite’s subjective belief. Kite

produced a witness to testify that Kite did not believe it was infringing.

The court excluded that testimony, finding that Kite’s subsequent

advice of counsel superseded the lay opinion. Appx68-69. The only

other evidence Kite could have adduced to prove its subjective belief
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would have been informed by a counsel opinion. But Congress in 35

U.S.C. § 298 decreed that an accused infringer’s decision not to adduce

such evidence “may not be used to prove that the accused infringer

willfully infringed.” See SRI Int’l, 930 F.3d at 1309. The court put Kite

in a double bind where the only evidence Kite could have produced was

the privileged evidence § 298 expressly says it need not present. And

even if Kite somehow could have presented witness testimony

uninformed by advice of counsel consistent with the court’s order, this

Court has held the absence of such testimony “unremarkable” and

“insufficient.” Id.

     Following Halo, the objective reasonableness of defenses remains

a strong indicator of nonwillfulness absent affirmative evidence that the

infringer harbored “no doubts about [the patent’s] validity or any notion

of a defense.” Halo, 136 S. Ct. at 1932; WesternGeco L.L.C. v. ION

Geophysical Corp., 837 F.3d 1358, 1363 (Fed. Cir. 2016), rev’d on other

grounds, 138 S. Ct. 2129 (2018), reinstated in relevant part, 913 F.3d

1067, 1075 (Fed. Cir. 2019). Juno failed to present any such evidence

here and failed to carry its burden to prove Kite willful.



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     B.    The Court’s enhancement decision rests on legal
           error.

     Kite had compelling defenses that the ’190 patent as a whole and

the CoC were each invalid. Indeed, earlier in the case, the court itself

had expressed “misgivings” about the CoC’s validity. Appx8413; see

Appx116-117. The district court failed to independently assess the

strength of those defenses, as required by Polara Engineering, 894 F.3d

at 1355-56, in wrongly concluding this case was not close.

     The district court held the case was not close because the jury

awarded Juno all the damages it sought and spent little time

deliberating. Appx49. But those litigation facts are no substitute for

the requisite judicial assessment. Nor can passing commentary on the

credibility of one witness, Appx49, undermine the strength of those

defenses, particularly where the testimony bore no relation to the

patent’s or CoC’s validity.

     At a minimum, the enhancement award should be vacated and

remanded to the district court to consider how the reasonableness of

those defenses affects enhancement.




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                            CONCLUSION

     This Court should reverse the judgment of invalidity and

infringement or at least vacate and remand on written description and

damages, including enhancement.

                                   Respectfully submitted,

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August 31, 2020




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                                    ADDENDUM*
Second Amended Protective Order,
Dkt. 222, dated May 7, 2019 ................................................ Appx1
Final Judgment,
Dkt. 728, dated April 8, 2020 ............................................. Appx30
Order regarding Plaintiffs’ Consolidated Post-Trial Motion,
Dkt. 720, dated April 2, 2020 ............................................. Appx33
Order denying Judgment as a Matter of Law,
Dkt. 716, dated March 24, 2020 ......................................... Appx57
Order regarding Daubert Motions,
Dkt. 473, dated December 3, 2019 ..................................... Appx87
Claim Construction Order,
Dkt. 100, dated October 9, 2018....................................... Appx101
Ex. PX1, U.S. Patent No. 7,446,190................................. Appx260




*Confidential material omitted from the addendum at
Appx47, Appx48, Appx54, Appx95, Appx98 indicates confidential
business information containing non-public valuations.
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      ZKHQ WKH 3URGXFLQJ 3DUW\ EHOLHYHV LQ JRRG IDLWK WKDW WKH PDWHULDO TXDOLILHV IRU
      SURWHFWLRQXQGHU)HGHUDO5XOHRI&LYLO3URFHGXUH F  FRQWDLQVRUSHUWDLQVWR
      LQIRUPDWLRQWKDWLVQRWSXEOLFO\DYDLODEOHDQGIRUFRPSHWLWLYHUHDVRQVLVQRUPDOO\
      NHSW FRQILGHQWLDO E\ WKH 3URGXFLQJ 3DUW\ 7KLV LQFOXGHV EXW LV QRW OLPLWHG WR
      FRQILGHQWLDO UHVHDUFK GHYHORSPHQW FRPPHUFLDO SURSULHWDU\ WHFKQLFDO EXVLQHVV
      ILQDQFLDOVHQVLWLYHRUSULYDWHLQIRUPDWLRQRU PDWHULDO
                      0DWHULDO PD\ EH GHVLJQDWHG DV $77251(<6¶ (<(6 21/<
      ,1)250$7,21ZKHQWKH3URGXFLQJ3DUW\EHOLHYHVLQJRRGIDLWKWKDWWKHPDWHULDO
      TXDOLILHV IRU SURWHFWLRQ DV &21),'(17,$/ ,1)250$7,21 LV H[WUHPHO\
     VHQVLWLYHDQGZRXOGLIGLVFORVHGWRWKH5HFHLYLQJ3DUW\RUWRDQRQSDUW\FUHDWHD
     VXEVWDQWLDOULVNRIVHULRXVKDUPWKDWFRXOGQRWEHDYRLGHGE\OHVVUHVWULFWLYHPHDQV
     $Q\ LQIRUPDWLRQ SURGXFHG LQ SULRU OLWLJDWLRQV DQG GHVLJQDWHG +,*+/<
     &21),'(17,$/ ,1)250$7,21 $77251(<6¶ (<(6 21/< RU +,*+/<
     &21),'(17,$/ ,1)250$7,21 2876,'( &2816(/ 21/< VKDOO EH
     WUHDWHGDV$77251(<6¶(<(621/<,1)250$7,21LQWKLV $FWLRQ
                     0DWHULDOSURGXFHGE\QRQSDUW\%06SXUVXDQWWRWKH&RXUW¶V$SULO
     2UGHU 'NW1R RUDQ\LQIRUPDWLRQRUWHVWLPRQ\GHULYHG WKHUHIURP
     PD\ EH GHVLJQDWHG DV %06 &21),'(17,$/ ,1)250$7,21 ± 2876,'(
     &2816(/ (<(6 21/<  $Q\ XVH RU GLVFORVXUH RI PDWHULDO GHVLJQDWHG %06
     &21),'(17,$/ ,1)250$7,21 ± 2876,'( &2816(/ (<(6 21/< LV
     VXEMHFWWRWKHUHVWULFWLRQVVHWIRUWKLQ*HQHUDO5XOHV3DUDJUDSKEHORZ
                      $OO &21),'(17,$/ ,1)250$7,21 VKDOO EH XVHG RQO\ LQ
     FRQQHFWLRQ ZLWK WKH SUHSDUDWLRQ WULDO DQG DSSHDO RI WKLV $FWLRQ 7KLV OLPLWDWLRQ
     VKDOOQRWDSSO\ WRWKHSDUW\WKDW FUHDWHGRU SURGXFHG VXFK PDWHULDOV RURWKHUZLVH
     KDG SRVVHVVLRQ FXVWRG\ RZQHUVKLS RU FRQWURO RI WKH PDWHULDOV SULRU WR WKH
     LQLWLDWLRQRIWKLV ODZVXLW
                     7KH SDUWLHV PD\ DJUHH WR DGG DGGLWLRQDO FDWHJRULHV RI
    
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      &21),'(17,$/ ,1)250$7,21 IURP WLPH WR WLPH DV PD\ EH QHFHVVDU\ RU
      DSSURSULDWH,IWKHSDUWLHVFDQQRWUHVROYHWKHLVVXHRIZKHWKHUWKLV2UGHUVKRXOGEH
      DPHQGHG WR LQFOXGH WKH SURSRVHG QHZ FDWHJRU\ RI &21),'(17,$/
      ,1)250$7,21 WKH GLVSXWH PD\ EH VXEPLWWHG WR WKH &RXUW YLD WKH DVVLJQHG
      GLVWULFWMXGJH¶VSURFHGXUHVIRUWKHUDLVLQJRIVXFKPDWWHUV'LVFORVXUHRIPDWHULDO
      KRZHYHU VKDOO VWLOO EH PDGH EXW PDUNHG DV &21),'(17,$/ ,1)250$7,21
      SHQGLQJUHVROXWLRQRIWKHREMHFWLRQE\WKHSDUWLHVRUWKH&RXUWDVWKHFDVHPD\ EH
                        0DUNLQJ     'HVLJQDWHG      0DWHULDO      DV     &21),'(17,$/
      ,1)250$7,21 $77251(<6¶ (<(6 21/< ,1)250$7,21 RU %06
     &21),'(17,$/ ,1)250$7,21 ± 2876,'( &2816(/ (<(6 21/< VKDOO
     EHPDGHE\WKH3URGXFLQJ3DUW\LQWKHIROORZLQJ PDQQHU
                    D      ,QWKHFDVHRIGRFXPHQWVRUDQ\RWKHUWDQJLEOHWKLQJSURGXFHG
     GHVLJQDWLRQ VKDOO EH PDGH E\ SODFLQJ WKH OHJHQG &21),'(17,$/
     $77251(<6¶ (<(6 21/< RU %06 &21),'(17,$/ ,1)250$7,21 ±
     2876,'( &2816(/ (<(6 21/< DV WKH FDVH PD\ EH RQ HDFK SDJH RI WKH
     GRFXPHQW RURQWKHFRYHURULQDSURPLQHQWSODFHRQDQ\RWKHUWDQJLEOHWKLQJSULRU
     WRSURGXFWLRQRIWKHGRFXPHQWRUWDQJLEOHWKLQJ
                    E      ,Q WKH FDVH RI HOHFWURQLFDOO\ VWRUHG LQIRUPDWLRQ ³(6,´  L 
     GLJLWDOLPDJHILOHVVXFKDV7,))VZLOOEHPDUNHGE\WKH3URGXFLQJ3DUW\ZLWKWKH
     DSSURSULDWHGHVLJQDWLRQRQHDFKYLHZDEOHSDJHRULPDJHDQG LL QDWLYHGRFXPHQWV
     DQG GDWDEDVHV ZLOO EH PDUNHG E\ WKH 3URGXFLQJ 3DUW\ ZLWK WKH DSSURSULDWH
     GHVLJQDWLRQ XVLQJ D QDPLQJ FRQYHQWLRQ WKDW FRQYH\V LWV FRQILGHQWLDOLW\ VWDWXV RU
     VRPH RWKHU DSSURSULDWH PHDQV WR FRPPXQLFDWH WKH FRQILGHQWLDO QDWXUH RI WKH (6,
     WKDWLVDJUHHGXSRQE\WKH SDUWLHV
                    F      $Q\ LQGLYLGXDO UHVSRQVH WR ZULWWHQ LQWHUURJDWRULHV RU UHTXHVWV
     IRUDGPLVVLRQVRUDQ\H[SHUWUHSRUWWKDWFRQWDLQVRUFRQVWLWXWHV'HVLJQDWHG0DWHULDO
     VKDOO EH ODEHOHG RU PDUNHG E\ WKH 3URGXFLQJ 3DUW\ DV &21),'(17,$/
    
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      $77251(<6¶ (<(6 21/< RU %06 &21),'(17,$/ ,1)250$7,21 ±
      2876,'(&2816(/(<(621/<DVWKHFDVHPD\EHDWWKHWLPHLWLVSURYLGHG
      RU GLVFORVHG WR WKH 5HFHLYLQJ 3DUW\ E\ LQGLFDWLQJ HLWKHU DW WKH RXWVHW RI WKH
      GRFXPHQWHPERG\LQJWKHUHVSRQVHRULQWKHERG\RIHDFKLQGLYLGXDOUHVSRQVHWKH
      GHVLJQDWLRQDSSOLFDEOHWRHDFKUHVSRQVH $Q\GRFXPHQWRUWKLQJFUHDWHG HJDQ\
      DEVWUDFW VXPPDU\ PHPRUDQGXP RU H[KLELW  FRQWDLQLQJ &21),'(17,$/
      ,1)250$7,21 $77251(<6¶ (<(6 21/< ,1)250$7,21 RU %06
      &21),'(17,$/ ,1)250$7,21 ± 2876,'( &2816(/ (<(6 21/<
      VXEMHFW WR WKLV 2UGHU VKDOO OLNHZLVH EH PDUNHG RU ODEHOHG DV &21),'(17,$/
     $77251(<6¶ (<(6 21/< RU %06 &21),'(17,$/ ,1)250$7,21 ±
     2876,'(&2816(/(<(621/<DVWKHFDVHPD\ EH
                    G     ,Q WKH FDVH RI GHSRVLWLRQ WHVWLPRQ\ WUDQVFULSWV RU SRUWLRQV
     WKHUHRI GHVLJQDWLRQ VKDOO EH PDGH E\ DQ\ SDUW\ HLWKHU L  RUDOO\ RQ WKH UHFRUG
     GXULQJWKHGHSRVLWLRQLQZKLFKFDVHWKHSRUWLRQRIWKHWUDQVFULSWRIWKHGHVLJQDWHG
     WHVWLPRQ\ VKDOO EH ERXQG LQ D VHSDUDWH YROXPH DQG PDUNHG &21),'(17,$/
     ,1)250$7,21 $77251(<6¶ (<(6 21/< ,1)250$7,21 RU %06
     &21),'(17,$/,1)250$7,21 ± 2876,'(&2816(/(<(621/<DVWKH
     FDVHPD\EHE\WKHUHSRUWHURU LL E\FDSWLRQHGZULWWHQQRWLFHWRWKHUHSRUWHUDQG
     DOOFRXQVHORIUHFRUGJLYHQZLWKLQWKLUW\GD\VDIWHUUHFHLSWRIWKHRIILFLDOWUDQVFULSW
     $OOFRXQVHO UHFHLYLQJ VXFK QRWLFH VKDOO EH UHVSRQVLEOH IRU PDUNLQJ WKH FRSLHV
     RI WKH GHVLJQDWHG WUDQVFULSW RU SRUWLRQ WKHUHRI LQ WKHLU SRVVHVVLRQ RU FRQWURO DV
     GLUHFWHGE\WKHSDUW\RUGHSRQHQW3HQGLQJH[SLUDWLRQRIWKHWKLUW\GD\VDOOSDUWLHV
     DQGLIDSSOLFDEOHDQ\QRQSDUW\ZLWQHVVHVRUDWWRUQH\VVKDOOWUHDWWKHGHSRVLWLRQ
     WUDQVFULSW DV LI LW KDG EHHQ GHVLJQDWHG $77251(<6¶ (<(6 21/<
     ,1)250$7,21 DQG LI DQ\ PDWHULDO GHVLJQDWHG %06 &21),'(17,$/
     ,1)250$7,21 ± 2876,'( &2816(/ (<(6 21/< ZDV XVHG RU UHIHUHQFHG
     GXULQJ WKH GHSRVLWLRQ WKHQ SHQGLQJ H[SLUDWLRQ RI WKH WKLUW\ GD\V WKH GHSRVLWLRQ
    
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      WUDQVFULSW VKDOO EH WUHDWHG DV LI LW KDG EHHQ GHVLJQDWHG %06 &21),'(17,$/
      ,1)250$7,21 ± 2876,'( &2816(/ (<(6 21/< ,I WKH GHSRVLWLRQ LV
      YLGHRWDSHG WKH YLGHR WHFKQLFLDQ VKDOO PDUN WKH RULJLQDO DQG DOO FRSLHV RI WKH
      YLGHRWDSH WR LQGLFDWH WKDW WKH FRQWHQWV RI WKH YLGHRWDSH DUH VXEMHFW WR WKLV 2UGHU
      VXEVWDQWLDOO\ DORQJ WKH OLQHV RI ³7KLV YLGHRWDSH FRQWDLQV FRQILGHQWLDO WHVWLPRQ\
      XVHGLQWKLVFDVH,WVFRQWHQWVPD\QRWEHYLHZHGGLVSOD\HGRUUHYHDOHGH[FHSWE\
      RUGHURIWKH&RXUWRUSXUVXDQWWRZULWWHQVWLSXODWLRQRIWKHSDUWLHV´1RSHUVRQVKDOO
      DWWHQG WKH GHVLJQDWHG SRUWLRQV RI VXFK GHSRVLWLRQV XQOHVV VXFK SHUVRQ LV DQ
      DXWKRUL]HG      UHFLSLHQW    RI   &21),'(17,$/           ,1)250$7,21           RU    %06
     &21),'(17,$/,1)250$7,21XQGHUWKHWHUPVRIWKLV2UGHUDVWKHFDVHPD\
     EHDQG
                     H      ,QWKHHYHQWWKH3URGXFLQJ3DUW\HOHFWVWRSURGXFHPDWHULDOVIRU
     LQVSHFWLRQ QR PDUNLQJ QHHG EH PDGH E\ WKH 3URGXFLQJ 3DUW\ LQ DGYDQFH RI WKH
     LQLWLDOLQVSHFWLRQ)RUSXUSRVHVRIWKHLQLWLDOLQVSHFWLRQDOOPDWHULDOVSURGXFHGVKDOO
     EHFRQVLGHUHG$77251(<6¶(<(6 21/<,1)250$7,21DQGVKDOOEHWUHDWHG
     DVVXFKSXUVXDQWWRWKHWHUPVRIWKLV2UGHU7KHUHDIWHUXSRQVHOHFWLRQRIVSHFLILHG
     PDWHULDOVIRUFRS\LQJE\WKHLQVSHFWLQJSDUW\WKH3URGXFLQJ3DUW\VKDOOZLWKLQD
     UHDVRQDEOHWLPHSULRUWRSURGXFLQJWKRVHPDWHULDOVWRWKHLQVSHFWLQJSDUW\PDUNWKH
     FRSLHVRIWKRVHPDWHULDOVWKDWFRQWDLQ&21),'(17,$/,1)250$7,21ZLWKWKH
     DSSURSULDWHFRQILGHQWLDOLW\ PDUNLQJ
                        7KH 3URGXFLQJ 3DUW\ PD\ UHGDFW WKH IROORZLQJ LQIRUPDWLRQ IURP
     GRFXPHQWVWKDWLW SURGXFHV
                     D      QDPHV DGGUHVVHV 6RFLDO 6HFXULW\ QXPEHUV WD[ LGHQWLILFDWLRQ
     QXPEHUV HPDLO DGGUHVVHV WHOHSKRQH QXPEHUV DQG DQ\ RWKHU LQIRUPDWLRQ WKDW
     ZRXOGLGHQWLI\ SDWLHQWV
                     E      QDPHV DGGUHVVHV 6RFLDO 6HFXULW\ QXPEHUV WD[ LGHQWLILFDWLRQ
     QXPEHUV HPDLO DGGUHVVHV WHOHSKRQH QXPEHUV DQG DQ\ RWKHU SHUVRQDO
    
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      LGHQWLI\LQJ LQIRUPDWLRQ RI KHDOWK FDUH SURYLGHUV LQFOXGLQJ EXW QRW OLPLWHG WR
      LQGLYLGXDOVRUJDQL]DWLRQVRUIDFLOLWLHVWKDWIXUQLVKELOORUDUHSDLGIRUKHDOWKFDUH
      VHUYLFHVRUVXSSOLHV
                     F      QDPHV DGGUHVVHV 6RFLDO 6HFXULW\ QXPEHUV WD[ LGHQWLILFDWLRQ
      QXPEHUVHPDLODGGUHVVHVWHOHSKRQHQXPEHUVDQGDQ\RWKHUSHUVRQDOLGHQWLI\LQJ
      LQIRUPDWLRQ QRWWRLQFOXGHUDFHDJHRUJHQGHU RILQGLYLGXDOVHQUROOHGDVVXEMHFWV
      LQFOLQLFDOVWXGLHVRUDGYHUVHHYHQW UHSRUWV
                     G      VWUHHW DGGUHVVHV 6RFLDO 6HFXULW\ QXPEHUV WD[ LGHQWLILFDWLRQ
      QXPEHUV GDWHV RI ELUWK WHOHSKRQH FRQIHUHQFH GLDOLQ FRGHV SDVVZRUGV KRPH
     WHOHSKRQHQXPEHUVDQGFHOOXODUWHOHSKRQHQXPEHUVRI HPSOR\HHV
                    H      QDPHV DGGUHVVHV 6RFLDO 6HFXULW\ QXPEHUV WD[ LGHQWLILFDWLRQ
     QXPEHUV HPDLO DGGUHVVHV WHOHSKRQH QXPEHUV DQG RWKHU SHUVRQDO LGHQWLI\LQJ
     LQIRUPDWLRQRIDQ\FOLQLFDOLQYHVWLJDWRUVXEPLWWLQJDQDGYHUVHHYHQWWRWKH)'$RQ
     D0HG:DWFK IRUP
                    I      PDWHULDOVWKDWFRQWDLQLQIRUPDWLRQSURWHFWHGIURPGLVFORVXUHE\
     WKH DWWRUQH\FOLHQW SULYLOHJH WKH ZRUN SURGXFW GRFWULQH RU RWKHU OHJDO SULYLOHJH
     SURWHFWLQJLQIRUPDWLRQIURPGLVFRYHU\LQWKLVODZVXLWZKLFKVKDOOEHLGHQWLILHGLQD
     SULYLOHJH ORJ RU RWKHUZLVH LQ D PDQQHU WKDW FRPSOLHV ZLWK )HGHUDO 5XOH RI &LYLO
     3URFHGXUH  E  
                       7KH 3URGXFLQJ 3DUW\ WKDW KDV UHGDFWHG LQIRUPDWLRQ SXUVXDQW WR
     3DUDJUDSKVKDOOXSRQUHTXHVWLGHQWLI\WKHQDWXUHRIWKHLQIRUPDWLRQUHGDFWHGLQ
     D VSHFLILF GRFXPHQW ZLWK VXIILFLHQW GHWDLO WR DOORZ WKH 5HFHLYLQJ 3DUW\ WR
     GHWHUPLQHZKHWKHUDFKDOOHQJHWRWKHUHGDFWHGLQIRUPDWLRQPD\EHDSSURSULDWH,I
     WKH5HFHLYLQJ3DUW\KDVDJRRGIDLWKEDVLVIRUFKDOOHQJLQJWKHUHGDFWLRQWKDWSDUW\
     VKDOO LQIRUP FRXQVHO IRU WKH 3URGXFLQJ 3DUW\ LQ ZULWLQJ RI VDLG FKDOOHQJH ZLWKLQ
     IRXUWHHQ FDOHQGDU GD\V RI UHFHLSW RI WKH 3URGXFLQJ 3DUW\¶V H[SODQDWLRQ RI WKH
     UHGDFWLRQ,IDIWHUFRQIHUULQJWKHSDUWLHVFDQQRWUHVROYHWKHGLVSXWHWKH5HFHLYLQJ
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      3DUW\FKDOOHQJLQJ WKH UHGDFWLRQ PD\ PRYH IRU D UXOLQJ RQ WKH LVVXH RI ZKHWKHU
      FHUWDLQLQIRUPDWLRQLVHQWLWOHGWRUHGDFWLRQ,IWKH&RXUWILQGVWKDWVDLGLQIRUPDWLRQ
      VKRXOG UHPDLQ UHGDFWHG VDLG LQIRUPDWLRQ VKDOO UHPDLQ UHGDFWHG DQG PD\ QRW EH
      XVHGDVHYLGHQFHE\HLWKHUSDUW\DWWULDORUDWDKHDULQJRUEHUHOLHGXSRQE\HLWKHU
      SDUW\¶VH[SHUWV,IWKH&RXUWILQGVWKDWVDLGLQIRUPDWLRQVKRXOGQRWUHPDLQUHGDFWHG
      WKH 3URGXFLQJ 3DUW\ VKDOO SURYLGH RU ILOH DQ XQUHGDFWHG YHUVLRQ RI WKH GRFXPHQW
      ZLWKLQ IRXUWHHQ FDOHQGDU GD\V RI WKH &RXUW¶V GHFLVLRQ RU LI WKH 3URGXFLQJ 3DUW\
      FKDOOHQJHVVXFKDGHFLVLRQZLWKLQIRXUWHHQFDOHQGDUGD\VRIWKHFRQFOXVLRQRIDQ\
      DQGDOOSURFHHGLQJVRULQWHUORFXWRU\DSSHDOVFKDOOHQJLQJWKHGHFLVLRQ
                        &21),'(17,$/ ,1)250$7,21 VKDOO QRW EH GLVFORVHG E\ WKH
     5HFHLYLQJ3DUW\WRDQ\RQHRWKHUWKDQWKRVHSHUVRQVGHVLJQDWHGKHUHLQDQGVKDOOQRW
     EHXVHGIRUDQ\SXUSRVHRWKHUWKDQWKLV$FWLRQDVVHW IRUWKLQ3DUDJUDSKXQOHVV
     DQG XQWLO WKH SDUWLHV DJUHH RU WKH &RXUW RUGHUV WKDW FHUWDLQ VSHFLILHG LQGLYLGXDOV
     VKDOO KDYH DFFHVV WR &21),'(17,$/ ,1)250$7,21 RU VXFK GHVLJQDWLRQ LV
     UHPRYHGHLWKHUE\DJUHHPHQWRIWKHSDUWLHVRUE\RUGHURIWKH &RXUW
                       ,QIRUPDWLRQ GHVLJQDWHG &21),'(17,$/ ,1)250$7,21 VKDOO
     EHYLHZHGRQO\ E\
                     D      2XWVLGH &RXQVHO
                     E      2IILFHUV GLUHFWRUV DQG HPSOR\HHV LQFOXGLQJ ,Q+RXVH /HJDO
     3HUVRQQHO RIWKH5HFHLYLQJ3DUW\RULWVFRUSRUDWH DIILOLDWHV
                     F      6XEMHFW WR 3DUDJUDSK  RI WKLV 2UGHU RXWVLGH FRQVXOWDQWV RU
     H[SHUWV UHWDLQHG E\ D 5HFHLYLQJ 3DUW\ LQ WKLV $FWLRQ ZKR DUH QRW HPSOR\HHV RU
     FRQVXOWDQWVRID5HFHLYLQJ3DUW\RULWV DIILOLDWHV
                     G      0RFN MXURU RU IRFXV JURXS PHPEHUV SURYLGHG WKDW SULRU WR
     UHFHLYLQJ &21),'(17,$/ ,1)250$7,21 VXFK SHUVRQV H[HFXWH ([KLELW $
     DJUHHLQJWREHERXQGE\WKHWHUPVRIWKLV 2UGHU
                     H      $Q\ SHUVRQ LQGLFDWHG RQ WKH IDFH RI WKH GRFXPHQW WR EH LWV
    
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      RULJLQDWRUDXWKRURUDUHFLSLHQWRIDFRS\ WKHUHRI
                      I      7KH &RXUW DQG LWV ODZ FOHUNV VWDII DQG DQ\ MXU\ VHOHFWHG WR
      KHDUWKLV$FWLRQ
                      J      $Q\ PHGLDWRUV HQJDJHG E\ WKH SDUWLHV RU DSSRLQWHG E\ WKH
      &RXUW
                      K      6WHQRJUDSKLF UHSRUWHUV YLGHRJUDSKHUV DQG WKHLU UHVSHFWLYH
      DVVLVWDQWVZKRDUHHQJDJHGLQVXFKSURFHHGLQJVDVDUHQHFHVVDU\IRUWKHSUHSDUDWLRQ
      DQGWULDORIWKLV$FWLRQ
                      L      ,QGHSHQGHQW     FRS\LQJ     VHUYLFHV    LQGHSHQGHQW       FRPSXWHU
     FRQVXOWLQJ DQG GRFXPHQW PDQDJHPHQW VHUYLFHV LQGHSHQGHQW H[KLELW PDNHUV
     LQGHSHQGHQW WUDQVODWRUV DQG RWKHU VXSSRUW VHUYLFHV UHWDLQHG E\ FRXQVHO IRU
     SXUSRVHV RI WKLV $FWLRQ DQG ZKR DUH REOLJDWHG WR QRW GLVFORVH &21),'(17,$/
     ,1)250$7,21UHFHLYHGIURP FRXQVHO
                     M      3HUVRQV HQJDJHG E\ D SDUW\ RU FRXQVHO IRU D SDUW\ WR SUHSDUH
     JUDSKLFRUYLVXDODLGVRUGHPRQVWUDWLYHH[KLELWVSURYLGHGWKDWSULRUWRUHFHLYLQJ
     &21),'(17,$/,1)250$7,21VXFKSHUVRQVH[HFXWH([KLELW$DJUHHLQJWR
     EHERXQGE\WKHWHUPVRIWKLV2UGHU DQG
                     N      2WKHUV DV WR ZKRP WKH 3URGXFLQJ 3DUW\ KDV JLYHQ ZULWWHQ
     FRQVHQW
                       ,QIRUPDWLRQ    GHVLJQDWHG      $77251(<6¶            (<(6       21/<
     ,1)250$7,21VKDOOEHYLHZHGRQO\E\ D WKRVHSHUVRQVGHVFULEHGLQ3DUDJUDSK
      D   F   G   H   I   J   K   L   M  DQG  N  DQG E  XS WR IRXU
     DWWRUQH\V ZKRDUH ,Q+RXVH /HJDO3HUVRQQHO DV ZHOO DVWKHLUVXSSRUW VWDII  ZKR
     GRQRWKDYHDPDWHULDO UROH LQ FRPSHWLWLYH GHFLVLRQPDNLQJ DV WKH WHUP LV XVHG LQ
     U.S. Steel Corp. v. United States)G )HG&LU LQWKHILHOGRI
     FKLPHULFDQWLJHQUHFHSWRU7FHOOWKHUDS\DQGZKRKDYHVLJQHG([KLELW$DJUHHLQJ
     WREHERXQGE\WKHWHUPVRIWKLV2UGHU ³'HVLJQDWHG,Q+RXVH&RXQVHO´ $WOHDVW
    
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      VHYHQGD\VEHIRUHDQ\$77251(<6¶(<(621/<,1)250$7,21LVGLVFORVHG
      WR DQ\ DWWRUQH\ ZKR LV ,Q+RXVH /HJDO 3HUVRQQHO WKH 5HFHLYLQJ 3DUW\ VKDOO
      LGHQWLI\WKH'HVLJQDWHG,Q+RXVH&RXQVHOLQZULWLQJWRWKH3URGXFLQJ 3DUW\
                       ,QIRUPDWLRQ GHVLJQDWHG %06 &21),'(17,$/ ,1)250$7,21
      ± 2876,'(&2816(/(<(621/<VKDOOEHYLHZHGRQO\E\
                     D      7KHRXWVLGH FRXQVHORI UHFRUG DQGRWKHUDWWRUQH\V SDUDOHJDOV
      VHFUHWDULHV DQG RWKHU VXSSRUW VWDII HPSOR\HG E\ WKH ODZ ILUP V  RI WKH RXWVLGH
      FRXQVHORIUHFRUGSURYLGHGWKDWVXFKSHUVRQQHOVKDOOKDYHQRLQYROYHPHQWLQDQ\
      PDWWHUFRQFHUQLQJWKHPHUJHUWUDQVDFWLRQEHWZHHQ%06DQG&HOJHQH&RUSRUDWLRQ
       ³WKH%06&HOJHQHPHUJHUWUDQVDFWLRQ´ 
                    E      6XEMHFW WR 3DUDJUDSK  RI WKLV 2UGHU RXWVLGH FRQVXOWDQWV RU
     H[SHUWV UHWDLQHG E\ D 5HFHLYLQJ 3DUW\ LQ WKLV $FWLRQ ZKR DUH QRW HPSOR\HHV RU
     FRQVXOWDQWVRID5HFHLYLQJ3DUW\RULWV DIILOLDWHVSURYLGHGWKDWVXFKSHUVRQVVKDOO
     KDYH QR LQYROYHPHQW LQ DQ\ PDWWHU FRQFHUQLQJ WKH %06&HOJHQH PHUJHU
     WUDQVDFWLRQ
                    F      $Q\ SHUVRQ LQGLFDWHG RQ WKH IDFH RI WKH GRFXPHQW WR EH LWV
     RULJLQDWRUDXWKRURUDUHFLSLHQWRIDFRS\WKHUHRI
                    G      6WHQRJUDSKLF UHSRUWHUV YLGHRJUDSKHUV DQG WKHLU UHVSHFWLYH
     DVVLVWDQWVZKRDUHHQJDJHGLQVXFKSURFHHGLQJVDVDUHQHFHVVDU\IRUWKHSUHSDUDWLRQ
     DQGWULDORIWKLV$FWLRQ
                    H      7KH &RXUW DQG LWV ODZ FOHUNV VWDII DQG DQ\ MXU\ VHOHFWHG WR
     KHDUWKLV$FWLRQDQG
                    I      ,QGHSHQGHQW FRPSXWHU FRQVXOWLQJ DQG GRFXPHQW PDQDJHPHQW
     VHUYLFHVUHWDLQHGE\FRXQVHOIRUSXUSRVHVRIWKLV$FWLRQDQGZKRDUHREOLJDWHGWR
     QRWGLVFORVH&21),'(17,$/,1)250$7,21UHFHLYHGIURP FRXQVHO
                      )RUWKHDYRLGDQFHRIGRXEWQRQSDUW\%06DVD3URGXFLQJ3DUW\
     RI PDWHULDO GHVLJQDWHG %06 &21),'(17,$/ ,1)250$7,21 ± 2876,'(
    
         6(&21'$0(1'('                                              &DVH1RFY6-2.6
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      &2816(/(<(621/<PD\UDLVHDQ\GLVSXWHXQGHUWKLV3URWHFWLYH2UGHUZLWK
      UHVSHFW WR WKH XVH RU GLVFORVXUH RI PDWHULDO GHVLJQDWHG %06 &21),'(17,$/
      ,1)250$7,21 ± 2876,'( &2816(/(<(621/< EHIRUH WKH&RXUWLQWKLV
      $FWLRQVXEMHFWWRWKHSURFHGXUHVSURYLGHGIRU3URGXFLQJ3DUWLHVKHUHLQ
                       ,ILWEHFRPHVQHFHVVDU\IRUD5HFHLYLQJ3DUW\¶VRXWVLGHFRXQVHOWR
      VHHN WKH DVVLVWDQFH RI DQ\ SHUVRQ RWKHU WKDQ WKRVH SHUVRQV UHIHUUHG WR LQ
      3DUDJUDSKVDQGDQGWRGLVFORVH&21),'(17,$/,1)250$7,21WR
      VXFKSHUVRQWRSURSHUO\SUHSDUHWKLV$FWLRQIRUWULDOWKHIROORZLQJSURFHGXUHVVKDOO
      EH HPSOR\HG
                    D      2XWVLGHFRXQVHORIWKH5HFHLYLQJ3DUW\VKDOOQRWLI\LQZULWLQJ
     RXWVLGH FRXQVHO IRU WKH 3URGXFLQJ 3DUW\ LGHQWLI\LQJ WKHUHLQ WKH VSHFLILF
     &21),'(17,$/ ,1)250$7,21 WR EH GLVFORVHG DQG WKH QDPH DGGUHVV DQG
     SRVLWLRQ DORQJZLWKDMREGHVFULSWLRQ RIWKHSHUVRQ V WRZKRPVXFKGLVFORVXUHLV
     WREH PDGH
                    E      ,I QR REMHFWLRQ WR VXFK GLVFORVXUH LV PDGH E\ RXWVLGH FRXQVHO
     IRU WKH 3URGXFLQJ 3DUW\ ZLWKLQ ILYH EXVLQHVV GD\V RI VXFK QRWLILFDWLRQ RXWVLGH
     FRXQVHO IRU WKH 5HFHLYLQJ 3DUW\ VKDOO EH IUHH WR PDNH VXFK GLVFORVXUH WR WKH
     GHVLJQDWHG SHUVRQ V  SURYLGHG KRZHYHU WKDW RXWVLGH FRXQVHO IRU WKH 5HFHLYLQJ
     3DUW\VKDOOVHUYHXSRQRXWVLGHFRXQVHOIRUWKH3URGXFLQJ3DUW\SULRUWRGLVFORVXUH
     DQ $FNQRZOHGJPHQW RI 3URWHFWLYH 2UGHU LQ WKH IRUP DWWDFKHG DV ([KLELW $
     ZKHUHE\ VXFK SHUVRQ DJUHHV WR FRPSO\ ZLWK DQG EH ERXQG E\ WKLV 2UGHU 7KH
     DFNQRZOHGJPHQWVKDOOEHUHWDLQHGE\RXWVLGHFRXQVHOIRUWKH5HFHLYLQJ 3DUW\
                    F      ,I ZLWKLQ ILYH EXVLQHVV GD\V WKH RXWVLGH FRXQVHO IRU WKH
     3URGXFLQJ 3DUW\ REMHFWV LQ ZULWLQJ WR VXFK GLVFORVXUH QR GLVFORVXUH VKDOO EH
     PDGHH[FHSWE\RUGHURIWKH&RXUWXSRQUHTXHVWE\WKH5HFHLYLQJ3DUW\SXUVXDQW
     WKH DVVLJQHG GLVWULFW MXGJH¶V SURFHGXUHV IRU WKH UDLVLQJ RI VXFK PDWWHUV %HIRUH
     VHHNLQJVXFKUHOLHIRXWVLGHFRXQVHOIRUWKH5HFHLYLQJ3DUW\VKDOOPHHWDQGFRQIHU
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      ZLWKRXWVLGHFRXQVHOIRUWKH3URGXFLQJ3DUW\LQDJRRGIDLWKHIIRUW WRUHVROYHWKHLU
      GLIIHUHQFHV
                      G     $Q\ 3DUW\ VHHNLQJ VXFK DQ RUGHU UHTXHVWLQJ GLVFORVXUH VKDOO
      H[SODLQZK\WKHUHTXHVWHGGLVFORVXUHLVDSSURSULDWHEXWWKH3URGXFLQJ3DUW\VKDOO
      EHDU WKH EXUGHQ RI MXVWLI\LQJ WKH FRQILGHQWLDOLW\ GHVLJQDWLRQ DQG H[SODLQLQJ WKH
      KDUPWKDWZRXOGUHVXOWIURPWKHUHTXHVWHG GLVFORVXUH
                        7KH   IROORZLQJ SURYLVLRQV VKDOO FRQWURO WKH GLVVHPLQDWLRQ RI
      &21),'(17,$/,1)250$7,21WRFRQVXOWDQWVDQG H[SHUWV
                      D     $SDUW\SURSRVLQJWRVKRZ&21),'(17,$/,1)250$7,21
     WR D FRQVXOWDQW RU H[SHUW SHU 3DUDJUDSK  F  RU  VKDOO ILUVW VXEPLW WKH VLJQHG
     DFNQRZOHGJPHQWDWWDFKHGKHUHWRDV([KLELW$DQGDFXUULFXOXPYLWDH D³&9´ WR
     WKHRWKHUSDUW\7KH&9PXVWLQFOXGHRUEHDFFRPSDQLHGE\DGRFXPHQWVHWWLQJ
     IRUWK WKH FRQVXOWDQW¶V RU H[SHUW¶V QDPH FXUUHQW EXVLQHVV DIILOLDWLRQ DQG DGGUHVV
     DQG DQ\ NQRZQ SUHVHQW RU IRUPHU UHODWLRQVKLSV EHWZHHQ WKH FRQVXOWDQW RU H[SHUW
     DQGWKHSDUWLHVWRWKLV$FWLRQ7KHUHTXLUHPHQWVRISULRUGLVFORVXUHLQWKLVSURYLVLRQ
     ZLOOQRWEHDEDVLVIRUVHHNLQJGLVFRYHU\IURPDQRQWHVWLI\LQJFRQVXOWDQWRU H[SHUW
                     E     $ SDUW\ SURSRVLQJ WR VKRZ LQIRUPDWLRQ GHVLJQDWHG %06
     &21),'(17,$/ ,1)250$7,21 ± 2876,'( &2816(/ (<(6 21/< WR D
     FRQVXOWDQW RU H[SHUW SHU 3DUDJUDSK  E  VKDOO ILUVW VXEPLW WR %06 WKH VLJQHG
     DFNQRZOHGJPHQWDWWDFKHGKHUHWRDV([KLELW$D&9PHHWLQJWKHUHTXLUHPHQWVVHW
     IRUWK LQ 3DUDJUDSK  D  DERYH DQG DQ\ NQRZQ SUHVHQW RU IRUPHU UHODWLRQVKLSV
     EHWZHHQWKHFRQVXOWDQWRUH[SHUWDQG%06
                     F     6XFKFRQVXOWDQWVDQGH[SHUWVIRUWKHSDUWLHVVKDOOEHHQWLWOHGWR
     XVH VWDII DVVLVWDQWV DQG FOHULFDO ZRUNHUV DV WKH\ QRUPDOO\ GR LQ RUJDQL]LQJ
     GRFXPHQWV SUHSDULQJ RSLQLRQV DQG GRLQJ WKH RWKHU DQDO\VLV DQG LQYHVWLJDWLRQ
     QHFHVVDU\WRDVVLVWWKHH[SHUWVLQFRPSOHWLQJWKHLU DVVLJQPHQWV
                     G     ,I D SDUW\ RU QRQSDUW\ UHFHLYLQJ D QRWLFH SXUVXDQW WR WKLV
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      3DUDJUDSK REMHFWV WR DQ\ &21),'(17,$/ ,1)250$7,21 EHLQJ GLVFORVHG WR
      WKH VHOHFWHG FRQVXOWDQW RU H[SHUW SXUVXDQW WR WKLV 2UGHU VXFK SDUW\ RU QRQSDUW\
      VKDOOPDNHLWVREMHFWLRQVNQRZQLQZULWLQJWRWKHVHQGHURIWKHQRWLFHZLWKLQVHYHQ
      EXVLQHVV GD\V RI UHFHLSW RI WKH ZULWWHQ QRWLILFDWLRQ UHTXLUHG E\ WKLV VHFWLRQ 6XFK
      REMHFWLRQ PXVW EH IRU JRRG FDXVH VWDWLQJ ZLWK SDUWLFXODULW\ WKH UHDVRQV IRU WKH
      REMHFWLRQ&21),'(17,$/,1)250$7,21PD\EHGLVFORVHGWRWKHFRQVXOWDQW
      RU H[SHUW LI WKH VHYHQ EXVLQHVV GD\ SHULRG KDV SDVVHG DQG QR REMHFWLRQ KDV EHHQ
      PDGH ,I DQ REMHFWLRQ LV PDGH WKHQ ZLWKLQ VHYHQ EXVLQHVV GD\V RI UHFHLSW RI DQ
      REMHFWLRQ WKH SDUWLHV VKDOO PHHW DQG FRQIHU WR DWWHPSW WR UHVROYH WKHLU GLVSXWH ,I
     WKHSDUWLHVRUQRQSDUWLHVDUHXQDEOHWRUHVROYHWKHLUREMHFWLRQVWKHSDUW\RUQRQ
     SDUW\ PDNLQJ WKH REMHFWLRQ KDV VHYHQ EXVLQHVV GD\V DIWHU WKH PHHW DQG FRQIHU WR
     GHOLYHU WKH PRYLQJ SDUW\¶V SRUWLRQ RI WKH -RLQW 6WLSXODWLRQ SXUVXDQW WR&'&DO
     /RFDO&LYLO5XOH,IWKHSDUW\RUQRQSDUW\PDNLQJWKHREMHFWLRQGHOLYHUVVXFK
     SRUWLRQ RI WKH -RLQW 6WLSXODWLRQ WKH LQWHQGHG GLVFORVXUH VKDOO QRW EH PDGH XQOHVV
     DQGXQWLOWKH&RXUWHQWHUVDQRUGHUDXWKRUL]LQJVXFKGLVFORVXUH,IWKHPRYLQJSDUW\
     RUQRQSDUW\GRHVQRWGHOLYHULWVSRUWLRQRIWKH-RLQW6WLSXODWLRQZLWKLQWKHDERYH
     VHYHQEXVLQHVVGD\VWKHREMHFWLRQVKDOOEHGHHPHGWRKDYHEHHQZLWKGUDZQ7KH
     SDUW\ RU QRQSDUW\ PDNLQJ WKH REMHFWLRQ VKDOO KDYH WKH EXUGHQ RI SURRI WKDW WKH
     LQWHQGHG GLVFORVXUH VKRXOG QRW RFFXU ,I D WLPHO\ ZULWWHQ QRWLFH RI REMHFWLRQ LV
     SURYLGHGQR&21),'(17,$/,1)250$7,21VKDOOEHGLVFORVHGWRWKHVHOHFWHG
     FRQVXOWDQWRUH[SHUWXQWLOWKHREMHFWLRQLVUHVROYHGE\DQRUGHURIWKH&RXUWRUE\
     DQDJUHHPHQWDPRQJWKHSDUWLHVLQYROYHG
                     H     (DFK SHUVRQ DXWKRUL]HG WR UHFHLYH &21),'(17,$/
     ,1)250$7,21XQGHUWKLV2UGHU H[FOXGLQJ2XWVLGH&RXQVHO-XGJHV0DJLVWUDWH
     -XGJHVMXGLFLDOODZFOHUNVFOHULFDOSHUVRQQHORIWKH&RXUWEHIRUHZKLFKWKLV$FWLRQ
     LVSHQGLQJTXDOLILHGFRXUWUHSRUWHUVDQGQRQSDUW\FRQWUDFWRUVDQGWKHLUHPSOR\HHV
     LQYROYHG VROHO\ LQ GRFXPHQW PDQDJHPHQW GHOLYHU\ RU FRS\LQJ VHUYLFHV IRU WKLV
    
          6(&21'$0(1'('                                                &DVH1RFY6-2.6
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      $FWLRQ  WR ZKRP &21),'(17,$/ ,1)250$7,21 LV WR EH JLYHQ VKRZQ
      GLVFORVHG PDGH DYDLODEOH RU FRPPXQLFDWHG LQ DQ\ ZD\ VKDOO ILUVW H[HFXWH DQ
      $FNQRZOHGJPHQW RI 3URWHFWLYH 2UGHU LQ WKH IRUP DWWDFKHG DV ([KLELW $ 2XWVLGH
      FRXQVHOWRZKRP&21),'(17,$/,1)250$7,21LVSURGXFHGVKDOONHHSLQKLV
      RUKHUILOHVDQRULJLQDORIHDFKVXFKH[HFXWHG$FNQRZOHGJPHQWRI3URWHFWLYH2UGHU
      XQWLO VL[W\ FDOHQGDU GD\V DIWHU WKH ILQDO WHUPLQDWLRQ RI WKLV $FWLRQ 8SRQ ILQDO
      WHUPLQDWLRQ RI WKLV $FWLRQ DQG DW WKH ZULWWHQ UHTXHVW RI WKH 3URGXFLQJ 3DUW\ DOO
      VXFK H[HFXWHG DJUHHPHQWVVKDOO EHSURYLGHG WR RXWVLGH FRXQVHO IRUWKH3URGXFLQJ
      3DUW\
                     $OO &21),'(17,$/ ,1)250$7,21 GLVFORVHG E\ D 3URGXFLQJ
     3DUW\VKDOOEHKHOGLQFRQILGHQFHE\WKH5HFHLYLQJ3DUW\DQGVKDOOEHXVHGE\WKH
     5HFHLYLQJ 3DUW\ VROHO\ IRU PDWWHUV UHODWHG WR WKH SURVHFXWLRQ RU GHIHQVH RI WKH
     FODLPV LQ WKLV $FWLRQ DQG IRU QR RWKHU SXUSRVH ZKDWVRHYHU ZKHWKHU GLUHFWO\ RU
     LQGLUHFWO\ XQOHVV DQG XQWLO WKH UHVWULFWLRQV KHUHLQ DUH UHPRYHG HLWKHU E\ ZULWWHQ
     DJUHHPHQWRIFRXQVHOIRUWKHSDUWLHVRUE\2UGHURIWKH &RXUW
                     (DFK SHUVRQ UHFHLYLQJ &21),'(17,$/ ,1)250$7,21 VKDOO
     WDNH UHDVRQDEOH SUHFDXWLRQV WR SUHYHQW WKH XQDXWKRUL]HG RU LQDGYHUWHQW GLVFORVXUH
     RI VXFK LQIRUPDWLRQ ,I &21),'(17,$/ ,1)250$7,21 LV GLVFORVHG WR DQ\
     SHUVRQRWKHUWKDQDSHUVRQDXWKRUL]HGE\WKLV2UGHUWKHSDUW\UHVSRQVLEOHIRUWKH
     XQDXWKRUL]HG GLVFORVXUH PXVW LPPHGLDWHO\ EULQJ DOO SHUWLQHQW IDFWV UHODWLQJ WR WKH
     XQDXWKRUL]HGGLVFORVXUHWRWKHDWWHQWLRQRIWKHRWKHUSDUWLHVDQGZLWKRXWSUHMXGLFH
     WR DQ\ ULJKWV DQG UHPHGLHV RI WKH RWKHU SDUWLHV PDNH HYHU\ HIIRUW WR UHWULHYH WKH
     LPSURSHUO\ GLVFORVHG &21),'(17,$/ ,1)250$7,21 DQG SUHYHQW IXUWKHU
     GLVFORVXUHE\WKHSDUW\DQGE\WKHSHUVRQ V UHFHLYLQJWKHXQDXWKRUL]HG GLVFORVXUH
                     $EVHQW ZULWWHQ FRQVHQW IURP WKH 3URGXFLQJ 3DUW\ 'HVLJQDWHG ,Q
     +RXVH &RXQVHO VKDOO KDYH QR LQYROYHPHQW LQ WKH 3URVHFXWLRQ RI DQ\ SDWHQW RU
     SDWHQW DSSOLFDWLRQ UHODWLQJ WR FKLPHULF DQWLJHQ UHFHSWRU 7 FHOO WKHUDS\ ³3DWHQW
    
          6(&21'$0(1'('                                                &DVH1RFY6-2.6
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      3URVHFXWLRQ $FWLYLWLHV´  IURP WKH WLPH RI UHFHLSW RI DQ\ &21),'(17,$/
      ,1)250$7,21 WKURXJK DQG LQFOXGLQJ WZR \HDUV IROORZLQJ D  WKH HQWU\ RI D
      ILQDOQRQDSSHDODEOHMXGJPHQWRURUGHULQWKHOLDELOLW\SKDVHRIWKLV$FWLRQRU E 
      WKHFRPSOHWHVHWWOHPHQWRIDOO FODLPVDJDLQVWDOOSDUWLHVLQWKLV$FWLRQZKLFKHYHULV
      ODWHU³3URVHFXWLRQ´DVXVHGLQWKLV3DUDJUDSKPHDQVGLUHFWSDUWLFLSDWLRQLQGUDIWLQJ
      DPHQGLQJ PRGLI\LQJ RU DGYLVLQJ UHJDUGLQJ WKH GUDIWLQJ RU DPHQGLQJ RI SDWHQW
      FODLPVRUSDUWLFLSDWLRQLQGRPHVWLF DQGRUIRUHLJQSDWHQWRIILFHFRUUHVSRQGHQFHVLQ
      FRQQHFWLRQ ZLWK VXFK DFWLYLWLHV RU IHH SD\PHQWV UHODWHG WR DQ\ VXFK DFWLYLWLHV
      ³3URVHFXWLRQ´GRHVQRWLQFOXGHUHSUHVHQWLQJDSDUW\LQFRQQHFWLRQZLWKDFKDOOHQJH
     WRRULQGHIHQVHRIDSDWHQWEHIRUHDGRPHVWLFRUIRUHLJQDJHQF\ LQFOXGLQJEXWQRW
     OLPLWHGWRDQRSSRVLWLRQSURFHHGLQJDUHLVVXHSURFHHGLQJex parte UHH[DPLQDWLRQ
     inter partes UHH[DPLQDWLRQ inter partes UHYLHZ RU RWKHU SRVWJUDQW UHYLHZ 
     SURYLGHGVXFKUHSUHVHQWDWLRQVKDOOVWLOOSURKLELWDSHUVRQIURPSDUWLFLSDWLQJLQWKH
     GUDIWLQJDPHQGPHQWPRGLILFDWLRQRUDGGLWLRQRISDWHQWFODLPVLQWKHFRQWH[WRIDQ
     inter partes UHYLHZ DQGRU D FKDOOHQJH WR D SDWHQW RU SDWHQW DSSOLFDWLRQ EHIRUH D
     GRPHVWLF RU IRUHLJQ DJHQF\ )RU WKH DYRLGDQFH RI GRXEW LW LV DJUHHG DQG
     XQGHUVWRRG WKDWVXERUGLQDWHVRILQGLYLGXDOVZKRUHFHLYHDFFHVVWR$77251(<6¶
     (<(6 21/< ,1)250$7,21 PD\ HQJDJH LQ SDWHQW SURVHFXWLRQ UHODWLQJ WR
     FKLPHULF DQWLJHQ UHFHSWRU 7 FHOO WKHUDS\ VR ORQJ DV WKH LQGLYLGXDOV ZKR UHFHLYH
     DFFHVV WR $77251(<6¶ (<(6 21/< ,1)250$7,21 GR QRW SHUVRQDOO\
     SDUWLFLSDWH LQ VXFK SURVHFXWLRQ DQG GR QRW FRPPXQLFDWH DQ\ FRQILGHQWLDO
     LQIRUPDWLRQ OHDUQHG GXULQJ WKLV $FWLRQ WR VXFK VXERUGLQDWHV IRU DQ\ SXUSRVH
     UHODWLQJWRVXFK SURVHFXWLRQ
                    $ 3URGXFLQJ 3DUW\ RQ LWV RZQ LQLWLDWLYH RU DW WKH UHTXHVW RI DQ\
     RWKHUSDUW\PD\UHPRYHWKHGHVLJQDWLRQ&21),'(17,$/ ,1)250$7,21
                    7KLV3URWHFWLYH2UGHUVKDOOEHZLWKRXWSUHMXGLFHWRWKHULJKWRIDQ\
     SDUW\WREULQJEHIRUHWKH&RXUWWKHTXHVWLRQRIZKHWKHUDQ\SDUWLFXODULWHPVKRXOG
    
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      QRORQJHUEHGHVLJQDWHGDV&21),'(17,$/,1)250$7,21XQGHUWKHWHUPVRI
      WKLV 2UGHU ,I FRXQVHO IRU D 5HFHLYLQJ 3DUW\ REMHFWV WR GRFXPHQWV RU LQIRUPDWLRQ
      GHVLJQDWHGDVVXFKWKHIROORZLQJSURFHGXUHVKDOO DSSO\
                     D      &RXQVHO IRU WKH 5HFHLYLQJ 3DUW\ VKDOO VHUYH RQ WKH 3URGXFLQJ
      3DUW\ D ZULWWHQ REMHFWLRQ WR VXFK GHVLJQDWLRQ ZKLFK VKDOO GHVFULEH ZLWK
      SDUWLFXODULW\WKHGRFXPHQWVRULQIRUPDWLRQLQTXHVWLRQDQGVKDOOVWDWHWKHJURXQGV
      IRU REMHFWLRQ &RXQVHO IRU WKH 3URGXFLQJ 3DUW\ VKDOO UHVSRQG LQ ZULWLQJ WR VXFK
      REMHFWLRQ ZLWKLQ IRXUWHHQ FDOHQGDU GD\V DQG VKDOO VWDWH ZLWK SDUWLFXODULW\ WKH
      JURXQGV IRU DVVHUWLQJ WKDW WKH GRFXPHQW RU LQIRUPDWLRQ LV &21),'(17,$/
     ,1)250$7,21 ,I QR WLPHO\ ZULWWHQ UHVSRQVH LV PDGH WR WKH REMHFWLRQ WKH
     FKDOOHQJHGGHVLJQDWLRQZLOOEHGHHPHG WREHYRLG,IWKH3URGXFLQJ3DUW\PDNHVD
     WLPHO\ UHVSRQVH WR VXFK REMHFWLRQ DVVHUWLQJ WKH SURSULHW\ RI WKH GHVLJQDWLRQ
     FRXQVHOVKDOOWKHQFRQIHULQJRRGIDLWKLQDQHIIRUWWRUHVROYHWKHGLVSXWHZLWKLQILYH
     EXVLQHVV GD\V
                    E      ,I D GLVSXWH DV WR WKH GHVLJQDWLRQ RI D GRFXPHQW RU LWHP RI
     LQIRUPDWLRQ DV &21),'(17,$/ ,1)250$7,21 FDQQRW EH UHVROYHG E\
     DJUHHPHQW WKH SURSRQHQW RI WKH GHVLJQDWLRQ EHLQJ FKDOOHQJHG VKDOO SUHVHQW WKH
     GLVSXWH LQ DFFRUGDQFH ZLWK WKH /RFDO 5XOHV DQG WKH &RXUW¶V 'LVFRYHU\ 2UGHU LQ
     WKLV$FWLRQ7KHGRFXPHQWRULQIRUPDWLRQWKDWLVWKHVXEMHFWRIWKHILOLQJVKDOOEH
     WUHDWHGDVRULJLQDOO\GHVLJQDWHGSHQGLQJUHVROXWLRQRIWKHGLVSXWH
                    F      ,Q DQ\ PRWLRQ FKDOOHQJLQJ WKH FODVVLILFDWLRQ WKH 3URGXFLQJ
     3DUW\ VKDOO KDYH WKH EXUGHQ RI HVWDEOLVKLQJ WKH QHHG IRU FODVVLILFDWLRQ DV
     &21),'(17,$/,1)250$7,21
                      $Q\SDUW\PD\UHDVRQDEO\UHTXHVWLQZULWLQJWKDWDSDUW\ILOLQJRU
     VHUYLQJDSDSHULQWKLV$FWLRQVXFKDVDQH[SHUWUHSRUWRUPRWLRQWKDWLVPDUNHGDV
     &21),'(17,$/,1)250$7,21VKDOOSURGXFHWRWKHRWKHUVLGHDUHGDFWHGFRS\
     RI VXFK SDSHU UHPRYLQJ WKH LQIRUPDWLRQ WKDW KDV EHHQ GHVLJQDWHG DV
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      &21),'(17,$/,1)250$7,216XFKUHGDFWHGFRS\VKDOOEHSURYLGHGZLWKLQ
      ILYHFDOHQGDUGD\VRIVXFKUHTXHVWRURWKHUZLVHDWDGDWHDJUHHGXSRQE\WKH SDUWLHV
                        7KLV2UGHUVKDOOEHHIIHFWLYHRQWKHGDWHRILWVHQWU\E\WKH&RXUW
      +RZHYHUWRWKHH[WHQWWKDWDQ\SDUW\KDVSURGXFHGGRFXPHQWVLQWKLV$FWLRQSULRU
      WR WKH HQWU\ RI WKLV 2UGHU WKDW LW KDV LQGLFDWHG FRQWDLQ RU SHUWDLQ WR FRQILGHQWLDO
      LQIRUPDWLRQ WKRVH GRFXPHQWV ZLOO EH WUHDWHG DV KDYLQJ EHHQ SURGXFHG PDUNHG
      &21),'(17,$/ ,1)250$7,21 SHQGLQJ DQ\ UHGHVLJQDWLRQ SXUVXDQW WR WKLV
      2UGHU
                        :KHQHYHU D GHSRVLWLRQ WDNHQ RQ EHKDOI RI DQ\ SDUW\ LQYROYHV D
     GLVFORVXUHRI&21),'(17,$/,1)250$7,21RIDQ\ SDUW\
                     D      VDLG GHSRVLWLRQ RU SRUWLRQV WKHUHRI VKDOO EH GHVLJQDWHG DV
     FRQWDLQLQJ &21),'(17,$/ ,1)250$7,21 VXEMHFW WR WKH SURYLVLRQV RI WKLV
     2UGHUVXFKGHVLJQDWLRQVKDOOEHPDGHRQWKHUHFRUGZKHQHYHUSRVVLEOHEXWDSDUW\
     PD\ GHVLJQDWH SRUWLRQV RI GHSRVLWLRQV DV FRQWDLQLQJ &21),'(17,$/
     ,1)250$7,21DIWHUWUDQVFULSWLRQRIWKH SURFHHGLQJV
                     E      WKH 3URGXFLQJ 3DUW\ VKDOO KDYH WKH ULJKW WR H[FOXGH IURP
     DWWHQGDQFH DW VDLG GHSRVLWLRQ GXULQJ VXFK WLPH DV WKH &21),'(17,$/
     ,1)250$7,21 LV WR EH GLVFORVHG DQ\ SHUVRQ QRW DXWKRUL]HG WR UHFHLYH VXFK
     &21),'(17,$/,1)250$7,21SXUVXDQWWRWKLV2UGHU DQG
                     F      WKHRULJLQDOVRIVDLGGHSRVLWLRQWUDQVFULSWVDQGDOOFRSLHVWKHUHRI
     VKDOOEHDUWKHOHJHQG&21),'(17,$/ ,1)250$7,21
                       %HIRUH DQ\ &21),'(17,$/ ,1)250$7,21 LV ILOHG ZLWK WKH
     &RXUWIRUDQ\SXUSRVHWKHSDUW\ VHHNLQJWRILOHVXFKPDWHULDOVKDOOVHHNSHUPLVVLRQ
     RIWKH&RXUWWRILOHVDLGPDWHULDOXQGHUVHDO7KHSDUWLHVZLOOIROORZDQGDELGHE\
     DSSOLFDEOH ODZ LQFOXGLQJ UHOHYDQW ORFDO UXOHV ZLWK UHVSHFW WR ILOLQJ GRFXPHQWV
     XQGHU VHDO LQ WKLV &RXUW 7KH SDUW\ ILOLQJDQ\ PDWHULDOSXUVXDQW WR WKLV SDUDJUDSK
     VKDOO DOVR ILOH ZLWK WKH &RXUW DQG PDNH SXEOLFO\ DYDLODEOH DW WKH VDPH WLPH D
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      UHGDFWHGYHUVLRQWKDWGHOHWHVRUREVFXUHVDQ\&21),'(17,$/ ,1)250$7,21
                        7KLV 3URWHFWLYH 2UGHU LV LQWHQGHG WR EH DQ 2UGHU ZLWKLQ WKH
      PHDQLQJRI)HGHUDO5XOHRI(YLGHQFH G 7KHSURGXFWLRQRUGLVFORVXUHRIDQ\
      LQIRUPDWLRQ LQFOXGLQJ GRFXPHQWV  LQ WKLV DFWLRQ WKDW D 3URGXFLQJ 3DUW\ ODWHU
      FODLPV VKRXOG QRW KDYH EHHQ SURGXFHG GXH WR D SULYLOHJH RU SURWHFWLRQ IURP
      GLVFRYHU\LQFOXGLQJEXW QRWOLPLWHGWRDQ\DWWRUQH\FOLHQWSULYLOHJHZRUNSURGXFW
      SULYLOHJH MRLQW GHIHQVH SULYLOHJH RU VHWWOHPHQW SULYLOHJH VKDOO QRW EH GHHPHG WR
      ZDLYHDQ\VXFKSULYLOHJHRUSURWHFWLRQ$SDUW\RUQRQSDUW\PD\UHTXHVWWKHUHWXUQ
      RU GHVWUXFWLRQ RI VXFK LQIRUPDWLRQ ZKLFK UHTXHVW VKDOO LGHQWLI\ WKH LQIRUPDWLRQ
     DQGWKHEDVLVIRUUHTXHVWLQJLWVUHWXUQ,IDUHFHLYLQJSDUW\UHFHLYHVLQIRUPDWLRQWKDW
     WKH UHFHLYLQJ SDUW\ EHOLHYHV PD\ EH VXEMHFW WR D FODLP RI SULYLOHJH RU SURWHFWLRQ
     IURPGLVFRYHU\WKHUHFHLYLQJSDUW\VKDOOSURPSWO\LGHQWLI\WKHLQIRUPDWLRQWRWKH
     3URGXFLQJ3DUW\:KHQD3URGXFLQJ3DUW\LGHQWLILHVVXFKLQIRUPDWLRQDVSULYLOHJHG
     RUSURWHFWHGDUHFHLYLQJ SDUW\
                     D       VKDOO QRW XVH DQG VKDOO LPPHGLDWHO\ FHDVH DQ\ SULRU XVH RI
     VXFKLQIRUPDWLRQ
                     E       VKDOO WDNH UHDVRQDEOH VWHSV WR UHWULHYH WKH LQIRUPDWLRQ IURP
     RWKHUVWRZKLFKWKHUHFHLYLQJSDUW\GLVFORVHGWKHLQIRUPDWLRQ
                     F       VKDOO ZLWKLQ ILYH  EXVLQHVV GD\V RI WKH 3URGXFLQJ 3DUW\¶V
     UHTXHVW
                              L      UHWXUQ WKH LQIRUPDWLRQ DQG DOO FRSLHV WKHUHRI WR WKH
     3URGXFLQJ3DUW\ RU
                              LL     GHVWUR\ DQG FRQILUP WR WKH 3URGXFLQJ 3DUW\ LQ ZULWLQJ
     WKDW WKH LQIRUPDWLRQ DQG DOO FRSLHV WKHUHRI KDYH EHHQ GHVWUR\HG H[FHSW WKDW
     LQIRUPDWLRQ H[LVWLQJ RQ GLVDVWHU UHFRYHU\ EDFNXS V\VWHPV WKDW ZLOO EH GHOHWHG RU
     RYHUZULWWHQLQWKHQRUPDOFRXUVHQHHGQRWEH UHWXUQHGRU GHVWUR\HG
                       1R RQH VKDOO XVH WKH IDFW RU FLUFXPVWDQFHV RI SURGXFWLRQ RI WKH
    
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      LQIRUPDWLRQLQWKLVDFWLRQWRDUJXHWKDWDQ\SULYLOHJHRUSURWHFWLRQKDVEHHQZDLYHG
      $IWHUD3URGXFLQJ3DUW\RUUHFHLYLQJSDUW\LGHQWLILHVWKHLQIRUPDWLRQWKHUHFHLYLQJ
      SDUW\ PD\ILOHDPRWLRQWRFRPSHOWKHSURGXFWLRQRIWKHLQIRUPDWLRQRQWKHEDVLV
      WKDW D WKHLQIRUPDWLRQZDVQHYHUSULYLOHJHGRUSURWHFWHGIURPGLVFORVXUHRU E 
      DQ\DSSOLFDEOHSULYLOHJHRULPPXQLW\KDVEHHQZDLYHGE\VRPHDFWRWKHUWKDQWKH
      SURGXFWLRQRIWKHLQIRUPDWLRQLQWKLVDFWLRQ7KH3URGXFLQJ3DUW\DQGWKHUHFHLYLQJ
      SDUW\ VKDOO PHHW DQG FRQIHU LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ RU &RXUW UXOHV
      UHJDUGLQJ DQ\ VXFK PRWLRQ WR FRPSHO 1RWZLWKVWDQGLQJ WKLV SURYLVLRQ QR SDUW\
      VKDOOEHUHTXLUHGWRUHWXUQRUGHVWUR\DQ\LQIRUPDWLRQWKDWPD\H[LVWRQDQ\GLVDVWHU
     UHFRYHU\EDFNXS V\VWHP
                    1RWKLQJLQWKLV2UGHUQRUDQ\GHVLJQDWLRQRUIDLOXUHWRPDNH DQ\
     GHVLJQDWLRQ RI FRQILGHQWLDOLW\ KHUHXQGHU VKDOO EH XVHG RU FKDUDFWHUL]HG E\ DQ\
     SDUW\DVDQDGPLVVLRQE\DSDUW\RUDSDUW\ RSSRQHQW
                    7KH SDUWLHV DJUHH WKDW D GHVLJQDWLRQ RI LQIRUPDWLRQ DV
     &21),'(17,$/ ,1)250$7,21 LV QRW LQWHQGHG WR EH DQG VKDOO QRW EH
     FRQVWUXHGDVDQDGPLVVLRQWKDWWKH&21),'(17,$/,1)250$7,21LVUHOHYDQW
     WR DQ\FODLPRUGHIHQVHRUVXEMHFWWRDQDSSOLFDEOHSULYLOHJHRU SURWHFWLRQ
                    1RWKLQJ LQ WKLV 2UGHU VKDOO EH GHHPHG DQ DGPLVVLRQ WKDW DQ\
     SDUWLFXODU &21),'(17,$/ ,1)250$7,21 LV HQWLWOHG WR SURWHFWLRQ XQGHU WKLV
     2UGHU5XOH F RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHRUDQ\RWKHU ODZ
                    1RWKLQJ LQ WKLV 2UGHU VKDOO UHTXLUH GLVFORVXUH RI LQIRUPDWLRQ
     GRFXPHQWV RU WKLQJV ZKLFK D SDUW\ FRQWHQGV LV SURWHFWHG IURP GLVFORVXUH E\ WKH
     DWWRUQH\FOLHQW SULYLOHJH RU WKH ZRUNSURGXFW GRFWULQH RU DQ\ RWKHU DSSOLFDEOH
     SULYLOHJH RU LPPXQLW\ 7KLV 2UGHU ZLOO QRW SUHFOXGH DQ\ SDUW\ IURP PRYLQJ WKH
     &RXUW IRU DQ RUGHU GLUHFWLQJ WKH GLVFORVXUH RI VXFK LQIRUPDWLRQ GRFXPHQWV RU
     WKLQJV
                    1RWKLQJ LQ WKLV 2UGHU VKDOO EDU FRXQVHO IURP UHQGHULQJ DGYLFH WR
    
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      WKHLUFOLHQWVZLWKUHVSHFWWRWKLV$FWLRQDQGLQWKHFRXUVHWKHUHRIUHO\LQJXSRQDQ\
      LQIRUPDWLRQ GHVLJQDWHG DV &21),'(17,$/ ,1)250$7,21 SURYLGHG WKDW WKH
      FRQWHQWVRIWKHLQIRUPDWLRQVKDOOQRWEH GLVFORVHG
                      7KLV 2UGHU VKDOO EH ZLWKRXW SUHMXGLFH WR WKH ULJKW RI DQ\ SDUW\ WR
      RSSRVH SURGXFWLRQ RI DQ\ LQIRUPDWLRQ IRU ODFN RI UHOHYDQFH RU DQ\ RWKHU JURXQG
      RWKHU WKDQ WKH PHUH SUHVHQFH RI &21),'(17,$/ ,1)250$7,21 7KH
      H[LVWHQFH RI WKLV 2UGHU VKDOO QRW EH XVHG E\ HLWKHU SDUW\ DV DEDVLV IRU GLVFRYHU\
      WKDWLVRWKHUZLVHQRWSURSHUXQGHUWKH)HGHUDO5XOHVRI&LYLO 3URFHGXUH
                      'UDIWVRIH[SHUWUHSRUWVDQGQRWHVRURXWOLQHVIRUGUDIWUHSRUWVVKDOO
     QRW EH GLVFRYHUDEOH E\ DQ\ SDUW\ DQG GR QRW QHHG WR EH LGHQWLILHG RQ D SULYLOHJH
     ORJ &RPPXQLFDWLRQV EHWZHHQ H[SHUWV DQG FRXQVHO UHODWLQJ WR WKH SUHSDUDWLRQ RI
     H[SHUW UHSRUWV VKDOO QRW EH GLVFRYHUDEOH DQG GR QRW QHHG WR EH LGHQWLILHG RQ D
     SULYLOHJH ORJ H[FHSW WKDW DQ\ IDFWV DQGRU GRFXPHQWV SURYLGHG WR DQ H[SHUW RQ
     ZKLFKWKHH[SHUWUHOLHVZKHWKHUIURPFRXQVHORUDQ\RWKHUVRXUFHDQGWKHVRXUFH
     RI WKRVH GRFXPHQWV DQGRU LQIRUPDWLRQ DUH GLVFRYHUDEOH 6LPLODUO\ SULYLOHJHG
     FRPPXQLFDWLRQV LQFOXGLQJDQ\QRWHVDQGPHPRUDQGD GRQRWQHHGWREHLGHQWLILHG
     RQDSULYLOHJHORJLI WKH\ D LQYROYH D 3DUW\¶V RXWVLGH FRXQVHO LQ WKLV $FWLRQ RU D
     5HODWHG $FWLRQ DQG E  RFFXUUHG GXULQJ WKH SHQGHQF\ RI RU LQ UHDVRQDEOH
     DQWLFLSDWLRQRIWKLV$FWLRQRUD5HODWHG$FWLRQ7KHPDWHULDOVFRPPXQLFDWLRQVDQG
     RWKHU LQIRUPDWLRQ H[HPSW IURP GLVFRYHU\ XQGHU WKH IRUHJRLQJ VHQWHQFHV VKDOO EH
     WUHDWHG DV SURWHFWHG E\ WKH DWWRUQH\FOLHQW SULYLOHJH DQGRU DWWRUQH\ ZRUN SURGXFW
     GRFWULQH
                     1RWKLQJ KHUHLQ VKDOO EH FRQVWUXHG WR DIIHFW LQ DQ\ ZD\ WKH
     HYLGHQWLDU\DGPLVVLELOLW\RIDQ\GRFXPHQWWHVWLPRQ\RURWKHUPDWWHUDWDQ\FRXUW
     SURFHHGLQJ UHODWHG WR WKLV $FWLRQ 7KH PDUNLQJ RI &21),'(17,$/
     ,1)250$7,21 SXUVXDQW WR WKLV 2UGHU VKDOO QRW IRU WKDW UHDVRQ DORQH EDU LWV
     LQWURGXFWLRQRUXVHDWDQ\FRXUWSURFHHGLQJUHODWHGWRWKLV$FWLRQSXUVXDQWWRVXFK
    
          6(&21'$0(1'('                                                &DVH1RFY6-2.6
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      WHUPVDQGFRQGLWLRQVDVWKH&RXUWPD\GHHPDSSURSULDWHFRQVLVWHQWZLWKWKHQHHG
      IRU D FRPSOHWH DQG DFFXUDWH UHFRUG RI WKH SURFHHGLQJV SURYLGHG KRZHYHU WKDW
      HYHU\ HIIRUW VKDOO EH PDGH WKURXJK WKH XVH RI SURFHGXUHV DJUHHG XSRQ E\ WKH
      3DUWLHV RU RWKHUZLVH WR SUHVHUYH WKH FRQILGHQWLDOLW\ RI &21),'(17,$/
      ,1)250$7,21
                      1R UHIHUHQFH PD\ EH PDGH DW WKH WULDO LQ WKLV $FWLRQ LQ WKH
      SUHVHQFH RI D MXU\ WR WKH H[LVWHQFH RI WKLV 2UGHU RU WR WKH HIIHFW WKDW FHUWDLQ
      PDWHULDOLVVXEMHFWWRWKLV 2UGHU
                      8SRQ ILQDO WHUPLQDWLRQ RI WKLV $FWLRQ DOO SHUVRQV VXEMHFW WR WKH
     WHUPVKHUHRIVKDOOXVHFRPPHUFLDOO\UHDVRQDEOHHIIRUWVWRFROOHFWDQGUHWXUQWRWKH
     UHVSHFWLYHSDUWLHVDOO&21),'(17,$/,1)250$7,21DQGDOOFRSLHVH[FHUSWV
     DQGVXPPDULHVWKHUHRIZLWKLQFDOHQGDUGD\VRIILQDOWHUPLQDWLRQRIWKLV$FWLRQ
       LQFOXGLQJ DQ\ DSSHDOV  LQFOXGLQJ DOO FRSLHV RI VXFK GHVLJQDWHG PDWHULDOV ZKLFK
     PD\KDYHEHHQPDGH$OWHUQDWLYHO\DOOSHUVRQVVXEMHFWWRWKHWHUPVRIWKLV2UGHU
     PD\HOHFWWRGHVWUR\VXFKPDWHULDOVDQGGRFXPHQWV1RWZLWKVWDQGLQJWKHIRUHJRLQJ
     2XWVLGH &RXQVHO IRU GHSRQHQWV RU HDFK SDUW\ PD\ UHWDLQ RQH SDSHU FRS\ RI DOO
     FRXUWSOHDGLQJVDQGEULHIV FRQWDLQLQJVXFKGHVLJQDWHGPDWHULDOVRQHSDSHUFRS\RI
     DOO GHSRVLWLRQ WUDQVFULSWV DQG GHSRVLWLRQ H[KLELWV FRQWDLQLQJ VXFK GHVLJQDWHG
     PDWHULDOVSDSHUFRSLHVRIDWWRUQH\ZRUNSURGXFWRURWKHUGRFXPHQWVLQFRUSRUDWLQJ
     RU UHIHUULQJ WR VXFK GHVLJQDWHG PDWHULDOV DQG 2XWVLGH &RXQVHO¶V HOHFWURQLF ILOHV
     RWKHU WKDQ WKH SURGXFWLRQ VHWV RI GRFXPHQWV DQG WKLQJV $OO VXFK GRFXPHQWV
     UHWDLQHG E\ 2XWVLGH &RXQVHO VKDOO UHPDLQ VXEMHFW WR WKH WHUPV RI WKLV 3URWHFWLYH
     2UGHU7KHFRPPHUFLDOO\UHDVRQDEOHHIIRUWVFRQWHPSODWHGE\WKLVSDUDJUDSKGRQRW
     UHTXLUHWKHUHWXUQ RU GHVWUXFWLRQ RI PDWHULDOV WKDW D DUH VWRUHG RQ EDFNXS VWRUDJH
     PHGLD PDGH LQ DFFRUGDQFH ZLWK UHJXODU GDWD EDFNXS SURFHGXUHV IRU GLVDVWHU
     UHFRYHU\ SXUSRVHV E  DUH ORFDWHG LQ WKH HPDLO DUFKLYH V\VWHP RU DUFKLYHG
     HOHFWURQLFILOHVRIGHSDUWHGHPSOR\HHV F DUHVXEMHFWWROLWLJDWLRQKROGREOLJDWLRQV
    
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      RU G  DUH RWKHUZLVH UHTXLUHG E\ ODZ WR EH UHWDLQHG 7KH IXOILOOPHQW RI WKH
      REOLJDWLRQV LPSRVHG E\ WKLV SDUDJUDSK ZKHWKHU E\ UHWXUQ GHVWUXFWLRQ RU ERWK
      VKDOOEHFHUWLILHGLQZULWLQJE\WKH5HFHLYLQJ3DUW\ZLWKLQVL[W\FDOHQGDU GD\V
                      $OOREOLJDWLRQVDQGGXWLHVDULVLQJXQGHUWKLV2UGHUVKDOOVXUYLYHWKH
      WHUPLQDWLRQ RI WKLV $FWLRQ 7KH &RXUW UHWDLQV MXULVGLFWLRQ LQGHILQLWHO\ RYHU WKH
      SDUWLHV DQG DQ\ SHUVRQV SURYLGHG DFFHVV WR &21),'(17,$/ ,1)250$7,21
      XQGHUWKHWHUPVRIWKLV2UGHUZLWKUHVSHFWWRDQ\GLVSXWHRYHUWKHLPSURSHUXVH RI
      VXFKGHVLJQDWHG PDWHULDOV
                      7KH UHVWULFWLRQV DQG REOLJDWLRQV VHW IRUWK KHUHLQ VKDOO QRW DSSO\ WR
     DQ\ LQIRUPDWLRQ WKDW D  WKH SDUWLHV DJUHH VKRXOG QRW EH GHVLJQDWHG
     &21),'(17,$/ ,1)250$7,21 E  LV DOUHDG\ SXEOLF NQRZOHGJH F  KDV
     EHFRPH SXEOLF NQRZOHGJH RWKHU WKDQ DV D UHVXOW RI GLVFORVXUH E\ WKH 5HFHLYLQJ
     3DUW\ LWV HPSOR\HHV RU LWV DJHQWV LQ YLRODWLRQ RI WKLV 2UGHU RU G  KDV FRPH RU
     VKDOO FRPH LQWR WKH 5HFHLYLQJ 3DUW\¶V OHJLWLPDWH NQRZOHGJH LQGHSHQGHQWO\ RI WKH
     SURGXFWLRQE\WKHGHVLJQDWLQJSDUW\3ULRUNQRZOHGJHPXVWEHHVWDEOLVKHGE\SUH
     SURGXFWLRQGRFXPHQWDWLRQ
                     7KH UHVWULFWLRQV DQG REOLJDWLRQV KHUHLQ VKDOO QRW EH GHHPHG WR
     SURKLELWGLVFXVVLRQVRIDQ\&21),'(17,$/,1)250$7,21ZLWKDQ\RQHLIWKDW
     SHUVRQDOUHDG\KDVRUREWDLQVOHJLWLPDWHSRVVHVVLRQ WKHUHRI
                     1RWKLQJKHUHLQVKDOOEHFRQVWUXHGWROLPLWLQDQ\ZD\DSDUW\¶VXVH
     RILWVRZQ&21),'(17,$/ ,1)250$7,21
                     ,QWKHHYHQWWKDWDQHZSDUW\LVDGGHGVXEVWLWXWHGRUEURXJKWLQWKLV
     2UGHUZLOOEHELQGLQJRQDQGLQXUHWRWKHEHQHILWRIWKHQHZSDUW\VXEMHFWWRWKH
     ULJKWRIWKHQHZSDUW\WRVHHNUHOLHIIURPRUPRGLILFDWLRQRIWKLV 2UGHU
                     ,I GLVFRYHU\ LV VRXJKW RI D SHUVRQ QRW D SDUW\ WR WKLV $FWLRQ
     UHTXLULQJ GLVFORVXUH RI VXFK QRQSDUW\¶V &21),'(17,$/ ,1)250$7,21 WKH
     &21),'(17,$/ ,1)250$7,21 GLVFORVHG E\ DQ\ VXFK QRQSDUW\ ZLOO EH
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      DFFRUGHG WKH VDPH SURWHFWLRQ DV WKH SDUWLHV¶ UHVSHFWLYH &21),'(17,$/
      ,1)250$7,21 DQG ZLOO EH VXEMHFW WR WKH VDPH SURFHGXUHV DV WKRVH JRYHUQLQJ
      GLVFORVXUHRIWKH3DUWLHV¶UHVSHFWLYH&21),'(17,$/,1)250$7,21SXUVXDQW
      WRWKLV 2UGHU
                     'XULQJ WKH FRXUVH RI WKLV $FWLRQ D SDUW\ PD\ EH UHTXHVWHG WR
      SURGXFHWRDQRWKHUSDUW\LQIRUPDWLRQVXEMHFWWRFRQWUDFWXDORURWKHUREOLJDWLRQVRI
      FRQILGHQWLDOLW\ RZHG WR D QRQSDUW\ E\ WKH SDUW\ UHFHLYLQJ WKH UHTXHVW 7KH SDUW\
      VXEMHFW WR VXFK FRQWUDFWXDO RU RWKHU REOLJDWLRQ RI FRQILGHQWLDOLW\ VKDOO WLPHO\
      FRQWDFW WKH QRQSDUW\ WR GHWHUPLQH ZKHWKHU VXFK QRQSDUW\ LV ZLOOLQJ WR SHUPLW
     GLVFORVXUH RI WKH LQIRUPDWLRQ XQGHU WKH WHUPV RI WKLV 2UGHU ,I WKH QRQSDUW\ LV
     ZLOOLQJWRSHUPLWVXFKGLVFORVXUHWKHLQIRUPDWLRQVKDOOEHSURGXFHGLQDFFRUGDQFH
     ZLWK WKLV 2UGHU ,I WKH QRQSDUW\ LV QRW ZLOOLQJ WR SHUPLW GLVFORVXUH RI WKH
     LQIRUPDWLRQXQGHUWKHWHUPVRIWKLV2UGHUWKH5HTXHVWLQJ3DUW\LQWKH$FWLRQVKDOO
     EHQRWLILHGDQGDQ\LQIRUPDWLRQZLWKKHOG RQWKHEDVLVRIVXFKFRQWUDFWXDORURWKHU
     FRQILGHQWLDOLW\REOLJDWLRQVKDOOEHLGHQWLILHGRQDVHSDUDWHLQGH[VWDWLQJWKHUHDVRQ
     IRU ZLWKKROGLQJ WKH GRFXPHQW DQG WKH QRQSDUW\ WR ZKRP WKH REOLJDWLRQ RI
     FRQILGHQWLDOLW\ LV RZHG 7KLV 2UGHU VKDOO QRW SUHFOXGH DQ\ SDUW\ IURP VHHNLQJ DQ
     RUGHUFRPSHOOLQJSURGXFWLRQRIVXFK LQIRUPDWLRQ
                    1RWKLQJ KHUHLQ VKDOO EH FRQVWUXHG WR SUHYHQW GLVFORVXUH RI
     &21),'(17,$/ ,1)250$7,21 LI VXFK GLVFORVXUH LV UHTXLUHG E\ ODZ RU E\
     RUGHU RI WKH &RXUW ,Q WKH HYHQW WKDW D 3URGXFLQJ 3DUW\¶V &21),'(17,$/
     ,1)250$7,21 LV VRXJKW IURP D 5HFHLYLQJ 3DUW\ E\ DQ\ SHUVRQ QRW D SDUW\ WR
     WKLV$FWLRQE\VXESRHQDE\VHUYLFHZLWKDQ\OHJDOSURFHVVE\RUGHURURWKHUZLVH
     SURPSW ZULWWHQ QRWLFH VKDOO EH JLYHQ WR WKH 3URGXFLQJ 3DUW\ 6XFK QRWLFH VKDOO
     LQFOXGH D FRS\ RI VXFK VXESRHQD OHJDO SURFHVV RU RUGHU ,I WKH 3URGXFLQJ 3DUW\
     GRHVQRWPRYHWRTXDVKDQGRUIRUDSURWHFWLYHRUGHUZLWKLQWKHWLPHDOORZHGIRU
     SURGXFWLRQE\WKHVXESRHQDRURWKHUUHTXHVW RUZLWKLQVXFKWLPHVDVDFRXUWPD\
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      GLUHFWRUDVPD\EHDJUHHGXSRQE\WKHSDUWLHV RUQRWLILHVWKH5HFHLYLQJ3DUW\LQ
      ZULWLQJWKDWLWZLOOQRWILOHDPRWLRQWKH5HFHLYLQJ3DUW\PD\GLVFORVHLQIRUPDWLRQ
      LQUHVSRQVHWRWKHVXESRHQDRURWKHUUHTXHVW7KH5HFHLYLQJ3DUW\ZLOOQRWSURGXFH
      DQ\RIWKH&21),'(17,$/ ,1)250$7,21 ZKLOHD3URGXFLQJ3DUW\¶V PRWLRQ
      WRTXDVKRUIRUDSURWHFWLYHRUGHULVSHQGLQJRUZKLOHDQDSSHDOIURPRUUHTXHVWIRU
      DSSHOODWHUHYLHZRIVXFKPRWLRQLVSHQGLQJXQOHVVDFRXUWRUGHUVSURGXFWLRQRIWKH
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                            UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10                            WESTERN DIVISION

   11 JUNO THERAPEUTICS, INC.,               Case No. 2:17-cv-07639-PSG-KSx
      MEMORIAL SLOAN KETTERING
   12 CANCER CENTER, AND SLOAN               [PROPOSED] FINAL JUDGMENT
   13 KETTERING INSTITUTE FOR
      CANCER RESEARCH,
   14                                        Hon. Philip S. Gutierrez
               Plaintiffs,
   15                                        Courtroom 6A
           v.
   16
      KITE PHARMA, INC.,
   17
               Defendant.
   18
   19 AND RELATED COUNTERCLAIMS
   20
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                                                                    [PROPOSED] FINAL JUDGMENT
                                                                     Case No. 2:17-cv-07639-PSG-KSx



                                     Appx30
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    1        This action came on for jury trial on December 3, 2019, in Courtroom 10C of
    2 the above-entitled Court, the Honorable District Court Judge S. James Otero
    3 presiding. On December 13, 2019, the jury returned a unanimous verdict in favor of
    4 Plaintiffs Juno Therapeutics, Inc., and Sloan Kettering Institute for Cancer Research
    5 (“Plaintiffs”), and against Defendant Kite Pharma, Inc. (“Kite”). Dkt. No. 593
    6 (redacted version); Dkt. No. 594 (sealed version). The Court has now considered and
    7 resolved each side’s consolidated post-trial motions.
    8        NOW THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED
    9 THAT JUDGMENT IS HEREBY ENTERED IN THIS MATTER AS
   10 FOLLOWS:
   11        1.     Kite has infringed claims 3, 5, 9, and 11 of United States Patent No.
   12 7,446,190 (“the ’190 Patent”) since October 18, 2017, by making, selling, and/or
   13 offering to sell Yescarta® in the United States.
   14        2.     Kite’s infringement of claims 3, 5, 9, and 11 of the ’190 Patent has been
   15 willful.
   16        3.     Claims 3, 5, 9, and 11 of the ’190 Patent are not invalid for lack of
   17 enablement or written description.
   18        4.     The ’190 Patent’s Certificate of Correction is not invalid.
   19        5.     Judgment is entered against Kite on its counterclaims of non-
   20 infringement and invalidity.
   21        6.     Plaintiffs shall recover: (1) $778,343,501 on the jury verdict,
   22 comprising (a) a $585,000,000 upfront payment; and (b) $193,343,501, calculated as
   23 a 27.6% running royalty on each of (i) Kite’s net revenues from sales of Yescarta®
   24 from October 18, 2017 through September 30, 2019, which were $603,650,765; and
   25 (ii) Kite’s net revenues from sales of Yescarta® from October 1, 2019 to December
   26 12, 2019, which were $96,869,167; (2) pre-judgment interest on the jury’s verdict in
   27 the amount of $32,807,300, and (3) enhanced damages of $389,171,750.50.
   28

                                             2                             [PROPOSED] FINAL JUDGMENT
                                                                            Case No. 2:17-cv-07639-PSG-KSx




                                           Appx31
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    1        7.     As provided in 28 U.S.C. § 1961, Plaintiffs shall also recover post-
    2 judgment interest on all amounts listed in paragraph 6 above, at a rate of 0.15%,
    3 compounded annually, from the date of this Judgment until the Judgment is paid.
    4        8.     Kite shall pay Plaintiffs a running royalty of 27.6% of its net revenues
    5 for Yescarta® and any other therapy using the same infringing CAR from December
    6 13, 2019 to the expiration date of the ’190 Patent, August 28, 2024. Kite shall disclose
    7 its net revenues for Yescarta® and any other therapy using the same infringing CAR
    8 to Plaintiffs by the second Monday following the end of each quarter and wire
    9 Plaintiffs a corresponding royalty payment by that same date. Further, within ten (10)
   10 days of entry of this Judgment, the parties shall submit to the Court proposed terms
   11 for inspection and reporting procedures regarding the therapies and revenues subject
   12 to the ongoing royalties awarded in this paragraph.
   13
   14 Dated: April 8            , 2020
   15
   16
                                                 HONORABLE PHILIP S. GUTIERREZ
   17
                                                 UNITED STATES DISTRICT JUDGE
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                                             3                             [PROPOSED] FINAL JUDGMENT
                                                                           Case No. 2:17-cv-07639-PSG-KSx




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                                   UNITED STATES DISTRICT COURT                                  Priority        ___
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CASE NO.: 2:17-cv-07639 SJO-KS                                                    DATE: April 2, 2020

TITLE:    Juno Therapeutics, Inc., et al. v. Kite Pharma, Inc.
=======================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                              Not Present
Courtroom Clerk                                               Court Reporter

COUNSEL PRESENT FOR PLAINTIFFS:                               COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                                   Not Present

=======================================================================
PROCEEDINGS (in chambers): ORDER RE: PLAINTIFFS' CONSOLIDATED POST-TRIAL
MOTION [ECF No. 655]

This matter comes before the Court on Plaintiffs' Juno Therapeutics, Inc. ("Juno") and Sloan
Kettering Institute for Cancer Research ("SKI") (collectively, "Plaintiffs") Consolidated Post-Trial
Motion ("Motion") filed on January 21, 2020. (Motion, ECF No. 655. 1) Defendant Kite Pharma,
Inc. ("Defendant" or "Kite") filed its Opposition to Plaintiffs' Post-Trial Motion ("Opposition" or
"Opp.") on February 10, 2020. (Opp., ECF No. 672-2. 2) Plaintiffs filed their Reply in Support of
Plaintiffs' Consolidated Post-Trial Motion ("Reply") on February 24, 2020. (Reply, ECF Nos.
694, 696-2. 3) Plaintiffs subsequently filed a Notice of Supplemental Authority ("Notice") on
March 10, 2020. (Notice, ECF No. 713.) Defendant filed a Response ("Response") on March
12, 2020. (Response, ECF No. 715.)

Plaintiffs also filed a [Proposed] Final Judgment ("Proposed Final Judgment," ECF No. 658 4)
and Local Rule 58-7 Memorandum Regarding Pre- and Post-Judgment Interest ("L.R. 58-7
Memorandum," ECF No. 658-1 5) on January 21, 2020. Defendant filed Objections to Plaintiffs'
Proposed Final Judgment ("Objections") on February 10, 2020. (Objections, ECF No. 671.)
Plaintiffs filed their Reply in Support of Proposed Final Judgment ("Final Judgment Reply") on
February 24, 2020. (Final Judgment Reply, ECF No. 695.)


1 Plaintiffs' Memorandum in Support of Plaintiffs' Motion is located at ECF No. 656, and the sealed version is located

at ECF No. 685. Unless otherwise noted, all citations to Plaintiffs' Motion refer to the sealed memorandum, ECF
No. 685.
2 Unless otherwise noted, all citations to Defendant's Opposition refer to the sealed Opposition, at ECF No. 693.
3 Unless otherwise noted, all citations to Plaintiffs' Reply refer to the sealed Reply, at ECF No. 712.
4 Unless otherwise noted, all citations to Plaintiffs' Proposed Final Judgment refer to the sealed Proposed Final

Judgment, at ECF No. 686.
5 Unless otherwise noted, all citations to Plaintiffs' L.R. 58-7 Memorandum refer to the sealed L.R. 58-7

Memorandum, at ECF No. 686-1.
MINUTES FORM 11                                      Appx33                                    ___: ___
CIVIL GEN                                     Page 1 of 24                 Initials of Preparer_______
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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL


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In setting the post-trial briefing schedule, the Court indicated that it would take the matters under
submission following the filing of reply motions. (Order, ECF No. 639 at 5; see also Fed. R. Civ.
P. 78(b).)

For the following reasons, the Court GRANTS-IN-PART Plaintiffs' Consolidated Post-Trial
Motion [ECF No. 655]. Final Judgment to follow.

       I. BACKGROUND

This is a patent infringement action involving U.S. Patent No. 7,446,190 ("the '190 Patent"), titled
"Nucleic Acids Encoding Chimeric T Cell Receptors." The '190 Patent issued on November 4,
2008 and incorporates a provisional application filed on May 28, 2002. ('190 Patent Caption.)
The claimed invention provides "nucleic acid polymer encoding [] chimeric TCR's [T Cell
Receptors] . . . ." ('190 Patent, col. 2:11-14.) The chimeric TCRs encoded by the claimed
LQYHQWLRQFRPELQHLQDVLQJOHFKLPHULFVSHFLHVWKHLQWUDFHOOXODUGRPDLQRI&'ȗ-chain ("zeta
chain portion"), a signaling region from a costimulatory protein such as CD28 with a binding
element that specifically interacts with a selected target." ('190 Patent, col. 2:14-18.) These
TCRs are designed to "specifically interact[] with a cellular marker associated with target cells,"
resulting in the stimulation of a T cell immune response to the target cells. ('190 Patent, col.
2:30-36.)

Plaintiffs initiated this action on October 18, 2017, alleging that Defendant infringes the '190
Patent through the use, sale, offer for sale, or importation of one of Defendant's immunotherapy
treatments, YESCARTA®. YESCARTA® is described as a "therapy in which a patient's T cells
are engineered to express a chimeric antigen receptor (CAR) to target the antigen CD19, a
protein expressed on the cell surface of B-cell lymphomas and leukemias, and redirect the T
cells to kill cancer cells." (Second Amended Complaint ("SAC") ¶ 18, ECF No. 484.) Plaintiffs
assert that YESCARTA® infringes the '190 Patent by utilizing nucleic acid polymers encoding
chimeric TCRs within the scope of the '190 Patent claims. (SAC ¶ 26.) Defendant, in turn, filed
counterclaims seeking declaratory judgments of non-infringement and invalidity of the '190
Patent. (See generally, Answer to SAC and Counterclaims, ECF No. 617.)

On December 13, 2019, the jury entered a unanimous verdict in favor of Plaintiffs, finding:
(1) Defendant had not proven by clear and convincing evidence that the Certificate of Correction
was invalid, (2) Defendant had not proven by clear and convincing evidence that any of claims
3, 5, 9, and 11 of the '190 Patent were invalid for lack of enablement or written description,
(3) Plaintiffs proved by a preponderance of the evidence that Defendant's infringement of the
corrected claims of the '190 Patent was willful, and (4) Plaintiffs proved by a preponderance of
the evidence the damages owed were a $585,000,000 upfront payment, and 27.6% running
royalty. (Redacted Jury Verdict, ECF No. 593.)



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL


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Following the jury's return of the verdict, the Court set a post-trial briefing schedule for both
parties and deferred entry of judgment. (Order, ECF No. 639.)

      II. LEGAL STANDARDS

             A. Prejudgment Interest

In patent cases, "[p]rejudgment interest should ordinarily be awarded absent some justification
for withholding such an award." DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1262
(Fed. Cir. 2014) (citing Gen. Motors Corp. v. Devex Corp., 461 U.S. 648 (1983)). Prejudgment
interest generally runs from the earliest date of infringement of any patent. Comcast IP Holdings
I LLC v. Sprint Commc’ns Co., L.P., 850 F.3d 1302, 1315 (Fed. Cir. 2017). "Courts have
discretion to determine the appropriate rate of prejudgment interest to be awarded." Deckers
Outdoor Corp. v. Superstar Int’l, Inc., No. CV 13-0566 AG (PJWx), 2014 WL 12588480, at *2
(C.D. Cal. Aug. 18, 2014) (citations omitted). Ultimately, prejudgment interest seeks to provide
full compensation to the patent owner for "the forgone use of the [royalties] between the time of
infringement and the date of judgment." Gen. Motors, 461 U.S. at 656.

             B. Enhancement

Section 284 of the Patent Act states that "the court may increase . . . damages up to three times
the amount found or assessed." 35 U.S.C. § 284. "Awards of enhanced damages under the
Patent Act over the past 180 years establish that they are not to be meted out in a typical
infringement case, but are instead designed as a 'punitive' or 'vindictive' sanction for egregious
infringement behavior." Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1932 (2016).
Entitlement to enhanced damages must be proven by a preponderance of the evidence. Id. at
1934.

In Halo, the Supreme Court rejected the Federal Circuit's test from In re Seagate Technology,
LLC, 497 F.3d 1360, 1371 (Fed. Cir. 2007), for enhanced damages. Seagate had required a
determination of willful infringement to award enhanced damages, where willfulness was
measured through a two-part test that included an "objective recklessness prong" and a
subjective prong. The Supreme Court found "[t]he subjective willfulness of a patent infringer,
intentional or knowing, may warrant enhanced damages, without regard to whether his
infringement was objectively reckless." Id. at 1933. Halo concluded:

      Section 284 allows district courts to punish the full range of culpable behavior. Yet
      none of this is to say that enhanced damages must follow a finding of egregious
      misconduct. As with any exercise of discretion, courts should continue to take into
      account the particular circumstances of each case in deciding whether to award
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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL


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       damages, and in what amount. Section 284 permits district courts to exercise their
       discretion in a manner free from the inelastic constraints of the Seagate test.
       Consistent with nearly two centuries of enhanced damages under patent law,
       however, such punishment should generally be reserved for egregious cases
       typified by willful misconduct.

Id. at 1933-34. Since then, the Federal Circuit has further clarified that "conduct r[ising] to the
level of wanton, malicious, and bad-faith behavior [is] required for willful infringement.” SRI Int'l,
Inc. v. Cisco Sys., Inc., 930 F.3d 1295, 1309 (Fed. Cir. 2019) (emphasis added).

Regarding the analysis for willful infringement, although the Federal Circuit's "decision in Read
[is] relevant to an award of enhanced damages, a "district court is not required to discuss the
Read factors." Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1382-
83 (Fed. Cir. 2017); see also Read Corp. v. Portec, Inc., 970 F.2d 816 (Fed. Cir. 1992). The
Read factors are:

       (1) whether the infringer deliberately copied the ideas or design of another;
       (2) whether the infringer, when he knew of the other's patent protection,
           investigated the scope of the patent and formed a good-faith belief that it was
           invalid or that it was not infringed;
       (3) the infringer's behavior as a party to the litigation;
       (4) defendant's size and financial condition;
       (5) closeness of the case;
       (6) duration of defendant's misconduct;
       (7) remedial action by the defendant;
       (8) defendant's motivation for harm; and
       (9) whether defendant attempted to conceal its misconduct.

See Read Corp., 970 F.2d at 826-27.

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              C. Ongoing Royalty Rate

An ongoing royalty permits an adjudged infringer to continue using a patented invention for a
price. See Paice LLC v. Toyota Motor Corp., 504 F.3d 1293, 1313 n.13 (Fed. Cir. 2007) (defining
an ongoing royalty and distinguishing a compulsory license). The Federal Circuit has identified
35 U.S.C. § 283, which authorizes "injunctions in accordance with the principles of equity," as
statutory authority for awarding ongoing royalties. See id. at 1314 (citing § 283); see also Mark
A. Lemley, The Ongoing Confusion over Ongoing Royalties, 76 Mo. L. Rev. 695, 695-99 (2001)
(analyzing authority for ongoing royalties under §§ 283 and 284). Accordingly, while this remedy
involves monetary relief, there is no Seventh Amendment right to a jury trial for ongoing royalties.
See Paice, 504 F.3d at 1315-16 ("[T]he fact that monetary relief is at issue in this case does not,
standing alone, warrant a jury trial.").

The Federal Circuit has held that ongoing royalties are a discretionary remedy. "There are
several types of relief for ongoing infringement that a court can consider: (1) it can grant an
injunction; (2) it can order the parties to attempt to negotiate terms for future use of the invention;
(3) it can grant an ongoing royalty; or (4) it can exercise its discretion to conclude that no forward-
looking relief is appropriate in the circumstances." Whitserve, LLC v. Computer Packages, Inc.,
694 F.3d 10, 35 (Fed. Cir. 2012). "Under some circumstances, awarding an ongoing royalty for
patent infringement in lieu of an injunction may be appropriate." Paice, 504 F.3d at 1314.
However, the remedy is not automatic: "awarding an ongoing royalty where 'necessary' to
effectuate a remedy, be it for antitrust violations or patent infringement, does not justify the
provision of such relief as a matter of course whenever a permanent injunction is not imposed."
Id. at 1314-15.

Determination of ongoing royalties differs from evaluation of a reasonable royalty during trial
because the jury has reached a liability verdict and other economic factors may have changed.
"Prior to judgment, liability for infringement, as well as the validity of the patent, is uncertain, and
damages are determined in the context of that uncertainty. Once a judgment of validity and
infringement has been entered, however, the calculus is markedly different because different
economic factors are involved." Amado v. Microsoft Corp., 517 F.3d 1353, 1362 (Fed. Cir.
2008). A district court may also consider "additional evidence of changes in the parties'
bargaining positions and other economic circumstances that may be of value in determining an
appropriate ongoing royalty." ActiveVideo Networks, Inc. v. Verizon Commc'ns, Inc., 694 F.3d
1312, 1343 (Fed. Cir. 2012). But see Lemley, supra, at 704-05 ("Juries are already required to
assume that the patent is valid and infringed when setting past damages. There is no reason to
think that asking the same question twice should produce different answers in most cases.")
(footnotes omitted).



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       III. DISCUSSION

In their Motion, Plaintiffs argue for: (A) jury verdict damages through December 12, 2019 (i.e.,
through trial); (B) prejudgment interest at the prime rate; (C) enhanced damages; and (D) an
award of going royalties. Each argument is addressed in turn.

              A. Damages through December 12, 2019

Plaintiffs request damages on the jury verdict to be updated, based on Defendant's
subsequently-disclosed revenues from YESCARTA® through the end of trial. The jury
determined Defendant owed Plaintiffs a $585 million upfront payment, with a running royalty rate
of 27.6% on YESCARTA® revenues through trial. (Motion 4.) Defendant previously disclosed
total revenues of $603,650,765 through September 30, 2019. (Id.) Defendant has since
disclosed total revenues of $700,519,932 through December 12, 2019. (Motion 4-5.) Based on
Defendant's updated revenue information and the jury's upfront payment and running royalty,
the updated damage award totals $778,343,501. (Motion 5.)

Defendant did not respond to Plaintiffs' request directly. (See generally Opp.)

The Court, having received no opposition, updates the jury award to $778,343,501.

              B. Prejudgment interest at prime rate

Plaintiffs argue the Court should order Defendant to pay pre-judgment interest on the jury's
award at the prime rate, compounded quarterly. (Motion 5.) First, Plaintiffs argue that courts
recognize the prime rate as the most accurate estimate in patent cases, because it represents
the rate charged by banks to its most credit-worthy customers. (Id. (citing Opticurrent, LLC v.
Power Integrations, Inc., No. 17-cv-3597, 2019 WL 2389150, at *19 (N.D. Cal. June 5, 2019)).)
Plaintiffs argue that district courts both inside and outside of California have awarded the prime
rate (Motion 5-6 (citing cases)), as well as the Federal Circuit, even where the patent owner has
not shown that it borrowed at that rate or a higher rate. (Motion 6 (citing Uniroyal, Inc. v. Rudkin-
Wiley Corp., 939 F.2d 1540, 1545 (Fed. Cir. 1991)).) Second, Plaintiffs argue quarterly
compounding is common (id. (citing cases)), and aligns well with the quarterly sales data
Defendant provides in this case (id.).

Defendant responds that the Treasury bill rate is appropriate for fixing the rate of pre-judgment
interest for federal claims, unless the trial judge finds, on substantial evidence, that the equities
of a particular case require a different rate. (Opp. 29.) The Treasury bill rate accords with sound
economics by compensating Plaintiffs for the time value of money, but not investment risk that
Plaintiffs did not bear. (Opp. 29-30 (citing cases).) Prejudgment interest need not be
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compounded at all. (Opp. 30.) If compounding is ordered, although some courts have ordered
annual compounding, Defendant accepts quarterly compounding of prejudgment interest. (Id.)

Plaintiffs reply pre-judgment interest, arising under § 284, is routinely treated as governed by
Federal Circuit law. (Reply 14-15.) The prime rate is the most accurate estimate of the likely
rate a large corporation would be charged by a bank, and the license previously entered into by
Juno and Memorial Sloan Kettering ("MSK License") calls for an even higher rate for late royalty
payments. (Reply 15.) The prime rate reflects the cost of borrowing money the patentee should
have had, even without any showing that the patent owner actually borrowed at that rate or
higher. (Id.)

As a preliminary matter, the Court determines prejudgment interest is warranted. The Court has
not been presented with any justification for withholding prejudgment interest. Thus, the Court
follows the ordinary course and finds prejudgment interest will place Plaintiffs in as good a
position as if Defendant had entered into a reasonable royalty agreement in the first place. See
Gen. Motors Corp., 461 U.S. at 655; see also DDR Holdings, LLC, 773 F.3d at 1262.

Turning next to the amount of prejudgment interest, the Federal Circuit "has recognized that the
district court has substantial discretion . . . ." Gyromat Corp. v. Champion Spark Plug Co., 735
F.2d 549, 556 (Fed. Cir. 1984). "A court may use the prime rate, the prime rate plus a
percentage, the United States Treasury Bill ('T-Bill') rate, a state statutory rate, the corporate
rate, or whatever rate the court deems appropriate under the circumstances." Fujifilm Corp. v.
Motorola Mobility LLC, 182 F. Supp. 3d 1014, 1042-43 (N.D. Cal. 2016) (citations omitted).

Here, Plaintiffs have not argued that they actually borrowed money at a rate higher than the T-
bill rate, or that they did so because they did not possess the money from a reasonable royalty
agreement. Laitram Corp. v. NEC Corp., 115 F.3d 947, 955 (Fed. Cir. 1997) (awarding T-bill
rate, where the district court determined there was no evidence that plaintiff borrowed money at
a higher rate, or that there was a causal connection between the loss of use of money as a result
of defendant's infringement and a need to borrow money). Nor have Plaintiffs argued that the
litigation was protracted, or that their poor financial condition required borrowing above the prime
rate. Uniroyal, 939 F.2d at 1545 (awarding prime rate where protracted nature of litigation and
party's poor financial condition required borrowing above a prime rate). Although Uniroyal holds
that evidence that a patentee borrowed money at a higher rate is not necessary to support a
prime rate award, Uniroyal does not hold that the absence of such evidence still mandates an
award at a prime rate. 939 F.2d at 1545. And although the MSK License lists a higher interest
rate for late payments as a penalty, the Court does not find this probative of an interest rate
Plaintiffs would have received if affirmatively seeking a loan. The Court also notes that
Hockerson-Halberstadt, Inc. v. Propet USA, Inc. is inapposite because the salient issue in that
case was the proper date from which to calculate prime interest. 62 Fed. Appx. 322, 334 (Fed.
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Cir. 2003) (remanding to determine prejudgment interest where district court awarded the prime
rate in effect when the order issued in 2002, rather than the interest rate in effect in 1995 when
infringement began, which was over double the awarded rate).

In light of the above, the Court awards the Treasury bill rate. 6 The Court finds this rate most
consistent with the evidence and arguments presented in this case. See Apple Inc. v. Samsung
Elecs. Co., 67 F. Supp. 3d 1100, 1122 (N.D. Cal. 2014) (awarding Treasury bill rate, where
although plaintiff submitted a declaration stating it borrowed at rates higher than the Treasury
bill rate, plaintiff maintained substantial cash reserves and did not present any evidence it
needed to borrow money because it was deprived of the damages award).

Thus, the Treasury bill rate, compounded quarterly, is awarded for prejudgment interest, which
shall not apply to the enhancement award.

                C. Enhanced damages

Plaintiffs argue that the Court should award enhanced damages in the same amount as the jury's
damages award. (Motion 7.) Plaintiffs argue enhancement is a vindictive or punitive sanction
designed to prevent a caught infringer from being punished by paying no more than the
reasonable royalty it would have paid in the first place. (Id.) Here, the jury determined that
Defendant knew of Plaintiffs' patent and intentionally infringed at least one asserted claim. (Id.)
The supporting evidence demands a meaningful enhancement, as analyzed under the Read
factors. (Motion 8.) Courts have awarded enhancements in the amount of the jury's award for
less egregious conduct. (Motion 25 (citing Arctic Cat v. Bombardier Recreational Prods., Inc.,
198 F. Supp. 3d 1343 (S.D. Fla. 2016); Saint-Gobain Autover USA, Inc. v. Xinyi Glass N. Am.,
Inc., 707 F. Supp. 2d 737 (N.D. Ohio 2010)).)

Defendant responds that Gilead, Defendant's parent company, launched YESCARTA® with
knowledge of the '190 Patent and the inevitability that Plaintiffs would sue Defendant for
infringement. (Opp. 1.) The Read factors may be convenient guidelines, but they are not the
only factors that may be relevant, and this Court is not bound to apply them. (Opp. 1-2.)
Defendant further responds that when the alleged misconduct is a cure for a potentially fatal
disease, and the damages award is one of the largest ever returned, the additional sanction of
enhancement is just not warranted. (Opp. 2 (citing Idenix Pharms. LLC v. Gilead Scis., Inc., 271
F. Supp. 3d 694, 703 (D. Del. 2017)).) Defendant has administered YESCARTA® to over 2,250
terminal cancer patients, and Plaintiffs have not had, and still do not have, an FDA-approved


6 Opticurrent awarded the prime rate "as that would likely be the loan rate that [plaintiff,] as a large corporation,

would be charged by a bank." 2019 WL 2389150, at *19. While Opticurrent presents a relevant consideration, the
Court finds the T-bill rate more appropriate, for the reasons listed.
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CAR-T therapy. (Opp. 2.) Although Novartis has its KYMRIAH® product, it has experienced
significant manufacturing problems, and Defendant's and Novartis's combined capacity does not
meet the need of eligible patients. (Opp. 2-3.)

Plaintiffs reply enhancement is justified and necessary to punish and deter Defendant's
unscrupulous conduct. (Reply 1.) That Defendant's therapy is life-saving does not provide
Defendant a pass. (Id.) Enhanced damages are appropriate, even in cases involving lifesaving
goods. (Reply 1-2 (citing cases).) Defendant had the option of taking a license or designing
around the '190 Patent, but chose not to take either option. (Reply 2.)

The Court provides initial analysis pursuant to Halo, as clarified by the Federal Circuit in SRI
International. See Halo, 497 F.3d at 1371 (permitting courts to exercise discretion and stating
"punishment should generally be reserved for egregious cases typified by willful misconduct");
see also SRI Int'l, 930 F.3d at 1309 ("[C]onduct r[ising] to the level of wanton, malicious, and
bad-faith behavior [is] required for willful infringement." (emphasis added)). In doing so, the
Court may consider evidence that was not available to the jury. The Court notes it benefits from
its experience presiding over this case since its inception in October 2017 7 (including reviewing
all filings of the parties throughout the course of the case), and having presided over trial
(including personally observing the live testimony of 18 witnesses, and designated testimony of
5 witnesses, in the case).

Based on the benefit of the Court's extensive history and familiarity with the case, the Court
notes that in its view, the testimony of Dr. Arie Belldegrun, former CEO of Defendant, was not
credible. He testified repeatedly that in 2013, he did not attempt to license the '190 Patent from
SKI. Instead, he insisted that he only sought opportunities for clinical trial testing sites. His
testimony was contradicted by Dr. Yashodhara Dash of MSK (the other participant in the
meetings, who the Court views as having testified credibly), Dr. Aya Jakobovits, former President
of Defendant, and other evidence introduced during trial. The jury's verdict likewise
demonstrates that it, as the finder of fact, did not believe Dr. Belldegrun's testimony.

Having discredited Dr. Belldegrun's testimony, the record clearly demonstrates that Defendant,
despite believing the '190 Patent to be important in 2013 to the product later released as
YESCARTA®, did not obtain a license. Defendant's filing of an IPR against the '190 Patent (and
its subsequent labeling of IPR institution as one of the three top highlights for Defendant in 2016),
likewise demonstrates the importance of the '190 Patent to Defendant. And yet, following these
actions, Defendant admits in its Opposition that it sped up release of its YESCARTA® therapy
to market, despite being fully aware of the '190 Patent and "inevitable" litigation. Now, Defendant
points to its defenses asserted during litigation as justification for its actions preceding litigation.

7 Order, ECF No. 11.

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Thus, the Court considers the totality of Defendant's actions, where the Court views the following
as undisputed: Defendant knew of the Sadelain backbone claimed in the '190 Patent at least as
of 2013, attempted aggressively to license the '190 Patent, affirmatively attempted to invalidate
the '190 Patent by filing an IPR, then when neither of those steps was successful, chose to
accelerate YESCARTA® to market to its own advantage and to Plaintiffs' corresponding
detriment, all while knowing that Plaintiffs' assertion of the '190 Patent in this litigation was, by
Defendant's own admission, "inevitable." (Opp. 1:7.) The Court finds this behavior rises to the
level of wanton, malicious and bad-faith behavior required for willful infringement. SRI Int'l, 930
F.3d at 1309.

The Court next addresses Defendant's argument that an enhancement is not warranted because
the misconduct resulted in a life-saving therapy. Defendant relies on Idenix for the proposition
that an additional sanction is not warranted, where the misconduct bears on a life-saving
treatment, and the jury's damages award was the largest ever returned in a patent trial. Idenix,
271 F. Supp. 3d at 703. While the Court agrees that the misconduct did result in a life-saving
treatment that saved lives, and that the jury's damages award is substantial, the Idenix court
carefully voiced its view that based on its extensive familiarity with the entire course of the case,
substantial contrary evidence was presented by defendant. The Court does not observe the
same circumstances here, particularly due in large part to Dr. Belldegrun's testimony. Moreover,
that a treatment is life-saving does not automatically preclude an award of enhanced damages.
See, e.g., WBIP, LLC v. Kohler Co., 829 F.3d 1317 (Fed. Cir. 2016) (upholding 50%
enhancement for potentially life-saving products).

Thus, the Court weighs the wanton and bad-faith behavior of Defendant in rushing a product to
market despite having failed in its licensing and invalidating attempts, against the fact that
Defendant's actions have resulted in a life-saving treatment for thousands of terminal cancer
patients. The Court in its discretion determines that after weighing the relevant facts, a 50%
enhancement is appropriate. While Defendant's flagrant actions cannot be completely
pardoned, Defendant's therapy singlehandedly saved the lives of thousands of terminal cancer
patients, many of whom otherwise faced a certain death sentence. The immeasurable benefit
to the public interest thus warrants mitigation. While the Court's enhancement determination
here is dispositive, the Court provides additional analysis of the Read factors, which further
supports the Court's determination.

                     1. Read Factor 1 – deliberately copied

Plaintiffs argue Read Factors 1 and 6 support enhancement. Defendant has long been aware
that its collaborators copied Dr. Sadelain's two-part backbone, which forms the essence of Dr.
Sadelain's invention in the '190 Patent. (Motion 9.) Dr. Rosenberg, a scientist at the National
Cancer Institute ("NCI"), demanded information from Dr. Sadelain, who then directed Dr.
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Rosenberg to a paper disclosing his backbone. (Motion 9-10.) Dr. Rosenberg later published a
case report describing a sequence corresponding to the portion Dr. Sadelain shared in 2007.
(Motion 10.) Evidence demonstrated Defendant understood the link between Dr. Rosenberg
and Dr. Sadelain, including internal emails. (Motion 10-11.) Defendant repeatedly attempted to
license the '190 Patent from Plaintiffs, and although unsuccessful, proceed to commercialize
YESCARTA® anyway. (Motion 11-12.) Defendant subsequently filed an unprovoked IPR
challenging the '190 Patent, and as part of the IPR learned that Plaintiffs believed Dr. Rosenberg
had copied Dr. Sadelain's CAR. (Motion 12-13.) Despite the PTO denying invalidation of the
'190 Patent, Defendant proceeded to commercialize YESCARTA®. (Motion 13.)

Defendant responds that Dr. Rosenberg is a towering figure in the field of immunotherapy, the
'190 Patent had not yet issued when he spoke with Dr. Sadelain, and Dr. Sadelain never told Dr.
Rosenberg he was seeking patent protection. (Opp. 3-4.) Moreover, Dr. Rosenberg (and
eventually Defendant) developed a CAR using a different scFv. (Opp. 4.) Dr. Rosenberg openly
cited Dr. Sadelain's work in two publications, and Defendant understood that the costimulatory
regions referenced in the '190 Patent (amino acids 113-220) and NCI (amino acids 114-220)
CAR's were different. (Opp. 4-5.) The internal emails do not constitute evidence of copying
because they discussed what the difference was between Dr. Rosenberg's and MSK's
constructs. (Opp. 5-6.) Plaintiffs' evidence of Defendant's alleged attempts to license the '190
Patent and the IPR reflect at most Defendant's recognition that Plaintiffs might assert the '190
Patent against it. (Opp. 6.)

Plaintiffs reply Defendant copied Dr. Sadelain's CAR backbone and continues to perpetuate
misconduct to this day. (Reply 2.) Factor 1 focuses on whether a defendant copied the ideas
of another, regardless of when the patent issued. (Id.) Defendant does not suggest it or Dr.
Rosenberg developed YESCARTA® independently, or that Defendant failed to ask Dr.
Rosenberg about the source of his CAR construct. (Reply 2-3.) Although Defendant relies on
Dr. Bot's 2012 homology analysis, Defendant admitted before trial it did not rely on Dr. Bot's
homology analysis after 2012. (Reply 3.)

The proper inquiry under Factor 1 is not limited to a patent itself, but rather the "ideas or design
of another," including the "commercial embodiment, not merely the elements of a patent claim."
Read, 970 F.2d at 827. Defendant does not deny that it deliberately copied the work of Drs.
Rosenberg and Sadelain, and instead tries to: distinguish the constructs, and claim that the '190
Patent had not issued when Defendant communicated with Drs. Rosenberg and Sadelain.
Under the proper inquiry, the Court determines that Defendant deliberately copied the ideas later
contained in the '190 Patent (i.e., the Sadelain backbone), and that this factor thus weighs in
favor of enhancement.

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                     2. Read Factor 2 – good-faith belief

Plaintiffs argue Defendant presented no evidence of good-faith belief of non-infringement or
invalidity to the jury. (Motion 14.) To the contrary, despite repeated indications Dr. Rosenberg
copied Dr. Sadelain's backbone, Defendant refrained from inquiring, despite having close
working relationships with Dr. Rosenberg. (Id.) By 2017, the PTO issued the Final Written
Decision ("FWD"), and Defendant conceded that it literally infringes the '190 Patent, subject to
its CoC defense. (Motion 14-15.) Defendant admitted no testimony or documentary evidence
suggesting Defendant had a good-faith belief of its defenses, or that anyone relied on such a
belief when YESCARTA® launched. (Motion 15.) Plaintiffs argue defenses contrived after the
fact for litigation purposes are irrelevant to enhancement because culpability is measured at the
time of the challenged conduct. (Id.)

Defendant responds that Plaintiffs ignore Defendant's CoC, written description, and enablement
defenses presented at trial. (Opp. 18.) During its opening statement, Defendant's counsel
stated Defendant had very, very good reasons for believing it does not infringe, based on these
three defenses. (Opp. 18-19.) Defendant attempted to introduce evidence from Dr. Bot that
prior to the CoC, the '190 Patent did not cover Dr. Rosenberg's construct. (Opp. 19.) By the
time the CoC issued, Defendant had consulted with attorneys, and Defendant exercised its right
to maintain privilege over those communications. (Id.) Defendant then could not present further
evidence from fact witnesses as to their subjective beliefs, for fear of waiving that privilege.
(Opp. 19-20). The proper legal inquiry is Defendant's good-faith belief at the time of first
infringement. (Opp. 20.) Here, at that time, Defendant had pursued appeal of the adverse IPR
decision, and asserted the defenses that it tried to the jury. (Id.) Because Defendant maintained
privilege that prevented it from introducing further evidence of its subjective good faith, § 298
prohibits any negative inference being drawn from assertion of privilege, thus this factor should
either weigh against enhancement, or at most, be deemed neutral. (Id.)

Plaintiffs reply that Defendant cannot rely on its litigation defenses where it never offered any
evidence that anyone relied on its litigation defenses when it made its decision to knowingly
infringe. (Reply 8.) Plaintiffs further reply that Defendant cannot rely on its assertion of privilege,
where § 298 says failure to obtain or present advice of counsel may not be used to prove
willfulness. Defendant submitted no evidence of any type to establish its good-faith belief. (Id.)

The proper inquiry under Read is "whether the infringer, when he knew of the other's patent
protection, investigated the scope of the patent and formed a good-faith belief that it was invalid
or that it was not infringed." Read, 970 F.2d at 827 (emphasis added). The parties instead focus
on Defendant's good-faith belief at the time of first infringement, which is the relevant inquiry for
determining whether infringement was willful. But that issue has already been decided, as the
jury entered a verdict of willful infringement. Instead, the Court notes that Defendant has not
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presented evidence of any investigation and good-faith belief of noninfringement or invalidity
when Defendant knew of the '190 Patent. To the extent Defendant attempts to point to Dr. Bot's
2012 homology analysis as evidence of its good-faith defense, the Court freely considers it and
finds it does not tip the scale. During the enhancement phase, the Court may consider evidence
and information the jury did not have. The Court finds that Dr. Bot's homology analysis in 2012
bears little relevance to Defendant's good-faith defense, where it was superseded by Defendant
seeking and receiving advice of counsel.

Even evaluating Defendant's good-faith belief at the time of first infringement, Defendant relies
on its litigation defenses presented at trial. But the first evidence of Defendant's litigation
defenses appears in its Answer, filed on November 27, 2017. (Answer, ECF No. 22.) The
parties agree the date of first infringement is October 2017. Thus, Defendant still does not
present evidence to show it held those views at the time infringement began, much less that it
relied on its views when it chose to infringe.

Nor does 35 U.S.C. § 298 weigh in Defendant's favor. Section 298 says that failure of an
infringer to present advice of counsel "may not be used to prove that the accused infringer
willfully infringed the patent . . . ." As discussed above, the determination that the accused
infringer willfully infringed the patent has already been made. Now, the proper inquiry under
Read is whether Defendant investigated the patent and formed a good-faith belief when it
learned of the '190 Patent. Even omitting any negative inference (as precluded by § 298 for a
finding of willful infringement), the Court determines that no fact testimony was presented
regarding a good-faith defense. That Defendant strategically chose to exercise privilege and not
present an advice of counsel opinion did not preclude it from presenting fact testimony. Thus,
the second factor weighs in favor of enhancement.

                    3. Read Factor 3 – behavior as a party

Plaintiffs argue that Defendant's litigation misconduct was exceptional and egregious. (Motion
17.) Defendant elicited false, misleading, and incredible testimony. (Motion 17.) Dr. Belldegrun
testified he contacted Plaintiffs simply to seek clinical trial sites, where evidence demonstrated
his interest in licensing the '190 Patent. (Motion 17-18.) Dr. Belldegrun further denied any pre-
suit concern of the '190 Patent, where Defendant had attempted to license the patent and
invalidate the patent. (Motion 18.) Dr. Belldegrun further denied Defendant was motivated by a
first-mover advantage. (Id.) Defendant's intent to call Dr. Schuetz to testify was obscured,
leading to his deposition on the Sunday morning before trial. (Id.) Dr. Schuetz was further
presented as an independent third-party witness, where he had substantial ties to Defendant
and Gilead, including being represented by Defendant's counsel. (Motion 19.) Furthermore,
Defendant filed repetitive motions that forced Plaintiffs and the Court to expend time and
resources addressing repetitive and unjustified requests, including Dr. Bot's homology analysis
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and Plaintiffs' damages case. (Motion 20.) Defendant affirmatively misrepresented its good-
faith defense all while knowing it had no non-attorney evidence to offer at trial, then later claimed
prejudice by mischaracterizing its privilege assertion. (Motion 21.) Defendant further attempted
to take advantage of its own use of an erroneous jury verdict form resulting from its own
duplicitous conduct. (Id.) Defendant's unreasonable handling of witnesses warrants
enhancement. (Motion 22 (citing Fractus, S.A. v. Samsung Elecs. Co., 876 F. Supp. 2d 802
(N.D. Tex. 2012)).) Defendant's unreasonable and vexatious litigation tactics further warrant
enhancement. (Motion 22-23 (citing Liqwd, Inc. v. L'Oréal USA, Inc., No. 17-cv-14, 2019 WL
6840353 (D. Del. Dec. 16, 2019)).)

Defendant responds that its introduction of Dr. Belldegrun's testimony (which conflicted with Dr.
Dash's testimony) is not misconduct. (Opp. 7.) Dr. Belldegrun's trial testimony tracked his
deposition testimony, and Plaintiffs do not cite facts suggesting Dr. Belldegrun's trial testimony
was false. That Dr. Dash's testimony contradicted Dr. Belldegrun's testimony does not show it
was false (Dr. Dash likewise was biased, contradictory of her deposition at times, and
exaggerated). (Opp. 8.) Ms. Champski's third-party hearsay statement that Defendant was
interested in licensing from MSK should be afforded less trustworthiness, as she never testified,
nor was she deposed. (Opp. 8-9.) Dr. Jakobovits did not contradict Dr. Belldegrun, where her
recollection was refreshed by a vague email referring to a collaboration/license. (Opp. 9.)
Defendant's responses to Plaintiffs' damages contentions (which represented the parties had
licensing discussions in 2013 and 2014) were preliminary in nature and unverified. (Id.) And
Defendant did in fact pursue other sites for clinical trials over a year before Defendant began its
trials. (Opp. 9-10.) Dr. Belldegrun only contacted the Office of Technology Development
("OTD") after being referred by Dr. Sadelain. (Opp. 10.) Dr. Belldegrun's testimony was
corroborated by evidence, and no other documents or witnesses besides Dr. Dash gave a
conflicting account. (Opp. 11.) And Plaintiffs—not Defendant—elicited allegedly implausible
testimony from Dr. Belldegrun. (Id.) Regarding Dr. Schuetz, the Court already addressed
Plaintiffs' arguments regarding his appearance at trial, his communications with Gilead ended
months before trial, Dr. Schuetz was reimbursed for his expenses and time away from work, Dr.
Schuetz wanted to be represented by Defendant's counsel based on Plaintiffs' counsel's
behavior, and Plaintiffs mischaracterize their request for Dr. Schuetz to sign an affidavit stating
he had not reviewed the prosecution history for the '190 Patent. (Opp. 12-14.) Finally,
Defendant's advocacy was reasonable, where zealous advocacy is an ethical responsibility.
(Opp. 14.) Defendant's requests regarding use of the claim construction order as impeachment,
Dr. Bot's homology analysis, Plaintiffs' damages, Dr. Sullivan's demonstratives, its good-faith
basis for noninfringement, and verdict form were reasonable and within its rights. (Opp. 14-17.)

Plaintiffs reply Dr. Belldegrun lied under oath at trial, as demonstrated by Defendant's failure to
assert the testimony it elicited was truthful. (Reply 4.) Plaintiffs clarify the facts Defendant claims
were undisputed from Dr. Belldegrun's testimony. (Id.) Similarly, internal emails demonstrate
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Dr. Belldegrun sought a license. (Reply 5.) Any writing could have been used to refresh the
recollection of Dr. Jakobovits. (Id.) Defendant's damages contentions are now claimed to be
false, and Defendant blames Plaintiffs for Defendant's own failure to investigate, or later
supplement, amend, or modify. (Id.) Although Dr. Dash testified that she was aware of
documents referencing clinical trials with licensing for a collaboration with a different entity, those
documents having nothing to do with Defendant or Dr. Belldegrun. (Reply 6.) Regarding Dr.
Schuetz, Defendant mischaracterizes Plaintiffs' counsel's interactions, including Plaintiffs
seeking an affidavit, and Dr. Schuetz not being an independent witness where he admitted
having consulting and legal services agreements with Defendant's counsel and being paid for
by Defendant (and Gilead). (Reply 6-7.) Plaintiffs further reply that Defendant kept relitigating
issues, even where (contrary to what Defendant claims), the Court provided explanations when
it denied Defendant's requests on the record. (Reply 7.)

The Court does not find that the actions of Defendant or its counsel amount to litigation
misconduct. The Court has already stated its view of Dr. Belldegrun's testimony. But the Court
is not of the view that Defendant's counsel's eliciting testimony from Dr. Belldegrun constituted
litigation misconduct, where Defendant was entitled to present its own story and its own version
of events. Likewise for Dr. Schuetz, Defendant was entitled to argue Dr. Schuetz was an
independent witness, and Plaintiffs were entitled to elicit biases on cross-examination (as they
did). The Court views Defendant's counsel's conduct as zealous representation of its client.
Finally, the Court also finds that Defendant's re-raising of certain issues in different contexts also
did not constitute litigation misconduct. A party may waive certain rights on appeal by not
preserving its objections for the record, and the Court does not find that Defendant's behavior
was excessive or unwarranted. The third factor thus weighs in Defendant's favor.

                     4. Read Factor 4 – size and financial condition

Plaintiffs argue Defendant's large size and financial standing support enhancement, where
Gilead purchased Defendant for $12 billion shortly before YESCARTA® went on the market,
which warrants a review of Gilead's (not Defendant's) financial condition. (Motion 23.) Gilead's
total assets are nearly $60 billion, including $9 billion in cash and cash equivalents, its market
capitalization is over $79 billion, and its total revenues in the third quarter of 2019 were over $5.6
billion. (Motion 23-24.) In light of Gilead's financial condition, the amount of enhancement
should be sufficiently meaningful to send a message that such practices will not be
countenanced. (Motion 24.)

Defendant responds Plaintiffs sued Defendant, not Gilead, and Defendant is a comparatively
small corporation. (Opp. 23.) Defendant's actual revenues through 2019 were $724 million, and

                                                                          (Id.) Enhancement would
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therefore be unduly punitive. (Id.) Plaintiffs' cited authority is distinguishable because it
enhanced considerably more modest awards, ranging from $700,000 to $15.5 million. (Opp.
24.)

Plaintiffs reply Defendant and Gilead function as a single company, and Gilead is responsible
for the actions at issue. (Reply 11.) Even if the focus were on Defendant, Defendant can sustain
the penalty,
                      where Dr. Rao's analysis runs only through 2022, and where Dr. Rao does
not provide additional information about cost categories. (Reply 11-12.) Moreover, the law
disregards whether an infringer would be profitable after a reasonable royalty. (Reply 12.)

The Court finds that consideration of Gilead's size and financial status, as it acquired Defendant
before YESCARTA® went on the market, is appropriate. This is especially so where although
Gilead did not become a party to this litigation, Gilead paid for Dr. Schuetz to testify on
Defendant's behalf in this litigation, demonstrating its ties to this litigation and to Defendant.
Gilead's total assets of nearly $60 billion, and $9 billion in cash and cash equivalents, are
substantial and merit an enhancement to send a strong message. See, e.g., Johns Hopkins
Univ. v. Cellpro, 978 F. Supp. 184, 195 (D. Del. 1997) ("Punishing a larger company in a stronger
financial condition may call for higher damages, where a lower number may be equally effective
in punishing a smaller company."). In fact, within the last few years, a different court similarly
determined that Gilead's size and financial condition were large and healthy. Idenix, 271 F.
Supp. 3d at 701 (concluding that although Gilead's size and financial condition "as a general
matter could support enhancement," they did not in that particular case).

Even considering only the size and financial condition of Defendant, although Defendant is
comparatively small when compared to Gilead, the Court finds that revenues of $724 million,
and nearly $100 million in revenues from October to December 2019 are significant.

Thus, the Court finds this factor weighs in favor of enhancement.

                     5. Read Factor 5 – closeness of case

Plaintiffs argue the case was not close, where the nine-member jury returned a unanimous
verdict accepting all of Plaintiffs' arguments, and rejecting all of Defendant's arguments. (Motion
16.) Specifically, the jury rejected Defendant's CoC and invalidity defenses, Defendant
stipulated to literal infringement of claims as corrected by the presumptively-valid CoC, the jury
determined Defendant's infringement was willful, and it found Plaintiffs' damages expert credible.
(Motion 16-17.)

Defendant responds that the mere fact that Defendant did not prevail does not suggest the case
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was not close. (Opp. 22.) Defendant asserted a substantial challenge to the CoC. (Opp. 23.)
When Defendant moved for summary judgment on this issue, the Court acknowledged doubts
about Plaintiffs' position. (Id.) Plaintiffs offered no new evidence on this point, and Defendant
introduced Dr. Schuetz's testimony, rendering this defense a hotly-contested issue. (Id.)
Defendant also presented substantial written description and enablement defenses, and
Plaintiffs did not even attempt to move for summary judgment on these issues. (Id.)

Plaintiffs reply the jury returned a sweeping, across-the-board verdict, including Plaintiffs'
requested damages in full. (Reply 10.) That a case proceeds to trial does not mean the jury's
call was close. (Id. (citing cases).)

The Court finds that although Defendant's failure to prevail on a single issue does not
automatically render a case close, the Court's view of the live testimony, including the
incredibility of Dr. Belldegrun's testimony as noted above, merits a finding that this factor weighs
in Plaintiffs' favor. Plaintiffs prevailed on every single issue presented to the jury, including a
damages award that, as Defendant noted in its briefing on January 21, 2020, "is listed as the
seventh-largest patent jury award ever, according to Docket Navigator." (Defendant's Motion
for Judgment as a Matter of Law, ECF No. 659, at 35 n.6.) Also weighing in Plaintiffs' favor is
the speed with which the jury returned the verdict, where it returned a verdict the morning after
beginning deliberation. Defendant does not provide any authority concluding that a party's
failure to move for summary judgment on an issue suggests the case was close. The Court is
unpersuaded by this argument, given the different standards that apply. Thus, the Court finds
this factor weighs in Plaintiffs' favor.

                     6. Read Factor 6 – duration of misconduct

As set forth above in Read Factor 1 (see supra, Section III.C.1), Plaintiffs argue Defendant's
longstanding (since at least 2012) knowing copying of Plaintiffs' technology supports
enhancement. (Motion 7-13.)

Defendant responds that its alleged misconduct has been of short duration, where it did not
begin until October 2017, when Defendant launched YESCARTA®. (Opp. 17-18.) Defendant
cannot be charged with any misconduct prior to that date, because Kite did not even exist (2007-
2008), the pre-CoC '190 Patent did not cover the CAR Defendant developed (2008-2013), and
Defendant's further development work was exempt from any claim of infringement under the
safe harbor provisions of the Hatch-Waxman Act, 35 U.S.C. § 271(e). (Opp. 18.)

Plaintiffs reply that the history leading up to infringement is relevant and significant, especially
because Defendant had so many years to change course. (Reply 3.) Even if not, Defendant's
2017-to-date actions would suffice, where over the last two years it has shown no signs of
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ceasing or implementing remedial measures. (Reply 3-4.)

The jury already determined the CoC is valid, which means the '190 Patent, as originally issued,
contained a clearly evident error and solution from the perspective of a POSITA. Thus, even
before issuance of the CoC, Defendant should have been on notice of its misconduct. However,
even evaluating Defendant's actions from 2013 onward, after the CoC issued, the Court finds
Defendant's misconduct was of a lasting duration, as it had many years to develop, test, apply
for approval for, and obtain a license to the '190 Patent for, YESCARTA® before its release in
2017. Even if the safe harbor provision of the Hatch-Waxman Act applied to Defendant's actions
before 2017, Defendant's continuing actions post-2017 would weigh in favor of enhancement.

                     7. Read Factor 7 – remedial action

As set forth above in Read Factor 2 (see supra, Section III.C.2), Plaintiffs argue Defendant's
failure to take any remedial steps, despite its lack of good-faith belief of non-infringement or
invalidity, supports enhancement. (Motion 14-15.)

Defendant responds that by June 2013 (when the CoC issued), Dr. Rosenberg had already
conducted Phase I clinical trials, and Defendant was in preparation to conduct Phase I/II trials
that led to FDA approval for YESCARTA®. (Opp. 20-21.) Remedial efforts are not simple and
would have required many years of research and development. (Opp. 21.) Defendant had to
decide whether to: (1) continue developing YESCARTA® and rely on its defenses to an
infringement claim, or (2) pull the plug on YESCARTA® and switch to a different construct. (Opp.
21.) Defendant in 2014 or 2015 decided to accelerate development of YESCARTA®. (Id.)
Defendant also decided to develop a different CAR construct for its next-generation therapy.
(Id.) Defendant has continued developing its non-infringing construct as part of its next-
generation dual-targeting CAR-T therapy. (Id.)

Plaintiffs reply Defendant willfully barreled ahead and infringed, having failed to license or
invalidate the '190 Patent. (Reply 9.) Defendant's bizarre response showing it took remedial
steps is to state that it rushed an infringing product to market, without a license. (Id.) Plaintiffs
argue they have always been open to a reasonable sublicense. (Id.)

The Court understands Defendant's argument to be that remedial steps would simply have been
too difficult to take, and Defendant's response was thus to speed up the date on which it began
its infringing behavior. Such an argument certainly cannot sway this factor in Defendant's favor.
Defendant has not argued that it even attempted to change its product or re-approach Plaintiffs
regarding licensing, even where Plaintiffs state they have always been open to a reasonable
sublicense. The Court recognizes that "reasonable" is in the eye of the beholder, but
Defendant's failure to put forth any evidence or argument that it even attempted to sublicense
                                             Appx50
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the '190 Patent merits a finding that this factor weighs in Plaintiffs' favor.

                     8. Read Factor 8 – motivation for harm

Plaintiffs argue Defendant's goal of obtaining a competitive advantage at Plaintiffs' expense
supports enhancement. (Motion 15.) Plaintiffs and Defendant are longstanding competitors and
each attempted to beat the other to market, as demonstrated by Defendant's internal documents.
(Motion 16.) Any first-mover advantage to Defendant would create reciprocal harm to Plaintiffs,
as they were direct competitors in a relatively small market. (Id.)

Defendant responds that mere motivation to make a profit does not distinguish this case from
the garden-variety infringement case. (Opp. 21.) Defendant's sales have not come at Juno's
expense, as Juno is not on the market. (Opp. 22.) Moreover, even Defendant and Novartis
combined cannot treat all eligible patients. (Id.)

Plaintiffs reply Defendant's goal was to get to market first because it believed doing so would
allow it to dominate the market. (Reply 10.) Although Defendant argues it and Novartis cannot
serve the entire market, it does not argue that Defendant, Novartis, and Juno combined could
not serve the entire market. (Id.)

The Court finds that Defendant's goal was more than just simply to make a financial profit. As
the evidence overwhelmingly shows, Defendant raced to get its product to market to benefit from
the "first mover advantage," where it would enter the market early and grab market share, in
order to preclude Plaintiffs from later obtaining that same market share. And it did so by
improperly using Plaintiffs' patented CAR. Thus, the benefit conferred to Defendant by its
improper head start was to direct detriment of Plaintiffs. This is also confirmed by internal
documents, such as a Gilead internal document asking "Why Kite instead of Juno? . . . First
mover advantage." Ex. 21 (PX78 at 5 (emphasis in original)). Thus, even though Plaintiffs have
not yet jointed the market, Defendant's unfair head start was designed to impede Plaintiffs'
progress when they do so. This factor weighs in Plaintiffs' favor.

                     9. Read Factor 9 – attempt to conceal

Plaintiffs argue evidence shows Defendant attempted to conceal its wrongful conduct, such as
Dr. Belldegrun's licensing testimony, and Defendant's internal emails regarding Dr. Rosenberg's
public statements acknowledging Dr. Sadelain. (Motion 24.) Defendant's attempts continue,
where it continued to assert (after the verdict) to press outlets that Defendant independently
developed YESCARTA®. (Motion 24.)

Defendant responds that there is no evidence that Defendant tried to conceal its infringing
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conduct. (Opp. 24.) Dr. Rosenberg published articles disclosing the YESCARTA® construct,
gave Dr. Sadelain credit for contributing, and deposited the sequence in Genbank. (Id.) For the
reasons set forth for Read Factor 1, Plaintiffs did not identify any false and misleading testimony
from Dr. Belldegrun. (Id.; see supra, Section III.C.1.) Defendant's internal reaction to Dr.
Rosenberg's statement in a New York Times article crediting Dr. Sadelain did not conceal
anything. (Opp. 24.) Defendant's post-trial statement of opinion is one Defendant may express.
(Id.)

Plaintiffs reply improper concealment reaches concealment of misconduct, not just concealment
of sales. (Reply 12.) Defendant's discussion of Dr. Rosenberg crediting Dr. Sadelain shows
Defendant sought to conceal Dr. Sadelain's inventive role, and the law considers unsuccessful
concealment still to be concealment. (Id.)

The Court finds that Defendant's internal emails lamenting Dr. Rosenberg's public statements
that NCI's research "owe[d] a lot" to Dr. Sadelain do not necessarily constitute an attempt by
Defendant to conceal its infringing conduct. The correspondence certainly demonstrates an
attitude consistent with a desire to conceal, but falls short of recognizing any attempt to conceal.
While the Court finds that Dr. Belldegrun's testimony, which has been discredited, demonstrates
an attempt to conceal the fact that Defendant sought a license to the '190 Patent, ultimately the
Court is not persuaded that that testimony falls squarely within Read factor 9 (for which Read
cites authority where a party failed to preserve its record and cooperate at trial). The Court finds
this factor neutral.

Taking all the Read factors together, the Court's previous determination is supported by the
analysis. Read factors 1, 2, 4, 5, 6, 7, and 8 weigh in favor of enhancement, whereas factor 3
weighs against enhancement, and factor 9 is neutral. The Court maintains its position that
enhancement is proper, and taking into account all of the circumstances regarding
enhancement, determines a 50% enhancement proper.

              D. Ongoing royalties

Plaintiffs argue Defendant's continued infringement warrants an ongoing royalty rate of at least
33.1% (20% more than the jury's rate) for ongoing sales of infringing therapies. (Motion 26-27.)
The increase accounts for the parties' changed circumstances, including that a verdict of no
invalidity and infringement amounts to a substantial shift in bargaining position, post-verdict
infringement is necessarily willful, and courts frequently impose a post-verdict ongoing royalty
rate higher than a reasonable royalty found at trial. (Motion 27-28.) One study demonstrated
that between 2007 and 2015, the ongoing rate was higher than the jury's in two thirds of the
cases studied. (Motion 28.) Here, the parties' economic circumstances have changed since
October 2017, the date of the hypothetical negotiation. (Motion 29.) Specifically, Bristol-Myers
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Squibb ("BMS"), Juno's ultimate corporate parent, has announced a biologics license application
("BLA") for JCAR017, including to treat relapsed/refractory mantel cell lymphoma ("MCL"). (Id.)
Gilead has also announced Defendant submitted a BLA for CAR-T therapy to treat MCL. (Id.)
Plaintiffs' further progress for JCAR017, as well as Defendant's new BLA, was not previously
accounted for in Dr. Sullivan's competition adjustment. (Id.) At a minimum, the 27.6% rate found
by the jury is necessary. (Motion 30.)

Defendant responds that the 27.6% 8 royalty award is punitive, not apportioned, and unsupported
by comparable licenses or other substantial evidence. (Opp. 25.) There is no basis for further
increase, where Dr. Sullivan opined the royalty rate applies throughout the patent term, and
Plaintiffs' Motion contradicts Dr. Sullivan's testimony. (Id.; see also id. (citing Innogenetics, N.V.
v. Abbott Labs., 512 F.3d 1363, 1380 (Fed. Cir. 2008)).) Moreover, the upfront payment
precludes injunctive relief, which weighs against an increased royalty. (Opp. 26.) Without the
threat of an injunction, the parties' negotiating positions would remain the same—the initial
hypothetical negotiation assumes validity and infringement. (Opp. 26.) Courts frequently decline
to increase the forward royalty rate found by the jury. (Opp. 26-27 (citing cases).) The Federal
Circuit has rejected enhancing ongoing royalties based on willfulness, where an injunction is
unavailable. (Opp. 27.) Here, the upfront payment precludes an injunction, and the equities
highly disfavor an injunction for a product that fills an unmet need in terminal cancer patients.
(Opp. 27-28.) Defendant further responds that a hypothetical negotiation today would lead to a
lower royalty: (1) Defendant's actual revenues have been dramatically lower than projections at
the hypothetical negotiation, and (2) the hypothetical negotiation assumed Plaintiff would already
have launched an approved product by mid-2019, where in fact JCAR017 may now be available
in late 2020 at the earliest, translating into a shorter period of competition than originally
anticipated. (Opp. 28-29.)

Plaintiffs reply that Innogenetics holds an upfront payment compensating through the full term
of the patent is inconsistent with an injunction against practicing the patent, but says nothing
about the rate of the future royalty. (Reply 13.) Moreover, there is a fundamental difference
between a reasonable royalty for pre-verdict infringement and damages for post-verdict
infringement. Here, a running royalty rate adjusts for revenues lower than projected, because
the running royalty takes a percentage of the lower amount. (Reply 14.) Plaintiffs further reply
that the imminent entry of JCAR017 requires a higher royalty rate. (Id.) Plaintiffs further reply
Defendant would agree to a higher royalty rate in 2019, because it now has a greater market
share than anticipated in 2017. (Id.) Plaintiffs further argue Dr. Sullivan's trial analysis did not
account for the mantle cell lymphoma indication, and accounting for it now increases the degree


8 Defendant referred to the "26.7% royalty award," Opp. at 25:4, but the Court assumes this to be a typographical

error, as Defendant referred elsewhere in its Opposition to the correct 27.6% royalty, and has not otherwise disputed
what the jury awarded.
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of competition. (Id.)

The Court finds that in a post-trial hypothetical negotiation, some factors weigh in favor of a
higher royalty rate. The jury found the '190 Patent valid and infringed, which strengthens
Plaintiffs' position. Although a hypothetical negotiation assumes a patent is valid and infringed,
a determination on the merits can strengthen a party's position. See ActiveVideo Networks, Inc.
v. Verizon Commc'ns, Inc., 694 F.3d 1312, 1342 (Fed. Cir. 2012) ("When patent claims are held
to be not invalid and infringed, this amounts to a substantial shift in the bargaining position of
the parties." (citations omitted)). Additionally, Plaintiffs presented evidence that both Plaintiffs
and Defendant have submitted BLAs to treat MCL. Dr. Sullivan did not account for this fact in
his previous competition adjustment, and if considered, would increase the adjustment as the
parties would be in direct competition to treat MCL. Finally, Innogenetics does not preclude an
increase in royalty rate. Unlike in Innogenetics, Dr. Sullivan did not opine that the market entry
fee was "paid in anticipation of [defendant's] long-term license to sell its products," or that "his
proposed amount of damages was not capped by the date of the jury award." Innogenetics, 512
F.3d at 1380.

However, other factors weigh in favor of a lower royalty rate. Neither party disputes that
revenues for YESCARTA® have been lower than originally estimated at the time of the
hypothetical negotiation in 2017. Specifically, while in 2017, Defendant estimated

                                        While Plaintiffs argue this is taken into account because
the royalty is a percentage, a smaller revenue can still weigh in favor of a lower royalty rate,
because the resulting margin is smaller. Additionally, although at the original hypothetical
negotiation, the parties expected Plaintiffs to have already entered the market, Plaintiffs have
yet to do so. Given the limited term of the patent, Plaintiffs will face competition for a
comparatively shorter time than anticipated in 2017.

After careful consideration of all of the factors, the Court declines to change the royalty rate
awarded by the jury. The Court emphasizes that in deciding not to change the royalty rate, it
has performed a careful analysis of the parties' changed circumstances, as noted above.
EcoServices, LLC v. Certified Aviation Servs., LLC, 340 F. Supp. 3d 1004, 1028 (C.D. Cal. 2018)
("For determining an ongoing post-judgment royalty rate, the rate the jury adopted is significant
as a starting point, but the court cannot simply apply the jury's pre-verdict royalty award to the
post-verdict infringement, without considering the impact of changed circumstances." (citations
omitted)).

Thus, the Court imposes a 27.6% running royalty. Infringing sales occurring between entry of
the verdict and entry of judgment shall be subject to the running royalty rate, and shall not be
subject to enhancement.
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              E. Entry of final judgment

Plaintiffs' L.R. 58-7 Memorandum requests pre-judgment interest (see supra, Section III.B) and
post-judgment interest at a rate equal to the weekly average 1-year constant maturity Treasury
yield, as published by the Board of Governors of the Federal Reserve System, for the calendar
week preceding the date of the judgment, computed daily to the date of payment, compounded
annually. (L.R. 58-7 Memorandum 1-2.)

Defendant maintains its objections presented in its Motion for Judgement as a Matter of Law
(JMOL, ECF No. 659), reserves its rights to submit additional objections and motions after final
judgment, and notes it objected to Plaintiffs' calculation of prejudgment interest (see supra,
Section III.B). Defendant further objects to Plaintiffs' proposed accounting and payment
procedures as premature, stating if the Court denies Defendant's JMOL, Defendant "will post a
supersedeas bond to stay enforcement of the judgment . . . ." (Objections 1.)

Plaintiffs reply that: (1) prejudgment interest should be calculated using the prime rate (see
supra, Section III.B); (2) the judgment should include procedures for computing and paying
ongoing royalties, as a supersedeas bond does not stay execution until a court approves it; and
(3) any subsequent JMOL or new trial motions would be untimely and improper. (Final Judgment
Reply 1.)

The Court finds that the Treasury bill rate is appropriate for pre-judgment interest. (See supra,
Section III.B.) The Court further finds that Defendant not having presented any opposition, post-
judgment interest shall be calculated according to Plaintiffs' proposal.

Regarding entry of final judgment, the Court finds it efficient to enter judgment with accounting
and payment procedures in place. Defendant not having presented any opposition, the Court
will enter the procedures proposed by Plaintiffs. The Court will consider any supersedeas bond
and corresponding request to stay if and when one is filed.

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      IV. RULING

For the foregoing reasons, the Court GRANTS-IN-PART Plaintiffs' Consolidated Post-Trial
Motion [ECF No. 655]. Specifically, the following is held:

(1) Plaintiffs are awarded $778,343,501 on the jury verdict for Defendant's infringement from
October 18, 2017 through December 12, 2019;
(2) The Treasury bill rate, compounded quarterly, is awarded for prejudgment interest, which
shall not apply to the enhancement award;
(3) The damages award is enhanced by 50%; and
(4) A 27.6% running royalty is awarded.

Final Judgment to follow.

IT IS SO ORDERED.




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CASE NO.: 2:17-cv-07639 SJO-KS                                                DATE: March 24, 2020

TITLE:    Juno Therapeutics, Inc., et al. v. Kite Pharma, Inc.
=======================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                             Not Present
Courtroom Clerk                                              Court Reporter

COUNSEL PRESENT FOR PLAINTIFFS:                              COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                                  Not Present

=======================================================================
PROCEEDINGS (in chambers): ORDER RE: DEFENDANT'S MOTION FOR JUDGMENT AS
A MATTER OF LAW PURSUANT TO FED. R. CIV. P. 50(B) AND/OR A NEW TRIAL
PURSUANT TO FED. R. CIV. P. 59 [ECF No. 659]

[Portions of the parties’ briefing filed in support of and in opposition to the motion ruled upon in
this Order were filed under seal. The parties are expected to file a joint report within five days
of this ruling proposing redactions of any confidential material. If the parties fail to file a joint
report, this Order will be publicly issued as-is.]

This matter comes before the Court on Defendant Kite Pharma, Inc.'s ("Defendant" or "Kite")
Motion for Judgment as a Matter of Law Pursuant to Fed. R. Civ. P. 50(b) and/or a New Trial
Pursuant to Fed. R. Civ. P. 59 ("JMOL") filed on January 21, 2020. (JMOL, ECF No. 659. 1)
Plaintiffs Juno Therapeutics, Inc. ("Juno") and Sloan Kettering Institute for Cancer Research
("SKI") (collectively, "Plaintiffs") filed their Opposition to Defendant's Motion for Judgment as a
Matter of Law and/or a New Trial ("Opposition" or "Opp.") on February 10, 2020. (Opp., ECF
Nos. 673. 2) Defendant filed its Reply in Support of a Motion for Judgment as a Matter of Law
Pursuant to Fed. R. Civ. P. 50(b) and/or a New Trial Pursuant to Fed. R. Civ. P. 59 ("Reply") on
February 24, 2020. (Reply, ECF No. 699. 3) In setting the post-trial briefing schedule, the Court
indicated that it would take the matter under submission following the filing of reply motions.
(Order, ECF No. 639 at 5; see also Fed. R. Civ. P. 78(b).) For the following reasons, the Court
DENIES Defendant's Motion for Judgment as a Matter of Law Pursuant to Fed. R. Civ. P. 50(b)
and/or a New Trial Pursuant to Fed. R. Civ. P. 59 [ECF No. 659].

1 Defendant subsequently filed a Corrected Memorandum in support of its JMOL on February 20, 2020, which the

Court has considered in this Order. (ECF No. 692.) Unless otherwise noted, all citations to Defendant's JMOL
refer to the Corrected Memorandum, ECF No. 692.
2 Plaintiffs subsequently filed a Corrected Opposition to Defendant's JMOL on February 10, 2020, which the Court

has considered in this Order. (ECF No. 683.) Unless otherwise noted, all citations to Plaintiffs' Opposition refer to
the Corrected Opposition, ECF No. 683.
3 Unless otherwise noted, all citations to Defendant's Reply refer to the sealed Reply, at ECF No. 709.

MINUTES FORM 11                                                                                ___: ___
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       I. BACKGROUND

This is a patent infringement action involving U.S. Patent No. 7,446,190 ("the '190 Patent"), titled
"Nucleic Acids Encoding Chimeric T Cell Receptors." The '190 Patent issued on November 4,
2008 and incorporates a provisional application filed on May 28, 2002. ('190 Patent Caption.)
The claimed invention provides "nucleic acid polymer encoding [] chimeric TCR's [T Cell
Receptors] . . . ." ('190 Patent, col. 2:11-14.) The chimeric TCRs encoded by the claimed
invention "combine, in a single chimeric species, the intracellular domain of CD3 ζ-chain ("zeta
chain portion"), a signaling region from a costimulatory protein such as CD28 with a binding
element that specifically interacts with a selected target." ('190 Patent, col. 2:14-18.) These
TCRs are designed to "specifically interact[] with a cellular marker associated with target cells,"
resulting in the stimulation of a T cell immune response to the target cells. ('190 Patent, col.
2:30-36.)

Plaintiffs initiated this action on October 18, 2017, alleging that Defendant infringes the '190
Patent through the use, sale, offer for sale, or importation of one of Defendant's immunotherapy
treatments, YESCARTA®. YESCARTA® is described as a "therapy in which a patient's T cells
are engineered to express a chimeric antigen receptor (CAR) to target the antigen CD19, a
protein expressed on the cell surface of B-cell lymphomas and leukemias, and redirect the T
cells to kill cancer cells." (Second Amended Complaint ("SAC") ¶ 18, ECF No. 484.) Plaintiffs
assert that YESCARTA® infringes the '190 Patent by utilizing nucleic acid polymers encoding
chimeric TCRs within the scope of the '190 Patent claims. (SAC ¶ 26.) Defendant, in turn, filed
counterclaims seeking declaratory judgments of non-infringement and invalidity of the '190
Patent. (See generally, Answer to SAC and Counterclaims, ECF No. 617.)

On October 9, 2018, the Court issued the Claim Construction Order construing, inter alia, the
following claim term:

 Claim Term                              Court's Construction
 "the amino acid sequence encoded by SEQ Before the Certificate of Correction:
 ID NO:6"                                Amino Acids 113-220 of CD28 (starting with
                                         lysine (K))

                                                   After the Certificate of Correction:
                                                   Amino Acids 114-220 of CD28 (starting with
                                                   isoleucine (I))

(Claim Construction Order, ECF No. 100.) In relevant part, the Court's Claim Construction Order
was based upon the following: (1) Applicants filed Provisional Application No. 60/383,872 and
incorporated a journal article identifying "nucleotides 336-660 of CD28"; (2) Applicants
subsequently filed a non-provisional patent application incorporating the same language and
defining SEQ ID NO:6 in accordance with this description; (3) following approval by the patent

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examiner, applicants filed a Request for Continuing Examination ("RCE") noting an error in the
presentation of SEQ ID NO:6 and requesting removal of the first four nucleotides, such that the
first codon corresponds to isoleucine, amino acid 114 of CD28, rather than lysine, amino acid
113; (4) the Patent and Trademark Office ("PTO") rejected the amended listing as damaged or
unreadable; (5) the applicants provided a new copy again reflecting the changes to the
presentation of SEQ ID NO:6; (6) the PTO again rejected the filing, for failure to comply with
PTO formatting requirements; (7) the applicants for the third time filed an amended sequence
listing, however the listing did not reflect the changes to SEQ ID NO:6; (8) the '190 Patent initially
issued without the amendments contained in the RCE; (9) in mid-2013, the patentees requested,
and the PTO granted, a CoC that altered the definition of SEQ ID NO:6 from the sequence
beginning with nucleotide 336 (encoding amino acid 113) of the CD28 protein to the sequence
beginning with nucleotide 340 (encoding amino acid 114) of the CD28 protein. (Id.)

On December 13, 2019, the jury entered a unanimous verdict in favor of Plaintiffs, finding:
(1) Defendant had not proven by clear and convincing evidence that the Certificate of Correction
was invalid, (2) Defendant had not proven by clear and convincing evidence that any of claims
3, 5, 9, and 11 of the '190 Patent was invalid for lack of enablement or written description,
(3) Plaintiffs proved by a preponderance of the evidence that Defendant's infringement of the
corrected claims of the '190 Patent was willful, and (4) Plaintiffs proved by a preponderance of
the evidence the damages owed were a $585,000,000 upfront payment, and 27.6% running
royalty. (Jury Verdict, ECF No. 594.)

Following the jury's return of the verdict, the Court set a post-trial briefing schedule for both
parties and deferred entry of judgment. (Order, ECF No. 639.)

       II. LEGAL STANDARDS

              A. Judgment as a Matter of Law

The Federal Rules of Civil Procedure provide for the issuance of judgment as a matter of law
upon a motion "made at any time before the case is submitted to the jury." Fed. R. Civ. P.
50(a)(2). The Rules further provide that "[i]f the court does not grant a motion for judgment as a
matter of law under Rule 50(a), the court is considered to have submitted the action to the jury
subject to the court's later deciding the legal questions raised by the motion." Fed. R. Civ. P.
50(b). Moreover, "[n]o later than 28 days after the entry of judgment—or if the motion addresses
a jury issue not decided by a verdict, no later than 28 days after the jury was discharged—the
movant may file a renewed motion for judgment as a matter of law and may include an
alternative or joint request for a new trial under Rule 59." Fed. R. Civ. P. 50(b) (emphasis added).

"A Rule 50(b) motion for judgment as a matter of law is not a freestanding motion. Rather, it is
a renewed Rule 50(a) motion." E.E.O.C. v. Go Daddy Software, Inc., 581 F.3d 951, 961 (9th
Cir. 2009). Thus, "[u]nder Rule 50, a party must make a Rule 50(a) motion for judgment as a
matter of law before a case is submitted to the jury," and "[i]f the judge denies or defers ruling

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on the motion, and if the jury then returns a verdict against the moving party, the party may
renew its motion under Rule 50(b)." Id. "Because it is a renewed motion, a proper post-verdict
Rule 50(b) motion is limited to the grounds asserted in the pre-deliberation Rule 50(a) motion."
Id. "Thus, a party cannot properly 'raise arguments in its post-trial motion for judgment as a
matter of law under Rule 50(b) that it did not raise in its preverdict Rule 50(a) motion.'" Id. (citing
Freund v. Nycomed Amersham, 347 F.3d 752, 761 (9th Cir. 2003)). Notwithstanding this
requirement, "Rule 50(b) 'may be satisfied by an ambiguous or inartfully made motion' under
Rule 50(a)." Id. (citing Reeves v. Teuscher, 881 F.2d 1495, 1498 (9th Cir. 1989)).

A district court can grant a Rule 50 motion for judgment as a matter of law only if "there is no
legally sufficient basis for a reasonable jury to find for that party on that issue." Jorgensen v.
Cassiday, 320 F.3d 906, 917 (9th Cir.2003) (quoting Reeves v. Sanderson Plumbing Prods.,
Inc., 530 U.S. 133, 149 (2000)). "In entertaining a motion for judgment as a matter of law, the
court may not make credibility determinations or weigh the evidence." Krechman v. Cty. of
Riverside, 723 F.3d 1104, 1110 (9th Cir. 2013) (citations omitted). The evidence must be viewed
"in the light most favorable to the non-moving party, and all reasonable inferences are drawn in
that party's favor." El-Hakem v. BJY Inc., 415 F.3d 1068, 1072 (9th Cir. 2005).

              B. New Trial

Rule 59(a) provides that "[t]he court may, on motion, grant a new trial on all or some of the issues
. . . after a jury trial, for any reason for which a new trial has heretofore been granted in an action
at law in federal court." Fed. R. Civ. P. 59(a)(1)(A). "Unlike with a Rule 50 determination, the
district court, in considering a Rule 59 motion for new trial, is not required to view the trial
evidence in the light most favorable to the verdict. Instead, the district court can weigh the
evidence and assess the credibility of the witnesses." Experience Hendrix L.L.C. v.
Hendrixlicensing.com Ltd., 762 F.3d 829, 842 (9th Cir. 2014) (citing Kode v. Carlson, 596 F.3d
608, 612 (9th Cir. 2010) (per curiam)). "However, a district court may not grant a new trial simply
because it would have arrived at a different verdict." Silver Sage Partners, Ltd. v. City of Desert
Hot Springs, 251 F.3d 814, 819 (9th Cir. 2001) (citing United States v. 4.0 Acres of Land, 175
F.3d 1133, 1139 (9th Cir. 1999)). A new trial is appropriate under Fed. R. Civ. P. 59 "only if the
jury verdict is contrary to the clear weight of the evidence." DSPT Int’l, Inc. v. Nahum, 624 F.3d
1213, 1218 (9th Cir. 2010).

       III. DISCUSSION

Defendant moves for judgment as a matter of law on: (A) its written description defense; (B) its
enablement defense; (C) its defense that the CoC is invalid; (D) its good-faith defense to
willfulness; and (E) the opinion of Plaintiffs' damages expert, Dr. Ryan Sullivan. Defendant also:
(F) moves for a new trial based on: (1) the verdict form; (2) Dr. Sullivan's testimony; (3) large
figures; (4) the written description instruction; (5) Plaintiffs' IPR statements; (6) Plaintiffs'


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introduction of certain evidence; (7) the time limit; and (8) cumulative prejudice. Each ground is
addressed below.

              A. Written Description

Defendant argues that the '190 Patent claims are invalid for lack of written description as a matter
of law. (JMOL 2 (citing Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1350-51 (Fed. Cir.
2010) (en banc) (holding adequate description of a genus requires disclosure of either: (1) a
representative number of species falling within the genus, or (2) structural features common to
the members of the genus so that one of skill in the art can visualize or recognize the members
of the genus)).) Defendant further argues that the '190 Patent claims a broad genus that covers
an enormous number of functionally-identified CAR constructs. (JMOL 3.) Defendant further
argues that the CAR-T field was new and unpredictable when the '190 Patent was filed, and
remains unpredictable even today. (JMOL 4.) Similarly, the use of single chain variable
fragments ("scFvs") in CARs was also unpredictable. (Id.) Because the '190 Patent claims a
broad genus, and because the CAR-T field was new and unpredictable, the written description
does not satisfy the two-part test presented in Ariad. (Id.) Specifically, the specification does
not adequately describe the two CARs disclosed as examples because it does not disclose a
DNA or amino acid sequence, and for one example, does not disclose the amino acid sequence
of the scFv. (JMOL 5.) Moreover, even looking outside the specification (which would be
improper), no published materials would permit a person of ordinary skill in the art ("POSITA")
to identify the scFvs. (Id.) Additionally, the two CARs disclosed as examples, even if they were
adequately disclosed, would not be representative of the billions of CAR constructs claimed in
the '190 Patent. (JMOL 6.) For example, in AbbVie, the Federal Circuit determined that there
was no evidence demonstrating any antibody described in the patent was structurally similar to
the accused product (which was a member of the claimed genus). (JMOL 7 (citing AbbVie
Deutschland GmbH & Co. v. Janssen Biotech, Inc., 759 F.3d 1285 (Fed. Cir. 2014)).) Similar to
AbbVie, the scFvs disclosed in the '190 Patent are not representative of the claimed genus,
because YESCARTA® and other species encompassed within the genus are structurally and
functionally different. (JMOL 8.) Nor does the specification disclose common structural features
sufficient to allow a POSITA to visualize or recognize members of the genus. (JMOL 8-9.)
Plaintiffs' expert Dr. Brocker's testimony to the contrary was insufficient. He testified only to
common structural features (such testimony is insufficient under the law), and he applied the
wrong legal standard (first by assuming the scFv portion was not part of the claimed invention,
and by conflating the written description and enablement requirements). (JMOL 9-10.)

Plaintiffs respond that Defendant cannot meet its burden of demonstrating the evidence
overcoming the presumption of validity is clear and convincing, and undisputed. (Opp. 2.) The
record demonstrates scFvs were an old and well-known component of CARs, and the Federal
Circuit has already determined scFvs (as a CAR component) were known as early as 1995. (Id.

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(citing Capon v. Eshhar, 418 F.3d 1349, 1357 (Fed. Cir. 2005)).) The '190 Patent discloses a
novel combination of known elements—a binding element (i.e., scFv), and signaling element
(CD28 and zeta chain). (Opp. 3.) At the time the '190 Patent was filed, scFvs were routine and
well-known in the CAR field (as demonstrated by papers, witness testimony, and expert witness
testimony), thus the law states that the specification should preferably omit routine technology
that is well known. (Opp. 4-6.) Specifically, CD19-specific scFvs were shown to be well known
in the art, even by Defendant's own witnesses. (Opp. 6.) The '190 Patent additionally provides
examples of scFvs that can be used with the invention, and real-world evidence shows that
POSITAs did make the three-part CAR claimed in the '190 Patent. (Opp. 7.) Plaintiffs further
respond that the Federal Circuit recognized in 1995 that scFvs were a well-known component
of CARs, which Defendant itself relied upon to overcome a written description objection during
prosecution. (Opp. 8-9 (citing Capon, 418 F.3d at 1439 and other authority).) Plaintiffs further
respond that Defendant baldly mischaracterizes the '190 Patent's claims as functional genus
claims by virtue of their scFv element, but the claims are composition claims reciting a three-part
structure. (Opp. 9-10.) Plaintiffs further argue the Ariad test is inapplicable here because the
test is relevant to novel compounds, not those known in the art. (Opp. 11-12.) Even if relevant,
Ariad is satisfied because the patent discloses the CAR backbone, two scFvs successfully used
with the backbone, additional scFvs, and the CD19 scFv is representative of scFvs in the context
of CARs. (Opp. 12.) Defendant's contention that the two examples are not representative is
unpersuasive because the claims recite scFvs as part of a CAR, not any possible scFv chain.
(Opp. 13.) Plaintiffs further argue that Defendant's argument that Dr. Brocker used the wrong
test is forfeited, because it was not raised in Defendant's Rule 50(a) motion. (Opp. 14.) Even if
procedurally proper, Defendant misrepresents Dr. Brocker's testimony—he actually testified that
single-chain scFvs had been known and were separate from the Sadelain two-part backbone
invention. (Opp. 14-15.)

Defendant replies that Dr. Sadelain only made and disclosed two CARs in the '190 Patent, and
for those two CARs, the patent does not disclose the structure of the scFv portion. (Reply 1.)
Plaintiffs suggest the scFv portion is not the crux of the invention, where the law states that
written description is the same whether the claim is to a novel compound or a novel combination
of known elements. (Id.) Plaintiffs cannot satisfy Ariad where the specification discloses only
two incomplete examples, each claim covers an enormous number of CARs, the CARs are
diverse, the field was new and unpredictable, the two disclosed examples are not representative,
and the patent does not describe structural features common to scFvs targeting CD19. (Reply
2-6.) Defendant further replies that knowledge outside the patent cannot substitute for an
adequate description of the claims, and Capon did not hold there was sufficient written
description for the claimed CARs. (Reply 6-7.)

In order for Defendant to succeed on its JMOL, it must show that the Ariad test was satisfied by
clear and convincing, undisputed evidence. Ariad holds that "a sufficient description of a genus

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. . . requires the disclosure of either a representative number of species falling within the scope
of the genus or structural features common to the members of the genus so that one of skill in
the art can visualize or recognize the members of the genus. 598 F.3d at 1350 (citations
omitted). Ariad further recognizes that the inquiry is a highly factual one that "will necessarily
vary depending on the context," and that "the level of detail required to satisfy the written
description requirement varies depending on the nature and scope of the claims and on the
complexity and predictability of the relevant technology." Id. at 1351. The '190 Patent claims a
three-part CAR, where the two-part Sadelain backbone permitted T-cells to proliferate,
permitting patients' immune systems to continue targeting tumor cells following a single
treatment. The parties' written description dispute centers around the sufficiency of the written
disclosure for the third piece of the CAR—a binding element, which is limited to scFvs in the
asserted claims.

During trial, both parties presented conflicting evidence for scFvs for both Ariad factors. First,
Plaintiffs presented evidence and testimony that a representative number of species was
disclosed. Plaintiffs highlighted the '190 Patent's disclosure of several scFvs (two directed to
PSMA and CD19). Plaintiffs also presented testimony that scFvs were well-known in the art.
See UroPep GbR v. Eli Lilly & Co., 276 F. Supp. 3d 629, 648 (E.D. Tex. 2017) ("[W]hen a genus
is well understood in the art and not itself the invention but is instead a component of the claim,
background knowledge may provide the necessary support for the claim."). Plaintiffs presented
testimony and argument that scFvs had been made since at least 1988, and CARs utilized scFvs
as binding elements beginning in the early 1990s. Plaintiffs' expert Dr. Brocker testified that a
paper he authored in 1993 noted the interchangeability of scFvs in CAR design. A separate
paper authored by Krause and Finney stated scFvs had been successfully used as the binding
element in CARs in 1998. Plaintiffs further presented testimony that the '190 Patent disclosed
the Orlandi method, which could be used as a "cookbook" to make any desired scFv. Plaintiffs
further presented testimony that a dishwasher from Dr. Brocker's lab in fact used Orlandi's
method to make an scFv that Dr. Brocker used in his research.

Second, Plaintiffs presented evidence and testimony that a POSITA would be able to recognize
the members of the genus, based on the disclosure of structural features of scFvs. Plaintiffs
presented evidence that the '190 Patent describes two specific scFvs that share common
structural features. As discussed in the preceding paragraph, Plaintiffs also presented evidence
that scFvs were well known in the art, including the common structural features they share. In
light of the testimony presented, including the disclosures within the four corners of the patent,
Defendant cannot satisfy its burden of showing the Ariad test elements were undisputed.

That Defendant disputes Plaintiffs' testimony and evidence, or presented its own conflicting
evidence, is not grounds for JMOL. See Krechman, 723 F.3d at 1110 (court may not make
credibility determinations or weigh the evidence during JMOL).

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Thus, the Court denies Defendant's JMOL on written description.

              B. Enablement

Defendant argues the '190 Patent does not enable the full scope of the claims as a matter of law
because the art was nascent and unpredictable, the claims' structural limitations cover an untold
number (millions of billions) of constructs, only a subset of those constructs bind to a particular
target (but the '190 Patent does not disclose which), and the effective constructs must be
discovered via screening. (JMOL 11-13 (citing Wyeth & Cordis Corp. v. Abbott Labs., 720 F.3d
1380 (Fed. Cir. 2013); Idenix Pharms. LLC v. Gilead Scis. Inc., 941 F.3d 1149 (Fed. Cir. 2019)).)
Regarding screening, Plaintiffs presented no testimony regarding the effort this would take in the
2002 timeframe. (JMOL 13.) Defendant's expert, Dr. Garcia testified that making and testing a
single scFv could take months to more than a year. (Id.) Juno's efforts to create a human scFv
for CD19 demonstrate the time and effort required, where Juno screened one billion scFvs to
identify three candidates for use in a CAR. (Id.) Although Plaintiffs' expert Dr. Brocker testified
that the synthesis and testing were so easy that a dishwasher could perform them, the mere fact
that those steps were required for claims covering a large number of compounds in an
unpredictable field demonstrates that the claims were not enabled. (JMOL 14.)

Plaintiffs respond that Defendant cannot demonstrate that it proved enablement by clear and
convincing, undisputed evidence. (Opp. 15.) Specifically, Defendant did not dispute the '190
Patent explains how to make and test the two-part Sadelain backbone, it challenges the third
element of scFvs, which were not a new and unpredictable field. (Opp. 15-16.) Dr. Brocker
testified that making and testing scFvs was not more than standard laboratory procedure, and
the Sadelain backbone has worked with every scFv with which it was tested. (Opp. 16.) Dr.
Garcia's testimony to the contrary was generalized and rebutted by Dr. Brocker's testimony and
other evidence. (Opp. 17.)

Defendant replies that Plaintiffs' argument addresses only whether a POSITA could make a
single embodiment, but the correct legal inquiry is the level of experimentation required to
practice the full claim scope. (Reply 8.) Defendant argues that Plaintiffs started with a pool of
a billion scFvs to identify only 60 that bound to CD19, Plaintiffs have no evidence that functioning
of scFvs in the CAR field was predictable in 2002, Plaintiffs point only to generic techniques to
produce an scFv, Plaintiffs do not rebut Dr. Garcia's testimony that making and testing a single
functional scFv for a CAR could make months, if not years, with a success rate of 25%, and Dr.
Sadelain's testimony that he made up to 30 functional CARs with different scFvs after filing his
patent did not disclose the time and effort (or failures) relating to those CARs. (Reply 8-9.)

The enablement inquiry turns on whether a POSITA would have to engage in undue

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experimentation to make and use the claimed invention. In re Wands, 858 F.2d 731, 737 (Fed.
Cir. 1988). At trial, Plaintiffs presented evidence and testimony that a POSITA would not.
Specifically, Plaintiffs presented testimony including that in 2002, scFvs were not a new and
predictable field, that the steps to create an scFv were straightforward, that the Sadelain
backbone has been successfully used with a number of scFvs, that Plaintiffs' expert did not know
a single scFv that would not work with the Sadelain backbone. Defendant's arguments to the
contrary were appropriate for cross-examination, not for JMOL. Drawing all inferences in
Plaintiffs' favor, there was a legally sufficient basis for the jury's verdict.

Thus, the Court denies Defendant's JMOL for enablement.

              C. CoC

Defendant argues that the CoC is invalid as a matter of law. Although the question of whether
a clerical or typographical error (or how to correct the error) was clearly evident is a question of
fact, judgment as a matter of law is warranted when the material facts are undisputed. (JMOL
14-15 (citing Cent. Admixture Pharm. Servs., Inc. v. Advanced Cardiac Sols. P.C., 482 F.3d
1347 (Fed. Cir. 2007)).) Here, no reasonable juror could have found the CoC valid because a
POSITA would not know which of two possible costimulatory sequences was claimed—amino
acids 113-220 (originally-issued patent), or amino acids 114-220 (as amended by CoC). (JMOL
15.) Defendant argues none of the original claims, specification, or cited publications
unambiguously point to disclosure of amino acids 114-220. (JMOL 15-16.) The specification
lists both sequences and does not disclose a clearly evident correction and clearly evident error.
(JMOL 16-17.) The prosecution history is also ambiguous, because although the patentee
submitted an updated sequence listing with the RCE, the scientific explanation provided by
patentee for correcting the error did not indicate a clear error as to SEQ ID NO:6. (JMOL 17.)
Specifically, there was no clear error because the sequence in SEQ ID NO:6 need not be
divisible by three, the stop codon at the end of the sequence is irrelevant to whether the first
encoded amino acid is correct, the RCE's sequence merely identified an inconsistency from
original SEQ ID NO:6, the RCE's statement that the correction conformed to the construct used
in the examples is incorrect because the specification still described one example as beginning
with nucleotide 336 (corresponding to amino acid 113), not nucleotide 340 (corresponding to
amino acid 114). (JMOL 17-19.) Patentee's submissions containing the disclosure of amino
acids 114-220 were rejected for formal defects, until ultimately the 336-663 nucleotide listing
was reintroduced. (JMOL 19-20.) Plaintiffs did not introduce evidence creating a genuine
dispute of material fact, based on the foregoing. (JMOL 20.) Instead, Plaintiffs' evidence
impermissibly relied on material outside the intrinsic record, such as Dr. Schuetz, a third party,
who requested Dr. Sadelain's complete sequence (not disclosed in the patent) before
determining the error, Plaintiffs' expert Dr. Quackenbush did not give import to disclosures
unfavorable to his opinion that amino acids 114-220 were intended, Dr. Quackenbush's opinions

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contradicted the prosecution history, although Plaintiffs argued Dr. Sadelain only worked on
CARs beginning with amino acid 114 (not disclosed in the intrinsic record), an article that formed
the basis for the patent filing contained inconsistencies (including disclosure of sequences
starting with both 113 and 114). (JMOL 20-23.) The Court already rejected Plaintiffs' arguments
during claim construction, and the relevant evidence at trial confirmed the Court's findings, thus
the Court should enter JMOL that the CoC is invalid. (JMOL 23.)

Plaintiffs respond that there were material factual disputes for the jury to decide, and Plaintiffs
presented the testimony of Dr. Quackenbush that a POSITA would have understood SEQ ID
NO:6 to begin at amino acid 114 (based on the prosecution history, including the RCE). (Opp.
18.) Defendant cites no cases finding a CoC invalid where the prosecution history contains a
request for the correction in the CoC. (Opp. 19.) Defendant likewise points to scattered
references to nucleotides encoding amino acid 113 and an extraneous sequence beginning with
lysine, but these references do not serve as clear and convincing evidence (nor is it undisputed)
of the invalidity of the CoC, where Plaintiffs presented evidence and testimony to the contrary.
(Opp. 20.) Specifically, Dr. Quackenbush explained that the RCE showed four extraneous
nucleotides crossed out at the beginning of corrected SEQ ID NO:6, and further explained why
the correction was necessary. (Opp. 20-21, 22-23.) Dr. Quackenbush further testified that the
'190 Patent itself would have indicated to a POSITA the four initial nucleotides should be
removed. (Opp. 21-22.) Moreover, Defendant's argument is forfeited, because it was not raised
in its Rule 50(a) motion, and its arguments regarding the correctness of the RCE are irrelevant
to the CoC inquiry. (Opp. 23.) Plaintiffs further respond that Defendant's criticisms of Dr.
Quackenbush (besides being improper because they were also not raised in their Rule 50(a)
motion), were proper considerations for cross-examination, not JMOL. (Opp. 24-25.) Plaintiffs
further respond to the criticisms by responding that Dr. Quackenbush did not ignore certain
evidence, nor did he rely on extrinsic evidence. (Opp. 27.) Plaintiffs further respond that Dr.
Schuetz's testimony that he discovered a mistake based on information outside the intrinsic
record does not mean that Dr. Schuetz would not have identified an error based on the intrinsic
record, Dr. Bot admitted he did not review the RCE or prosecution history in determining SEQ
ID NO:6 began with amino acid 113, and Dr. Junghans' testimony that he made a CAR using
amino acids 113-220 is irrelevant because he testified he had not read the '190 Patent, let alone
the full intrinsic record at that point. (Opp. 27.)

Defendant replies that a CoC is improper for broadening the scope of a claim, where SEQ ID
NO:6 did not contain a correctable error. (Reply 9-10.) Defendant further replies that the claims
specified that SEQ ID NO:6 began with amino acid 113. (Reply 10.) The RCE does not resolve
any purported ambiguity because the RCE was superseded by the patent prosecutor filing
substitute sequence listings showing SEQ ID NO:6 to begin with amino acid 113, a POSITA
would not uncritically accept the statements in the RCE, and the RCE does not show the original
sequence had a clearly evident error. (Reply 11-12.) Dr. Quackenbush's testimony contradicts

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the intrinsic record and the Court's claim construction ruling. (Reply 12.) Defendant further
replies that real-world evidence, such as MSK's failure to notice the error for four and a half
years, Dr. Bot's and Dr. Junghan's interpretations as beginning with amino acid 113, and Dr.
Schuetz's tainted testimony as a result of meeting with counsel, weighs against such a finding.
(Reply 13.)

For Defendant to prevail on its JMOL finding the CoC invalid, Defendant must show there was
no legally sufficient basis for a reasonable jury to find in its favor. Jorgensen, 320 F.3d at 917.
"Invalidating a certificate of correction for impermissible broadening therefore requires proof of
two elements: (1) the corrected claims are broader than the original claims; and (2) the presence
of the clerical or typographical error, or how to correct that error, is not clearly evident to one of
skill in the art." Central Admixture Pharm. Servs., Inc. v. Adv. Cardiac Sols., P.C., 483 F.3d
1347, 1353 (Fed. Cir. 2007). The Court previously ruled on the first element when it determined
that the CoC altered the starting amino acid encoded by SEQ ID NO:6. (See Markman Order,
ECF No. 100, at 17 (starting at amino acid 113 before the CoC, amino acid 114 after the CoC).)
The Court previously declined to rule on the second element when it denied Defendant's motion
for summary judgment of noninfringement, finding that "a clear and genuine dispute of fact"
existed regarding whether "the error and correction would have been clearly evident to a POSITA
examining the record." (Summary Judgment Order, ECF No. 246, at 7.) At trial, both parties
presented extensive testimony and evidence regarding the validity of the CoC. Now, in order
for Defendant to prevail on its JMOL, it must show that despite Plaintiffs' extensive testimony
and evidence, there was no sufficient basis for the jury's finding.

The Court finds that Plaintiffs presented sufficient testimony on which a jury could base its
determination. It is undisputed that during patent prosecution, Plaintiffs sought an RCE in which
it stated that "an error occurred in the presentation of Seq. ID No. 6," and that "the amino acids
of the CD28 Sequence (144-220 contained a typographical error and should have been 114-
220)." (RCE, Sept. 4, 2007.) Plaintiffs also submitted an amended SEQ ID NO:6 crossing out
the first four nucleotides.




(RCE, Sept. 4, 2007.) The amended listing, and subsequent attempted amendment were both
rejected for improper formatting. The third attempt reverted back to the original SEQ ID NO:6.
Plaintiffs' expert Dr. Quackenbush then testified that as a POSITA, he understood the intrinsic
record (including the '190 Patent claims, specification, and prosecution history) to show the
uncorrected SEQ ID NO:6 solely as a result of a mistaken file submission, and that the RCE's
unambiguous correction clearly showed the amino acid sequence beginning at 114. (Tr. 1149:7-
1152:10.) Dr. Quackenbush further testified that the RCE stated that the first codon is "att,"

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which corresponds to a sequence starting at position 114. (Tr. 1151:8-18.) Although there was
additional testimony and evidence supporting Plaintiffs' position, the Court finds that at least
these specific examples provide a basis for the jury to have concluded the CoC was valid.

Defendant raises a number of points as to the merits of Plaintiffs' arguments, such as various
citations in the specification to a sequence beginning at the equivalent of amino acid 113, the
ambiguity of the RCE and subsequent amended submissions, the inadequacy of testimony by
Dr. Schuetz, the bias of Dr. Schuetz, Dr. Quackenbush's failure to properly consider certain
aspects of the patent and the prosecution history, an article by Dr. Sadelain, Plaintiffs' failure to
notice the error for four and a half years, and the conflicting testimony of Dr. Bot and Dr.
Junghans. But in light of the totality of the testimony presented, the Court cannot determine that
there did not exist a genuine issue of fact whether a POSITA would have recognized a clearly
evident error and solution, based on the intrinsic record of the '190 Patent. See Krechman, 723
F.3d at 1110 ("In entertaining a motion for judgment as a matter of law, the court may not make
credibility determinations or weigh the evidence."); see also El-Hakem, 415 F.3d at 1072 (holding
the evidence must be viewed "in the light most favorable to the non-moving party, and all
reasonable inferences are drawn in that party's favor.").

Thus, the Court denies Defendant's JMOL for a finding that the CoC is invalid.

              D. Willfulness

Defendant argues Plaintiffs failed to show Defendant launched YESCARTA® without doubts
about its validity or any notion of a defense. (JMOL 24.) Plaintiffs argued Defendant failed to
present witnesses stating they did not believe Defendant infringed, but Defendant was not
permitted to present such witnesses because it asserted privilege. (Id.) Plaintiffs also focused
on communications between Dr. Sadelain with Dr. Rosenberg (a physician at the National
Cancer Institute), Dr. Belldegrun's communications with Dr. Dash, and Defendant's filing of an
IPR in 2015. (Id.) However, these events took place years before Gilead acquired Defendant
and decided to launch YESCARTA®. (Id.) When sued, Defendant promptly raised the defenses
it raised at trial, and no evidence at trial suggested Defendant lacked a good-faith belief in its
defenses. (Id.)

Plaintiffs respond that Defendant cannot show no reasonable jury could have concluded
Defendant's infringement was willful. (Opp. 28.) Defendant cannot do this where Plaintiffs
introduced evidence that Defendant knew its collaborators copied the Sadelein backbone, tried
to license the '190 Patent unsuccessfully, tried to invalidate the '190 Patent unsuccessfully, and
then to commercialize YESCARTA® anyway. (Id.) The law considers conduct pre-dating
infringement as a factor. (Opp. 28-29.) Dr. Bot's excluded homology analysis was excluded
because it was superseded by other events, including advice of counsel and Defendant's

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licensing and IPR attempts, which rendered the evidence irrelevant, or at the very least,
prejudicial. (Opp. 29.) The Court precluded no other percipient witness testimony. (Id.) On
Defendant's litigation defenses, Defendant forfeited this argument by not raising it in its Rule
50(a) motion, but even if not, proof of an objectively reasonable litigation defense is no longer a
defense to willful infringement. (Opp. 29-30.) Even if it was, Defendant did not offer any
evidence of actual reliance. (Id.)

Defendant replies that the following undisputed facts foreclose a finding of willful infringement:
no infringing conduct before the launch, Gilead (not Drs. Belldegrun or Jakobovitz) decided to
launch YESCARTA®, and Plaintiffs offered no evidence regarding Gilead's willful infringement.
(Reply 13-14.) These facts do not support a finding of willful infringement because the inquiry
focuses on the mind of the infringer at the time of infringement. (Reply 14.)

For Defendant to prevail of its JMOL finding no willful infringement, it must show that no
reasonable jury could have concluded that Defendant acted despite a risk of infringement known
or so obvious that it should have been known to the accused infringer. The conduct is required
to be wanton, malicious, or in bad faith. See SRI Int'l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295 (Fed.
Cir. 2019) (clarifying the standard for willful infringement set forth in Halo Elecs., Inc. v. Pulse Elecs., Inc.,
136 S. Ct. 1923, 1932 (2016)). The infringer's state of mind is determined at the time of
infringement, but conduct predating infringement may be relevant to determine the infringer's
state of mind at the time of infringement. Polara Eng'g Inc. v. Campbell Co., 894 F.3d 1339,
1353-54 (Fed. Cir. 2018).

The Court finds that Plaintiffs presented sufficient evidence of willfulness that a reasonable jury
could find in its favor. Plaintiffs presented evidence and testimony that Defendant knew that Dr.
Rosenberg from National Cancer Institute ("NCI") copied Dr. Sadelain's backbone, as
demonstrated by Defendant's attempting to be the first to license and to invalidate the '190
Patent. Plaintiff's fact witness Dr. Dash testified that Dr. Belldegrun was so desperate to pursue
a license to the '190 Patent that he appeared at her office, despite not having a meeting. Dr.
Jakobovitz similarly testified that Dr. Belldegrun met with Plaintiffs in an attempt to license the
'190 Patent. Plaintiffs further argued that Defendant's filing of the IPR against the '190 Patent
demonstrated the importance of the '190 Patent to Defendant. In light of at least these examples
of testimony and evidence, a reasonable jury could have entered a finding of willfulness.

Defendant's argument that it was precluded from introducing fact witness testimony relating to
its belief of non-infringement does not change this outcome. Dr. Bot's homology analysis,
performed in 2012, was excluded as having little relevance to the determination of willfulness in
2017, where Defendant subsequently obtained advice of counsel, attempted to license the '190
Patent, and filed an IPR against the '190 Patent. Thus, exclusion of Dr. Bot's testimony was not
because Defendant claimed privilege over its advice of counsel. It was because Dr. Bot's

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analysis bore little relevance to the willfulness determination where it was superseded by other
events, and what little relevance it did bear was outweighed by prejudice.

Finally, Defendant's argument that Gilead, not Defendant, was the one who decided to launch
YESCARTA® does not provide a sufficient basis for finding that no reasonable jury could have
determined Defendant willfully infringed YESCARTA®. The testimony regarding Dr. Rosenberg,
in addition to the testimony of Dr. Dash, Dr. Sadelain, Dr. Belldegrun, and Dr. Jakobovitz weighs
in favor otherwise.

Thus, the Court denies Defendant's JMOL for a finding of no willful infringement.

               E. Sullivan

Defendant argues Plaintiffs presented no legally or factually sufficient basis for damages, and
the proper award is the opinion Defendant's damages expert, Dr. Mohan Rao, would have
presented at trial but was precluded from doing so by the Court's Daubert Order. (JMOL 25.)
Dr. Sullivan testified his opinion was based upon a license agreement ("MSK License") between
Juno and Memorial Sloan Kettering 4 ("MSK"), which contained a royalty rate up to 7.25%, $6.9
million upfront payment, and potential milestone payments of $3.35 million through first approval.
(JMOL 26.) Juno and MSK also entered into a Side Letter Agreement, which set a maximum
stock appreciation success fee of $150 million. (Id.) Defendant argues Dr. Sullivan's use of the
success fee was not tied to use of the '190 Patent, where the Side Letter Agreement reflected a
broad collaboration between an academic institution and a startup. (JMOL 27.) Dr. Rao testified
that success fees are based on a relationship with an extensive collaboration, not between two
mature pharmaceutical companies. (Id.) Even if the success payment was proper, Dr. Sullivan
did not explain what portion should be allocated to the '190 Patent. (JMOL 27-28.) Moreover,
the expected value of the success fee depended on the parties' expectations about Juno's future
appreciation, and Juno's auditors assigned the success fee a de minimis value. (JMOL 28.) Dr.
Sullivan improperly substituted the appreciation of Defendant's stock for Juno's stock, and
improperly opined Defendant would have agreed to pay the stock success fee. (JMOL 29.) The
evidence showed that Defendant's and YECARTA®'s value was driven by factors other than the
patented construct, including clinical trials, manufacturing, lymphodepletion, physician outreach,
and future therapies. (JMOL 29-30.) Defendant further argues the 27.6% running royalty does
not apportion, where Dr. Sullivan did not value other essential inputs, such as manufacturing,
business risks, or significant features. (JMOL 31.) Defendant further argues Dr. Sullivan's
upward adjustments (markup from previous Novartis license, competitor adjustment) were
illogical and unsupported, including for his adjustment to the success fee. (JMOL 31-33.) Dr.

4 MSK was dismissed as a party, but the Court did not preclude Plaintiffs from arguing that MSK would have been

present at a hypothetical negotiation.

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Sullivan's opinion departed from comparable licenses and rendered his opinion out of line with
economic reality. (JMOL 33-34.)

Plaintiffs respond that Dr. Sullivan's analysis was proper, and Defendant continues to rely on its
own interpretation of the MSK License to argue no reasonable jury could have found in Plaintiffs'
favor. (Opp. 31-32.) The MSK License (via Side Letter) provided a $150 million payment based
upon a multiple of initial equity value, and witnesses testified the success payment was
important, intended to provide upside without increasing equity burden, and has actually been
paid. (Opp. 31-32.) Unlike the stock swap which was excluded by the Court, the success
payment does not exchange Juno's shares for Kite's shares. (Opp. 33.) Apportionment was
built into the comparable license framework, and even if not, Dr. Sullivan testified that the
success payments would have been triggered solely off the $6.2 billion valuation for
YESCARTA® at the time of the hypothetical negotiation. (Id.) Plaintiffs further respond that the
Court already rejected Defendant's challenges to Dr. Sullivan's adjustments, and even if not,
these challenges are inappropriate for a JMOL, which does not permit a challenge to the
sufficiency of the evidence. (Opp. 34.) Moreover, the evidence at trial supported Dr. Sullivan's
adjustments: (1) the first adjustment (hypothetical negotiation between competitors, not
collaborators) uses a ratio, which was supported by the testimony of Dr. Dash and Dr. Belldegrun
(Opp. 35); (2) the second adjustment (hypothetical negotiation on the eve of launch) accounted
for the greater anticipated economic harm Juno expected due to Defendant being on the eve of
launch, which was supported by the testimony of Dr. Dash, Dr. Dulac, Dr. Gilbert, Dr. Belldegrun,
and Mr. Bishop (Opp. 35-36.) Plaintiffs further respond that the jury's damages award did not
violate apportionment requirements, because apportionment is built into the comparable-license
approach, and Defendant's authority addresses multi-component electronic devices or software
programs, not biotechnology. (Opp. 36-37.) Although Defendant touted other components as
drivers of value (lymphodepletion, manufacturing), Plaintiffs introduced contradicting evidence
(lymphodepletion leading to higher toxicities, first-generation manufacturing process), based on
which the jury could have concluded these other components added little overall value to
YESCARTA®. (Opp. 37-38.)

Defendant replies that the damages award is not apportioned because the '190 Patent is only
one component of YESCARTA® therapy and does not account for a complex manufacturing
process. (Reply 15.) The superiority of Juno's manufacturing and lymphodepletion regimen for
JCAR017 is not relevant to whether Defendant's processes have contributed to demand. (Id.)
Apportionment was not built into Dr. Sullivan's analysis, where he did not use the same license
rate as comparable license agreements, and Plaintiffs presented no evidence that Defendant
would have been willing to pay the success fee for a naked license to the '190 Patent. (Reply
16-17.) Moreover, there was no evidence tying the success fee to the '190 Patent, as the
payments consistent of various other components. (Reply 17.) Defendant further replies that
the success fee was improper because Dr. Rao's testimony that a success fee would not be part

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of a negotiation between two companies was unrebutted, the success fee was not apportioned
to the '190 Patent, there was no evidence to support the appropriateness of transfer of the equity-
based fee to a different company at a different time, and the 30-fold increase in Defendant's
stock resulted from factors other than the '190 Patent. (Reply 18.) Defendant further replies
that Dr. Sullivan's adjustments were unreliable because they resulted in Defendant paying five
times as much as Novartis, Juno did not expect competing for a significant part of the patent
term, and the adjustment to the success fee was unjustified. (Reply 18-19.)

Regarding the success payment, the Court already ruled that Dr. Sullivan's testimony regarding
the $150 million success payment was permissible. Unlike the stock swap that the Court
excluded, the success payment did not substitute the shares of one company for another.
Instead, the success payment was based on Dr. Sullivan's opinion that the parties at the
hypothetical negotiation would have agreed to the term based on the inclusion of the term to the
MSK License (via the Side Letter), and based on the parties' consideration of the $6.2 billion
valuation of YESCARTA®. That Defendant disagreed with the inclusion of the success payment
was a theory presented to and, based on the verdict, rejected by the jury.

Regarding apportionment (of both the licensing rate and success payment), the Federal Circuit
has held that apportionment is built into the comparable license framework. Commonwealth Sci.
& Indus. Research Org. v. Cisco Sys., 809 F.3d 1295, 1303 (Fed. Cir. 2015). However, even
assuming not, Plaintiffs presented testimony and evidence regarding the importance of the '190
Patent to YESCARTA®, and to Defendant's overall business. Specifically, Defendant tried
unsuccessfully, multiple times, to develop non-infringing alternatives. Defendant's own
witnesses (for example, Dr. Komanduri) likewise testified to the importance of the '190 Patent's
CAR construct to CAR-T therapy. That Defendant argued other factors contributed to the
success of YESCARTA® does not as a matter of law render the conclusion that apportionment
is required, especially where Plaintiffs introduced conflicting testimony regarding the importance
of the '190 Patent to YESCARTA®. Plaintiffs' damages testimony properly considered
apportionment, and there was thus a legally sufficient basis for the damages award by the jury.

Regarding Dr. Sullivan's adjustments, the Court already previously rejected Defendant's
argument that they were improper. Dr. Sullivan testified that he performed two adjustments, one
to account for the fact that the MSK License involved parties who would want to collaborate,
whereas the hypothetical negotiation involved two commercial competitors less likely to be
agreeable. The second adjustment accounted for Plaintiffs allowing a commercial competitor to
enter the marketplace with a competing product before them. The Court finds that the testimony
at trial provided a legally sufficient basis for the jury to enter Plaintiffs' damages award, including
enhancements.

Thus, the Court denies Defendant's JMOL regarding Dr. Sullivan.

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              F. New Trial

                     1. Verdict Form

Defendant argues that in closing argument, it used a version of the verdict form that specified
the period for the upfront payment should extend through trial. (JMOL 36.) Defendant asked the
jury to disregard Plaintiffs' damages requests, as Plaintiffs requested damages extending
beyond trial. (JMOL 36-37.) When Plaintiffs pointed to the term of upfront payment reflected in
the form, the Court stated Defendant's verdict form was different from the one the Court would
provide to the jury, and the Court-provided verdict form did not include the limitation for the
upfront payment through trial. (JMOL 37.) Defendant argues it was prejudiced because it could
not present a payment number for damages past trial, and its credibility was tarnished. (JMOL
37-38.)

Plaintiffs respond that Defendant knew or should have known that it was using an incorrect
version of the verdict form. (Opp. 38.) The Court repeatedly denied Defendant's requests to:
(1) limit Plaintiffs' evidence and testimony during trial regarding the upfront payment to the time
period through trial, and (2) revise the verdict form to include language limiting the upfront
payment through trial. (Opp. 38-39.) The Court at every turn denied Defendant's requests, and
Defendant itself had received at least five versions of the verdict form omitting the language.
(Opp. 39.) It was thus unreasonable for Defendant to believe that the Court, after consistently
rejecting Defendant's request throughout trial and earlier versions of the verdict form, would have
accepted Defendant's request in a later verdict form without any comment or explanation on the
record. (Id.) As the Court stated on the record, Defendant used the verdict form without first
clearing it with the Court, and the jury was provided with the verdict form that was approved by
the Court on the record with both parties. (Id.) Moreover, Defendant witnessed Plaintiffs arguing
from the correct verdict form (that was displayed on multiple monitors at Defendant's counsel's
table), yet Defendant remained silent regarding the verdict form (it was Plaintiffs who pointed out
Defendant's use of the wrong form). (Opp. 39-40.) Plaintiffs further respond that there was no
prejudice, where the Court had consistently denied Defendant's requests to limit damages
through trial, and Defendant's trial presentation never deviated from its view that the upfront
payment should be prorated. (Opp. 40.) Moreover, Defendant did present Dr. Rao's upfront
payment that was not prorated—$88 million. (Id.)

Defendant replies that it used the form it received, which included language it had previously
requested. (Reply 19.) The Court's rulings throughout trial did not reject Defendant's request to
limit damages through trial. (Id.) The parties discussed changes with the Court on the morning
of December 11, and the form distributed included the changes discussed that morning, as well
as a change to the term of upfront payment. (Reply 20.) The Court also incorporated other

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changes without comment on the record, including two agreed-upon changes and the order of
questions presented. (Reply 20.) Defendant was prejudiced because it did not suggest to the
jury to use the $88 million upfront payment, although the figure was noted. (Reply 20-21.)
Defendant also notes its credibility was harmed by criticizing Dr. Sullivan's upfront payment.
(Reply 21.)

As a preliminary matter, the Court notes that it has already ruled upon Defendant's motion for a
new trial based on the verdict form. First, the Court ruled on Defendant's oral motion for a mistrial
on the record:

       Mr. Dane, you used the verdict form without clearing it first with the Court. So I
       just want to make sure that is clear. And this – the verdict form that is being given
       to the jury today is the verdict form that was initially approved . . . by the Court on
       the record.

(Tr. 1543:18-24.) Second, the Court provided further explanation in a written order following
trial. (Order, ECF No. 584.) Specifically, the Court found the motion for mistrial did not bear
merit because: (1) the Court's ruling on the record was clear, (2) the verdict form provided to the
jury was consistent with the Court's ruling, and (3) any error was not prejudicial to Defendant
where its damages expert consistently argued damages should be limited through trial, and
(4) removal of the express limitation of damages through trial did not preclude the jury from
entering the award argued by Defendant's counsel. (Order, ECF No. 584, at 2-3.)

Nevertheless, the Court once again addresses Defendant's request. On December 10, 2019,
the Court heard arguments from both parties regarding the proposed verdict form. One issue
was whether Question 5a (regarding the upfront payment for damages) should include a note
expressly limiting damages through the end of trial. Defendant, who argued throughout trial the
upfront payment should be prorated through the end of trial, requested inclusion of the language.
Plaintiffs, who argued throughout trial the upfront payment should not be pro-rated, opposed
Defendant's request. The Court distributed an updated verdict form at the end of December 10,
2019, which did not include the limitation. On December 11, 2019, the Court noted Plaintiffs had
submitted an updated jury verdict form. (Tr. 1321:13-14; see also ECF No. 554.) The form did
not include the limitation. Each party made an unopposed request to the verdict form unrelated
to the limitation. (Tr. 1321:14-1322:8 (requesting changes re party names and willful
infringement).) The Court granted both modifications to Plaintiffs' updated jury verdict form. (Tr.
1322:9-12.) Plaintiffs' updated jury verdict form, including the two unopposed modifications, was
the form provided to the jury for deliberation.

In light of these facts, the Court finds that its ruling on the record was clear and unambiguous.
Plaintiffs' updated jury verdict form, with the two unopposed modifications, was the final verdict

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form. Although there appears to be some confusion as to the potential distribution of a different
version, 5 Defendant was at least on inquiry notice that what it believed to be the final verdict
form was incorrect, because: (1) the Court permitted Dr. Sullivan to testify to an un-prorated
upfront payment during trial, (2) the Court never granted Defendant's request to include the
limitation on the record, (3) the Court's previous revisions to the verdict form without comment
in the record were for non-substantive, unopposed, changes, (4) in addition to the two proposed
forms provided by the Court on December 10, Plaintiffs sent an additional two proposed forms
to Defendant, none of which included the limitation, (5) Defendant received Plaintiffs' updated
jury verdict form (omitting the language) the morning of December 11, (6) Plaintiffs' updated
verdict form had only two unopposed modifications incorporated on the record, (7) Defendant
had the opportunity to see Plaintiffs utilize a different verdict form, (8) Defendant had a full day
to verify the correct form because it received the form on December 11, but did not use it during
its closing argument until December 12, and yet (9) as noted on the record, Defendant did not
confirm the final verdict form with the Court before using it.

Moreover, Defendant was not prejudiced, where it presented the same damages theory
throughout trial. Removal of the limitation did not preclude the jury from awarding Defendant a
pro-rated upfront payment. Defendant referenced what its expert used as the full upfront
payment ($88 million), so the jury was aware what amount they could award, if they agreed with
Defendant. (Tr. 1502:17-23 ("For the upfront payment, he used the $88 million that potentially
could have been paid over the whole term of the Novartis license . . . , and then he prorated
it . . . . And that's proper to prorate it because of the limited period of damages.").); see also
Ruvalcaba v. City of Los Angeles, 167 F.3d 514 (9th Cir. 1999) (relief warranted only where
prejudice results). As to Defendant's argument that its credibility was tarnished, the Court notes
that Defendant's counsel's arguments regarding the entirety of its damages case (including
comparable license analysis, upfront payment, reasonable royalty, revisiting testimony of Dr.
Sullivan and Dr. Rao) totaled 11 minutes, out of the 142 minutes Defendant argued. 6 Thus,
Defendant's showing of the verdict form during a portion of the 11 minutes, out of 142 minutes
of closing argument, was minimal. While the Court does not believe Defendant's use of the
verdict form caused any prejudice, any prejudice was minimal considering the minimal use of
the form, when compared to the entirety of Defendant's closing argument. 7,8

5 Plaintiffs state that contrary to Defendant's assertion, they never received an incorrect version of the verdict form

prior to closing arguments. However, given Defendant's counsel's declarations, the Court assumes for purposes
of this Order that Defendant received an incorrect version of the verdict form.
6 The Court's records indicate Defendant's counsel's closing argument on December 11 spanned 1:59pm (Tr.

1417:15) – 3:29pm (Tr. 1465:7), and on December 12 spanned 8:45am (Tr. 1475:5) – 9:37am (Tr. 1506:1).
Counsel's damages argument on December 12 spanned 9:26am (Tr. 1498:24) – 9:37am (Tr. 1506:1).
7 The Court notes the jury, while sending notes on other issues, did not send a note requesting clarification regarding

the jury verdict form.
8 The Court notes its view that Defendant's use of the incorrect verdict form was minimal and no more prejudicial

than other events during Defendant's closing, such as Defendant presenting a slide listing its own witness as a

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Thus, the Court again denies Defendant's motion for a new trial based on the verdict form.

                         2. Sullivan's Testimony

Defendant argues Plaintiffs introduced testimony about future harms not disclosed in Dr.
Sullivan's report. (JMOL 38.) Dr. Sullivan was limited to past damages (not future anticipated
harm), as the Court had limited Dr. Sullivan to testifying that his upfront payment was for harms
realized at the hypothetical negotiation, not any future anticipated harm. (JMOL 38-39.) Dr.
Sullivan then testified the $585 million upfront payment necessarily applied through the term of
the '190 Patent, thus his conflicting opinions about whether his proposed royalty fully
compensates for future harms are irreconcilable and provide an improper basis for the jury's
award. (JMOL 39-40.) Dr. Sullivan's testimony regarding his royalty compensating for future
harms prejudiced Defendant, who would otherwise have presented testimony regarding
anticipated non-infringing constructs. (JMOL 40.)

Plaintiffs respond that the Court already rejected Defendant's argument that Dr. Sullivan's
testimony exceeded the scope of his expert report. (Opp. 41.) Plaintiffs further respond that Dr.
Sullivan testified consistent with his opinion that the upfront payment is for harms realized at the
hypothetical negotiation, not compensation for future harm. (Id.) Plaintiffs further respond that
Dr. Sullivan did not give conflicting opinions on lost profits—Defendant conflated the hypothetical
negotiation with post-trial relief. (Id.) Plaintiffs further respond that Defendant was not prejudiced
by not presenting anticipated non-infringing constructs, because Defendant's non-infringing
alternatives theory was so weak and speculative that Defendant withdrew its theory before trial.
(Opp. 41-42.)

Defendant replies that Plaintiffs did not identify other opinions of Dr. Sullivan where he
contradicted himself so as not to give confusing and self-contradictory testimony. (Reply 21.)
Defendant further replies that it was prejudiced by not pursuing a theory regarding non-infringing
alternatives which the parties would have expected to be available after the time of trial. (Id.)

The Court holds that for the reasons noted above (see supra, Section III.E), even under the
standard for a motion for a new trial where the Court may "weigh the evidence and assess the
credibility of the witnesses," the Court cannot conclude that the jury verdict is contrary to the
clear weight of the evidence. The Court already ruled on Defendant's Daubert motion to exclude
certain testimony by Dr. Sullivan and found that his testimony was not inconsistent with his


witness for Plaintiffs. (Tr. 1459:10-14 ("Oh, and I apologize, . . . there is an error on the slide. Dr. Schuetz was, of
course, not a Juno witness, so I apologize for that. He was one of our witnesses, and that should not indicate that
he was a Juno witness.").)

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disclosed opinion that the upfront payment is for "harms realized at the hypothetical negotiation."
(ECF No. 659 at 39.) To the extent Defendant argues it was prejudiced by its inability to develop
and present non-infringing alternatives that would exist post-trial, Defendant: (1) was in
possession of evidence of non-infringing alternatives post-trial (see DX2011c.8 (multi-generation
forecast for 2020); see also DX0125c (clinical trials)), (2) to the extent Dr. Sullivan's testimony
was inconsistent, Defendant never requested reopening discovery to develop its purported non-
infringing alternatives theory, (3) it remains unclear to this Court why Defendant would require
discovery of its own non-infringing alternatives, and (4) Defendant had the opportunity to
address any inconsistency in Dr. Sullivan's damages theory in its opposition to Plaintiffs' post-
trial briefing re damages. (See ECF Nos. 672-2, 693.)

For these reasons, the Court denies Defendant's motion for a new trial based on Dr. Sullivan's
testimony.

                     3. Large Figures

Defendant argues Dr. Sullivan's testimony was tied to large figures (projected profits,
YESCARTA® valuation, negative impact to Juno, upfront payment from separate agreement,
and royalty rates for late-stage technologies). (JMOL 41.) Defendant argues these figures were
not apportioned, highly speculative, not sufficiently similar, and should not have been permitted,
even as a check on the reasonableness of a damages award. (JMOL 42.)

Plaintiffs respond that the data points were highly relevant. As an initial matter, Defendant's
failure to object to the admissibility of multiple data points to which it now objects, means it has
waived its right to seek a new trial. (Opp. 42.) However, even if Defendant had not waived its
right, each of the data points is relevant to the damages analysis. (Opp. 43.)

Defendant replies that it preserved its objections by moving in limine to preclude Plaintiffs from
referring to high dollar figures Dr. Sullivan did not rely upon in his calculations. (Reply 21.)
Plaintiffs then misrepresented to the jury large numbers as real anchors in the real world,
skewing the jury's damages horizon. (Reply 22.) Defendant was also not permitted to introduce
an estimated upfront payment between Juno and Celgene. (Id.)

As a threshold matter, Defendant failed to object to and receive a ruling on multiple figures it
now disputes. See 11 Wright & Miller, Fed. Practice and Procedure § 2805 (3d ed. 2002) (stating
a new trial will not be granted on issues not called to the court's attention, "unless the error was
so fundamental that gross injustice would result"). True, Defendant filed a motion in limine to
preclude generally testimony of "high dollar figures that Sullivan does not use in his calculations"
(ECF No. 309 at 1, 12) (and the Court did in fact exclude all but one of the figures contained in
the motion in limine) and filed objections "regarding projected or actual licensing figures that

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neither expert has relied upon," however these broad objections cannot satisfy the requirement
for calling a court's attention to an inadmissible figure during live testimony.

Nevertheless, the Court determines on the merits that the figures presented by Plaintiffs do not
warrant a new trial.

$7.1 billion projected profits through patent term. Although Defendant did not object to this figure
during testimony, the Court determines that Gilead's projected profits for YESCARTA® through
the term of the '190 Patent are a relevant consideration to the hypothetical negotiation, and
specifically to what Plaintiffs would have considered paying. Defendant's argument that the
figure should have been apportioned is an issue of fact appropriate for cross-examination, where
Plaintiffs argued the '190 Patent was critical to YESCARTA®, and Defendant argued factors
other than the '190 Patent contributed to the success of YESCARTA®.

$6.2 billion alleged value of YESCARTA®. The Court already rejected Defendant's motion in
limine to exclude this figure, as it determined that Gilead's value assigned to YESCARTA® had
a nexus to the accused product. (Order, ECF No. 473, at 9.) Furthermore, this figure is relevant
as the value that Gilead attributed to YESCARTA®. Defendant's argument that the figure should
have been apportioned is an issue of fact appropriate for cross-examination, where Plaintiffs
argued the '190 Patent was critical to YESCARTA®, and Defendant argued factors other than
the '190 Patent contributed to the success of YESCARTA®.

$1.3 billion projected annual negative impact to Juno. Although Defendant did not object to this
figure during testimony, the Court determines that the negative annual revenue Juno anticipated
from Defendant's market entry as a result of its license to the '190 Patent is relevant to Dr.
Sullivan's damages calculation and appropriate to consider under the law. See Georgia-Pacific
Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1121 (S.D.N.Y. 1970) (considering "the
anticipated amount of profits that the prospective licensor reasonably thinks he would lose as a
result of licensing the patent").

$1 billion upfront payment from Celgene-Juno Agreement, 20-30% royalty rates for late-stage
technologies. Defendant did not object to these figures during testimony, but the Court notes
that even if Defendant had objected to and excluded these figures at trial, the jury verdict would
not be rendered contrary to the clear weight of the remaining evidence.

Thus, the Court denies Defendant's motion for a new trial based on large figures.

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                    4. Written Description Instruction

Defendant argues the written description jury instruction provided to the jury was flawed because
it did not correctly cover the legal standard for written description of genus claims. (JMOL 43.)
Although the Court followed a model instruction for written description, the instruction was
inadequate because it referred to the invention in the singular, did not include the word genus,
or explain that the specification must enable the full scope of the claims. The instruction also
did not lay out the Ariad standard that "a sufficient description of a genus . . . requires the
disclosure of either a representative number of species falling within the scope of the genus or
structural features common to the members of the genus so that one of skill in the art can
visualize or recognize the members of the genus." (JMOL 44 (citing Ariad, 598 F.3d at 1350).)
Defendant argues it presented clear and convincing evidence that the patent does not meet the
legal standard for genus claims, but the jury was free to forgo the required analysis. (JMOL 45.)

Plaintiffs respond that Defendant cannot show, as it must, that the written description jury
instruction was erroneous and prejudicial. (Opp. 44.) The instruction tracked the N.D. Cal.
model patent instruction, updated in 2019. (Id.) There is no special instruction for what
Defendant labels the Ariad standard, thus Defendant's objection amounts to nothing more than
a complaint that the Court did not charge the jury in the particular way Defendant wanted. (Id.)
35 U.S.C. § 112(a) presents a single written description test, and Ariad's discussion of genus
claims makes clear that the description requirement does not demand any particular form of
disclosure. (Id.) Defendant's proffered instruction would have confused the jury, where no
witness ever discussed genus claims. (Opp. 45.) Defendant's objections regarding invention in
the singular and omission of the term genus were likewise never raised, and the presented
instruction clearly and correctly stated disclosure must show possession of the invention. (Id.)

Defendant replies that Plaintiffs mischaracterize the genus requirement, disclosed in Ariad.
(Reply 22.) Ariad specifies what is required to show possession for a genus claim. (Reply 23.)
Although the term genus was used only once, witnesses testified that the claims included millions
of billions of different CARs. (Id.) Defendant's use of the term genus only once was unsurprising,
given the Court did not rule on jury instructions until after the close of the evidence. (Id.)

The Court finds that Defendant cannot demonstrate the written description instruction provided
by the Court was erroneous and prejudicial. First, the instruction, from the N.D. Cal. Model
Patent Instructions (last updated in Oct. 2019), was not erroneous where the written description
instruction mirrored statutory requirements for written description. 35 U.S.C. § 112(a). The
statute requires a written description of the invention so as to enable any person skilled in the
art to make and use the same. (Id.) The instruction stated, inter alia, that "[a] patent claim is
invalid if the patent does not contain an adequate written description of the claimed invention."
(ECF No. 591, at Instruction No. 17.) Despite Defendant's assertion that the instruction should

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have set forth the specific requirements for a genus claim as set forth in Ariad, if true, Defendant
offers no explanation for why the model instruction has not been modified in the nine years
following Ariad's issuance. Nor did Defendant present a model instruction from any authority for
genus claims, instead drafting from scratch a two-part written description jury instruction, where
the second part cherry-picked language from various decisions. (ECF No. 372, at 90-93.)
Defendant's instruction was confusing, where the term "genus" was only used at trial once during
Defendant's opening, and the jury did not hear the term referenced by any of the witnesses.
Defendant's instruction was also argumentative and improper, for example because it used
language improperly shifting the burden: "the specification needs to show that the inventors had
truly invented the claimed genus." (Id. at 91.) In light of these factors, the Court cannot conclude
that providing Plaintiffs' instruction rather than Defendant's was erroneous.

Second, even if it was, the Court finds that Defendant cannot demonstrate the instruction was
prejudicial. As Ariad states, the inquiry of whether a written description is sufficient is a question
of fact that "will necessarily vary depending on the context," specifically "the nature and scope
of the claims and . . . the complexity and predictability of the relevant technology." Both sides
presented conflicting evidence regarding whether the three-part CAR structure, including the
description of scFvs for use with the Sadelain backbone, was adequately described. Defendant
had the opportunity to, and indeed did, argue that the claimed invention included millions and
billions of potential scFvs, and that the patent did not contain an adequate written description
describing which scFvs would create working CARs. If the jury agreed with Defendant's
argument, based on the instruction provided to the jury, it could not have found the written
description adequate. Based on this, Defendant cannot demonstrate the requisite prejudice
warranting a new trial. 9

Thus, the Court denies Defendant's motion for a new trial based on the written description jury
instruction.

                         5. Plaintiffs' IPR Arguments

Defendant argues Plaintiffs misled the jury about the IPR for the '190 Patent when they
questioned Dr. Belldegrun about the fact that none of the challenged claims was invalidated
during IPR, and during closing arguments referenced Defendant having lost all challenges raised
before the PTO. (JMOL 46.) The curative instructions could not dispel Plaintiffs' persistent
misdirection. (JMOL 47.)


9 The Court also notes that in its view, even if Defendant's two-part instruction had been read, the jury's finding of

adequate written description would not have been in contravention of the clear weight of the evidence. (See supra,
Section III.A.); see also Ariad, 598 F.3d at 1352 (stating in part that "written description and enablement often rise
and fall together . . .").

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Plaintiffs respond that it was Defendant who offered the Final Written Decision ("FWD") from the
IPR into evidence. (Opp. 46.) Once Defendant offered the patent prosecution history, including
the FWD, into evidence, Plaintiffs were entitled to explain the FWD and place it in context. (Id.)
Additionally, the IPR was relevant following Dr. Belldegrun's testimony that the '190 Patent was
not important to Defendant. (Id.) Plaintiffs further respond that their IPR statements were
accurate and proper, where they stated Defendant made arguments on a separate issue than
the one the jury was asked to decide, three patent judges reviewed the IPR, and Defendant
could have raised claim construction arguments on the SEQ ID NO:6 term. (Opp. 47.) Plaintiffs
further respond Defendant was not prejudiced, where the Court provided a limiting instruction
multiple times, and Defendant's counsel highlighted the instruction during closing argument. (Id.)

Defendant replies that Plaintiffs' misuse of the IPR was prejudicial where the Court admitted
testimony regarding the filing of the IPR. (Reply 23.) Defendant used the patent prosecution
history only to cross-examine Dr. Sadelain regarding the CoC, and never mentioned anything
related to the IPR. (Reply 23-24.) Plaintiffs' references to Defendant's CoC defense in the IPR
were prejudicial and erroneous, and the curative instruction did not resolve the issue where the
Court never specifically instructed the jury to disregard Plaintiffs' statements. (Reply 24.)

As a preliminary matter, the Court notes it already ruled on the record regarding Defendant's
oral motion for a mistrial based on Plaintiffs' IPR arguments. During closing argument, counsel
for Plaintiffs argued that "either party in an IPR proceeding can make arguments about claim
construction . . . . [I]t's apparent that Kite made no argument before the three patent judges,
who really know the technology and the law, that the '190 patent sequence for SEQ ID:6 started
at 113." (Tr. 1532:1-8.) The Court subsequently issued a written Order:

      The Court understands Plaintiffs' argument to be that Defendant, while asserting
      some claim construction arguments during the IPR, did not ask PTAB to construe
      whether the sequence in claim 1 should start at 113 or 114. The Court is not
      persuaded that this comprises a misstatement of law. The Court already granted
      Defendant's request to instruct the jury during trial that a patent can only be
      challenged during IPR on grounds of anticipation or obviousness, not for a
      certificate of correction, inadequate written description, or enablement. The Court
      again included the instruction as Closing Instruction No. 15(a). Given the limited
      nature of Plaintiffs' remark during closing, the Court's multiple IPR instructions to
      the jury, and the Court's instruction to the jury that attorney argument is not
      evidence, the Court decides a mistrial is not appropriate.

(Order, ECF No. 584 at 3.)

Nevertheless, the Court again addresses Defendant's argument. Defendant made the decision

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to admit the entire prosecution history into evidence, including the FWD. If Defendant believed
the FWD to be prejudicial, Defendant had the option of admitting an excerpted version of the
prosecution history. Based on its failure to do so, Plaintiffs were entitled to utilize the FWD once
admitted. The Court further notes that the IPR became relevant when Dr. Belldegrun testified
that the '190 Patent was not important to Plaintiffs, as his testimony was contradicted by
Defendant's decision to file the IPR to attempt to invalidate the '190 Patent. As the Court noted
throughout trial, it did not view Plaintiffs' statements regarding the IPR as inaccurate, and
moreover, the Court provided multiple limiting instructions regarding the IPR. The Court's view
is thus that Plaintiffs' arguments did not misstate the law, the Court cured whatever prejudice
may have resulted, and any prejudice was not so pervasive that a new trial is warranted.

Thus, the Court denies Defendant's motion for a new trial based on Plaintiffs' IPR arguments.

                     6. Good-Faith Evidence

Defendant argues that because it maintained privilege in this case, 35 U.S.C. § 298 precluded
Plaintiffs from using Defendant's failure to present such advice to prove willful infringement.
(JMOL 47.) Defendant further argues it should have been permitted to offer Dr. Bot's homology
analysis as non-attorney evidence of good faith. (Id.) Plaintiffs should not have been permitted
to reference Defendant's lack of evidence, and Defendant should have been granted a curative
instruction. (JMOL 47-48.)

Plaintiffs respond that Defendant, in its opening statement, promised the jury that Defendant had
"very, very good reasons" for believing it did not infringe. (Opp. 48.) Plaintiffs' closing argument
noted Defendant failed to fulfill its promise of showing those very, very good reasons. (Id.)
Plaintiffs further respond Defendant was precluded from introducing Dr. Bot's homology analysis
because it was outdated, irrelevant, and unfairly prejudicial, not because Defendant asserted
privilege. (Id.) Plaintiffs further respond that their comment that Defendant presented no fact
witness who reviewed the patent for non-infringement or invalidity did not violate 35 U.S.C. § 298
because Plaintiffs did not reference any failure to obtain advice from counsel, or choice to obtain
advice of counsel but not present it. (Opp. 48-49.)

Defendant replies that Plaintiffs previously persuaded the Court that good faith evidence was
inadmissible because Defendant elected to withhold the advice of counsel. (Reply 24-25.)
Having been successful, Plaintiffs could not rely on the absence of such evidence at trial. (Reply
25.)

Regarding Dr. Bot's homology analysis, as noted above, the testimony was excluded for reasons
other than Defendant's assertion of privilege. (See supra, Section III.D.) However, unlike for a
JMOL, for a motion for new trial, the Court may weigh the evidence to determine whether the

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jury verdict is contrary to the clear weight of the evidence. DSPT Int’l, 624 F.3d at 1218. Under
this standard for a motion for a new trial, the Court finds that even if Dr. Bot's testimony had
been permitted, the clear weight of the evidence would still support the jury's verdict.
Regarding Plaintiffs' reference to Defendant's lack of testimony of good-faith evidence, the Court
finds that Plaintiffs' arguments were not improper, where Defendant promised during opening
that it had very, very good reasons for believing it did not infringe. Given Defendant's statements,
Plaintiffs were permitted to point out any purported failure by Defendant to satisfy its promise,
particularly where the reference was to the lack of any fact witness, not advice of counsel.

Regarding the curative instruction, the Court notes it already ruled on Defendant's request on
the record. (Tr. 1537:5-14.) Specifically, the Court stated that "the Court would conclude that it
cannot be inferred from [Plaintiffs' counsel's] statements that he was suggesting to the jury that
Kite should be found to have willfully infringed because it did not present advice of its lawyers
that it had defenses under section 112 or 255." (Id.) Defendant's motion now does not change
the Court's prior ruling.

For these reasons, the Court denies Defendant's motion for a new trial based on good-faith
evidence.

                     7. Time Limit

Defendant argues it was prejudiced by insufficient time, where it was given only 11.7 hours to
present evidence on a wide range of issues, and where it bore the burden on three liability
defenses. (JMOL 48.) Defendant argues the time limit forced it to drop or truncate the testimony
of numerous witnesses and could not develop key aspects of its case. (JMOL 49.)

Plaintiffs respond that the Court imposed no rigid time limits, and Defendant was ultimately
satisfied with its time. (Opp. 49.) The Court noted from the beginning that time limits were
subject to adjustment during trial, and in fact expanded time to allow for interim summation
(which neither party utilized). (Id.) Throughout trial, the Court noted its flexibility and willingness
to add time. (Opp. 49-50.)

Defendant requested more than one time for additional time, and the Court denied those
requests. (Reply 25.) Only on the last day of testimony did the Court allow Defendant extra time
for cross-examination, which did not undo the prejudice of having to drop or truncate every
witness in its case. (Id.)

As an initial matter, the Court has already considered and ruled upon Defendant's request for
additional time. First, the Court stated on the record, "I have always made it clear that the Court


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would reconsider in terms of the time. The defendant asked for 40 minutes. They were given
an additional 40 minutes. The plaintiff asked for an additional 40 minutes, they were given 40
minutes. And there was no request for more time. So that should be clear in the record also."
(Tr. 1314:22-1315:3.) Second, following trial, the Court issued an Order noting that: (1) at the
parties' Scheduling Conference in March 2018, the Court contemplated a five or six day trial, as
only one patent was at issue (ECF No. 92 at 54); (2) after the Scheduling Conference, the
disputed issues narrowed significantly, as literal infringement and infringement under the
doctrine of equivalents were no longer at issue; (3) at the parties' November 26, 2019 Pretrial
Conference, the Court initially allotted 10 hours for each side for witness testimony; (4) at the
parties' unopposed request, the Court expanded the time limit to 11 hours for each side to permit
witness summation, "subject to adjustment" (Order, ECF No. 530, at 1); (5) after trial began,
Defendant requested an extra forty minutes for witness testimony, which based on the stage of
trial and stage of examination, the Court granted; and (6) Defendant did not utilize the full amount
of its requested extension. (Order, ECF No. 584, at 2.) The Court further noted that for its
closing argument, Defendant initially requested and was granted 1.5 hours, then requested and
was granted 2 hours, then requested and was granted 2.25 hours, and still exceeded its time
allotment. (Id.) Because the Court disclosed as early as eighteen months before trial the trial
would be allotted five to six days, 10 the case subsequently narrowed, the Court adjusted the time
limits for trial based on a demonstrated need, and Defendant did not utilize its full time on the
record, the Court found Defendant was allotted sufficient time at trial.

Defendant's current arguments largely mirror its previous arguments. Nevertheless, the Court
addresses them again. The Court's view is that the scope of this patent case, although dealing
with complex technology, was not large. There was one asserted patent, with essentially two
asserted claims (four claims, broken into pairs, with limitations common to all four claims). This
was an untraditional patent case in the sense that infringement (neither literal nor under the
doctrine of equivalents) was at issue for trial. Nor were there common invalidity issues, such as
invalidity or anticipation. The Court's view is that neither party bore a substantially heavier
burden, where Plaintiffs bore the burden of introducing the technology, proving willful
infringement, and proving damages in the amount of $752 million, and where Defendant bore
the burden of proving the Certificate of Correction invalid and proving its written description and
enablement defenses. 11

Trial spanned eight days, during which the jury heard from 23 total witnesses, 12 twelve for

10 In the Court's view, a six-day trial estimate, expecting 5.5 hours of witness testimony per day, would break down

to one day for jury selection and opening statements, four days of witness testimony (11 hours per side), and one
day for closing arguments.
11 The Court's view is that there was significant overlap between Defendant's written description and enablement

defenses at trial.
12 The testimony of five witnesses was by deposition designation.



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Plaintiffs and eleven for Defendant.          The Court repeatedly maintained flexibility and
accommodated the parties where a need was demonstrated. For example, the Court permitted
Defendant to put up two of its own witnesses out of order. Dr. Bot testified on December 5 in
order to allow him to attend a conference, and Dr. Schuetz was permitted to testify on December
6, during the middle of Plaintiffs' expert's testimony. The Court further accommodated
Defendant by keeping the jury late on December 5 for Dr. Bot to complete his testimony. With
regard to the time limit, the Court granted Defendant's request for time when Defendant
demonstrated a need, for example by granting an extra forty minutes during a cross-examination
when Defendant was nearing the end of its allotted time. The Court further granted Defendant's
two requests to extend its time allotted for closing argument.

Defendant's argument that it was forced to drop or truncate the testimony of numerous witnesses
due to its 11.7-hour allotment is not persuasive. Before trial, Defendant itself requested 12.5
hours of witness testimony (ECF No. 531, at 1), yet filed an order of proof on the evening before
the last day of witness testimony containing nine pages of testimony and exhibits that it was
supposedly precluded from presenting (ECF No. 543, at 2-10). The Court is doubtful that all of
Defendant's arguments and exhibits could have been introduced in an additional 48 minutes.
Nor is Defendant's authority persuasive. Defendant cites a "similarly meager 10-hour time
allotment in a 'complex' copyright case" as grounds for a new trial, but the district court's time
limit in that case has since been affirmed by the Ninth Circuit, sitting en banc. Skidmore v. Led
Zeppelin, No. 16-56057, at 49-50 (9th Cir. 2020) (en banc) (finding trial time limit was not an
abuse of discretion where the district court was "up front about the limits and then . . . flexible at
counsel's request").

Thus, the Court denies Defendant's request for a new trial based on time limits.

                     8. Cumulative Prejudice

Defendant argues the cumulative prejudice of multiple errors requires the Court to grant a new
trial. (JMOL 49.) Defendant alleges that misconduct and error pervaded the trial, and each error
affected a central component of the case. (Id.) The errors were not harmless because the
Federal Circuit has invalidated analogous antibody claims, Plaintiffs offered no new evidence
demonstrating the CoC's error and correction were clearly evident, and Plaintiffs' damages vastly
exceeded comparable licenses. (JMOL 49-50.)

Plaintiffs respond that all of their previous arguments address why there was no prejudice to
Defendant, and thus why no errors could have accumulated. (Opp. 50.) Even if errors had
occurred, they would have been harmless, especially given Defendant's new trial arguments
largely address different legal issues and discrete evidentiary issues. (Id.)


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Based on the Court's analysis above, and based on the Court's observations having presided
over the entirety of trial, the Court finds that prejudice for each of Defendant's issues (if any
exists) did not accumulate to a level such that the jury's verdict was against the clear weight of
the evidence. DSPT Int’l, 624 F.3d at 1218.

      IV. RULING

For the foregoing reasons, the Court DENIES Defendant's Motion for Judgment as a Matter of
Law Pursuant to Fed. R. Civ. P. 50(b) and/or a New Trial Pursuant to Fed. R. Civ. P. 59 [ECF
No. 659].

IT IS SO ORDERED.




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CASE NO.: 2:17-cv-07639 SJO-KS                  DATE: December 3, 2019

TITLE:    Juno Therapeutics, Inc., et al. v. Kite Pharma, Inc.
=======================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                  Not Present
Courtroom Clerk                                   Court Reporter

COUNSEL PRESENT FOR PLAINTIFFS:                   COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                       Not Present

=======================================================================
PROCEEDINGS (in chambers): ORDER RE: DAUBERT MOTIONS [ECF Nos. 270, 271, and
274]; DEFENDANT'S EX PARTE APPLICATION TO STRIKE SUPPLEMENTAL COMPLAINT
[ECF No. 395]; DEFENDANT'S EX PARTE APPLICATION TO STRIKE UNTIMELY AND
UNRELIABLE OPINIONS OF DR. SULLIVAN [ECF No. 428]

This matter comes before the Court on the following motions:

   (1) Defendant Kite Pharma, Inc.'s ("Kite" or "Defendant") Motion in Limine (No. 1) to Exclude
       Damages Opinions of Ryan Sullivan, Ph.D. ("Sullivan Motion") filed October 29, 2019
       (ECF No. 309; Opposition at ECF No. 321; Reply at ECF No. 363-1; Defendant's
       Supplemental Memorandum at ECF No. 378; Plaintiffs' Supplemental Memorandum at
       ECF No. 388; Plaintiffs' Second Supplemental Opposition at ECF No. 433; Defendant's
       Objection to Unauthorized Surreply at ECF No. 435);
   (2) Defendant's Motion in Limine (No. 2) to Exclude Expert Testimony of Mark Gilbert, M.D.
       ("Gilbert Motion") filed October 29, 2019 (ECF No. 271; Opposition at ECF No. 322; Reply
       at ECF No. 453);
   (3) Plaintiffs Juno Therapeutics, Inc.'s ("Juno") and Sloan Kettering Institute for Cancer
       Research's ("SKI") (collectively, "Plaintiffs") Motion to Exclude Dr. Mohan Rao's
       Testimony Regarding Damages ("Rao Motion") filed October 29, 2019 (ECF No. 274;
       Opposition at ECF No. 377; Reply at ECF No. 368-1);
   (4) Defendant's Ex Parte Application to Strike Supplemental Complaint ("Motion to Strike
       Complaint") filed November 22, 2019 (ECF No. 395; Opposition at ECF No. 408; Reply
       at ECF No. 420); and
   (5) Defendant's Ex Parte Application to Strike Untimely and Unreliable Opinions of Dr.
       Sullivan ("Motion to Strike Sullivan's Amended Report") filed on November 29, 2019 (ECF
       No. 428; Opposition at ECF No. 440).


MINUTES FORM 11                                                                  ___: ___
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Regarding the Daubert motions, the parties filed respective Oppositions on November 12, 2019
and respective Replies on November 19, 2019. Additionally, the Court permitted each party to
submit a supplemental filing on the Sullivan Motion. Plaintiffs filed a second supplemental
response regarding the same, and Defendant responded thereto. For the following reasons, the
Court:

     (1) GRANTS-IN-PART and DENIES-IN-PART the Sullivan Motion;
     (2) GRANTS-IN-PART and DENIES-IN-PART the Gilbert Motion;
     (3) GRANTS-IN-PART and DENIES-IN-PART the Rao Motion;
     (4) GRANTS the Motion to Strike Complaint. Plaintiffs are ordered to file a supplemental
         Complaint within 24 hours of entry of this Order; and
     (5) GRANTS the Motion to Strike Sullivan's Amended Report.

        I. BACKGROUND

              A. General Overview

This is a patent infringement action involving U.S. Patent No. 7,446,190 (the "'190 Patent"), titled
"Nucleic Acids Encoding Chimeric T Cell Receptors." The '190 Patent issued on November 4,
2008 and incorporates a provisional application filed on May 28, 2002. ('190 Patent Caption.)
The claimed invention provides "nucleic acid polymer encoding [] chimeric TCR's [T Cell
Receptors] . . . ." ('190 Patent, col. 2:11-14.) The chimeric TCRs encoded by the claimed
invention "combine, in a single chimeric species, the intracellular domain of CD3 ζ-chain ("zeta
chain portion"), a signaling region from a costimulatory protein such as CD28 with a binding
element that specifically interacts with a selected target." ('190 Patent, col. 2:14-18.) These
TCRs are designed to "specifically interact[] with a cellular marker associated with target cells,"
resulting in the stimulation of a T cell immune response to the target cells. ('190 Patent, col.
2:30-36.)

Plaintiffs initiated this action on October 18, 2017, alleging that Defendant infringes the '190
Patent through the use, sale, offer for sale, or importation of one of Kite's immunotherapy
treatments, Yescarta. Yescarta is described as a "therapy in which a patient's T cells are
engineered to express a chimeric antigen receptor (CAR) to target the antigen CD19, a protein
expressed on the cell surface of B-cell lymphomas and leukemias, and redirect the T cells to kill
cancer cells." (Compl. ¶ 18, ECF No. 1.) Plaintiffs assert that Yescarta infringes on the '190
Patent by utilizing nucleic acid polymers encoding chimeric TCRs within the scope of the '190
Patent claims. (Compl. ¶ 24.) Defendant, in turn, filed counterclaims seeking declaratory
judgments of non-infringement and invalidity of the '190 Patent. (See generally, Amended
Answer and Counterclaims, ECF No. 66.)

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             B. Expert Opinions

                    1. Plaintiffs' Expert, Ryan Sullivan

Dr. Sullivan opines that the parties would have agreed to a license totaling $1.245 billion, based
on three components. First, Dr. Sullivan calculates a royalty rate, for use in determining the
running royalties on Yescarta's sales through August 2019. He begins with the parties' 2013
Exclusive License Agreement, under which he opines Juno would have owed a 7.25% running
royalty on Kite's net sales to SKI. (Sullivan Opp. 3.) Dr. Sullivan then makes two adjustments
to the 7.25% royalty rate, one to adjust for Kite being a commercial competitor (for this, Dr.
Sullivan references a Juno-Novartis settlement for a different patent), the second to adjust for
the hypothetical negotiation in 2017, during which he opines Juno would have viewed Kite as a
greater competitive threat than Novartis. (Sullivan Opp. 3.) From these adjustments, Dr.
Sullivan presents a 27.6% royalty rate, amounting to $155.6 million on Yescarta's sales through
August 2019.

Second, Dr. Sullivan opines that the parties would have agreed to a $930 million upfront
payment. (Sullivan Opp. 4.) The 2013 Exclusive License Agreement transferred 500,000 shares
of Juno stock, with a $150 million bonus if Juno's stock increased thirtyfold. Dr. Sullivan
substituted 500,000 shares of Juno's stock in 2013, with 500,000 shares of Kite's stock in 2017,
and added the $150 million bonus for stock increase, to reach $240 million. Dr. Sullivan then
applied the same two adjustments that he applied to his royalty rate, to opine that the parties
would have agreed to a $930 million upfront payment.

Third, Dr. Sullivan calculates a $159.7 million launch delay consideration. Dr. Sullivan opines
that Kite's first-to-market entry would cause regulatory delay and hurdles for Juno's CAR-T
therapy. (Sullivan Opp. 4.)

                    2. Plaintiffs' Expert, Mark Gilbert

Dr. Gilbert, Juno's Chief Medical Officer, opines on technical issues relating to damages.
Specifically, he: (1) rebuts Defendant's contention that its manufacturing process and
lymphodepletion regime add value to Yescarta by making it safer and more effective, and (2)
compares Yescarta to JCAR017, to opine JCAR017 is safer/more effective. Dr. Sullivan then
relies on Dr. Gilbert's opinion to compare the parties' relative bargaining strengths.

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                     3. Defendant's Expert, Mohan Rao

Dr. Rao opines that the parties would have agreed to a 6.715% running royalty, with an $88M
upfront payment, prorated to the term of the hypothetical license here. He starts with the
MSKCC/Juno license, apportions as it covers 5 patents and know-how, and adjusts the 7.25%
rate to 3.625% by opining half the value transferred by the agreement comprises know-how, and
the other half of value transferred comprises the '190 patent. Then based on a separate
agreement with Novartis, he adjusts the royalty rate to 6.715%. He then considers another
license between St. Jude and Juno and opines that the parties here would have adopted the
same $88M upfront payment in that agreement, prorated for the licensing term of the
hypothetical negotiation here.
              C. Order re Standing

On November 6, 2019, the Court granted-in-part and denied-in-part Defendant's Motion to
Dismiss Memorial Sloan Kettering Cancer Center and Juno Therapeutics, Inc. as Plaintiffs for
Lack of Standing ("Order re Standing"). (Order re Standing, ECF No. 304.) The Court held that
the 2013 Exclusive License Agreement executed between MSK and Juno did not confer upon
Juno constitutional rights to enforce the '190 patent against third parties, because SKI, not MSK,
was the owner of the '190 patent. The Court noted that no evidence was presented by either
party to undermine the rational purpose of the Exclusive License Agreement as transferring
rights to the '190 patent. The Court also noted that this rational purpose would be relevant in
the context of a breach of contract claim between the parties. The Court directed Plaintiffs to
file an amended Complaint by November 20, 2019 and plead allegations regarding the October
2018 agreement's subsequent conferral of standing upon Juno, for the purpose of conducting a
proper hypothetical negotiation.

On November 20, 2019 and November 21, 2019, Plaintiffs filed their application to seal
Supplemental Complaint. (Application to Seal, ECF Nos. 384, 392-1.)

       II. DISCUSSION

              A. Legal Standards

                     1. Motions in limine

Motions in limine are "important tool[s] available to the trial judge to ensure the expeditious and
evenhanded management of the trial proceedings." Jonasson v. Lutheran Child & Family Servs.,
115 F.3d 436, 440 (9th Cir. 1997). "A party may use a motion in limine to exclude inadmissible
or prejudicial evidence before it is actually introduced at trial." Barnett v. Gamboa, No. CV 05-
01022 BAM, 2013 WL 174077, at *1 (E.D. Cal. Jan. 16, 2013) (citing Luce v. United States, 469

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U.S. 38, 40 n.2 (1984)). Regardless of a court's initial decision on a motion in limine, however,
it may revisit the issue at trial. See Luce, 469 U.S. at 41-42 ("[E]ven if nothing unexpected
happens at trial, the district judge is free, in the exercise of sound judicial discretion, to alter a
previous in limine ruling."). "The Supreme Court has recognized that a ruling on a motion in
limine is essentially a preliminary opinion that falls entirely within the discretion of the district
court." United States v. Bensimon, 172 F.3d 1121, 1127 (9th Cir. 1999) (citing Luce, 469 U.S.
at 41-42).

                     2. Relevance and unfair prejudice

Under the Federal Rules of Evidence ("FRE"), all relevant evidence is admissible. Fed. R. Evid.
402. Evidence is relevant if it has "any tendency to make a fact [that is of consequence in
determining the action] more or less probable than it would be without the evidence." Fed. R.
Evid. 401. Evidence that cannot meet this standard is inadmissible. See Fed. R. Evid. 402.

Even if relevant, evidence may be excluded "if its probative value is substantially outweighed by
a danger of . . . unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting
time, or needlessly presenting cumulative evidence." Fed. R. Evid. 403. "A district court is
accorded a wide discretion in determining the admissibility of evidence under the Federal Rules."
United States v. Abel, 469 U.S. 45, 54 (1984). Nevertheless, "[i]n making a determination under
[FRE] 403, the balance in close cases is struck in favor of admission" of the evidence. United
States v. Crosby, 75 F.3d 1343, 1347 (9th Cir. 1996) (quoting United States v. Payne, 805 F.2d
1062, 1066 (D.C. Cir. 1986)) (internal quotation marks omitted).

                     3. Expert testimony

The Federal Rules of Evidence "assign to the trial judge the task of ensuring that an expert's
testimony both rests on a reliable foundation, and is relevant to the task at hand." Daubert v.
Merrell Dow Pharms., 509 U.S. 579, 597(1993). In serving this "gatekeeper" function, a district
court performs a two-part analysis. Domingo v. T.K., 289 F.3d 600, 605 (9th Cir. 2002). First,
a district court "must determine nothing less than whether the experts' testimony reflects
scientific knowledge, whether their findings are derived by the scientific method, and whether
their work product amounts to good science." Daubert v. Merrell Dow Pharms. (Daubert II), 43
F.3d 1311, 1315 (9th Cir. 1995) (internal quotations and citations omitted). "Daubert's general
holding—setting forth the trial judge's general 'gatekeeping' obligation—applies not only to
testimony based on 'scientific' knowledge, but also to testimony based on 'technical' and 'other
specialized' knowledge." Kumho Tire v. Carmichael, 526 U.S. 137, 141 (1999). Second, the
court "must ensure that the proposed expert testimony is relevant to the task at hand . . . i.e.,
that it logically advances a material aspect of the proposing party's case." Daubert II, 43 F.3d
at 1315.

When considering whether expert testimony is reliable, a trial court should consider the factors
laid out by the United States Supreme Court in Daubert, 509 U.S. at 593-95, including:

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(1) "whether the theory or technique employed by the expert is generally accepted in the
scientific community;" (2) whether "it's been subjected to peer review and publication;"
(3) "whether it can be and has been tested;" and (4) "whether the known or potential rate of error
is acceptable." Daubert II, 43 F.3d at 1316-17 (citing Daubert, 509 U.S. at 593-595). The
Supreme Court acknowledged in Daubert that the trial judge's reliability inquiry is "flexible," and
therefore trial courts are encouraged to consider other factors not specifically mentioned by the
Supreme Court in Daubert. Daubert, 509 U.S. at 594. To that end, trial courts have also
considered other potentially relevant factors, including (1) "whether the expert is proposing to
testify about matters growing directly out of independent research he or she has conducted or
whether the opinion was developed expressly for the purposes of testifying;" (2) whether the
expert has "unjustifiably extrapolated from an accepted premise to an unfounded conclusion;"
(3) "whether the expert has adequately accounted for obvious alternative explanations;"
(4) "whether the expert is being as careful as he would be in his regular professional work;" and
(5) "whether the field of expertise claimed by the expert is known to reach reliable results for the
type of opinion offered." In re Silicone Gel Breast Implants Litig., 318 F. Supp. 2d 879, 890 (C.D.
Cal. 2004) (citing Fed. R. Evid. 702 Advisory Committee's Notes).

              B. Dauberts

                     1. Dr. Sullivan

                            a. 27.6% license rate

Both damages experts use the Exclusive License Agreement as a starting point, as it is the only
license agreement covering the '190 patent. Dr. Sullivan then makes two adjustments to the
7.25% royalty rate from the Exclusive License Agreement, one in reliance on the 2015 Novartis
license agreement (to account for the hypothetical agreement being between competitors), and
the second to adjust for Kite's status as a competitive threat in 2017. While the Court notes that
Dr. Sullivan's royalty rate of 27.6% is significantly higher than the comparable licenses relied
upon by either expert, Dr. Sullivan's adjustments to account for the circumstances of the
hypothetical negotiation are sufficiently reliable to be admitted. Defendants' arguments can be
addressed through the testimony of Dr. Rao and through vigorous cross-examination of Dr.
Sullivan. The Court DENIES this part of Defendant's Sullivan Motion.

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                                 b. $930 million up-front payment

The Court is troubled by the obviously large amount of the $930 million up-front payment. 1 As
an initial matter, this award exceeds Defendant's projected and actual revenues through trial,
and other courts have excluded opinions not presenting reasonable conclusions about that to
which the parties to the hypothetical negotiation would have agreed. (Sullivan Motion 3.) Dr.
Sullivan relies on two agreements to reach his large figure—the Exclusive License Agreement
and Novartis license—but both provide royalty rates between 4.75% - 7.25%, with $8.9 million
cash and stock initial payments, and up to $150 million extra in potential milestone payments.
(Sullivan Motion 4.) Conversely here, Dr. Sullivan provides an up-front payment of $930 million.
Defendant objects to several factors leading to Dr. Sullivan's up-front payment.

Improper term. Dr. Sullivan's report clearly states that the term covered by his upfront payment
is compensation for harms "realized at the hypothetical negotiation." (Sullivan Reply 1; id. (also
stating Dr. Sullivan's opinion that his upfront payment "does not include compensation for any
type of future anticipated harm").) He testified at deposition that Plaintiffs would not be seeking
double recovery if they sought both his upfront fee, and future equitable relief (or lost profits).
(Sullivan Reply 1.) However, Defendant states that Plaintiffs, for the first time, argued otherwise
in their Opposition to Defendant's Sullivan Motion. There, Plaintiffs asserted the term for Dr.
Sullivan's upfront payment was through the life of the patent, i.e., 2024. At the parties' December
2, 2019 hearing, when asked where Dr. Sullivan disclosed in his report that the term of the patent
was through 2024, Plaintiffs' counsel asserted that the term was "built into" Dr. Sullivan's
analysis, by virtue of having relied on the MSK/Juno Exclusive License Agreement, which
provided a license for the duration of the patent term. But such an assumption cannot stand, in
light of Dr. Sullivan's express disclosures to the otherwise (Sullivan Reply 1 (nothing Dr.
Sullivan's statement that his upfront payment "does not include compensation for any type of
future anticipated harm.") Plaintiffs' late attempt to rewrite Dr. Sullivan's report on the eve of trial
is prejudicial to Defendant. Dr. Sullivan's upfront payment is thus limited to his disclosure of the
term in his expert report, i.e., for harms realized at the hypothetical negotiation, not
compensation for any type of future anticipated harm.

Adjustments. Dr. Sullivan utilizes the same two adjustments that he did in reaching his 27.6%
royalty rate. For the reasons discussed above, the adjustments—while high—are sufficiently
reliable to be presented to a jury.

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1 The Court has read and considered Plaintiffs' Second Supplemental Brief (ECF No. 433), which provides the

testifying history of Dr. Sullivan. However, the Court draws its own conclusions regarding Dr. Sullivan based solely
on the merits of his opinion in this case.

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Stock swap. Dr. Sullivan carries over Juno's grant of 500,000 shares of Juno stock in 2013 to
500,000 shares of Kite in 2017. (Sullivan Motion 5.) In 2013, Juno's stock was valued at $2
million, whereas Kite's stock in 2017 was valued at $90 million. Dr. Sullivan then adds $150
million, because Kite's stock increased over 30 times its initial price (a provision of the Exclusive
License Agreement). Thus, Dr. Sullivan opines the upfront equivalent stock grant should be
$240 million. With the two adjustments, this figure becomes $930 million.

At the December 2, 2019 hearing, Plaintiffs' counsel argued that the stock swap was valid
because of the similarities between Juno and Kite. He stated both were CAR-T companies, had
similar valuations when going public, focused on CAR-T technology, and sold for reasonably
similar amounts. Be that as it may, Dr. Sullivan's report did not disclose this reasoning. Instead,
Dr. Sullivan broadly opined that the '190 patent's benefits to Defendant would result in an
increase in company value and stock price. (Sullivan Report ¶ 162.) Dr. Sullivan also states
that Yescarta contributed significant value to Gilead's acquisition price of Kite (Sullivan Report
¶ 76); states that he accounts for differences in marketplace risk and uncertainty associated with
CAR-T technology by using stock price (Sullivan Report ¶ 204); and opines that the MSKCC-
Juno agreement uses a royalty rate reasonably reflecting apportionment (Sullivan Report ¶ 264).

In fact, Dr. Sullivan's cited documents show that uncertainty surrounding CAR-T technology can
result in volatile stock prices: "[Kite's] stock can and may be highly volatile." (Sullivan Report
¶ 203 (as of May 2015).) Dr. Sullivan's report does not account for this volatility. While the stock
price of a company may be used in a comparable license analysis, a company's stock price must
be shown to have some tie to the accused product, in order to be reliable enough to be admitted.
Here, Dr. Sullivan draws inference upon inference to reach an unreliable conclusion. He infers
Yescarta drives Kite's stock price, infers marketplace risk can be reflected in a stock price without
having made any adjustments, and based on these inferences (without any further reasoning),
simply substitutes the stock price of a de-risked, late-stage cancer company in 2017 in place of
a different cancer company's stock price in 2013. Such wholesale adoption of a stock price,
without accounting for other factors such as business decisions (for example, issuing double the
number of shares at half the price), effect of other offerings of a company independent of those
relating to accused technology, stage of the company, and comparability of the company, does
not merit inclusion of a damages figure for the jury to consider. On the first point alone, because
Dr. Sullivan's analysis does not account for business decisions, Kite's decision to issue half the
number of shares at double the price would have doubled Dr. Sullivan's $240 million payment to
$480 million, without any difference in the parties' bargaining positions. Such an outcome is not
reliable.

The fact that Dr. Sullivan's $930 million upfront payment (not meant to compensate for future
infringing acts) exceeds Defendant's revenues through trial does not comport with the common

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sense approach required for a hypothetical negotiation. Moreover, Plaintiffs' counsel's
statements at the December 2, 2019 hearing likewise demonstrate the ambiguity of Dr. Sullivan's
upfront award. When asked whether Plaintiffs would seek injunctive relief if awarded only a
portion of Dr. Sullivan's upfront payment, counsel could not definitively provide a response
without knowing how much of the payment was awarded. This uncertainty further illustrates Dr.
Sullivan's upfront payment is not sufficiently reliable for the jury to hear.

For these reasons, the Sullivan Motion as to Dr. Sullivan's upfront payment depending on the
stock swap is GRANTED. If Plaintiffs can identify a different disclosed initial amount in Dr.
Sullivan's report, the alternative amount may be introduced with Dr. Sullivan's enhancement
factors.

                           c. $159.7 million launch consideration

Dr. Sullivan calculates launch consideration as the royalty percentage multiplied by six months
projected profits, to account for an estimated six-month delay to Juno due to Kite's Yescarta
therapy. Given Plaintiffs' representation at the December 2, 2019 hearing that they withdraw
this portion of Dr. Sullivan's report, the Court DENIES AS MOOT.

                           d. Other figures referenced by Dr. Sullivan

Dr. Sullivan does not use any of these figures in his damages calculations, but claims they
validate his conclusions.

      Gilead's acquisition price of Kite ($11.9 billion): The Court GRANTS as irrelevant and
      confusing, given the lack of nexus to the accused product.

      Gilead's values assigned to CAR-T therapies ($8.13 billion): The Court GRANTS as
      irrelevant and confusing, given the minimal nexus to the accused product.

      Gilead's values assigned to Yescarta ($6.2 billion): The Court DENIES, because the
      amount has a nexus to the accused product. Defendant may cross-examine to the extent
      the revenue extends beyond the term of the hypothetical license or patent term.




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    •   Value of first-mover advantage to Kite ($620 million): The Court GRANTS, as the value
        of a first-mover is self-evident, and the prejudice of introducing this number outweighs
        any probative value.

                         2. Dr. Gilbert

Defendant moves to exclude Dr. Gilbert's opinions as irrelevant, because Juno's JCAR017
therapy is not FDA approved and does not utilize the '190 patent. Defendant further argues that
Dr. Gilbert's comparison is unreliable (single arm study, no adjustment for known differences in
the study populations, no adjustment for known differences in how trial measure safety events).

Plaintiffs respond that Dr. Gilbert's opinion is relevant because he responds to Kite's expert
opining that Kite's manufacturing and lymphodepletion regimes contributed to the success of
Yescarta, that despite no FDA approval of JCAR017, the parties would have been aware of its
development and safety profile, and Defendant would have been even more motivated to get a
license from Plaintiffs and be first to market (with its alleged inferior product). Plaintiffs further
respond that Defendant's complaints merit cross-examination, not exclusion (especially because
no head-to-head studies exist for this treatment—that would be inhumane).

There is no dispute that Dr. Gilbert is qualified as an expert on CAR-T therapies, as he has
treated cancer patients for decades. However, the Court strains to follow Plaintiffs' theories of
relevance as to Dr. Gilbert's safety/efficacy comparison of JCAR017 to Yescarta. JCAR017
does not utilize the '190 patent. It is neither FDA approved nor available on the market. Plaintiffs
contend the comparison between JCAR017 and Yescarta would have been considered during
the hypothetical negotiation, but the safety and efficacy test results for JCAR017 were not
released until March 2019, a year and a half after the hypothetical negation. At the December
2, 2019 hearing, counsel for Plaintiffs stated that the 2019 test results showed testing occurred
during 2017, but Dr. Gilbert's deposition testimony does not indicate that in 2017, the test results
were reliable, or that the 2017 test results were known to Defendant at that time. Plaintiffs have
thus not shown how they could have known they had an allegedly safer product, or that
Defendant would be motivated get a license to get first to market status with an allegedly inferior
product. Dr. Gilbert may thus present his rebuttal opinion as to why Kite's manufacturing and
lymphodepletion regimes did not contribute substantially to the success of Yescarta. He may
not present any expert opinion comparing Yescarta and JCAR017, but may provide lay witness
testimony regarding JCAR017 to the extent he has personal knowledge. 2 The Court DENIES-
IN-PART.

2 At the December 2, 2019 hearing, counsel for Defendant alleged that Plaintiffs have not complied with discovery

obligations regarding their BLA submissions to the FDA, and that Dr. Gilbert should not be permitted to testify at all.

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                       3. Dr. Rao

Plaintiffs argue Dr. Rao's opinion should be excluded for three independent reasons: (1) Dr. Rao
opines that Juno would have sublicensed the '190 patent to Kite for less than the rate Juno must
pay to MSK, (2) Dr. Rao's hypothetical negotiation is not based on the parties' bargaining
positions as of October 2017, and (3) Dr. Rao relies on settlement ranges prepared in connection
with Celgene's acquisition of Juno, which bear no relationship to the hypothetical negotiation.
Defendant responds that: (1) Dr. Rao's licensing rate is properly apportioned to the value of the
'190 patent itself (with half the royalty rate attributed to know-how); (2) Dr. Rao did account for
the parties' respective bargaining positions because he opined Plaintiffs could not ask for the
entire value of Yescarta simply because the hypothetical negotiation occurred on the eve of
launch; and (3) Celgene's and Juno's financial models projecting '190 patent royalties are data
points that reflect the perceived value of the '190 patent at the time of the hypothetical
negotiation.
As to the first point (Juno's sublicense rate), Juno pays to MSK a running royalty of 7.25% of
worldwide, annual net sales sold by Juno, its affiliates, and sublicensees. Dr. Rao argues the
royalty covers five patents and knowhow. He adjusts for the fact that only the '190 patent is at
issue here, and that valuable know-how would also have been transferred. He thus adjusts to
3.625%, then based on the Novartis agreement, adjusts to 6.715%. Plaintiffs argue it is improper
to set a royalty below what Juno would have to pay to MSKCC (7.25%), because this leads to
the absurd result that Juno would be losing money by licensing to a competitor. Defendant
disagrees because it asserts the Exclusive License Agreement is invalid based on the Court's
Order re Standing. But the Court's Order re Standing clarified that while MSK and Juno did not
have constitutional standing to enforce patent rights against a third party under the Exclusive
License Agreement, there was no evidence that as of October 2017, the parties did not intend
the '190 patent to be included in the Exclusive License Agreement, that the parties did not intend
to be bound by the Excusive License Agreement, or that the Exclusive License Agreement was
a sham. (See also infra, Section II.C.) The hypothetical negotiation must be evaluated on the
basis of what the parties to the hypothetical negotiation would have considered at the time of
the negotiation. Based on the parties' knowledge as of October 2017, there is no evidence that
the parties would have acted to negotiate with SKI, not Juno. Thus, Dr. Rao's 6.715% license
rate does lead to the illogical conclusion that Juno would lose money every time Kite made a
sale. The Court GRANTS. 3


Because the BLA submissions relate to the now-withdrawn launch delay portion of Dr. Sullivan's opinion, and
because Dr. Gilbert may not present an expert opinion comparing JCAR017 and Yescarta, the Court deems the
issue resolved.
3 At the parties' December 2, 2019 hearing, Defendant stated Dr. Rao has provided an alternative 10.34% licensing

rate.

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As to the second point (bargaining positions), Plaintiffs argue that Dr. Rao does not consider the
actual circumstances of the parties, i.e., that Yescarta was on the eve of launch without a
noninfringing alternative. Plaintiffs further argue that Dr. Rao improperly prorates the upfront
payment for the hypothetical negotiation, rather than running through the expiration of the '190
patent. Defendant rebuts that accounting for the entire value of Yescarta would not properly
apportion for the '190 patent, and that any failure to weigh more heavily bargaining leverage is
appropriate for cross-examination, not exclusion. The Court agrees with Defendant and finds
that Dr. Rao's adjustments for the actual circumstances (including Plaintiffs' complaints about
Dr. Rao's decision not to make certain adjustments) weigh in favor of cross-examination, not
exclusion. The Court DENIES.
As to the third point (settlement ranges), the parties dispute

                                                                the Court finds that the maximum
contemplated                                    is not probative. Neither expert relies on the figure
in calculating his upfront payment award. It is unclear whether the amount was contemplated
assuming the '190 patent was valid and infringed. The other circumstances surrounding the
estimate are likewise uncertain (whether they accounted for factors irrelevant to damages,
including propensity to avoid litigation, mitigate risk, and/or divert resources elsewhere). Given
the low probative value in light of neither expert's reliance, and the high 403 concerns given the
circumstances surrounding the estimate, the Court GRANTS.
              C. Motion to Strike Complaint

Defendant argues the Supplemental Complaint exceeds the scope of the Court's Order re
Standing. Specifically, instead of pleading allegations specific to the October 2018 Agreement,
Plaintiffs allege a new 2013 verbal license agreement, and SKI's hypothetical contract liabilities
under that verbal agreement. (Motion to Strike Complaint 1.) Plaintiffs' only allegation regarding
the October 2018 agreement is that it "reaffirmed" the parties' Exclusive License Agreement.
(Motion to Strike Complaint 1.) The new 2013 verbal license agreement allegations contradict
the Order re Standing, are irrelevant, and highly prejudicial at this stage. (Motion to Strike
Complaint 2.) Moreover, Plaintiffs did not allege the oral agreement in response to
interrogatories. (Motion to Strike Complaint 4.)

Plaintiffs respond that the Supplemental Complaint is proper. First, their re-pleading of
allegations regarding Juno's constitutional standing prior to 2018 was to preserve their rights for
appeal. (Opp. to Motion to Strike Complaint 1.) Second, the new allegations regarding the 2013
verbal or implied agreement "naturally follow[]" from the Order re Standing, given the facts of
this case. (Opp. to Motion to Strike Complaint 2.) The Supplemental Complaint requires no new
discovery, because Plaintiffs have maintained that the 2017 hypothetical negotiation would take
Juno's interests into account. (Opp. to Motion to Strike Complaint 4.)

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Defendant replies that the Supplemental Complaint exceeds the scope of the Order re Standing.
(Reply in Support of Motion to Strike Complaint 1-2.) Defendant further replies that although the
oral license theory was not previously disclosed, the theory cannot stand, given the 2013
Exclusive License Agreement does not grant rights to the '190 patent to Juno, and even if it did,
the integration clause expressly states it supersedes prior oral arguments. (Reply in Support of
Motion to Strike Complaint 2-3.)

The Court finds that the new allegations regarding the alleged 2013 oral or implied license are
improper. These allegations pose a new legal theory, and is improper to be disclosed in the
month before trial.

The Court also finds that Plaintiffs' allegation that the October 2018 agreement "reaffirmed"
Juno's exclusive rights to the '190 patent is improper. The Court's Order re Standing clearly
found that the October 2018 agreement conferred standing upon Juno in the first instance—not
that it affirmed any prior rights.

For these reasons, the Court GRANTS Defendant's Motion to Strike Complaint. Given that trial
has started, Plaintiffs are re-instructed to file an amended Complaint within 24 hours of entry of
this Order with allegations directed to the October 2018 agreement, consistent with the Court's
Order re Standing. The Court clarifies that granting this motion does not preclude either party's
damages expert from opining that Juno's interests would have been represented at the
hypothetical negotiation, as neither party has provided evidence that Plaintiffs were not acting
as if the Exclusive License Agreement conveyed rights to the '190 patent, or that the Exclusive
License Agreement was a sham executed in an attempt to drive up sublicensing royalty rates.

             D. Motion to Strike Dr. Sullivan's Amended Report

Defendant moves to strike the second supplemental Sullivan report, served one court day before
trial. Dr. Sullivan provides two supplemental opinions. First, he opines that even if SKI is the
sole licensor, economic evidence (i.e., $149 million of consideration provided from Juno to SKI)
supports Juno's interests being represented at the hypothetical negotiation. (Motion to Strike
Sullivan's Amended Report 4.) Second, Dr. Sullivan opines that SKI would have sought to
resolve issues with Juno's rights with regard to the '190 patent prior to the hypothetical
negotiation. (Motion to Strike Sullivan's Amended Report 4.) Third, Dr. Sullivan offers a prorated
calculation of his upfront payment through trial, i.e., $243 million rather than $930 million. Dr.
Sullivan does so for the purpose of opining that his total damages award, now prorated through
the end of trial to $230 million, is comparable in magnitude to Dr. Rao's $70 million. (Motion to
Strike Sullivan's Amended Report 8.)


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Plaintiffs respond that Dr. Sullivan has not served any new opinions. First, Dr. Sullivan has
already opined that if SKI, rather than Juno, was the hypothetical negotiator, his opinion would
remain unchanged. (Opp. to Motion to Strike Sullivan's Amended Report i.) Dr. Sullivan's
approach is consistent with Dr. Rao's approach, in that Dr. Rao similarly supplemented his
hypothetical negotiation in light of the Court's Order re standing. 4 (Opp. to Motion to Strike
Sullivan's Amended Report ii.) Second, it would be irrational to determine that SKI, without Juno,
would enter into a hypothetical agreement given the Exclusive License Agreement and the
parties' behavior surrounding the agreement. (Opp. to Motion to Strike Sullivan's Amended
Report iii.) Third, although Dr. Sullivan maintains pro-rating is improper, he provides a pro-rated
number for purposes of comparing the magnitude of his damages calculation with Dr. Rao.

The Court finds Defendant's arguments persuasive. First, Dr. Sullivan has already opined that
his position would not change if SKI, not Juno, was the hypothetical negotiator. The Court sees
no reason for him to supplement his opinion on this point. Second, Dr. Sullivan's new opinion
that SKI would have sought to resolve standing issues with Juno prior to the hypothetical
negotiation is likewise improper. Third, Dr. Sullivan presents no reason why he could not have
pro-rated his damages opinion in the first instance, or sought to supplement to pro-rate his
opinion any time after service. Dr. Sullivan's supplementation is further improper because of the
Court's determination as to the appropriate time period for his original opinion. See supra,
Section II.B.1.b. For these reasons, the Court GRANTS the Motion to Strike Sullivan's Amended
Report.

        III. RULING

For the foregoing reasons, the Court:

    (1) GRANTS-IN-PART and DENIES-IN-PART the Sullivan Motion;
    (2) GRANTS-IN-PART and DENIES-IN-PART the Gilbert Motion;
    (3) GRANTS-IN-PART and DENIES-IN-PART the Rao Motion;
    (4) GRANTS the Motion to Strike Complaint. Plaintiffs are ordered to file a supplemental
        Complaint within 24 hours; and
    (5) GRANTS the Motion to Strike Sullivan's Amended Report.

IT IS SO ORDERED.




4 In light of its ruling on Plaintiffs' Motion in Limine No. 3, the Court granted Plaintiffs' ex parte application to exclude

Dr. Rao's supplemental report. (Text Order, ECF No. 424.)

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CASE NO.: 2:17-cv-07639 SJO (RAOx)                     DATE: October 9, 2018
TITLE:        Juno Therapeutics, Inc., et al. v. Kite Pharma, Inc.

========================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                       Not Present
Courtroom Clerk                                        Court Reporter

COUNSEL PRESENT FOR PLAINTIFF:                         COUNSEL PRESENT FOR DEFENDANT:

Not Present                                            Not Present

========================================================================
PROCEEDINGS (in chambers): CLAIM CONSTRUCTION ORDER

Plaintiffs and Counter-defendants Juno Therapeutics, Inc. ("Juno"), Memorial Sloan Kettering
Cancer Center, and Sloan Kettering Institute for Cancer Research (together, "MSKCC")
(collectively, "Plaintiffs") and Defendant and Counter-claimant Kite Pharma, Inc. ("Kite" or
"Defendant") have filed claim construction briefs in which they ask the Court to construe two (2)
disputed phrases found in the sole patent asserted in this litigation, U.S. Patent No. 7,446,190
("the '190 Patent"). Plaintiffs filed their Opening Claim Construction Brief ("Pl.'s Brief") on August
13, 2018. Defendant filed its Responsive Claim Construction Brief ("Def.'s Brief") on August 27,
2018. Plaintiffs filed a reply ("Pl.'s Reply") on September 3, 2018. The Court heard argument
from counsel on September 18, 2018.

I.     FACTUAL AND PROCEDURAL BACKGROUND

Plaintiffs initiated the instant action on October 18, 2017, alleging that Defendant infringes the
'190 Patent through the use, sale, offer for sale, or importation of one of Kite’s immunotherapy
treatments, Yescarta. Yescarta is described as a “therapy in which a patient’s T cells are
engineered to express a chimeric antigen receptor (CAR) to target the antigen CD19, a protein
expressed on the cell surface of B-cell lymphomas and leukemias, and redirect the T cells to kill
cancer cells.” (Compl. ¶ 18.) Plaintiffs assert that Yescarta infringes on the '190 Patent by
utilizing nucleic acid polymers encoding chimeric TCRs within the scope of the '190 Patent claims.
(Compl. ¶ 24.) Defendant, in turn, filed counterclaims seeking declaratory judgments of non-
infringement and invalidity of the '190 Patent. (See generally, Amended Answer and
Counterclaims, ECF No. 66.) On March 2, 2018, the Court held a scheduling conference in which
it ordered that the Northern District of California's Patent Local Rules will govern the case and set
a claim construction ("Markman") hearing for September 17, 2018. (Minutes of Sched. Conf.,
ECF No. 71.)

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II.    TECHNOLOGICAL SUMMARY

The '190 Patent issued on November 4, 2008 and incorporates a provisional application filed on
May 28, 2002. ('190 Patent Caption.) The claimed invention provides a "nucleic acid polymer
encoding [] chimeric TCR's [T Cell Receptors]." ('190 Patent, col. 2:11-14.) The chimeric
TCRs encoded by the claimed invention "combine, in a single chimeric species, the intracellular
domain of CD3 æ-chain ('zeta chain portion'), a signaling region from a costimulatory protein such
as CD28 with a binding element that specifically interacts with a selected target." ('190 Patent,
col. 2:14-18.) These TCRs are designed to "specifically interact[] with a cellular marker
associated with target cells," resulting in the stimulation of a T cell immune response to the target
cells. ('190 Patent, col. 2:30-36.)

       A.     T-Cell and Targeted Immune Response

T cells, also known as T lymphocytes, are a form of white blood cell that plays a critical role in the
body's cell-mediated immunity. (Declaration of Dr. Richard P Junghans, Ph.D., M.D. ("Junghans
Decl.") ¶ 40, ECF No. 87-1; Declaration of Dr. Thomas Brocker, Ph.D. ("Brocker Decl.") ¶ 46, ECF
No. 85-2.) The primary role of T cells is to detect and respond to "antigens"—molecules capable
of producing an immune response. (Junghans Decl. ¶ 40.) They detect the presence of antigens
through the use of T cell receptors ("TCRs"), which are polypeptide chains appearing on the
surface of the T cell. (Junghans Decl. ¶ 40; Brocker Decl. ¶ 47.) Within the cell, TCRs typically
form a complex with another protein, CD3æ, and the two work together to create an immune
activation signal upon encountering an antigen. (Junghans Decl. ¶ 40; Brocker Decl. ¶ 47.) An
illustration of this TCR/CD3æ complex can be seen below:




(Junghans Decl., Fig. 5.) TCRs are able to detect antigens by binding to particular, identifying
protein fragments that appear on the surface of each antigen. (Brocker Decl. ¶ 49.) This is
accomplished through the TCR's "variable" region, which allows it to bind with specificity to a
particular antigen. (Brocker Decl. ¶ 22.) Because there are a diverse range of TCRs that appear
on a given T cell, each cell is able to recognize and respond to a number of antigens. (Brocker
Decl. ¶ 50.) Once a TCR binds with a known antigen, it prompts an immune response from the
T cell that is specifically targeted at cells displaying that particular antigen. (Brocker Decl. ¶ 50.)


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It is the distinct, variable antigen binding domain that permits a TCR to recognize a particular
antigen. (Brocker Decl. ¶ 54.) Recognizing that the binding domain presented an opportunity to
harness the body's immune response, researchers developed ways of creating "chimeric" TCRs,
that is, TCRs that are made by fusing different protein chains together to create a single
receptor. (Junghans Decl. ¶ 43.) One of the ways this was accomplished was by linking the
variable regions of an antibody—another naturally occurring antigen-receptive element—into
a single chain. (Brocker Decl. ¶ 55.) The resulting antigen-specific "single chain antibody
fragment" ("scFv") can then be grafted onto other signaling proteins, such as TCRs,
permitting those proteins to recognize and respond to the target antigen. (Brocker Decl.
¶ 55.) This is accomplished through the use of recombinent DNA—a process discussed in
more detail below.

T Cells utilize a dual-signaling system that combines the initial TCR signal with a second, co-
stimulatory signal, reducing the likelihood of erroneous immune response. (Brocker ¶ 57.) When
a TCR encounters an antigen that corresponds to its antigen-specific binding domain, it sends
a "first signal" to the T Cell. (Brocker ¶ 57.) This first signal is sufficient to trigger an initial
immune response. (Brocker ¶ 57.) If the antigen also interacts with the complex's costimulatory
receptors, creating a "second signal," the immune response is augmented and/or prolonged.
(Brocker ¶ 58.) One such costimulatory domain is CD28. (Junghans ¶ 51.)

The invention claimed in the '190 patent is a nucleotide sequence which encodes a molecule
comprising three separate proteins fused into a single chimeric TCR. Specifically, Claim 1 of
the '190 Patent recites in full:
       A nucleic acid polymer encoding a chimeric T cell receptor, said chimeric T cell
       receptor comprising:
             (a) a zeta chain portion comprising the intracellular domain of human CD3
             æ chain,
             (b) a costimulatory signaling region, and
             (c) a binding element that specifically interacts with a selected target,
             wherein the costimulatory signaling region comprises the amino acid
             sequence encoded by SEQ ID NO:6.

('190 Patent col. 25:30-38 [disputed claim terms in bold].) Such a molecule would theoretically
be able to initiate a prolonged immune response upon encountering a specifically targeted antigen
triggering both a first and second signal. The target antigen could be chosen by the researcher
through the selection of the binding element.

       B.     Molecular Biology and the Construction of Chimeric TCRs

Because the '190 Patent claims only the nucleic acid polymer that encodes a chimeric T cell
receptor, it is important to also understand how such a polymer relates to the creation of a TCR.

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Deoxyribonucleic acids ("DNA") are molecules that contain the genetic information necessary to
create the proteins that make up each of the components of chimeric TCRs. (Brocker Decl. ¶ 27;
Junghans Decl. ¶ 29.) DNA is chain molecule made up of interlinking nucleotides. (Brocker Decl.
¶¶ 28-29; Junghans Decl. ¶ 29.) DNA nucleotides come in one of four flavors: adenine (A),
thymine (T), cytosine (C), and guanine (G). (Brocker Decl. ¶ 28; Junghans Decl. ¶ 29.) Each
nucleotide is able to form a pair with its complementary base—A with T and G with C. (Brocker
Decl. ¶ 29; Junghans Decl. ¶ 29.) In DNA, nucleotides are organized into two complementary
chains of nucleotides forming a double helix. (Brocker Decl. ¶ 29; Junghans Decl. ¶ 29.)

Proteins are manufactured from DNA using a two-step process: transcription and translation.
During transcription, the DNA is used as a template to produce a strand of messenger ribonucleic
acid ("mRNA"). (Brocker Decl. ¶ 31; Junghans Decl. ¶ 31.) This is accomplished by splitting apart
or "denaturing" the DNA double helix and allowing a naturally-occuring enzyme, RNA polymerase,
to create a complementary mRNA strand from the denatured DNA. mRNA is very similar to single
strand DNA, but substitutes uracil (U) in place of thymine (T). (Brocker Decl. ¶ 31; Junghans Decl.
¶ 31.) Following the transcription process, the mRNA strand undergoes translation, whereby the
mRNA is used to synthesize proteins from amino acids. (Brocker Decl. ¶ 32; Junghans Decl. ¶
31.) This is accomplished by translating the sequence of nucleotides contained in the mRNA into
a corresponding sequence of amino acids. (Brocker Decl. ¶ 32; Junghans Decl. ¶ 34.) Each
group of three nucleotides, referred to as "codons," correlates to one of approximately 20 amino
acids. (Brocker Decl. ¶¶ 32-33; Junghans Decl. ¶ 34.) For example, the nucleotide sequence
"GCA" is the codon that results in the amino acid alanine, while "GGC" would code for glycine.
(Brocker Decl. ¶ 33.) A full chart of RNA codons and their corresponding amino acids is
reproduced below:




(Brocker Decl. ¶ 33.)

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Thus, the DNA sequence CAAAACCGATGG would translate to glutamine, asparagine, arginine,
and tryptophan. In addition to codons that correspond to amino acids, there are several codons
that indicate when to stop or start a coding sequence. (Brocker Decl. ¶ 34; Junghans Decl. ¶ 35.)
The starting codon is "ATG" and the stop codons are "TGA," "TAA," and "TAG." (Brocker Decl.
¶ 34; Junghans Decl. ¶ 35.) Using this two-step transcription and translation process, a polymeric
strand of nucleotides can encode entire complex protein structures.

Using these principles, researchers are able to create chimeric or "recombinant" proteins by fusing
together two or more nucleotide sequences that originally coded for wholly separate proteins.
(Brocker Decl. ¶ 35; Junghans Decl. ¶ 39.) One method of creating such a protein is through the
use of "restriction enzyme cloning." (Brocker Decl. ¶ 36; Junghans Decl. ¶ 39.) This process
uses a set of specialized proteins, or "primers," to target and amplify a particular portion of a
longer DNA sequence. (Brocker Decl. ¶¶ 36, 38; Junghans Decl. ¶ 38.) Primers are short
single-strand nucleotide sequences (typically 18-22 nucleotides in length) that are
complementary to the nucleotides found at a specific site ("restriction site") of the target DNA
sequence. (Brocker Decl. ¶ 36; Junghans Decl. ¶ 38.) The primer that is complementary to
the front end of the target sequence is known as the "upstream" primer. (Junghans Decl.
¶ 38.) The primer that is complementary to the rear end of the DNA sequence is known
as the "downstream" primer. (Junghans Decl. ¶ 38.) Once the primers have attached to each
of the targeted restriction cites, a "restriction enzyme" is used to cut or "cleave" the target
sequence from the larger DNA chain. (Brocker Decl. ¶ 36.) One example of restriction enzyme
is Not1, which is used to cleave DNA segments at the sequence GCGGCCGC:




(Junghans Decl., Fig. 4.) The process of cleaving a DNA sequence creates a "sticky end"
or a complementary overhang which can be used to join DNA segments to one another.
(Brocker Decl. ¶ 37; Junghans Decl. ¶ 39.) In this manner, researchers are able to target
particular portions of a longer DNA chain using primers, cut them using restriction
enzymes, and attach them to one another using the resulting complementary overhangs,
creating a combined DNA sequence encoding a chimeric protein.


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III.      LEGAL STANDARDS

          A.    Principles of Claim Construction

Before a jury can determine if any of the asserted claims are invalid or if the defendant's
technology infringes one or more asserted claims, the court must determine the meaning and
scope of the asserted claims through the process of "claim construction." Markman v. Westview
Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en banc), aff'd, 517 U.S. 370, 116 S. Ct.
1384 (1996). Only after the claims have been construed can the jury compare the allegedly
infringing device against the claims. Id.

In Phillips v. AWH Corp., 415 F.3d 1303, 1311-24 (Fed. Cir. 2005) (en banc), the en banc Federal
Circuit set forth a number of principles to guide lower courts through the claim construction
process. The general rule is that the words of a claim "are generally given their ordinary and
customary meaning," which is "the meaning that the term would have to a person of ordinary skill
in the art in question at the time of the invention, i.e., as of the effective filing date of the patent
application" Id. 1312-13 (citations omitted). "[T]he person of ordinary skill in the art is deemed
to read the claim term not only in the context of the particular claim in which the disputed term
appears, but in the context of the entire patent, including the specification." Id. at 1313.

"In some cases, the ordinary meaning of claim language as understood by a person of skill in the
art may be readily apparent even to lay judges, and claim construction in such cases involves little
more than the application of the widely accepted meaning of commonly understood words." Id.
at 1314. "In such circumstances, general purpose dictionaries may be helpful." Id. Where,
however, "determining the ordinary and customary meaning of the claim requires examination of
terms that have a particular meaning in a field of art," courts look to other sources, including "the
words of the claims themselves, the remainder of the specification, the prosecution history, and
extrinsic evidence concerning relevant scientific principles, the meaning of technical terms, and
the state of the art." Id. (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381
F.3d 1111, 1116 (Fed. Cir. 2004)).

Moreover, "[t]he claims themselves provide substantial guidance as to the meaning of particular
claim terms," for example by observing "the context in which a term is used in the asserted claim."
Id. Comparing the usage of a term across different claims and examining difference among
claims can also provide valuable insight into the meaning of claim terms. Id.

"The claims, of course, do not stand alone," and the specification provides "the single best guide
to the meaning of a disputed term." Id. at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90
F.3d 1576, 1582 (Fed. Cir. 1996)). One reason the specif ication is of paramount importance is
that it "may reveal a special definition given to a claim term by the patentee that differs from the
meaning it would otherwise possess." Id. at 1316; see also Markman, 52 F.3d at 980 ("[A]

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patentee is free to be his own lexicographer"). That said, "[t]hough understanding the claim
language may be aided by explanations contained in the written description, it is important not to
import into a claim, limitations that are not part of the claim. For example, a particular
embodiment appearing in the written description may not be read into a claim when the claim
language is broader than the embodiment." Superguide Corp. v. DirecTV Enters., Inc., 358 F.3d
870, 875 (Fed. Cir. 2004). Moreover, the prosecution history, which consists of the complete
record of the proceedings before the PTO and includes the prior art cited during the examination
of the patent, may also shed "decisive light" on the proper construction of a claim term, particularly
where an applicant limits her invention to overcome prior art. Regents of Univ. of Cal. v.
Dakocytomation Cal., Inc., 517 F.3d 1364, 1372-73 (Fed. Cir. 2008); Phillips, 415 F.3d at 1316-
17; N. Am. Container, Inc. v. Plastipak Packaging, Inc., 415 F.3d 1335, 1345 (Fed. Cir. 2005);
Seachange Int'l, Inc. v. C-Cor Inc., 413 F.3d 1361, 1372-73 (Fed. Cir. 2005).

District courts may also rely on extrinsic evidence, which "consists of all evidence external to the
patent and prosecution history, including expert and inventor testimony, dictionaries, and learned
treatises," in construing claims, although such evidence is afforded less significance than the
intrinsic record. Phillips, 415 F.3d at 1317 (citations omitted). "[W]hile extrinsic evidence 'can
shed useful light on the relevant art,' we have explained that it is 'less significant than the intrinsic
record in determining "the legally operative meaning of claim language."'" Id. (citations omitted).

In summation, although "there is no magic formula or catechism for conducting claim construction
. . . . certain types of evidence are more valuable than others," and "what matters is for the court
to attach the appropriate weight" to each piece of evidence. Phillips, 415 F.3d at 1324.

       B.      Means-Plus-Function Claiming

In its opinion in Williamson v. Citrix Online, LLC, 792 F.3d 1339 (Fed. Cir. 2015), the Federal
Circuit modified the standard for determining whether a claim element is governed by 35 U.S.C.
§ 112, para. 6, which provides that

       [a]n element in a claim for a combination may be expressed as a means or step for
       performing a specified function without the recital of structure, material, or acts in
       support thereof, and such claim shall be construed to cover the corresponding
       structure, material, or acts described in the specification and equivalents thereof.

35 U.S.C. § 112(f). The Federal Circuit majority began by observing that its "precedent has
long recognized the importance of the presence or absence of the word 'means'" in
determining whether § 112, para. 6 applies, and that a "strong" but rebuttable presumption had
arisen that was tethered to the inclusion of the word "means." 792 F.3d at 1348-49. The majority
found this "heightened burden [to be] unjustified," and accordingly "abandon[ed] characterizing
as 'strong' the presumption that a limitation lacking the word 'means' is not subject to § 112, para.

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6." Id. at 1349. The majority clarified that "[t]he standard is whether the words of the claim are
understood by persons of ordinary skill in the art to have a sufficiently definite meaning as the
name for structure." Id. (citing Greenberg v. Ethicon Endo-Surgery, Inc., 91 F.3d 1580, 1583
(Fed. Cir. 1996)). Thus, "[w]hen a claim term lacks the word 'means,' the presumption can be
overcome and § 112, para. 6 will apply if the challenger demonstrates that the claim term fails
to 'recite sufficiently definite structure' or else recites 'function without reciting sufficient structure
for performing that function.'" Id. (quoting Watts v. XL Sys., Inc., 232 F.3d 877, 880 (Fed. Cir.
2000)).

In applying these principles to the claims before it, the majority held that "[g]eneric terms such
as 'mechanism,' 'element,' 'device,' and other nonce words that reflect nothing more than
verbal constructs may be used in a claim in a manner that is tantamount to using the word
'means' because they 'typically do not connote sufficiently definite structure' and therefore may
invoke § 112, para. 6." Id. at 1350 (quoting Mass. Inst. of Tech. & Elecs. for Imaging, Inc. v.
Abacus Software, 462 F.3d 1344, 1354 (Fed. Cir. 2006)). The majority then concluded that
the term "distributed learning control module" was subject to the provisions § 112, para. 6,
notwithstanding the absence of the term "means." In particular, the majority noted that "[w]hile
portions of the claim do describe certain inputs and outputs at a very high level (e.g.,
communications between the presenter and audience member computer systems), the claim
does not describe how the 'distributed learning control module' interacts with other components
in the distributed learning control server in a way that might inform the structural character of
the limitation-in-question or otherwise impart structure to the 'distributed learning control
module' as recited in the claim." Id. at 1351.

Where a claim element is subject to application § 112, para. 6, the court must then determine
"whether the specification discloses sufficient structure that corresponds to the claimed function."
Id. If the patentee fails to disclose adequate corresponding structure to perform all of the claimed
functions, the claim is indefinite. Id. at 1351-52 (citing Noah Sys., Inc. v. Intuit Inc., 675 F.3d
1302, 1311-12 (Fed. Cir. 2012)).
IV.      ANALYSIS

       A.      Definition of "Person of Ordinary Skill in the Art" at the Time of the Invention

Defendant asserts that a person of ordinary skill in the art ("POSITA") at the relevant time
would have had a Ph.D. or an M.D. in "immunology, biochemistry, cell biology, molecular
biology, or a related discipline and at least two years of experience in conducting laboratory
research on chimeric TCR therapies, TCRs, T cells or other types of immune cells, chimeric
TCRs or related work." (Junghans Decl. ¶ 28.) Plaintiff generally agrees with the educational
requirements (albeit considering a M.Sc. sufficient), but would only require that the POSITA
have "knowledge of the scientific literature relating to T cell biology, as well as laboratory
techniques and strategies in designing recombinant DNA." (Brocker Decl. ¶ 21.) The Court

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does not find that there is any material dispute between the parties on the definition of a
POSITA, and therefore adopts a definition that incorporates the characteristics proposed by
both parties.

       B.     "the amino acid sequence encoded by SEQ ID NO:6"

The parties' first dispute centers on the meaning of the term "the amino acid sequence encoded
by SEQ ID NO:6," which is recited in independent claim 1 of the '190 Patent as "the
costimulatory signaling region comprising the amino acid sequence encoded by SEQ ID
NO:6." ('190 Patent col. 25:36-38.) The parties' positions are provided below:

 Plaintiff's Proposed Construction                  Defendants' Proposed Construction
 "Amino Acids 114-220 of CD28 (starting with        Before the Certificate of Correction:
 isoleucine (I))"                                   "Amino Acids 113-220 of CD28 (starting with
                                                    lysine (K))"

                                                    After the Certificate of Correction:
                                                    Kite agrees with Juno's proposed
                                                    construction

The parties disagreement is straightforward. Juno contends that "the amino acid sequence
encoded by SEQ ID NO:6," as defined in the originally-issued patent, should be construed as
beginning with Isoleucine and comprising the amino acids 114-220 (corresponding to nucleotides
340-660) of the CD28 protein. Kite, on the other hand, contends that the original patent defined
the term as a sequence beginning with Lysine and comprising the amino acids 113-220
(corresponding to nucleotides 337-660) of the CD28 protein.
At the center of the parties' dispute is the 2012 Certificate of Correction to the '190 Patent. In the
specification as issued in 2008, SEQ ID NO:6 is described as having a length of 328 nucleotides
and beginning with nucleotide 336 of the CD28 protein. ('190 Patent col. 15.) The Certificate of
Correction alters the definition of this sequence, such that it has a length of 321 nucleotides and
begins with nucleotide 340 of the CD28 protein. ('190 Patent, Certificate of Correction.)
Defendant claims that this alteration materially changes the scope of the claim terms and intends
to challenge the issuance of the Certificate of Correction on these grounds.

Plaintiff first argues that there is no reason to separately assess the scope of the original claim
term as the Certificate of Correction supplants the original patent and "shall have the same effect
and operation in law on the trial of actions for causes thereafter arising as if the same had been
originally issue in such corrected form." 35 U.S.C. § 255. As Defendant notes, however, the




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very validity of the CoC is at issue and "[i]nvalidating a certificate of correction for impermissible
broadening [] requires proof of two elements: (1) the corrected claims are broader than the original
claims; and (2) the presence of the clerical or typographical error, or how to correct that error, is
not clearly evident to one of skill in the art." Central Admixture Pharmacy Services, Inc. v.
Advanced Cardiac Solutions, P.C., 482 F.3d 1347, 1353 (Fed. Cir. 2007). Therefore, while the
Court will not rule on the ultimate issue of the CoC's validity at this time, it must nevertheless
interpret both the original and amended claims to determine whether they do indeed differ in
scope. Id.

In determining the scope of a claim term, the Court ordinarily begins with the plain meaning of a
claim term. However, because neither party argues that "SEQ ID NO:6" has any plain
meaning, it turns instead to the specification, which provides "the single best guide to the
meaning of a disputed term." Phillips, 415 F.3d at 1315 (quoting Vitronics Corp. v.
Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)). In the specification of the '190
Patent, there are both explicit and implicit definitions of "the amino acid sequence encoded by
SEQ ID NO:6." The Court finds that the explicit definition of SEQ ID NO: 6 is provided in the
sequence list and describes a sequence beginning with the nucleotide sequence
"CAAAATTGAA . . . ," corresponding to the CD28 sequence spanning nucleotides 336-660.

Plaintiffs dispute that this is an express definition, arguing that a person of skill in the art would
look beyond the sequence listing to determine the definition, examining primers and other less
direct clues in the specification to determine where the sequence begins and ends. (Pl.'s Brief,
at 9.) The Court finds, however, that the sequence listing provides, at least in this particular
instance, the explicit definition of "the amino acid sequence encoded by SEQ ID NO:6" because
the claim term expressly points a reader—not to the other potential means of defining the
sequence—but directly to the sequence listing itself. The claim term is not, for instance, "the
amino acid sequence encoded by the nucleotide sequence defined by primers SEQ ID NO:4
and SEQ ID NO:5." Nor is it "the amino acid sequence corresponding to amino acids 114-220
of CD28."

While the express definition ordinarily governs the construction of a claim term, the Court
nevertheless considers the remainder of the intrinsic record to determine if this definition is
rebutted by conflicting definitions. Plaintiffs focus on various information contained in the
specification that they assert would indicate to a personal of ordinary skill in the art that the amino
acid sequence begins, not at position 113, but rather at the isoleucine found at position 114. In
particular, they focus on (1) the provisional application, (2) the specification, (3) the prosecution
history, and (4) Defendant's positions taken during IPR. The Court will address each in turn.

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              1.     Provisional Application

On May 28, 2002, provisional Application No 60/383,872 was filed with the USPTO. (Heinrich
Decl., Exh 4 ("Provisional Appl.").) The invention claimed in this Provisional Application was
described in a journal article, written by the inventors of the '190 Patent, which was incorporated
by reference. In this article, the inventors identified the set of PCR primers used to isolate
and amplify the portion of the CD 28 used to construct the costimulatory region of the claimed
T-Cell Receptor. The article states that "nucleotides 336-660 of CD28 were amplified using
primers 1 (5'-GGCGGCCGCAATTGAAGTTATGTATC-3') and 2 (5'-
TGCGCTCTCCTGCTGAACTTCACTCTGGAGCGATAGGCTGCGAAGTCGCG-3')." (Provisional
Appl., at 7.) Plaintiffs contend that these primers correspond to a CD 28 domain beginning with
isoleucine, and argue that a POSITA "would know to align these primers to the publicly-known
sequence of CD28, and in so doing would have readily seen that the CD 28 domain of the
construct begins with the isoleucine at amino acid 114 of CD28." (Pl.'s Brief, at 7.) While it is true
that these definitions, one by nucleotide number and one by primer, differ from one another, there
is nothing in the provisional application that would clarify which of the two definitions is correct.
The Court therefore concludes that nothing in the Provisional Application rebuts the explicit
definition provided in the sequence listing.

              2.     Specification

In arguing that the specification defines the claim term differently than does the sequence list,
Plaintiffs point to the following passage from column 4 of the '190 Patent.

       In one embodiment, where CD 28 is between the zeta chain portion and csFv, the
       CD28 portion suitably includes the transmembrane and signaling domains of
       CD28,i.e., the portion of CD28 cDNA spanning nucleotides 340 to 663, including
       the stop codon (amino acids 114-220 of Seq. ID No. 10). This portion of CD28
       can be amplified by PCR using the primers of Seq ID No. 4 and 5. The full
       sequence of this region is set forth in Seq ID No: 6.

('190 Patent, col. 4:21-28.) This section defines the given sequence in three ways. The first is
its reference to the explicit definition in the sequence list. As discussed previously, this definition
clearly defines the sequence as nucleotides 336-660 of the CD28 protein. The second definition
directly contradicts this by identifying "the portion of CD28 cDNA spanning nucleotides 340 to 663,
including the stop codon (amino acids 114-220 of Seq. ID No. 10)." (190 Patent, col. 4:24-26.)
As provided in the sequence listing, SEQ ID NO:10 provides the amino acid sequence of CD28
wherein amino acid 114 is isoleucine, consistent with Juno's current position. Defendant notes,
however, that the particular language used in this section is open-ended, stating merely that "the
CD28 portion suitably includes . . . the portion of CD28 spanning nucleotides 340 to
663"—implying that it could encompass more than this portion. While this is admittedly a

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somewhat unnatural interpretation, it is not entirely unreasonable and a POSITA might arrive at
this understanding in an attempt to read the specification consistently and bring column 4 in
line with the express definition found in the sequence listing.

The final definition provided in column 4—the "portion of CD 28 [that] can be amplified by PCR
using the primers of Seq ID No. 4 and 5"—is also somewhat unclear. ('190 Patent, col. 4:26-27.)
SEQ ID NO:4 is defined twice in the specification, once in the sequence listing and once in
column 7. These definitions differ from one another in both the number of nucleotides they
contain and the portion of CD28 that they amplify. (Junghans Decl. ¶ 88.) Furthermore,
Defendant's expert claims, neither version of the primer would result in the sequence claimed by
Plaintiffs in their CoC. (Junghans Decl. ¶ 89.) The first would amplify a nucleotide sequence
beginning with nucleotide 339 of the CD28 protein,1 while the second would amplify the sequence
beginning with nucleotide 342. (Junghans Decl. ¶ 89.)

In addition to column 4, Defendant draws the Court's attention to two other portions of the
specification. First is SEQ. ID NO:11, which Defendant asserts corresponds directly to the amino
acid sequence encoded by SEQ. ID NO:6 and begins, not with isoleucine, but with lysine. This,
it claims, is further evidence that Plaintiffs intended to claim the amino acid sequence that
appeared in the original issued patent. While this is admittedly an intriguing correlation, it carries
little weight as SEQ ID NO:11 is never specifically referenced in the written description and is, it
seems, vestigial. The second portion of the specification to which Defendant cites is column 7,
where the patent appears to pull language from the Provisional Application and states that
"nucleotides 336-660 of CD28 were amplified using primers . . ." ('190 Patent, col. 7:52-53.) This
nucleotide sequence maps directly onto the original SEQ. ID NO:6—including the allegedly
extraneous leading cytosine. Plaintiffs contend that this is yet another clerical error and points
to the fact that this same language was corrected in column 4 during the prosecution of the '190
Patent. (Pl.'s Brief, at 8-9.) "A POSA," they claim, "would clearly recognize that column 7 was
merely an oversight to be corrected in the same manner." (Pl.'s Brief, at 9.) Column 7's
description is, however, consistent with original SEQ ID NO:6, and could just as easily lead a
POSITA to the opposite conclusion: that column 7's description is correct and that it is column 4
that is the outlier.

Plaintiffs' final contention is that a POSITA would know that the nucleotide sequence originally
identified as SEQ. ID NO:6 was incorrect because the number of nucleotides was not divisible by
three. Defendant offers two convincing arguments why this is not the case. First, it notes that the
CD28 portion does not exist on its own, but as a single component of a three part chimeric TCR.
Because the entire TCR is made up of amino acids, it is the nucleotide sequence of the entire


   1
     An argument made less persuasive by Dr. Abken's position during IPR that the primer
   disclosed in the post-CoC SEQ ID NO:4 "align[s] perfectly with the start of SEQ ID NO: 6."
   (Abken Decl. ¶ 100)
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TCR chain that must be divisible by three—not the individual components, which may contain
additional nucleotides utilized during ligation. Secondly, Defendant's expert contends that a
POSITA would have easily been able to determine the correct amino acid sequence by applying
the correct "reading frame." (Junghans Decl. ¶ 79.) He explains that a given sequence of
nucleotides can be read in one of three "frames." (Junghans Decl. ¶ 79.) The first frame
assumes that a given sequence begins with a complete codon, the second that there is a single,
leading nucleotide before the first codon, and the third frame includes two leading nucleotides.
(Junghans Decl. ¶ 79.) Dr. Junghans provides the following example in his declaration:




(Junghans Decl., Fig 2.) In order to determine which reading frame is correct, Junghans explains,
a POSITA would likely look for the longest "open reading frame"; that is, the longest amino acid
sequence uninterrupted by a stop codon ("TGA", "TAA", or "TAG").2 (Junghans Decl. ¶ 37.)

Dr. Junghans opines that examining SEQ ID NO:6 using each of the three reading frames makes
readily apparent that frame 2 is the appropriate approach:

       [A] POSA would generally look for a reading frame with the longest uninterrupted
       sequence useful for encoding an amino acid sequence. The first reading frame
       includes a stop codon after just six nucleotides, followed by five other stop codons
       within the chain. The third reading frame begins with a slightly longer sequence,
       however, it still includes just 32 nucleotides prior to the initial stop codon, followed
       by six other stop codons within the chain. Unlike the first and third, the second
       reading frame includes a single stop codon at the very end of the sequence and
       provides the longest open reading frame.

(Junghans Decl. ¶ 79.)

In light of the above, the specification is, at best, ambiguous regarding the nucleotide sequence
comprising SEQ. ID NO:6. The sequence described in column 7 and the explicit definition
contained in the sequence list would indicate to a POSITA that the patent is claiming nucleotides

   2
     Alternatively, a researcher could make use of the Basic Local Assignment Search Tool
   ("BLAST"), a free and publicly available software tool that uses a database of known DNA
   sequences to properly align the sequence. (Junghans Decl. ¶ 36.)
   MINUTES FORM 11                                                                               :
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                                            Appx113
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336-660 of CD28, a sequence that, correctly framed, would result in a leading lysine, consistent
with Defendant's proposed construction. The information found in column 4 may also be
interpreted in a manner consistent with this understanding due to its use of open-ended language.
It is only the primers disclosed in column seven and the sequence list that would produce a
sequence potentially consistent with Plaintiffs' proposed definition. Yet even here, the
specification is unclear, providing two conflicting definitions for SEQ ID NO: 4.

In this way, the present case differs from Cubist Pharms., Inc. v. Hospira, Inc., in which the
Federal Circuit found that a claimed compound was not expressly defined by the chemical
diagram in the specification. 805 F.3d 1112, 1118 (Fed. Cir. 2015). There, the inventor was
granted a certificate of correction altering the structural diagram of a compound labeled "Formula
3." Id. at 1116. The court found that, while the alteration was material, the diagram was only one
definition of the claim term and was in direct conflict with several other definitions found in the
original specification, including references to compounds that were well-known in the art. Id. at
1115. Furthermore, the diagram represented the universal understanding of the known
compound's structure at the time of filing and it was only years later that researchers discovered
that this universal understanding was incorrect. Id. at 1116. Here, however, there is no evidence
that the specific portion of CD28 referenced in the specification was well-known in the art, nor was
the correction related to any new understanding on the part of the scientific community as a
whole. Because the sequence listing is supported by numerous other statements found in the
specification, the Court finds the disclosure of specific primers, without more, insufficient to rebut
the express definition in the sequence listing.

              3.     Prosecution History

As an initial matter, the Court notes that, while "the prosecution history provides evidence of how
the PTO and the inventor understood the patent," it "represents an ongoing negotiation between
the PTO and the application, rather than the final product of that negotiation, [and] often lacks the
clarity of the specification and thus is less useful for claim construction purposes." Phillips, 415
F.3d at 1317. "The purpose of consulting the prosecution history in construing a claim is to
'exclude any interpretation that was disclaimed during prosecution.'" Id. (quoting Chimie v. PPG
Indus., Inc., 402 F.3d 1371, 1384 (Fed. Cir. 2005)).

Plaintiffs contend that the following events that occurred during the prosecution of the '190 Patent
would indicate to a POSITA its intent to claim amino acids 114-220. On September 4, 2007, the
applicants filed a Request for Continued Examination ("RCE") claiming that:

       In preparing to pay the issue fee for this application, it was determined that an error
       occurred in the presentation of Seq. ID No. 6, which is recited in the previously
       allowed claims. In addition, a discrepancy was noted between the bases of Seq ID
       No. 4 in the specification [] and the sequence listing. Finally, it was noted that the

   MINUTES FORM 11                                                                               :
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       Seq ID No. 10 was not referenced in the specification and that the amino acids of
       the CD28 Sequence (144-220 contained a typographical error and should have
       been 114-220). This RCE application and amendment are filed to correct these
       errors.

(RCE, Sept. 4, 2007.)

Along with this request, the applicants submitted a sequence listing which amended (1) SEQ ID
NO:4—the nucleotide sequence of the upstream primer—to add a single Thymine, bringing it into
agreement with the primer sequence disclosed in column 7 of the specification, and (2) SEQ ID
NO:6, removing the first four nucleotides, such that the first codon corresponds to isoleucine,
amino acid 114 of CD28, rather than lysine, amino acid 113. This amended listing was rejected
by the Patent Office as "damaged and/or unreadable," prompting the applicants to provide a new
copy. This copy, too, reflected the amendments requested in the RCE. The Patent Office again
rejected the filing, this time for failure to comply with the USPTO formatting requirements. The
applicants reformatted the listing and, for the third time, filed an amended sequence listing with
the Patent Office. This time, however, they included the original sequence listing that did not
reflect the amendments originally requested in the RCE. It was this unaltered listing that was
ultimately included in the patent as it was finally issued.

Plaintiffs contend that "any reasonable reader of the prosecution history would understand that
the applicants inadvertently submitted the original, incorrect sequence listing in their April 16, 2008
submission." (Pl.'s Brief, at 12.) While it is true that this is one possible interpretation of the
events, it is also possible for a POSITA to conclude that the applicants intentionally submitted the
original sequence listing.3 Ultimately, the ambiguity of the prosecution history would require a
POSITA to guess at the applicants' intent. Such a level of uncertainty is insufficient to overcome
the express definition as provided in the sequence listing and supported by numerous portions
of the specification.

              4.      IPR History

Plaintiffs' final argument is that there are contradictions between the testimony of Dr. Junghans
in this action and Kite's expert during the IPR, Dr. Abken. Specifically, they point to the fact that,
during the IPR, both parties and their experts agreed that a certain prior art publication (the
"Krause Paper") disclosed the same amino acid sequence as the amino acid sequence encoded
by SEQ ID NO:6. (Pl.'s Brief, at 13-14.) In reaching this conclusion, Dr. Abken observed that
"[b]oth Krause's forward primer and the '190 Patent's forward primer (SEQ ID NO: 4) align


   3
     Or, more cynically, that the ambiguity was intentional, calculated to permit the patent-
   holder to determine at a later date which of the two positions was more advantageous.
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perfectly with the start of SEQ ID NO: 6 (i.e., ATTGA . . . )." (Heinrich Decl., Exh. 8 ("Abken
Decl.") ¶ 100.) Plaintiffs also point to a diagram prepared by Dr. Abken which depicts SEQ ID
NO:6 beginning with ATT—the codon for isoleucine. (Pl.'s Brief, at 14.) These disclosures, they
claim, demonstrate that Kite's expert recognized and accepted that SEQ ID NO:6 encoded an
amino acid sequence beginning at amino acid 114.

Defendant correctly observes, however, that a petitioner cannot challenge the validity of the
certificate of correction during an IPR proceeding and therefore argues that Dr. Abkens
statements did not relate to his understanding of SEQ ID NO:6 as disclosed in the original
issuance of the '190 Patent, but rather reflected his views on the '190 Patent after the USPTO
issued its Certificate of Correction. The Court finds this argument persuasive. Because a patent
can only be challenged during IPR on grounds of anticipation or obviousness, Dr. Abkens
statements have no bearing on the meaning of the patent as it initially appeared upon issuance.
35 U.S.C. § 311.

              5.     Conclusion

In a sense, this dispute strikes at the heart of the policy undergirding patent law. Patents are, at
their core, a "carefully crafted bargain that encourages both the creation and the public disclosure
of new and useful advances in technology." Pfaff v. Wells Electronics, Inc., 525 U.S. 55, 63
(1998). They "grant[] inventors 'the right to exclude others from making, using, offering for sale,
selling, or importing the patented invention,' in exchange for full disclosure of [the] invention."
Markman, 517 U.S. at 373 quoting H. Schwartz, Patent Law and Practice 1, 33 (2d ed. 1995). In
order to serve this function, "it has long been understood that a patent must describe the exact
scope of an invention and its manufacture to 'secure to [the patentee] all to which he is entitled,
[and] to apprise the public of what is still open to them.'" Markman, 517 U.S. at 373 (quoting
McClain v. Ortmayer, 141 U.S. 419, 424 (1891)). For this reason, claim terms are interpreted—
not based on the intent of the patentee—but based on the understanding of POSITA as
members of the public.

In order for a POSITA to arrive at Plaintiffs' proposed construction, she must first determine that
(1) the provisional application incorrectly identified the claimed sequence, (2) the originally
submitted patent application incorrectly identified the claimed sequence in three separate
locations, (3) the applicants attempted to correct the mistakes in column 4, but failed to do so in
column 7, and (4) in their attempt to correct the sequence listing, the applicants accidentally
submitted the incorrect sequence listing on their third attempt to file corrections. While it is
possible that each of these mistakes did occur and that the patentee's intent was to claim the
sequence beginning with nucleotide 340 of the CD28 protein, it is unreasonable to expect a
POSITA to make each of these assumptions despite (1) the '190 Patent's express definition of
SEQ ID NO:6 in the sequence listing, (2) the support for this definition within the specification,
and (3) the fact that the other purported definition as provided in the amended column 4 is open-


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ended and may be read in a manner consistent with the sequence listing. Accordingly, the Court
concludes that the '190 Patent explicitly defined the claim term "the amino acid encoded by SEQ
ID NO:6" by way of the sequence listing and that nothing in the intrinsic record is sufficient to
overcome this express definition.

For this reason, the Court finds that a POSITA encountering the '190 Patent prior to the CoC
would have understood SEQ ID NO:6 to begin with nucleotide 336 of the CD28 protein. It further
finds that, when SEQ ID NO:6 is proper framed, it encodes an amino acid sequence
corresponding to "amino acids 113-220 of CD28 (starting with lysine (K))." For this reason, the
Court construes the term as follows:

 Claim Term                                          Court's Construction
 "the amino acid sequence encoded by SEQ             Before the Certificate of Correction:
 ID NO:6"                                            Amino Acids 113-220 of CD28 (starting with
                                                     lysine (K))

                                                     After the Certificate of Correction:
                                                     Amino Acids 114-220 of CD28 (starting with
                                                     isoleucine (I))

       C.     "nucleic acid polymer encoding . . . a binding element that specifically interacts with
              a selected target"

The parties next dispute whether the term "nucleic acid polymer encoding . . . a binding element
that specifically interacts with a selected target," found in claim 1, is a means plus function term
governed by 35 U.S.C. § 112(6). The parties' positions are provided below:

 Plaintiff's Proposed Construction                   Defendants' Proposed Construction
 Plain and ordinary meaning                          Term "binding element" is governed by 35
                                                     U.S.C. § 112(6).

When a limitation "recit[es] a function be performed rather than . . . reciting structure for
performing that function," the scope of the claim is limited "to only the structure, materials, or acts
described in the specification as corresponding to the claimed function and equivalents."
Williamson v. Citrix Online LLC, 792 F.3d 1339, 1347-48 (Fed. Cir. 2015). While this restriction
ordinarily applies only to those claim terms utilizing the word "means," 35 U.S.C. § 112(6) may
also apply to certain "nonce words" if "the claim term fails to 'recite sufficiently definite structure'
or else recites 'function without reciting sufficient structure for performing that function.'"
Williamson, 792 F.3d at 1349. Claims that do not explicitly use the term "means" are entitled to
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a rebuttable presumption that they are not implicated by § 112(6). Id. at 1348; EnOcean GbH
v. Face Int'l Corp., 742 F.3d 955, 959 (Fed. Cir. 2014).

Here, Defendant contends that the use of the term "binding element" in Claim 1 of the '190 Patent
is just such a nonce word and that the scope of the claim term should therefore be limited only
to SJ25C1-derived scFv and J591-derived scFv—the specific embodiments disclosed in the
specification. (Def.'s Brief, at 17-20.) Plaintiffs respond that (1) "binding element" is not a nonce
word, and (2) the preamble defines the binding element as part of a CAR-T encoded by a nucleic
acid polymer and must therefore be a polypeptide. (Pl.'s Brief, at 15-19.) Before determining
whether the specification provides sufficient structure, the Court must first decide whether "binding
element" is, in fact, a word that is "tantamount to using the word 'means.'" Williamson, 792
F.3d at 1350.

Defendant's expert claims that "a POSA would have understood the term [binding element] to
convey a purely functional meaning, i.e., a means for binding and specifically interacting with a
selected target." (Junghans Decl. ¶ 100.) This very statement, however, undermines his
argument that the term is a nonce word; the fact that he reads the term to describe an element
that binds to and specifically interacts with a selected target reveals that he does
have an understanding of the term's scope. Constrained by the biochemistry required to
"bind" to a potential antigen, there is a limited universe of appropriate "binding element[s] that
specifically interact[] with a particular target." Defendant admits as much in its invalidity
contentions, stating that "[a] person of ordinary skill in the art would understand that the term
'binding element' could include any polypeptide, including for example, receptors, receptor
ligands, antibodies, and single chain antibodies." (Heinrich Decl., Exh. 11 ("Invalidity
Contentions"), ECF No. 85-11; Abken Decl. ¶ 45 (Defendant's IPR expert stating that researchers
were aware of the use of "binding elements" to target antigens at the time of invention of the
'190 Patent and that "[t]ypically, the binding element was an antibody or an antibody fragment,
with single chain antibody fragments ("scFv") being preferred . . .")).

The disagreement between the parties, then, is not whether a POSITA would have known the
class of elements being claimed, but whether narrowing the possible choices to a particular set
of polypeptides is sufficient. On this, the Federal Circuit has been clear. A claim term "need not
connote a single specific structure; rather it may describe a class of structures." Apple v.
Motorola, Inc., 757 F.3d 1286, 1301 (Fed. Cir. 2014), overruled on other grounds by
Williamson, 792 F.3d at 1349. "To determine whether a claim recites sufficient structure, 'it is
sufficient if the claim term is used in common parlance or by persons of skill in the pertinent
art to designate structure, even if the term covers a broad class of structures and even if the
term identifies the structures by their function.'" Skyy, Inc. v. MINDGEEK, S.A.R.L., 859 F.3d
1014, 1019 (Fed. Cir. 2017) (quoting TecSec, Inc. v. Int'l Bus. Machs. Corp., 731 F.3d 1336,
1347 (Fed. Cir. 2013)). Such is the case here. As evidenced by Defendant's own expert
witnesses, a POSITA encountering the disputed claim term would understand it to denote

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a particular class of structures—namely polypeptides capable of specifically interacting (i.e.,
binding) with a particular antigen target. For this reason, the Court finds that § 112(6) is not
implicated in this instance. To the extent that Defendant argues that the patent claims too wide
a range of species, this is not an argument properly grounded in §112(6), but rather
in written description or enablement—claims properly brought upon summary judgment,
not at claim construction.

 Claim Term                                       Court's Construction
 "nucleic acid polymer encoding . . . a binding   Plain and ordinary meaning
 element that specifically interacts with a
 selected target"

V.      CONCLUSION

For the foregoing reasons, the Court construes the disputed claim terms as follows:

        1.    "the amino acid sequence encoded by SEQ ID NO:6" before the
              Certificate of Correction means "Amino Acids 113-220 of CD28 (starting
              with lysine (K))" and after the Certificate of Correction means "Amino
              Acids 114-220 of CD28 (starting with isoleucine (I))"
        2.    "nucleic acid polymer encoding . . . a binding element that specifically
              interacts with a selected target" is given its plain and ordinary meaning.

IT IS SO ORDERED.




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                                                                                            US007446190B2


(12)   United States Patent                                                  (10) Patent No.:                 US 7,446,190 B2
       Sadelain et al.                                                       (45) Date of Patent:                        Nov. 4, 2008

(54)    NUCLEIC ACIDS ENCODING CHIMERIC T                               Dranoff et al., Vaccination with irradiated tumor cells engineered to
        CELL RECEPTORS                                                  secrete murine granulocyte-macrophage colony-stimulating factor
                                                                        stimulates potent, specific, and long-lasting anti-tumor immunity,
(75)    Inventors: Michel Sadelain, New York, NY (US);                  Proc. Natl. Acad. Sci. USA, 1993, pp. 3539-3543.
                   Renier Brentjens, Maplewood, NJ (US);                Feldhaus et al., A CD2/CD28 chimeric receptor triggers the CD28
                   John Maher, Surrey (GB)                              signaling pathway in CTLL.2 cells, Gene Therapy, 1997, pp. 833-
                                                                        838. vol. 4.
(73) Assignee: Sloan-Kettering Institute for Cancer
                                                                        Karpoff et al., Prevention of Hepatic Tumor Metastases in Rats with
               Research, New York, NY (US)
                                                                        Herpes Viral Vaccines and y-Interferon, J. Clin. Invest., 1997, pp.
                                                                        799-804. vol. 99. No. 4.
(*)    Notice:      Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35             Kutubuddin et al., Eradication of preexisting murine tumor using
                    U.S.C. 154(b) by 458 days.                          herpes amplicon vectors, Cancer Gene Therapy, 1997, pp. S26
                                                                        XP002073450, vol. 4, No. 6.
(21) Appl. No.: 10/448,256                                              Lewin, Genes IV, 1990, pp. 810, Publisher: Oxford University Press.
                                                                        Panka et al., Variable region framework differences result in
(22)    Filed:      May 28, 2003                                        decreased or increased affinity of variant anti-digoxin antibodies,
                                                                        Proc. Natl. Acad. Sci. USA, 1988, pp. 3080-3084, vol. 85.
(65)                   Prior Publication Data
                                                                        Parijs, Homeostasis and Self-Tolerance in the Immune System: Turn-
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     CO7H 21/04             (2006.01)                                   & 16.11, Publisher: Cold Spring Harbor Laboratory.
(52) U.S. Cl.                          536/23.4; 536/23.53              Tung et al., Rapid Production of Interleukin-2-Secreting Tumor Cells
(58) Field of Classification Search                    None             by Herpes Simplex Virus-Mediated Gene Transfer: Implications for
     See application file for complete search history.                  Autologous Vaccine Production, Human Gene Therapy, 1996, pp.
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             FOREIGN PATENT DOCUMENTS
                                                                        Chimeric T cell receptors (TCR) are provided that combine
             W096/29421 Al         9/1996                               in a single chimeric species, the intracellular domain of CD3
WO           W097/00085 Al         1/1997
             W097/34634 Al         9/1997                                -chain, a signaling region from a costimulatory protein such
                                                                        as CD28, and a binding element that specifically interacts
                   OTHER PUBLICATIONS                                   with a selected target. When expressed, for example in T-lym-
                                                                        phocytes from the individual to be treated for a condition
Kroczek et al., 2005, J. Allergy Clin. Immunol, 116: 906-909.*
Clarkson et al., 2005, Transplantation, 80:555-563.*                    associated with the selected target, a T cell immune response
Oki et al.. 2005. Molecular Cell. 19: 707-716.*                         is stimulated in the individual to the target cells. The chimeric
Maher et al., 2002, Nature Biotechnology, 20: 70-75.*                   TCR's are able to provide both the activation and the co-
Alvarez-Vallina et al., Antigen-specific targeting of CD28-mediated     stimulation signals from a single molecule to more effectively
T cell co-stimulation using chimeric single-chain antibody variable     direct T-Iymphocyte cytotoxicity against the selected target
fragment-CD28 receptors, Eur. J. Immunol., 1996, pp. 2304-2309,         and T-lymphocyte proliferation.
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Amit et al., Three-Dimensional Structure of an Antigen-Antibody
Complex at 2.8 A Resolution, Science, 1986, pp. 747-753, vol. 233.                       13 Claims, 8 Drawing Sheets

                                                              PX0001.2

                                                            Appx261
                                                            Appx261
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                                                                '3
                           10                                        114
                                       11


       5.LTR                                         FIE rift-v       '            3`I TR
                                                             1FIES   EGFP

               SD       SA

                                       Fig. 1




                PZ1             P282               P228                    P28




                                                   • ...lb



                                                                     J591
                                                                     SCFV
                                                                     CD3i;   •
                                                                     CO28
                                                                     CD8     E:5




                                   Fig. 2




                                   PX0001.3

                                   Appx262
                                   Appx262
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               -too 1

                               /                        -0-    19z1 GFP
                80-1                                    '--~—Pz1 GFP
                                                        ` —ar— P28z GFP
                                                               Pz28 GFP
                60 -
                                      1

                40-                       x



                20 -



                  0            0           0        0 •     0
                              100         33       11       3.7      1.2      0.4
                                          Effector : target ratio


                                              Fig. 3A

              100 -


                                                          •    3T3 PSMA
               80 HI
                                                               3T3 Empty

               60 -



               40 H



               20 -


                0
                              100          33         11      3.7           12
                                      atroctar : target ratio


                                              Fig. 3B

                                          PX0001.4
                                          PX0001.4

                                       Appx263
                                       Appx263
    Case: 20-1758                  Document: 31                      Page: 218                Filed: 08/31/2020




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        7,300 .           1                    titH3T3         untransee.V.ed

        6.000,0001


        5,000,000


         4,000.000


        3.000,000
                 i
        2,000,000:


        1,000,0001


                      01       .       1           T
                       0               1           2           3         4           5        6

                                                                   Day


                                                       Fig. 4A


       7,000.000 -1
                                                       NIH3T3        57.1

       6,000,000


       5,000,0001                                                                        — P28 GFP
                                                                                           Pz1 GFP
                                                                                           P.28z GFP
       4,000.000,                                                                          Pz2B GFP
                                                                                           19z1 GFP
       3,000,0007


       2,000,000

       1,000,000
                                                                                              µ


                  0                        -           r   ,         T       .   g        1       - 1

                      0            1           2           3                     5        e        7
                                                               Day


                                                       Fig, 4B


                                                           PX0001.5

                                                       Appx264
                                                       Appx264
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              7,000,000                                   N1H3T3               PSMA
                         1
              6,0(x),000-:


              5,000,000-,                                                                                        -


              4.000,000 -,


              3,000.000 H

              2,000,000 H


              1.000,000.-                                                               --                       5
                               .   -- - -   -- - - :- -   -    - --
                                                                                             7-
                                      --r      -                      S         T       T                        n
                          0            1             2                3         4       S              S         7
                                                                          Day



                                                          Fig. 4C


                7.000.000 1
                                                   Nlii3T3                PSMA + B7-1

                6,000,000 -


                5,000,000 1


                4,000,000
                              4                                                                       1x
                3,000,000 -

                2.000,000t-i


                1.000,0,00
                                                                                                  z        :         ,
                              -1------1
                              0       1                   2               3         4        5             6         3
                                                                              Day


                                                              Fig. 4D


                                                    PX0001.6

                                                   Appx265
                                                   Appx265
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               t4.000,coco                          NIH3T3 PSIAA - CD8 +

              12,000.003 .4


              le...000,003 -4       1                                  1
                                    Y                              V
               8.000.000 ■


                6.000.000


               4.000,000 ,


               2.000.000


                            0                            r         0
                                    0       2        A        6            8        10        12        14
                                                              Ds),


                                                Fig. 5A



          2.300,(xv -                           NIH3T3 PSUA • CD4



          i.5a).000 -           4                             I                                    ?
          i.wo.oco
              500,000 .
                                            —



                     0 1-                                          r
                                0       2       4         6        a           10        1Z        14
                                                             Day



                                                Fig. 5B


                                                    PX0001.7

                                                Appx266
                                                Appx266
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          '<sou.= 7                      NIH3T3 PSMA + B7.1 • COB'


                    ,
          Io.603.000'




           4,000.000


           2.003.000 '


                    0                                       ,
                             0       Z        4         5   a     10    12      74

                                                        Day



                                                  Fig. 5C



          2,000,0011 -               N11-13T3 PS to + 97.1 - C04'



          1,Scasra "




                                                                                 P28 GFP
           5al000 '                                                              Pzi GFP
                                                                                 P28x GFP


                         0       2        4         a      8    10     t2
                                                    Day



                                                  Fig. 5D


                                              PX0001.8
                                              PX0001.8

                                          Appx267
                                          Appx267
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              10'.x



                      it                           4
           10'


                      I
           10




                                      .                       -r
                                                        12             16           20          24
                                              Days in cutturt


                                              Fig. 5E




                                              -                                          -
                                - 12                                                                         13
               e



                                   1Z                                       39                              60
              V
                  .        .   4.;1705 104         ;u    ;7    ro7 sr 1Q4                "-'041 "kr        icrl 104

                      23            12         -        29                  37            1 a

           -

                                    t3                             ,         1$                             11
           a
                                   ;651   4                            tal    to4        2'106 aff      745 t oi
                                                             *GFP

                           Day 0                             Day 14                              Duty 24



                                               Fig. 5F

                                                        PX0001.9

                                                   Appx268
                                                   Appx268
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                    50 -
                                                          —0—         19Pz:
                                                                      Ptl
                    40 "
                                                                      P2az
                                                                      Pz_28
                    30'                        ‘



               '3- 20'1


                    10`



                     0         r
                              25         13         6     3       1:3         0.7
                                       Effector ; targat ratio




              7,000.000

              6,000,030

              5,000.000

              4,300.030'

              3..000,000

              2,000,000-

               i ,000.000


                         0
                                   1       2        3     4.      5         6       7
                                                        Day


                                                   Fig. 6B


                                          PX0001.10
                                          PX0001.10


                                         Appx269
                                         Appx269
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                                                     US 7,446,190 B2
                              1                                                                    2
     NUCLEIC ACIDS ENCODING CHIMERIC T                                  Notwithstanding the foregoing efforts, there remains a
              CELL RECEPTORS                                         continuing need for more effective chimeric TCRs. The
                                                                     present invention offers chimeric TCRs that are able to pro-
             CROSS REFERENCE TO RELATED                              vide both the activation and the co-stimulation signals from a
                        APPLICATIONS                              s single molecule to more effectively direct T-lymphocyte
                                                                     cytotoxicity against a defined target and T-lymphocyte pro-
   This application claims the benefit of U.S. Provisional           liferation. t
Application No. 60/383,872, filed May 28, 2002, which is
incorporated herein by reference.                                                     SUMMARY OF INVENTION
                                                                  to
               BACKGROUND OF INVENTION                                  The present invention provides chimeric TCR's, nucleic
                                                                     acid polymer encoding the chimeric TCR's and methods of
                                                                     using the chimeric TCR's to facilitate T cell response to a
   This application relates to nucleic acid polymers encoding
                                                                     specific target. The chimeric TCRs of the invention combine,
chimeric T cell receptors (TCRs), to the chimeric TCRs, and
                                                                     in a single chimeric species, the intracellular domain of CD3
to methods of using same to facilitate a T cell response to a 15
                                                                       _chain ("zeta chain portion"), a signaling region from a
selected target.
                                                                     costimulatory protein such as CD28 and a binding element
   The induction of potent tumor immunity presents a major           that specifically interacts with a selected target. Thus, in
challenge for cancer immunotherapy. Tumor cells have many            accordance with a first aspect of the invention, there is pro-
properties that facilitate immune evasion 1-3. Most tumor 20 vided a nucleic acid encoding a chimeric T cell receptor, said
antigens characterized to date are self-antigens and are thus        chimeric T cell receptor comprising a zeta chain, a CD28
poorly immunogenic 4,5. The paucity of target antigens, the          signaling region and a binding element that specifically inter-
difficulty of overcoming tolerance to self-antigens, and             acts with a selected target. In accordance with a second aspect
impaired antigen presentation also contribute to compromise          of the invention, there is provided a chimeric T cell receptor
T-cell priming in cancer-bearing hosts 1-3,6-10. Further- 25 comprising a zeta chain portion, a CD28 signaling region and
more, malignant cells may escape from tumor-specific effec-          a binding element.
for T cells by downregulating major histocompatibility corn-            In accordance with the method of the invention a chimeric
plex (MHC) and/or antigen expression, or by establishing an          TCR is provided which comprises a zeta chain portion, a
immunosuppressive microenvironment 1-3,11.                           co-stimulatory signaling element and a binding element
   Genetic approaches offer a potential means to enhance 30 which specifically interacts with a cellular marker associated
      une recognition and elimination of cancer cells. One           with target cells. T-Iymphocytes from the individual to be
promising strategy is to genetically engineer T lymphocytes          treated, for example a human individual, are transduced with
to express artificial TCRs that direct cytotoxicity toward           the chimeric TCR. This transduction may occur ex vivo, after
tumor cells 12,13. Artificial receptors typically comprise a         which the transduced cells are reintroduced into the indi-
tumor antigen-specific recognition element derived from a 35 vidual. As a result, T cell immune response is stimulated in
single-chain antibody variable fragment (scFv). When used            the individual to the target cells.
to reprogram T-cell specificity, such fusion receptors permit
MHC-independent recognition of native rather than pro-                          BRIEF DESCRIPTION OF DRAWINGS
cessed antigen 12-14. ScFv-based TCRs are engineered to
contain a signaling domain that delivers an activation stimu- 40        FIG. 1 shows a schematic of a nucleic acid polymer within
lus (signal 1) only 12-14. The TCR-t cytoplasmic domain,             the scope of the invention.
which delivers a potent signal 1 in the absence of the remain-          FIG. 2 shows a series of chimeric TCR's.
ing components of the TCR-CD3 complex 15,16, is well                    FIGS. 3 A and B show specific target lysis by PSMA
suited for activating cytolytic functions. The potential clinical    redirected T cells.
utility of this strategy is supported by the demonstration that, as     FIGS. 4 A-D. The P28z fusion receptor renders human T
despite fears about defective signaling in lymphocytes of            lymphocytes capable of PSMA-dependent expansion.
tumor-bearing subjects 17, 1-chain fusion receptors retain           Human T cells were transduced with the following retroviral
potent activity in cancer patent cytotoxic T cells 18.               constructs (gene transfer efficiency indicated in parentheses):
   However, while sufficient to elicit tumoricidal functions,        SFG 19z1 (60%), SFG P28 (53%), SFG PZ1 (68%), SFG
the engagement of c-chain fusion receptors may not suffice to so P28z (23%), and SFG Pz28 (32%). Three days later, 5x105
elicit substantial IL-2 secretion in the absence of a concomi-       transduced T cells were co-cultured in 20 U/ml IL-2 with
tant co-stimulatory signal 18. In physiological T-cell               irradiated NIH3T3 feeder cells as follows: (A) unmodified
responses, optimal lymphocyte activation requires the                (B) NIH3T3-B7.1 (C) NIH3T3-PSMA, or (D) NIH3T3-
engagement of one or more co-stimulatory receptors (signal           PSMA+B7.1. Cell numbers were counted on days 3 and 7,
2), the best characterized of which is CD28 19-22. Provision ss and data presented are mean±s.d. of triplicate evaluations.
of signal 1 in the absence of CD28 signaling can result in a         Similar results were obtained in three experiments.
very poor T-cell proliferative response or in the induction of          FIGS. 5 A-F. Primary and secondary stimulation of trans-
anergy or apoptosis 19-22. Consequently, it may be extremely         duced T cells in response to PSMA. Peripheral blood T cells
valuable to engineer human T cells so that they receive a            were transduced with the following retroviral constructs
co-stimulatory signal in a tumor antigen-dependent manner. 60 (gene transfer efficiency indicated in parentheses); P28
An important development in this regard has been the suc-            (27%), Pzl (36%), or P28z (17%). Then the cells were sub-
cessful design of scFv-CD28 fusion receptors that transduce          jected to two rounds of stimulation on NIH3T3 fibroblast
a functional antigen-dependent co-stimulatory signal in              feeder layers (indicated by arrows). For the primary stimula-
human primary T cells, permitting sustained T-cell prolifera-        tion, 1x106 transduced T cells were co-cultured in IL-2 (20
tion when both the endogenous TCR and the chimeric CD28 65 Wm!) with irradiated NIH3T3 cells expressing PSMA (pan-
receptor are engaged 23. See U.S. patent application Ser. No.        els A and B) or PSMA+B7.1 (panels C and D). On day 7,
08/940,544.                                                          cultures were re-stimulated by co-culture with a similar

                                                          PX0001.11
                                                          PX0001.11


                                                         Appx270
                                                         Appx270
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                               3                                                                    4
monolayer. Absolute numbers of transduced CD8+ (panels A            transmembrane sequences from other sources, for example
and C) and CD4+ T cells (panels B and D) were calculated as         from CD8. The zeta and CD28 may be disposed in the nucleic
the product of percentage transduced (determined by flow            acid polymer is either order. Next in order comes an EMCV
cytometry)xtotal cell count. Co-culture of all transduced PBL       IRES 13, followed by a sequence 14 encoding a marker
populations with B7.1 expressing or unmodified N1H3T3 s protein, such as enhanced green fluorescent protein (EGFP).
cells resulted in a progressive decline in total cell number and    At the 3' end of the nucleic acid polymer as illustrated in FIG.
content of transduced T cells (data not shown). (E) P28z-           1 is a 3'-LTR from the SFG onco-retroviral vector. While the
transduced T cells were expanded by sequential re-stimula-          structure in FIG. 1 reflects the vector which was used in the
tion on NII-13T3 PSMA fibroblast feeder layers, is indicated        examples described below, other vectors which result in
by the arrows. Cultures were maintained in IL-2 (20 U/mI), to expression of the chimeric TCR of the invention may also be
which was added every three days. The data represent the            employed.
mean±s.d. of six data points (triplicate cell counts from two          The zeta chain portion sequence employed in the present
separate cultures). These cultures were subjected to three-         application includes the intracellular domain. This domain
color flow cytometry at intervals to detect transduced              which spans amino acid residues 52-163 (Seq. ID No: 14
(eGFP+) cells of the CD4+ and CD8+ subsets. Similar data ts (nucleotides 154-489, Seq. ID No. 3) of the human CD3 zeta
were obtained upon analysis of both cultures, and data shown        chain, can be amplified using the primers of Seq. ID Nos. 1
are from one representative example (F).                            and 2.
   FIGS. 6A and B. PSMA+ tumor cells activate cytolytic and            CD28 sequences can be found in the present application on
proliferative responses in P28z-transduced PBLs. (A) Spe-           either side of the zeta chain portion sequence. In either case,
cific ttunor cell lysis by PSMA-redirected T cells. T cells were 20 the CD28 sequences include the signaling elements from
transduced with 19z1 (control), Pz1, P28z GFP, and Pz28             CD28. In one embodiment, where CD 28 is between the zeta
GFP. Four days after completion of gene transfer, equivalent        chain portion and the scFv, the CD28 portion suitably
numbers of transduced T cells were added to LNCaP human             includes the transmembrane and signaling domains of CD28,
prostate cells. All PSMA-specific T cells (Pz1, P28z, and           i.e., the portion of CD28 cDNA spanning nucleotides 340 to
Pz28) demonstrated cytotoxic activity similar to that demon- 25 663, including the stop codon (amino acids 114-220 of Seq.
strated against NIH3T3 PSMA+ fibroblasts. Background                ID No. 10). This portion of CD28 can be amplified by PCR
cytotoxic activity seen with 19z1 control T cells may be due        using the primers of Seq. ID NO. 4 and 5. The full sequence
to alloreactivity (which is not seen with the murine NIH3T3         of this region is set forth in Seq. ID No: 6. Alternatively, when
fibroblasts: FIG. 3). (B) The P28z fusion receptor renders T        the zeta sequence lies between the CD28 sequence and the
lymphocytes capable of PSMA-dependent, B7.1-indepen- 30 binding element, the 41 amino acid intracellular domain of
dent expansion following co-cultivation with LNCaP tumor            CD28 (amino acid residues given by Seq. ID No. 9) is suitably
calls. 19z1-, Pzl -, and Pz28-transduced T cells did not            used alone. This fragment of CD28 cDNA can be amplified
expand.                                                             using primers of Seq. ID. Nos. 7 and 8.
                                                                       Binding elements used in the invention are selected to
                   DETAILED DESCRIPTION                          35 provide the chimeric TCR with the ability to recognize a
                                                                    target of interest. The target to which the chimeric T cell
   In accordance with the present invention, activation and         receptors of the invention are directed can be any target of
co-stimulation are provided by a single chimeric T cell recep-      clinical interest to which it would be desirable to induce a T
tor comprising a zeta chain portion, a costimulatory signaling      cell response. This would include markers associated with
region and a target-specific binding element. The T cell recep- 40 cancers of various types, including without limitation pros-
tor is suitably generated in situ in T lymphocytes by expres-       tate cancer (for example using a binding element that binds to
sion of a nucleic acid polymer encoding the three portions of       PSMA) breast cancer (for example using a binding element
the chimeric T cell receptor.                                       that targets Her-2) and neuroblastomas, melanomas, small
   As used in the specification and claims of this application,     cell lung carcinoma, sarcomas and brain tumors (for example
the term "costimulatory signaling region" refers to it portion as using a binding element that targets GD 2). Known binding
of the chimeric T cell receptor comprising the intracellular        elements used in chimeric TCR's are generally useful in the
domain of a costimulatory molecule. Costimulatory mol-              present invention, and include without limitation those
ecules are cell surface molecules other than antigen receptors      described in commonly assigned PCT Publication 97/36434
or their ligands that are required for an efficient response of     and U.S. patent application Ser. Nos. 08/940,544 and 09/786,
lymphocytes to antigen. Examples of such molecules include so 502 which are incorporated herein by reference in their
CD28, 4-1BB, DAP-10 and ICOS. Thus, while the invention             entirety.
in exemplified primarily with CD28 as the co-stimulatory               The binding elements used in the invention are suitably
signaling element, other costimulatory elements are within          antibodies that recognize a selected target. For convenience,
the scope of the invention. For example, chimeric TCR con-          the antibody used as the binding element is preferably a single
taming the intracellular domain of 4-1BB (full sequence 55 chain antibody (scFv). Single chain antibodies may be cloned
given in Seq ID No: 15), ICOS (full sequence given in Seq ID        from the V region genes of a hybridoma specific fora desired
No: 16) and DAP-10 (full sequence given by Seq. ID No: 17)          target. The production of such hybridomas has become rou-
are also suitably employed in the invention.                        tine, and the procedure will not be repeated here. A technique
   FIG. 1 shows a schematic of a nucleic acid polymer within        which can be used for cloning the variable region heavy chain
the scope of the invention in which the T cell receptor is 60 (V-H-) and variable region light chain (V-L-) has been
positioned within an SFG onco-retroviral vector. As shown,          described in Orlandi et al., Proc. Natl. Acad. Sci. (USA) 86:
the nucleic acid polymer comprises the 5'-long terminal             3833-3837 (1989). Briefly, mRNA is isolated from the hybri-
repeat (LTR) and the packaging signal to portion of the vector,     doma cell line, and reverse transcribed into complementary
followed by the CD8 a -hinge 10 and the binding element 11.         DNA (cDNA), for example using a reverse transcriptase poly-
SD and SA represent the splice donor and splice acceptor, 65 merase chain reaction (RT-PCR) kit. Sequence-specific prim-
respectively. The next region 12 encodes the zeta chain por-        ers corresponding to the sequence of the V-H- and V-L-genes
tion and CD28 sequences, and may additionally include               are used. Sequence analysis of the cloned products and com-

                                                          PX0001.12
                                                          PX0001.12


                                                         Appx271
                                                         Appx271
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                              5                                                                   6
parison to the known sequence for the V-H- and V-L-genes           contains TCRt but no CD28 sequences). Specific lysis of
can be used to show that the cloned V-H-gene matched expec-        PSMA+ targets also reflects functional activation through the
tations. The V-H- and V-L-genes are then attached together,        TCR pathway. Importantly, the P28z fusion receptor can also
for example using an oligonucleotide encoding a (gly-ser-2-)-      provide potent co-stimulation (signal 2). Thus, in the absence
5-linker.                                                       s of exogenous 1117-driven co-stimulation, engagement of
   As is reflected in the examples below, the transmembrane        PSMA elicits IL-2 production and proliferation. Under the
domain does not need to be the CD28 transmembrane                  same conditions, Pzl-transduced cells fail to secrete IL-2 and
domain, and indeed is CD28 in the embodiment with the              proliferate, corroborating findings by Finney et al. obtained in
centrally-positioned largely as a matter of convenience to         Jurkat cells 31.
minimize the number of amplification/cloning steps that need to       The relative positions of the TCR and CD28 signaling
to be performed. Other transmembrane domains that may be           elements within the fusion receptor proved crucial. In P28z,
employed include the CD8 and CD3 zeta transmembrane                the hinge, transmembrane, and proximal intracellular por-
domains.                                                           tions of the molecule were derived from CD28, followed by
   In addition to the zeta chain portion, CD28 and binding         the signaling domain of TCRt. When CD28 sequences were
elements, the chimeric TCR may include a selection element. Is fused to the C terminus of TCRt. as in Pz28. the functional
For example, dihydrofolate reductase (DHFR) may be                 activity was substantially compromised relative to P28z, par-
included in the TCR to allow ex vivo or in vivo selection for      ticularly with regard to sustaining proliferation. This
transduced cells using methotrexate. (See commonly-as-             occurred despite comparable cell-surface expression of the
signed PCT Publication 97/33988 which is incorporated              two receptors. Pz28 retained the ability to deliver a TCR-like
herein by reference).                                           20 signal upon PSMA binding, as evidenced by cytolytic activity
   FIG. 2 shows a series of chimeric TCR's specific for PSMA       and B7.1-dependent proliferation and IL-2 production. How-
that were prepared in order to evaluate the efficacy of the        ever the co-stimulatory potency of Pz28, as evaluated in the
invention. TCR PZ1, a control species, contains a PSMA-            absence of B7.1. was no better than that of Pzl .
specific scFV, the a hinge and transmembrane portions from            One potential explanation for this finding is that the con-
CD8, and the intracellular domain of CD3 zeta. P28, the other 25 formational integrity of the fusion receptor is disrupted when
control species contains a P3MA-specific scFV and the intra-       the CD28 signaling domain is placed downstream of TCRt. It
cellular, transmembrane and much of the extracellular por-         is noteworthy in this regard that western blotting analysis
tions of CD28. P28Z and PZ28 represent TCR's in accor-             indicated that the Pz28 receptor exhibited less homodimer-
dance with the invention. In P28Z, the intracellular zeta chain    ization in human T cells than either P28z or Pzl . An alterna-
portion is joined to the C-terminus of P28. In PZ28, the 30 rive explanation is that membrane proximity is more critical
intracellular 41 amino acids (SEQ ID NO: 9) of CD28 are            for CD28 than for TCRt. Thus, placement of the CD28 moi-
joined to the C-terminus of the PZ1 receptor.                      ety distal to TCR might impair its ability to associate with
   The expansion of functional tumor-specific T lymphocytes        downstream signaling molecules, such as p56-lck (ref. 32),
is of central importance in tumor immunity. Whether in the         which reside in very close proximity to the cell membrane. A
context of in vivo immunization or ex vivo T-cell expansion, 35 third possibility is that these fusion receptors differ in their
the biological requirements for T-cell priming and amplifica-      ability to interact with negative regulators, for example, MAP
tion have to be met to attain meaningful immune responses.         kinase phosphatase-6 (MKP-6) 33. It is plausible that the
Co-stimulation is crucial in this process 19-22 and is thus        ability of P28z to bind MKP-6 might be impaired as a result
central to the development of effective adoptive immuno-           of steric hindrance thereby enhancing co-stimulatory activ-
therapy of cancer 19,29.                                        40 ity. Conversely, in the case of Pz28, the binding of this phos-
   The present invention describes chimeric TCRs and in            phatase at the C terminus may adversely affect the signaling
particular scFv-based chimeric receptors designed to provide       potency of this receptor. This hypothesis is supported by
both TCR-like and co-stimulatory signals upon binding of the       findings indicating that Pz28 was not only less active in elic-
tumor antigen PSMA. To achieve this, the intracellular             iting IL-2 secretion than P28z, but also less active than Pz1. A
domains of human TCRt and CD28 have been fused in series as final possible explanation for the superior function of P28z is
within a single molecule, thereby recruiting these signaling       that it contains the CD28 transmembrane domain, unlike
motifs to the site of antigen engagement at a fixed stoichiom-     Pz28 and Pzl . However, this is unlikely because the cytoplas-
etry of 1:1. Most important, our study was performed in            mic portion of CD28 is sufficient for co-stimulatory activity
human primary T lymphocytes—that is, in biologically and           34.
therapeutically relevant cells. The ability to sustain T-cell so      How might adoptive transfer of cells expressing P28z be
expansion and tumoricidal functions could therefore be             developed for therapy directed against PSMA-expressing
evaluated, which is not possible in leukemic cells 30,31. We       tumors or tumor-associated vasculature? As this fusion recep-
show here that, following contact with cell-bound PSMA,            tor enables transduced T cells to proliferate in an antigen-
activated human PBLs engineered to express the P28z recep-         dependent manner, this raises the prospect that these cells
for produce IL-2, undergo sequential rounds of expansion, ss could be expanded both in vitro, before infusion, and, most
and maintain thereafter their ability to execute specific lysis    importantly, in vivo in the tumor-bearing host. There is sub-
of PSMA-expressing target cells.                                   stantial preclinical evidence indicating that success of adop-
   The most important finding in this study is the demonstra-      five T-cell therapy depends largely on the relative numbers
tion that expression of P28z enables T cells to undergo            and growth kinetics of tumor cells and therapeutically admin-
repeated rounds of antigen-dependent stimulation and expan- 60 istered T cells 35,36. Consequently, treatment with T cells
sion. This process was accompanied by a progressive increase       expressing a receptor like P28z may require smaller T-cell
in the proportion of transduced T cells within bulk cultures,      doses (and thus shorter in vitro culture periods) and allow for
consistent with the expected selective advantage conferred by      T-cell expansion following infusion. As P28z-transduced T
the receptor. The capacity of P28z to deliver signal 1 is dem-     cells expanded on PSMA-positive cells retained their specific
onstrated by production of IL-2 and induction of cell prolif- 65 cytolytic activity, such a cell culture procedure could provide
eration upon stimulation with PSMA+B7.1, which are com-            a useful means to selectively expand transduced T cells.
parable to those obtained in T cells expressing Pzl (which         Importantly, P28z provides a means to activate and expand T

                                                          PX0001.13
                                                          PX0OO1.13

                                                        Appx272
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cells upon engaging cells that lack MHC and/or co-stimula-         (two silent mutations introduced to interrupt cytosine repeats
tory molecules, and may thus target the transduced lympho-         are underlined). The resultant PCR product represents a
cytes to cells that escape immune recognition.                     fusion of the distal nine codons of TCR (minus stop codon)
    In summary, we have shown that artificial receptors based      to the intracellular domain of CD28 and contains a convenient
upon fusion of the signaling domains of TC12t and CD28 can 5 5' NspI site. This fragment was subcloned, digested with
be used to redirect the specificity of primary human T cells to    Nspl/Xhol, and ligated into SFG-Pz1. SFG-c-fms encodes
a tumor antigen. The transduced T cells undergo selective          the human macrophage colony-stimulating factor receptor.
expansion following contact with cell-bound PSMA while             This resulted in a series of receptors that comprise a PSMA-
maintaining the ability to mediate specific lysis of tumor         specific scFv fragment coupled to signaling elements derived
cells. The availability of a single chimeric receptor providing to from TCR and/or CD28 (FIG. 2). Pz118 and P28 are
both activation and co-stimulatory functions facilitates lym-      designed to respectively deliver signals 1 and 2 in a PSMA-
phocyte transduction and hence clinical applicability.             dependent manner. In P28z, the intracellular portion of TCRt
   Thus, the present invention also provides a method for          has been joined to the C terminus of P2823, while in Pz28, the
stimulating a T cell mediated immune response to a target cell     CD28 signaling domain was added at the C terminus of Pz1.
population in a subject individual comprising the step of Is All chimeric complementary DNAs (cDNAs) were cloned in
administering to the subject individual a chimeric T cell          bicistronic onco-retroviral vectors upstream of enhanced
receptor comprising a zeta chain portion comprising the intra-     green fluorescent protein (eGFP; FIG. 1).
cellular domain of human CD3 t chain, a CD28 signaling                Example 2 Culture and retroviral transduction of primary
region and a binding element that specifically interacts with a    human T cells. Peripheral blood mononuclear cells from
selected target such that the chimeric T cell receptor is 20 healthy donors were established in RPMI+10% (vol/vol)
expressed in T lymphocytes of the subject individual, wherein      human serum, activated with phytohemagglutinin (2 µg/ml)
the binding element is selected to specifically recognize the      for two days, and transferred to non-tissue culture-treated
target cell population.                                            plates (FALCON, Becton Dickinson, Franklin Lakes, N.J.)
   As used in the specification and claims of this application,    precoated with retronectin (15 µg/ml; Takara Biomedicals,
the term "administering" includes any method which is effec- 25 Shiga, Japan). Gibbon ape leukemia virus envelope-pseudot-
tive to result in expression of a chimeric TCR of the invention    yped retroviral particles were generated as described2''40
in T lymphocytes of the subject individual. One method for         Transduced cells were co-cultivated with NIH3T3 fibroblasts
administering the chimeric TCR is therefore by ex vivo trans-      expressing PSMA and/or B7.1 as described's•'3. For experi-
duction of peripheral blood T cells or hematopoietic progen-       ments with LNCaP cells, cells were admixed weekly at a
tior cells (which would eventually be allogeneic) with a 30 T-cell: tumor cell ration of 5:1.
nucleic acid construct in accordance with the invention and           For protein analyses, flow cytometry was carried out using
returning the transduced cells, preferably after expansion to      a FACScan cytometer with Cellquest software. Expression of
the subject individual.                                            PSMA-specific fusion receptors was directly demonstrated
   As used in the specification and claims of this application,    using phycoerythrin (PE)-conjugated goat anti-mouse antise-
the term "subject individual" refers to a living organism in 35 rum 18. CD4-PE and CD8-PerCP antibodies (Becton Dick-
which the immune response to the target cell population is to      inson) were used for T-cell subset identification. For western
be induced. The subject individual is preferably mammalian,        blot analysis, transduced T-cell samples were prepared as
including humans, companion animals such as dogs and cats,         described 41. Briefly, cells were suspended in radioimmuno-
horses, agricultural mammals such as cattle, pigs and sheep,       precipitation buffer at a concentration of 1 x10-7 cells/ml.
and laboratory animals including mice and rats.                 40 After 1 hour incubation on ice, cells were boiled in 2x loading
   The invention will now be further described with reference      buffer under nonreducing or reducing conditions with 0.1 M
to the following non-limiting examples.                            dithiothreitol. Samples were run on 10-20% acrylamide gra-
    Example 1 Recombinant receptors and retroviral vectors.        dient gland
                                                                           es      transferred to polyvinylidene fluoride transfer
All fusion receptors contain a scFv derived from the J591          membrane (NEN Life Science Products, Boston, Mass.).
hybridoma 25 as described". To facilitate detection of trans- 45 Fusion proteins were detected using the anti-human c-chain
duced cells, all constructs contained the encephalomyocardi-       monoclonal antibody 8D3 (PharMingen, San Diego, Calif.)
tis Virus internal ribosome entry site (EMCV-IRES)37 and the       as described 41. Immunodetection was performed using the
eGFP gene inserted in the SFG vector". In Pzl , the J591 scFv      ECL Plus western blotting detection system (Amersham,
is coupled through human CD8a hinge and transmembrane              Buckinghamshire, UK).
sequences to the intracellular domain of human TRCt (ref. 50          Three days after transduction of mitogen-activated PBLs,
18). P28 comprises a fusion of the J591 scFv to human CD28         gene transfer efficiency, as assessed by flow cytometry,
as described23'39. To construct P28z, nucleotides 336-660 of       ranged from 20% to 70%. CD4+ and CD8+ T-cells subsets
CD28 were amplified using primers 5'-GGCGGCCG CAAT-                were transduced at similar efficiencies, as reported elsewhere
TGAAGTTATGTATC-3' (SEQ. ID NO: 4) and                              18,19,27. Expression of 1-chain containing fusion receptors
5'-TGCGCTCCTGCTGAACTTCACTCTG-                                   55 was also analyzed by western blotting, confirming
GAGCGATAGGCTGCTAAGTCGCG-3 SEQ ID NO: 5).                           homodimer formation and little. if any. heterodimerization
The intracellular domain of TCR was amplified using prim-          with endogenous CD8 or CD28.
ers 5'-AGAGTGAAGTTCAGCAGGAGCGCA-3' (SEQ. ID                           To determine the percentage transduction of T-cell subsets.
NO: 1) and 5'-CTCGAGTGGCTG1TAGCCAGA-3' (SEQ                        samples were also stained with CD4 PE and CD8 PerCP
ID NO: 2). The products were fused in a separate PCR reac- 60 antibodies and analyzed by three-color flow cytometry, using
tion driven by primers of SEQ ID Nos. 4 and 2, A-tailed with       GFP emission to identify transduced cells. Quadrants were
Taq polymerase, and subcloned as a NotI/XhoI ligament into         set using control samples so that 99% of events were negative
SFG-Pz1. To generate Pz28, the intracellular domain of             for the marker of interest. Surface expressions of Pzl was
CD28 was amplified using 5'-GCACTTCACATGCAGGC                      typically greater than that of P28 or either of the TCR t-CD28
TCTGCCACCTCGCAGGAGTAAGAGGAGCAGG CTC- 65 fusion receptors. Mean fluorescence intensity when Pzl
CTGCAC-3' (SEQ ID NO: 7)and 5'-CGCTCGAGTCAG-                       expression was normalized to 100 was as follows:
GAGCGATAGGCTGCGAAGTCGCGT-3' (SFQ ID NO: 8)                         P28=35.1 V17.8 (P<0.05); P28z=29.6V12.2 (P<0.01);

                                                         PX0001.14
                                                         PX0001.14


                                                        Appx273
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Pz28=25.9V6.9 (P<0.01) (n=3-4 experiments). There was no        PSMA+B7.1 (FIG. 4D), Pzl-transduced PBLs underwent
significant difference in expression intensity between P28,     expansion, as did PBLs transduced with P28z or Pz28, further
P28z, Pz28.                                                     establishing that both TCRt CD28 fusion receptors deliver a
   Lysates were prepared under reducing and nonreducing         TCR-like signal. Control P28-transduced T cells did not
conditions from PDLs following transduction with Pzl (54% 5 expand under these conditions, indicating that neither co-
GFP-expressing), P282 (21% GFP-expressing), and Pz28            stimulation alone nor adherence to the monolayer enhanced
(20% GFP-expressing). Untransduced PBLs were used as            proliferation. When stimulation was provided by NIH3T3
controls. Immunoreactive receptor hands were detected by        cells expressing PSMA alone (FIG. 4C), T-cells expressing
western blotting using an anti-TCRt monoclonal antibody.        Pzl underwent limited expansion. Pz28-transduced cells also
Filled arrows indicate the monomeric and dimeric forms of to (grew poorly, further indicating that this fusion receptor does
the endogenous TCRt. Pzl and Pz28 are predominantly             not deliver a meaningful co-stimulatory signal. By contrast,
expressed as homedimers, as would be expected from the          P28z-transduced T-cells consistently proliferated, corrobo-
design of the hinge regions of these molecules. However,        rating observation by Eshhar et al. showing that immobilized
Pz28 was found to dimeric less effectively in T-cells and in    hapten can induce proliferation in T-cells that express a trini-
PG13 cells (data not shown). No hands indicating productive ts tophenol-specific CD28-Fcy fusion receptor 28. P28z-trans-
heterodimerization with CD8a, CD8(3 or CD28 were                duced T-cells markedly expanded, showing absolute
detected. The additional hand seen under that corresponding     increases in cell numbers 8.6±5.2-fold over a seven-day
to dimerized t is likely to be a degradation product of this    period, n=8 experiments). Taken together, these data
dimer. Empty arrows show the positions of the monomeric         strengthen the argument that P28z can provide both signals 1
and dimeric PSMA-specific fusion receptors. Molecular 20 and 2. Importantly, after seven days of co-culture onto a
mass markers are indicated on the left on the panel.            PSMA+ fibroblast monolayer, T-cells expressing the P28z
   Example 3 Cytotoxicity assays. Cytotoxic T-lymphocyte        fusion receptor retained the ability to specifically lyse
assays were performed using a nonradioactive cytotoxicity       PSMA+ targets (FIG. 3B).
detection kit (lactate dehydrogenase (LDH); Roche Diagnos-         Example 5 The P28z fusion receptor permits sequential
tics, Indianapolis, Ind.) as described 18.                      re-stimulation of transduced human PBLs in response to
   To confirm that the TCR1-CD28 fusion receptors specifi-      PSMA. If P28z can provide co-stimulation in addition to a
cally engaged PSMA, cytotoxicity assays were performed          TCR like signal, it would be expected that cells expressing the
three days after the transduction. T-cells were transduced with receptor should undergo further expansion upon secondary
 l9z1GFP (control), Pz1 GFP, or Pz28 GFP. Three days after      encounter with PSMA. However, if the co-stimulatory
completion of gene transfer 4 h CTL assays were established 30 potency of this molecule is inadequate, sequential exposure to

ing PSMA. No specific lysis was observed using untrans-           from induction of energy and/or apoptosis          fo test this,
duced NIH3T3 as control targets. The greater lytic activity of    transduced PBLs stimulated on the different NIH3T3
Pzl-transduced cells may reflect the higher cell-surface          manslayers were subjected to secondary re-stimulation after a
expression of this receptor, or, more likely, the greater pro- 35 seven-day interval. Pzl transduced T-cells expanded in
portion of transduced T-cells (46% of T-cells, of which 21%       response to primary encounter with PSMA. However, re-
are CD8+, compared with 25% P28z-transduced cells,                stimulation with PSMA resulted in a dramatic decline in the
including 12% CD8, and 20% Pz28-transduced cells, includ-         number of transduced cells (FIG. 5A, B). Importantly, the
ing 10% CD8+ cells). The control 19z1 receptor (specific for      same T-cells underwent brisk expansion after both primary
CD19) did not effect lysis of PSMA expressing targets, 40 and secondary stimulation if the fibroblast manslayer co-
despite the presence of the same TCRtchain in this molecule.      expressed PUMA and B7.1 (FIGS. 5C and D, respectively).
   Both P28z and Pz28 receptors, but not P28, mediated spe-       In contrast, the absolute number of P28z-transduced CD8+
cific lysis of fibroblasts expressing human PSMA (FIG. 3A.   )    and CD4+ T cells increased after primary stimulation and
   Example 4 P28z-transduced T-cells were stimulated on           underwent further increase after re-stimulation on day 7, irre-
NIH3T3 cells expressing PSMA and, after one week, were as spective of the presence of B7.1. Expansion was indeed simi-
established in 4 h CTL assays with NIH3T3 cells expressing        lar in response to PSMA alone or PSMA+B7.1, underscoring
PSMA or untransduced cells as controls. At this time, the         the relative potency of the co-stimulatory signal provided by
T-cells were 62% GFP+ (of which 17% were CD8+). (FIG.             P28z. Re-stimulation of P28z cultures with PSMA yielded a
3B) The fusion receptor P28z elicits IL-2 production upon         4.0±2.4-fold expansion in total cell number over a seven-day
engagement with PSMA. To assay the ability of the different so period (n=4 experiments). Following another re-stimulation
receptors to signal for IL-2 production, transduced PBLs          under the same conditions, the total cell number increased by
were co-cultivated with NIH3T3 cells expression PSMA and/         more than 2 logs over a three-week interval (FIG. 5E). In this
or B7.1 (refs 18,19) in medium lacking IL-2 (Table 1). Three      period, a progressive enrichment of transduced over non-
receptors (Pz1, P28z, and Pz28) elicited IL-2 secretion in the    transduced cells was observed, in keeping with the selective
presence of the PSMA and B7.1. In the absence of the co- 55 advantage conferred to cells expressing p28z. (FIG. 5F).
stimulatory ligand, IL-2 production was only observed in          Together, these data provide conclusive evidence that P28z
cultures of P28z-transduced T-cells. IL-2 levels were elated,     delivers a functional signal 1 and 2 upon interaction with
ranging within 40-55% of those obtained by co-culturing the       PSMA. Importantly, the same result was obtained with
same transduced T-cells with the monolayer co-expressing          another receptor, 19-28z, which was modeled on P28z,
PSMA and B7.1.                                                 60 19-28z-transduced PBLs showed the same ability to be re-
   The P28z fusion receptor promotes proliferation of geneti-     stimulated by CD19+ cells and to proliferate, indicating that
cally modified T-cells in response to PSMA. To test if P28z       proliferative responses were achieved with receptors recog-
could deliver combincd and functional signals 1 and 2, trans-     sizing unrelated antigens.
duced PBLs were plated on NIH3T3 cells expressing B7.1               Example 6 P28z-transduced PBLs lyse PSMA+ tumor
PSMA, PSMA+B7.1, or on unmodified NIH3T3 cells. All 65 cells and proliferate in response to LNCaP cells. We had
cultures declined over one week in the absence of PSMA            previously shown that Pzl-transduced T cells specifically
(FIG. 4A, B). When stimulated by a monolayer co-expressing        lyse LNCaP cells, a PSMA+ human prostate cancer cell line,

                                                         PX0001.15
                                                         PX0001.15


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as well as PSMA-transduced PC3 and EL4 cells, which are             10 amplicon with CD19 scFv and zeta tails with restriction
respectively a human prostate cancer cell line and a murine         cleavage sites to facilitate ligation to the CD19 scFv and zeta
thymoma 19. Pz1, P28; and Pz28 directed comparable and              chain portions. The hyphen in the sequence indicates the
elevated cytolytic activity against LNCaP cells (FIG. 6A).          transition from the DAP-10 sequence to the tail. The same
Proliferative responses elicited by LNCaP cells expressing s primer can be used for other binding elements such as PSMA
B7.1 were also comparable for these receptors (data not             which end in the same sequence.
shown). Of the three receptors, however, only P28z could               The following references are cited herein and are incorpo-
induce sustained proliferation during co-cultivation with           rated herein by reference.
LNCaP cells (FIG. 6B). The re-stimulated T cells preserved          1. Gilboa, E. How tumors escape immune destruction and
their tumoricidal activity (data not shown), corroborating to          what we can do about it. Cancer Immunol. Immunother.
findings obtained with PSMA+ fibroblasts (FIG. 3B).                    48, 382-385 (1999).
   Example 7 To construct a CD19-specific scFv, we cloned           2. Melief, C. J. et al. Strategies for immunotherapy of cancer.
the heavy (VH) and light (VL) chain variable regions from              Adv. Immunol. 75, 235-282 (2000).
hybridoma cell line SJ25C1 derived cDNA by the polymerase           3. Ferrone, S., Finerty, J. F., Jaffee, E. M. & Nabel, G. J. How
chain reaction (PCR) using degenerate primers described by ts          much longer will tumor cells fool the immune system.
Orlandi et. al." and fused these coding regions with a DNA             Immunol. Today 21, 70-72 (2000).
fragment encoding for a (Gly3Ser)4 spacer region. We ligated        4. Houghton, A. N. Cancer antigens: immune recognition of
a costimulatory signaling element from human CD28, includ-             self and altered self. J. Exp. Med. 180, 1-4 (1994).
ing transmembrane and extracellular portions SEQ ID NO: 6)          5. Boon, T., Coulie, P. D. & Van den Eynde, B. Tumor anti-
to the 3' end of the resulting scFv and the cytoplasmic domain 20      gem recognized by T cells. Immunol. Today 18, 267-268
of the human-t SEQ ID NO: 3) to the 3' end of the CD28                 (1997).
portion to form fusion gene 19-28:                                  6. Nanda, N. K. & Sercarz, E. E. Induction of anti-self-
   The 19-28z fusion was tested for its ability to reduce tumor        immunity to cure cancer. Cell 82, 13-17 (1995).
growth and enhance survival in mice injected with NALM6T            7. Sotomayor, E. M., Borrello, I. & Levitsky, H. I. Tolerance
cells. NALM6 cells express CD19, MHC I, and MHC II but                 and cancer: a critical issue in tumor immunology. Crit. Rev.
not B7.1 or B7.2. Most (-80%) untreated SCID-Beige mice                Oncog. 7, 433-456 (1996).
develop hind-limb paralysis 4-5 weeks after tumor cell injec-       8. Kiertscher, S. M., Luo, J., Dubinett, S. M. & Roth, M. D.
tion, remaining mice develop weight loss and/or other CNS              Tumors promote altered maturation and early apoptosis of
symptoms (i.e. vestibular symptoms). When the 18-28z                   monocyte-derived dendritic cells. J. Immunol. 164, 1269-
fusion was present, T cell stimulation was enhanced nearly 30          1276 (2000).
ten-fold, and survival of some of the mice was greatly              9. Almand, B. et al. Increased production of immature
extended as compared to mice treated with Pzl (a PSMA                  myeloid cells in cancer patients: a mechanism of immuno-
specific construct) or 19z1, a CD19-specific construct lacking         suppression in cancer. J. Immunol. 166, 678-689 (2001).
the costimulatory signaling element.                                10. Lee, P. P. et al. Characterization of circulating T cells
   Example 8 A chimeric TCR containing a CD19 binding 35               specific for tumor-associated antigens in melanoma
element, 4-1BB as the costimulatory region and the intracel-           patients. Nat. Med. 5, 677-685 (1999).
briar domain of the CD3t chain in that order is prepared using      11. Marincola, F. M., Jaffee, E. M., Hicklin, D. J. & Ferrone,
the methodology of Example 1. The 4-1BB is amplified using             S. Escape of human solid tumors from T cell recognition:
the following primers GCGGCCGCA-CCATCTCCAGC-                           molecular mechanisms and functional significance. Adv.
CGAC SEQ ID NO: 18) and CTTCACTCT-CAGTTCA- 40                          Immunol. 74, 181-273 (2000).
CATCCTTC SEQ ID NO: 19) to generate a 4-1BB amplicon                12. Eshhar, Z., Waks, T., Gross, G. & Schindler, D. G. Specific
with CD19 scFv and zeta tails with restriction cleavage sites          activation and targeting of cytotoxic lymphocytes through
to facilitate ligation to the CD19 scFv and zeta chain portions.       chimeric single chains consisting of antibody-binding
The hyphen in the sequence indicates the transition from the           domains and the gamma or zeta subunits of the immuno-
4-1BB sequence to the tail. The same primer can be used for 45         globulin and T-cell receptors. Proc. Natl. Mad. Sci. USA
other binding elements such as PSMA which end in the same              90, 720-724 (1993).
sequence.                                                           13. Altenschmidt, U., Moritz, D. & Groner, B. Specific cyto-
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element, ICOS as the costimulatory region and the intracel-            259-266 (1997).
lular domain of the CD3 t chain in that order is prepared using so 14. Paillard, F. Immunotherapy with T cells bearing chimeric
the methodology of Example 1. The ICOS is amplified using              antitumor receptors. Hum. Gene Ther. 10, 151-153 (1999).
the        following        primers       GCGGCCGCA-CTAT-           15. Geiger, T. L., Leitenberg, D. & Flavell, R. A. The Tatt-
CAATTMGATCCT SEQ ID NO: 20) and CTTCACTCT-                             chain immunoreceptor tyrosine-based activation motifs
TAGGGTCACATCTGTGAG SEQ ID NO: 21) to generate a                        are sufficient for the activation and differentiation of pri-
ICOS amplicon with CD19 scFv and zeta tails with restriction 55        mary T lymphocytes. J. Immunol. 162, 5931-5939 (1999).
cleavage sites to facilitate ligation to the CD19 scFv and zeta     16. Haynes, N. M. et al. Redirecting mouse CTL against
chain portions. The hyphen in the sequence indicates the               colon carcinoma: superior signaling efficacy of single-
transition from the ICOS sequence to the tail. The same                chain variable domain chimeras containing TCR-1; vs
primer can be used for other binding elements such as PSMA             FcRI-y. J. Immunol. 166, 182-187 (2001).
which end in the same sequence.                                  60 17. Whiteside, T. L. Signaling defects in T lymphocytes of
    Example 10 A chimeric TCR containing CD19 binding                  patients with malignancy. Cancer Immunol. Immunother.
element, DAP-10 as the costimulatory region and the intrac-            48, 346-352 (1999).
cllular domain of the CD3 t chain in that order is prepared         18. Gong, M. C. et al. Canccr patient T cells genetically
using the methodology of Example 1. The DAP-10 is ampli-               targeted to prostate-specific membrane antigen specifically
fled using the following primers GCGGCCGCA-CAGAC- 65                   lyse prostate cancer cells and release cytokines in response
GACCCCAGGA (SEQ ID NO: 22) and CTTCACTCT-GC-                           to prostate-specific membrane antigen. Neoplasia 1, 123-
CCCTGCCTGGCATG (SEQ ID NO: 23) to generate a DAP-                      127 (1999).

                                                          PX0001.16
                                                          PXOOO1.16


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  B7 co-stimulation: a review. Crit. Rev. Immunol. 18, 389-        phosphatidylinositol 3'-kinase. Mol. Cell. Biol. 14, 3392-
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  selectively enhances survival and proliferation in geneti-
                                                                   CD8+ T cell adoptive immunotherapy. Immunity 13, 265-
  cally modified activated human primary T lymphocytes. J. 15
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  domain of prostate-specific membrane antigen also react          ribosome entry site of the encephalomyocarditis virus
  with tumor vascular endothelium. Cancer Res. 57. 3629-           enables reliable co-expression of two transgenes in pri-
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  (PSMA)-specific monoclonal antibodies in the treatment           viral vector design on expression of human adenosine
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  titis virus G glycoprotein mediate both stable gene transfer     approaches to sustain the function of tumor-speci fic T-lym-
  and pseudotransduction in human peripheral blood lym-            phocytes. Mol. Ther. 1, S260, 713 (2000).
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  and co-stimulatory signaling in T cells from a single gene       polymerase chain reaction. Proc Natl Acad Sci USA. 1989;
  product. J. Immunol. 16, 2791-2797 (1998).                       86:3833-3837.



                                       SEQUENCE LISTING


  <160> NUMBER OF SEQ ID NOS: 23
  <210> SEQ ID NO 1
  <211> LENGTH: 24
  <212> TYPE: DNA
  <213> ORGANISM: human

  <400> SEQUENCE: 1

  agagtgaagt tcagcaggag cgca                                                         24



  <210> SEQ ID NO 2
  <211> LENGTH: 21
  <212> TYPE: DNA
  <213> ORGANISM: human




                                                        PX0001.17

                                                      Appx276
                                                      Appx276
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                         Appx277
                      LLgxddli                           Filed: 08/31/2020

                          PX0001.18
                          8 V 4000Xd

                                                                      uewny   1,1SINVD210 <£TZ>
                                                                             %MG .adAl <M>
                                                                            9E :6106139 <FEZ>
                                                                           8 ON aI 03S <OTZ>


                 LS       ovo63oo lo66po6v66 e6ee36e66e o6olooepo6 2o3o66eo61 voeol2owo6

                                                                           L :3DNEnO3S <006>

                                                                      o.woq 14SINVDHO <ETZ>
                                                                            YNa SdA,L <M>
                                                                           LS 1.110Naa <TTZ>
                                                                          L ON aI 03S <OTZ>


                 8ZE                                        e6loo3o6 ourloo6yo6 ol2op6o6oe

                 0o£   pow00006qv z000Emoov.3 qeo6evo600 ov00066600 0060060000 qos63yore6

                 06Z   1.oeqoe616 eovo6loolo 66vo6e66e6 ev16v66v61 6661.3131v 33.133oo66

                 08T   a6vovel6v3 o62106elel o613366loo 26v6616622 663663663o 6266631133

                 OZT   0O6eP2022o ov66000122 eap000l6ve oo1611aooe oet,666vev 6262e302v1

                 09    3e0oet.663e eo6e6ev6v6 lgeoe6v3oo vllooloolo o3,2363v136 ve633veevo

                                                                           9 '30c0003s <006,

                                                                      oewnq :WSINYDHO <ETZ>
                                                                            taqa 'UAL <ill>
                                                                          8ZE :HION39 <VIZ>
                                                                          9 ON aI 03S <OTZ>


                 86                  636.36E%. 6361366ple 636266.3oqo vozqovv6lo 6.3oo3o6o61

                                                                           S :33NanO3S <006>

                                                                      uewny 'WSINYOHO <Eli>
                                                                            VW! :EdAI <ZTZ>
                                                                           86 :HIDN31 <TTZ>
                                                                          S ON aI 03S <Oil>


                 SZ                                            .1E16 12116ee63e voboo66366

                                                                           4 ;23N3n035 <006>

                                                                      oewoq :WSINVO610 <ETZ>
                                                                            WW1 :3,3A1 <ill>
                                                                           Si :HIDN3,1 <LIZ>
                                                                          6 ON aI 03S <OTZ>


                 9EE                              p6oloo poo6lopo66 e.61vovoll poo6peEoe2

                 00E   ooeoe6ftea aeoo6eov36 eolo3666eo oellloo661 e6ovo6666e vo6666e66o

                 ovz   o6o6e6o66e ee63e66631 e6e626voel oo66866366 2e6eelv6ee 1364236apee6

                 081   3E.wov16.3ao 66vv66volo ooer6ev66v e6v6006vve 6666661e6e 6.3000v666o

                 OZT   o6616.6e5 ...v651q11 61e6oeq5v6 626p6ve6oe 55ploqevol o6e6oyeav2

                 09    paoftpoee6 epo666yoft, opea6o6pop oo6ovemp6o 6e66e36yoa z6vE,6.26e6E,

                                                                           E :30613063S <006>

                                                                      0.w0,4 :WSINIMHO <ETZ>
                                                                             FINa :3dAI <ZTZ>
                                                                           9££ 1.1101,13.1 <TTZ>
                                                                           E ON aI 03S <Oil>


                 TZ                                                 6 6'6.636'6.3363 o6636e6oao

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                        ZEI 061'9191/L Sf]
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                        17                                               18
                                              -continued

<400> SEQUENCE: 8

cgctcgagtc aggagcgata ggctgcgaag tcgcgt                           36


<210> SEQ ID NO 9
<211> LENGTH: 41
<212> TYPE: PRT
<213> ORGANISM: human

<400> SEQUENCE: 9

Arg Ser Lys Arg Ser Arg Leu Leu His Ser Asp Tyr Met An
                                                     s Met Thr
1               5                   10                 15

Pro Arg Arg Pro Gly Pro Thr Arg Lys His Tyr Gln Pro Tyr Ala Pro
            20                  25                  30

Pro Arg Asp Phe Ala Ala Tyr Arg Ser
        35                  40


<210> SEQ ID NO 10
<211> LENGTH: 220
<212> TYPE: PRT
<213> ORGANISM: human

<400> SEQUENCE: 10

Met Leu Arg Leu Leu Leu Ala Leu Asn Leu Phe Pro Ser Ile Gln Val
1               5                   10                  15

Thr Gly Asn Lys Ile Leu Val Lys Gln Ser Pro Met Leu Val Ala Tyr
            20                  25                  30

Asp Asn Ala Val Asn Leu Ser Cys Lys Tyr Ser Tyr Asn Leu Phe Ser
        35                  40                  45

Arg Glu Phe Arg Ala Ser Leu His Lys Gly Leu Asp Ser Ala Val Glu
    50                  55                  60

Val Cys Val Val Tyr Gly Asn Tyr Ser Gln Gln Leu Gln Val Tyr Ser
65                  70                  75                  80

Lys Thr Gly Phe Asn Cys Asp Gly Lys Leu Gly Asn Glu Ser Val Thr
                BS                  90                  95

Phe Tyr Leu Gln An
                 s Leu Tyr Val Asn Gln Thr Asp Ile Tyr Phe Cys
            100                105                 110

Lys Ile Glu Val Met Tyr Pro Pro Pro Tyr Leu Asp Asn Glu Lys Ser
        115                 120                 125

Asn Gly Thr Ile Ile His Val Lys Gly Lys His Leu Cys Pro Ser Pro
    130                 135                 140

Leu Phe Pro Gly Pro Ser Lys Pro Phe Trp Val Leu Val Val Val Gly
145                 150                 155                 160

Gly Val Leu Ala Cys Tyr Ser Leu Leu Val Thr Val Ala Phe Ile Ile
                165                 170                 175

Phe Trp Val Arg Ser Lys Arg Ser Arg Leu Leu His Ser Asp Tyr Met
            180                 185                 190

Asn Met Thr Pro Arg Arg Pro Gly Pro Thr Arg Lys His Tyr Gln Pro
        195                 200                 205

Tyr Ala Pro Pro Arg Asp Phe Ala Ala Tyr Arg Ser
    210                 215                 220


<210> SEQ ID NO 11
e211, LENGTH• lOR
<212> TYPE: PRT
<213> ORGANISM: human

<400> SEQUENCE: 11




                                                  PX0001.19

                                              Appx278
                                              Appx278
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                        19                                                  20
                                              -continued

Lys Ile Glu Val Met Tyr Pro Pro Pro Tyr Leu Asp Asn Glu Lys Ser
1               5                   10                  15

 s Gly Thr Ile Ile His Val Lys Gly Lys His Leu Cys Pro Ser Pro
An
           20                  25                  30

Leu Phe Pro Gly Pro Ser Lys Pro Phe Trp Val Leu Val Val Val Gly
        35                  40                  45

Gly Val Leu Ala Cys Tyr Ser Leu Leu Val Thr Val Ala Phe Ile Ile
    50                  55                  60

Phe Trp Val Arg Ser Lys Arg Ser Arg Leu Leu His Ser Asp Tyr Met
65                  70                  75                  80

Asn Met Thr Pro Arg Arg Pro Gly Pro Thr Arg Lys His Tyr Gln Pro
                85                  90                  95

Tyr Ala Pro Pro Arg Asp Phe Ala Ala Tyr Arg Ser
            100                 105


<210> SEQ ID NO 12
<211> LENGTH: 163
<212> TYPE: PRT
<213> ORGANISM: human

<400> SEQUENCE: 12

Met Lys Trp Lys Ala Leu Phe Thr Ala Ala Ile Leu Gln Ala Gln Leu
1               5                   10                  15

Pro Ile Thr Glu Ala Gln Ser Phe Gly Leu Leu Asp Pro Lys Leu Cys
            20                  25                  30

Tyr Leu Leu Asp Gly Ile Leu Phe Ile Tyr Gly Val Ile Leu Thr Ala
        35                  40                  45

Leu Phe Leu Arg Val Lys Phe Ser Arg Ser Ala Asp Ala Pro Ala Tyr
    50                  55                  60

Gln Gln Gly Gln Asn Gln Leu Tyr Asn Glu Leu Asn Leu Gly Arg Arg
65                  70                  75                  80

Glu Glu Tyr Asp Val Leu Asp Lys Arg Arg Gly Arg Asp Pro Glu Met
                85                  90                  95

Gly Gly Lys Pro Arg Arg Lys Asn Pro Gln Glu Gly Leu Tyr Asn Glu
            100                 105                 110

Leu Gln Lys Asp Lys Met Ala Glu Ala Tyr Ser Glu Ile Gly Met Lys
        115                 120                 125

Gly Glu Arg Arg Arg Gly Lys Gly His Asp Gly Leu Tyr Gln Gly Leu
    130                 135                 140

Ser Thr Ala Thr Lys Asp Thr Tyr Asp Ala Leu His Met Gln Ala Leu
145                 150                 155                 160

Pro Pro Arg



<210> SEQ ID NO 13
<211> LENGTH: 492
<212> TYPE: DNA
<213> ORGANISM: human

<400> SEQUENCE: 13

atgaagtgga aggcgctttt caccgcggcc atcctgcagg cacagttgcc gattacagag   60

gcacagagct ttggcctgct ggatcccaaa ctctgctacc tgctggatgg aatcctcttc   120

atctatggtg tcattrtrac tgcrttgttc ctgagagtga agttragrag gagrgcagac   180

gcccccgcgt accagcaggg ccagaaccag ctctataacg agctcaatct aggacgaaga   240

gaggagtacg atgttttgga caagagacgt ggccgggacc ctgagatggg gggaaagccg   300




                                                  PX0001.20

                                              Appx279
                                              Appx279
        Case: 20-1758             Document: 31           Page: 234        Filed: 08/31/2020




                                           US 7,446,190 B2
                        21                                                  22
                                              -continued

agaaggaaga accctcagga aggcctgtac aatgaactgc agaaagataa gatggcggag   360

gcctacagtg agattgggat gaaaggcgag cgccggaggg gcaaggggca cgatggcctt   420

taccagggtc tcagtacagc caccaaggac acctacgacg cccttcacat gcaggccctg   480

ccccctcgct as                                                       492


<210> SEQ ID NO 14
<211> LENGTH: 112
<212> TYPE: PRT
<213> ORGANISM: human

<400> SEQUENCE: 14

Arg Val Lys Phe Ser Arg Ser Ala Asp Ala Pro Ala Tyr Gln Gln Gly
1               5                   10                  15

Gln Asn Gln Leu Tyr Asn Glu Leu Asn Leu Gly Arg Arg Glu Glu Tyr
            20                  25                  30

Asp Val Leu Asp Lys Arg Arg Gly Arg Asp Pro Glu Met Gly Gly Lys
        35                  40                  45

Pro Arg Arg Lys Asn Pro Gln Glu Gly Leu Tyr Asn Glu Leu Gln Lye
    50                  55                  60

Asp Lys Met Ala Glu Ala Tyr Ser Glu Ile Gly Met Lys Gly Glu Arg
65                  70                  75                  80

Arg Arg Gly Lys Gly His Asp Gly Leu Tyr Gln Gly Leu Ser Thr Ala
                85                  90                  95

Thr Lys Asp Thr Tyr Asp Ala Leu His Met Gln Ala Leu Pro Pro Arg
            100                 105                 110


<210> SEQ ID NO 15
<211> LENGTH: 768
<212> TYPE: DNA
<213> ORGANISM: human

<400> SEQUENCE: 15

atgggaaaca gctgttacaa catagtagcc actctgttgc tggtcctcaa ctttgagagg   60

acaagatcat tgcaggatcc ttgtagtaac tgcccagctg gtacattctg tgataataac   120

aggaatcaga tttgcagtcc ctgtcctcca aatagtttct ccagcgcagg tggacaaagg   100

acctgtgaca tatgcaggca gtgtaaaggt gttttcagga ccaggaagga gtgttcctcc   240

accagcaatg cagagtgtga ctgcactcca gggtttcact gcctgggggc aggatgcagc   300

atgtgtgaac aggattgtaa acaaggtcaa gaactgacaa aaaaaggttg taaagactgt   360

tgctttggga catttaacga tcagaaacgt ggcatctgtc gaccctggac aaactgttct   420

ttggatggaa agtctgtgct tgtgaatggg acgaaggaga gggacgtggt ctgtggacca   480

tctccagccg acctctctcc gggagcatcc tctgtgaccc cgcctgcccc tgcgagagag   540

ccaggacact ctccgcagat catctccttc tttcttgcgc tgacgtcgac tgcgttgctc   600

ttcctgctgt tcttcctcac gctccgtttc tctgttgtta aacggggcag aaagaaactc   660

ctgtatatat tcaaacaacc atttatgaga ccagtacaaa ctactcaaga ggaagatggc   720

tgtagctgcc gatttccaga agaagaagaa ggaggatgtg aactgtga                768


<210> SEQ ID NO 16
e211, LENGTH• 600
<212> TYPE: DNA
<213> ORGANISM: human

<400> SEQUENCE: 16




                                               PX0001.21
                                               13)(0001.21


                                              Appx280
                                              Appx28O
         Case: 20-1758                  Document: 31             Page: 235   Filed: 08/31/2020




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                            23                                                 24
                                                     -continued

atgaagtcag gcctctggta tttctttctc ttctgcttgc gcattaaagt tttaacagga       60

gaaatcaatg gttctgccaa ttatgagatg tttatatttc acaacggagg tgtacaaatt      120

ttatgcaaat atcctgacat tgtccagcaa tttaaaatgc agttgctgaa aggggggcaa      180

atactctgcg atctcactaa gacaaaagga agtggaaaca cagtgtccat taagagtctg      240

aaattctgcc attctcagtt atccaacaac agtgtctctt tttttctata caacttggac      300

cattctcatg ccaactatta cttctgcaac ctatcaattt ttgatcctcc tccttttaaa      360

gtaactctta caggaggata tttgcatatt tatgaatcac aactttgttg ccagctgaag      420

ttctggttac ccataggatg tgcagccttt gttgtagtct gcattttggg atgcatactt      480

atttgttggc ttacaaaaaa gaagtattca tccagtgtgc acgaccctaa cggtgaatac      540

atgttcatga gagcagtgaa cacagccaaa aaatctagac tcacagatgt gaccctataa      600



<210> SEQ ID NO 17
<211> LENGTH: 282
<212> TYPE: DNA
<213> ORGANISM: human

<400> SEQUENCE: 17

atgatccatc tgggtcacat cctcttcctg cttttgctcc cagtggctgc agctcagacg       60

accccaggag agagatcatc actccctgcc ttttaccctg gcacttcagg ctcctgttcc      120

ggatgtgggt ccctctctct gccgctcctg gcaggcctcg tggctgctga tgcggtggca      180

tcgctgctca tcgtgggggc ggtgttcctg tgcgcacgcc cacgccgcag ccccgcccaa      240

gaagatggca aagtctacat caacatgcca ggcaggggct ga                         282


<210> SEQ ID NO 18
<211> LENGTH: 24
<212> TYPE: DNA
<213> ORGANISM: artificial
<220> FEATURE:
<223> OTHER INFORMATION: scPV 4-1BB fusion primer

<400> SEQUENCE: 18

gcggccgcac catctccagc cgac                                              24


<210> SEQ ID NO 19
<211> LENGTH: 24
<212> TYPE: DNA
<213> ORGANISM: 4-1BB zeta       fusion primer

<400> SEQUENCE: 19

cttcactctc   agttcacatc   cttc                                          24


<210> SEQ ID NO 20
<211> LENGTH: 27
<212> TYPE: DNA
<213> ORGANISM: artificial
<220> FEATURE:
<223> OTHER INFORMATION: scFv ICOS fusion        primer

<400> SEQUENCE: 20

gcggccgcac tatcaatttt     tgatcct                                       27


e210, SEQ ID NO 21
<211> LENGTH: 27
<212> TYPE: DNA
<213> ORGANISM: artificial
<220> FEATURE:




                                                          PX0001.22
                                                      13)(0001  .22

                                                     Appx281
                                                     Appx281
             Case: 20-1758              Document: 31                 Page: 236              Filed: 08/31/2020




                                                    US 7,446,190 B2
                             25                                                                 26
                                                       -continued
<223> OTHER INFORMATION: ICOS zeta        fusion primer

<400> SEQUENCE: 21

cttcactctt    agggtcacat   ctgtgag                                                  27



<210> SEQ ID NO 22
<211> LENGTH: 24
<212> TYPE: DNA
<213> ORGANISM: artificial
<220> FEATURE:
<223> OTHER INFORMATION: scFV DAP-10 fusion primer

<400> SEQUENCE: 22

gcggccgcac agacgacccc agga                                                          24



<210> SEQ ID NO 23
<211> LENGTH: 25
<212> TYPE: DNA
<213> ORGANISM: artificial
<220> FEATURE:
<223> OTHER INFORMATION: DAP-10 zeta fusion primer

<400> SEQUENCE: 23

cttcactctg cccctgcctg gcatg                                                         25




   The invention claimed is:                                         7. The nucleic acid polymer of claim 1, wherein the zeta
   1. A nucleic acid polymer encoding a chimeric T cell recep- 30 chain portion comprises the sequence obtained by amplifica-
tor, said chimeric T cell receptor comprising                     tion of human zeta chain DNA with the primers of SEQ ID
   (a) a zeta chain portion comprising the intracellular domain   Nos 1 and 2.
      of human CD3 t chain,                                          8. The nucleic acid polymer of claim 7, wherein the binding
   (b) a costimulatory signaling region, and                      element is an antibody.
   (c) a binding element that specifically interacts with a 35       9. The nucleic acid polymer of claim 8, wherein the anti-
      selected target, wherein the costimulatory signaling        body is a single chain antibody.
      region comprises the amino acid sequence encoded by            10. The nucleic acid polymer of claim 9, wherein the single
      SEQ ID NO:6.                                                chain antibody binds to prostate specific membrane antigen.
   2. The nucleic acid polymer of claim 1, wherein the binding
element is an antibody.                                              1.1. The nucleic acid polymer of claim 9, wherein the single
   3. The nucleic acid polymer of claim 2, wherein the anti-      chain   antibody binds to CD19.
body is a single chain antibody.                                     12. The nucleic acid polymer of claim 9, wherein the
   4. The nucleic acid polymer of claim 3, wherein the single     encoded T cell receptor comprises binding element-costimu-
chain antibody binds to prostate specific membrane antigen.       latory signaling region-zeta chain portion in that order.
   5. The nucleic acid polymer of claim 3, wherein the single 45     13. The nucleic acid polymer of claim 1, wherein the
chain antibody binds to CD19.                                     encoded T cell receptor comprises binding element-signaling
   6. The nucleic acid polymer of claim 3, wherein the            region-zeta chain portion in that order.
encoded T cell receptor comprises binding element-costimu-
latory signaling region-zeta chain portion in that order.                                 * * . * *




                                                          PX0001.23
                                                          PX0001.23


                                                       Appx282
                                                       Appx282
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                   7,446,190 B2                                                                                     Page 1 of 1
APPLICATION NO.              10/448256
DATED                        November 4, 2008
INVENTOR(S)                  Sadelain et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         In the Specifications:


         Column 15, Line(s) 14-19 should read
          <210> 4
          <211> 26
          <212> DNA
          <213> human

          <400> 4
          ggcggccgca attgaagtta tgtatc 26


         Column 15, Line(s) 26-36 should read
          <210> 6
          <211> 321
          <212> DNA
          <213> human

          <400> 6
          attgaagtta tgtatcctcc tccttaccta gacaatgaga agagcaatgg aaccattatc 60
          catgtgaaag ggaaacacct ttgtccaagt cccctatttc ccggaccttc taagcccttt 120
          tgggtgctgg tggtggttgg tggagtcctg gcttgctata gcttgctagt aacagtggcc 180
          tttattattt tctgggtgag gagtaagagg agcaggctcc tgcacagtga ctacatgaac 240
          atgactcccc gccgccccgg gcccacccgc aagcattacc agccctatgc cccaccacgc 300
          gacttcgcag cctatcgctc c321




                                                                                    Signed and Sealed this
                                                                                  Sixteenth Day of July, 2013



                                                                                                  Teresa Stanek Rea
                                                                           Acting Director ofthe United States Patent and Trademark Dice




                                                            PX0001.24

                                                           Appx283
                                                           Appx283
           Case: 20-1758   Document: 31   Page: 238   Filed: 08/31/2020




                       CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the

Federal Circuit by using the appellate CM/ECF system on August 31,

2020.

        I hereby certify that on August 31, 2020, by agreement of the

parties, the confidential version of the Opening Brief and Addendum for

Kite Pharma, Inc. was served by email on the following counsel of

record:

        Gregory A. Castanias
        Jones Day
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         Case: 20-1758   Document: 31   Page: 239   Filed: 08/31/2020




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       ;0<9.90.-04./03-4.10<,.4+7-.0-/,F?
    J >0<.7.<,G20-G5O,.85:5-6=.90.-04./03-4.;0<9G.17<P,9./0-859,-457:.80<.4+,.85<G4
       451,.5-.4+,.2<,/,95-6.85:5-6?
 Q+,.:51547450-G.08.>,9?.@5<?.A?.BC?DE9FEDF.90.-04.722:L.40.722,-95/,GR.7447/+1,-4GR.
 ,H+5N54GR.7-9.799,-97?..STT.>,9?.@5<?.A?.BC?DE9FEDFEUF?.
Q+,.80<,605-6.90/31,-4./0-475-G.V~VVVVVVVVVVV.-31N,<.08.3-5M3,.;0<9G.E5-/:395-6.
-31N,<GF.17<P,9./0-859,-457:?.
        Q+5G.-31N,<.90,G.-04.,H/,,9.4+,.17H5131.08.DC.;0<9G.2,<1544,9.NL
                 >,9?.@5<?.A?.BC?DE9FEDFEWF?
                 Q+5G.-31N,<.90,G.-04.,H/,,9.4+,.17H5131.08.CX.;0<9G.2,<1544,9.NL
                 >,9?.@5<?.A?.BC?DE9FEDFEYF.80<./7G,G.3-9,<.DZ.[?\?@?.].DCD^7.0<.B_
                 [?\?@?.].D`ZDENF?
                 Q+5G.-31N,<.,H/,,9G.4+,.17H5131.2,<1544,9.NL.>,9,<7:.@5</354.A3:,
                 BC?DE9FEDF=.7-9.4+,.85:5-6.5G.7//0127-5,9.NL.7.10450-.40.;75O,.4+,
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